Case 3:25-cv-01143-GC-JTQ   Document 1-5   Filed 02/10/25   Page 1 of 443 PageID:
                                    899




                            Exhibit 51
                     Case 3:25-cv-01143-GC-JTQ                           Document 1-5 Filed 02/10/25     Page 2 of 443 PageID:
    os             OOM                               eC                          900td                         {English (US)         »       oe


   DraftKings Help Center (US) > Sportsbook > Sportsbook Basics


          €                                                                                                     eeu
                                                                                                                Getting Started with Sportsbook
    What is a prop bet? (US)                                                                                    Dhaest d

                                                                                                                rete ocd
    PO   ee ee en    eR enn                                         eC em lene arena
    Cie Rene RRO Re eC                                               RRC a eS CRC ee RCC nee cry                DOS orca acon
    PTR CS CRUCReeeSe R                                              k R etc R nN R IS (gcc Ree oT
    PM a   TEN a eee                                                                                            Pare

    eee
    CRA)         Belek ROL       tee       -oe       (ea       ol

    SUD         UO eee                Rote           RUN rfl

    Seen            Re ae             ot      NSA          Menon Cee nme              kh aae mate

    TRUE Oc   RIC Reece ROR     CH MCR                                          Rea ec RUDMa     mae mere Co
    PONS cece Cg    nC a ieee                                                   Run ai     RCo mace Cece
    ESE ee Manes      Om ue cacy

          ere          fo)
           Pee
            eer eer erento                            nnn ey

              ee        ere                     ee        ee        ee    ee eee Td




                         =
                       eee




          Was this article helpful?        di Yes         No




              Pee erat                                                                               2          DR URC id




Document title: What is a prop bet? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405232143507-What-is-a-prop-bet-US-
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:36 GMT                                                                                       Page 1 of 2
    Cie ReneCaseRRO Re eC           RRC
                 3:25-cv-01143-GC-JTQ       a eS 1-5
                                         Document   CRC Filed
                                                        ee RCC    nee cryPage 3 of
                                                              02/10/25           DS 443
                                                                                    ere.PageID:
    PTR CS CRUCReeeSe R              k R etc R nN 901   R IS (gcc   Ree oT
                                                                                                           1   Gale


    eee
    CRA)           Belek ROL     tee       -oe      (ea    ol

    SUD            UO eee             Rote          RUN rfl

    Seen              Re ae           ot      NSA         Menon Cee nme             kh aae mate

    TRUE Oc   RIC Reece ROR     CH MCR                                      Rea ec RUDMa     mae mere Co
    PONS cece Cg    nC a ieee                                               Run ai     RCo mace Cece
    ESE ee Manes      Om ue cacy

          ere           fo)
           Pee                 eer eer erento
                                            nnn ey

           er  ea
            ert
              Lo
                 Pee
                           cor
                           eed
                         eee




          Was this article helpful?        di Yes     No




             ERNE              Rca                                                                Sr
            Mall                                                                                  Ore EC   eee        ed
               tei
             Paros                                                                                Cae
             Cem Ese                                                                              Peery


                                                                                                  ---}     Pete ey etd




Document title: What is a prop bet? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405232143507-What-is-a-prop-bet-US-
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:36 GMT                                                                     Page 2 of 2
Case 3:25-cv-01143-GC-JTQ   Document 1-5   Filed 02/10/25   Page 4 of 443 PageID:
                                    902




                            Exhibit 52
         Case 3:25-cv-01143-GC-JTQ               Document 1-5          Filed 02/10/25       Page 5 of 443 PageID:
                                                         903




WinView Raises $12 Million in Series B Funding to
Expand Platform Where Fans Predict Sports Live
While Watching TV
Graham Holdings, Discovery Communications, Ted and Zach Leonsis of Monumental Sports &
Entertainment and LionTree Partners join round to help fill a sports culture void by converting fans from
spectators into play-along-live participants




NEWS PROVIDED BY
WinView, Inc. 
May 15, 2017, 06:30 ET




SAN FRANCISCO, May 15, 2017 /PRNewswire/ -- WinView, Inc. (www.winviewgames.com), the nation's #1 second-
screen live TV sports prediction platform, announced a $12 million Series B funding round with participation from a first-
class investor group, including Graham Holdings Company, Discovery Communications, Ted Leonsis' Monumental
Sports & Entertainment and LionTree Partners. The funding will help WinView further develop and market its skill-based
mobile app across a range of professional sports, including baseball, basketball and football (MLB, NBA and NFL), by
converting fans and TV viewers from spectators into play-along-live participants.




                                                                                                                      

 WinView Raises $12 Million in Series B Funding to Expand Platform Where Fans Predict Sports Live While Watching TV



The WinView Games app brings together the worlds of live TV sports, mobile apps, games of skill and interactive
advertising so that sports fans and fantasy players can enjoy sports on TV in a new way by having more fun and
interacting with their favorite teams, and with each other. Available on iOS and Android, WinView Games allows users to


                                                                                                                      
         Case
play along      3:25-cv-01143-GC-JTQ
           in real                              Document
                   time with live televised sports         1-5to accurately
                                                   and compete    Filed 02/10/25
                                                                            predict thePage
                                                                                        plays6on
                                                                                               ofthe
                                                                                                  443   PageID:
                                                                                                     field in order to win
                                                             904
cash prizes. WinView Games is an ad-supported app that is 100% free to play. The games covered by WinView are
produced in a live studio by a team of producers based on what is happening in real time.


Investors in the Series B round include:


      Graham Holdings Company (NYSE: GHC): A diversified holding company whose principal operations include
      Graham Media Group, which owns seven television broadcast stations in major markets and Kaplan, a global
      provider of educational services. The Company also owns Slate, an on-line magazine; Panoply, a premium
      podcast network; SocialCode, a leading social marketing solutions company; Graham Healthcare Group, and
      several manufacturing businesses.
      Discovery Communications (NASDAQ: DISCA): A leading global media and entertainment company reaching 3
      billion cumulative viewers with a portfolio of premium nonfiction, lifestyle, sports and kids content brands.
      WinView looks forward to pursuing opportunities to deepen its relationship with Discovery and its content brands,
      including Eurosport the leading provider of locally relevant, premium sports across Europe.
      Ted Leonsis, Founder of Monumental Sports & Entertainment, and Zach Leonsis: Own and operate five
      professional sports teams (Washington Capitals, Washington Wizards, Washington Mystics, Washington Valor and
      Baltimore Brigade) and the Verizon Center in Washington, D.C. Ted Leonsis also serves on the board of governors
      for the NBA and NHL, and he was previously president of AOL (1993 to 2006).
      LionTree Partners: The merchant banking arm of LionTree LLC, a differentiated global investment and merchant
      banking firm founded in 2012, with a focus on media, technology and telecommunications.


The funding round was driven by cable television and next-gen TV pioneer Tom Rogers, who is Executive Chairman of
WinView, Inc. Previously Mr. Rogers was Chairman, President and CEO of TiVo, President of NBC Cable and Executive
Vice President of NBC and Chairman and CEO of PRIMEDIA, Inc.


"This first-class group of investors is a major validation of our live TV sports prediction platform and its upside potential
to engage TV viewers in a new way to enjoy televised sports," said Tom Rogers, Executive Chairman of WinView, Inc.
"The WinView Games app fills a sports culture void by converting fans and TV viewers from spectators into play-along-
live participants. Following last fall's successful start, these investments will enable us to take a significant step forward
toward reaching our mobile, social and gaming business goals while capitalizing on fan excitement across virtually all
professional sports including basketball, baseball and football. We also will strive to be part of the in-stadium
experience, enabling fans to predict plays from their seats."


"The WinView Games app is changing the way fans watch live TV sports," said David Lockton, founder and CEO of
WinView, Inc. "Our two-screen technology now backed by 40 patents enables sports fans to get closer to the action
and create social connections while testing their knowledge of the sport through in-game predictions. With a skill-
                                                                                                                           
       Case 3:25-cv-01143-GC-JTQ
based multi-sport                             Document
                  platform that offers immediate            1-5we are
                                                 gratification,   Filed 02/10/25
                                                                      fueling         Page
                                                                              competition   7 of fans
                                                                                          among  443 while
                                                                                                      PageID:
                                                                                                           also driving
                                                            905
greater tune-in to live televised sports."


Added Lockton, "Predicting what will happen next is core to the sports viewing experience, as fans are constantly
thinking ahead during the game and trying to anticipate the action on the field. As the changing landscape of sports
and technology continues to evolve with millennials defining the dual-screen age, the 85% of sports viewers who watch
sports with their mobile device in hand, can now get into a free game and win money while testing their knowledge."


Timothy O'Shaughnessy, President and CEO of Graham Holdings Company, said: "WinView's platform is a fun, exciting
and dynamic new way for sports fans to engage during the most popular live programming on TV today. WinView is
well positioned to establish its product as the new social interactive paradigm where fans and friends are competing to
predict what's going to happen from the first to the very play of the game."


David Zaslav, President and CEO of Discovery Communications, said: "WinView's products complement Discovery's
goal to reach and engage our superfans around the world and across all screens. The company has strong expertise in
mobile and sports; a business and engagement model poised to help drive consumption of live content; and a top-
notch leadership team. We are pleased to participate in this round of funding to support the growth and development
of their platform."


Ted Leonsis, founder and CEO of Monumental Sports & Entertainment, said: "As a team owner, any avenue that creates
a greater relationship between the fan and their favorite team and players, as well as greater fan excitement and
intimacy, is what local sports franchises are all about. It's my belief that WinView locks fans more deeply into the game
experience and rounds out their desire to interact with other fans and prove their knowledge, predictive power and
understanding of the sport."


Zach Leonsis, Vice President and General Manager of Monumental Sports Network, said: "WinView really capitalizes on
what so many fans are already doing: scrolling around on their mobile devices while they watch games on the big
screen. It makes fans a part of the action and it drives huge user engagement. That's a big piece of what's so powerful
about real-time sports gaming – it gives fans the chance to become players, and gives us all a shared experience that
builds on the intense passion of being a sports fan."


Aryeh B. Bourkoff, founder and CEO of LionTree LLC, said: "In our role as investor and advisor, we recognize that
delivering content, particularly to younger audiences, in new, interactive and exciting ways is critical to success.
WinView's platform provides users with a unique and innovative experience that deepens their engagement with
content, and one another, in real time. Given the success of play-along mobile sports and gaming in Europe, we are
confident that WinView has a significant opportunity to advance this trend in the U.S. and we are excited to be a part of
driving this business forward."
                                                                                                                       
LaunchedCase  3:25-cv-01143-GC-JTQ
         in 2014, WinView Games previouslyDocument   1-5 and
                                          raised $8 million Filed 02/10/25
                                                               represents      Page
                                                                          the next    8 of 443
                                                                                   evolution     PageID: TV
                                                                                             of two-screen
                                                            906
entertainment in the U.S, as in-game sports predictions already has caught on and become more popular than daily
fantasy sports in Europe.


About WinView Inc.



WinView, Inc. is a Silicon Valley and New York based company that is focused on free mobile two-screen synchronized
televised sports games for prizes in the U.S. The Company plans to leverage its extensive experience in pioneering
real-time interactive television games played on the mobile second screen, its foundational patents and unique
business model. The WinView app is an end-to-end two-screen TV synchronization platform for both television
programming and commercials. The free skill-based WinView Games app uniquely enhances TV viewing enjoyment
and rewards sports fans with prizes as they answer in-game questions while competing with friends in real time during
live televised sports. These free games of skill are legal in every state. For more information, please visit
www.winviewgames.com.



About WinView Inc.'s Intellectual Property



WinView's portfolio of 40 foundational patents covers the synchronization of the second-screen with TV broadcasts and
commercials and the optimum methods of monetizing sports-based games of skill, among other types of programming
content. The WinView platform provides sponsors and advertisers with exclusive access to all the two-screen game
participants through sponsorship of the game, in-game videos and incentivized interactive commercials in sports
telecasts. The Company plans to expand its service in partnership with the leagues, TV and cellular industries,
leveraging its intellectual property to establish a two-screen synchronization standard across the entire TV broadcast
and cellular networks, which are industries that rely upon standards to function efficiently at scale.


Contact Info


Media
Business: Whit Clay, Sloane & Company
T: 212-446-1864
M: 917-601-6012
wclay@sloanepr.com



Consumer/Sports: Andrew Bard, Burson-Marsteller
T: 212-614-5274
M: 646-525-5517
Andrew.Bard@bm.com                                                                                                   
        Case
Corporate:     3:25-cv-01143-GC-JTQ
           Anthony Giombetti, WinView   Document 1-5      Filed 02/10/25   Page 9 of 443 PageID:
                                                907
T: 818-821-7530
anthony@winview.tv



SOURCE WinView, Inc.


Related Links

http://www.winviewgames.com


                                     WANT YOUR COMPANY'S NEWS

                                 FEATURED ON PRNEWSWIRE.COM?

                                         GET STARTED



                      440k+                         9k+                              270k+
                  Newsrooms &                  Digital Media                       Journalists
                   Influencers                    Outlets                           Opted In




                                                                                                   
Case 3:25-cv-01143-GC-JTQ   Document 1-5   Filed 02/10/25   Page 10 of 443 PageID:
                                     908




                            Exhibit 53
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 11 of 443 PageID:
                                                                                            US API Portal
                                                                    909
                                                                                                                ⋮ Docs Navigation    ☰ Menu

            Bash    Ruby     Python


          Global Baseball v2


                                                             Statistics Summary

                                                               Documentation

                                                           OpenAPI Specification

                                                                  Change Log

                                                               Coverage Matrix

                                                         Frequently Asked Questions

                                                                    Quick Access

                                    Postman Collection                                              XSD Schema

                                                                                                     Download




          Global Baseball API Overview

          The Global Baseball API provides real-time, inning-by-inning scoring (when available) and a database of supplementary
          statistics. Data is collected via Sportradar on-venue scouts and in-house operators.


          League coverage includes: MLB, NPB, KBO, World Baseball Classic, and more. Select the Global Baseball package in our
          Coverage Matrix for competitions and data offered.


          The API is consistent in structure, format and behavior with the other General Sport APIs. Primary feeds will return seasons,
          competitions, team and player data, and real-time scores.


          Additional feeds provide a host of complementary stats, including:


               Standings
               Player profiles
               Team profiles
               Historical results
               Match win probabilities


          An extended Probabilities package is also offered. This add-on includes in-game probability updates and season outrights.


                                           API                                                       API Version

https://perma.cc/NUC7-WEKX                                                                                                                    1/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document   1-5 v2
                                                           Global Baseball Filed   02/10/25
                                                                             | Sportradar           Page 12 of 443 PageID:
                                                                                          US API Portal
                                                                  910
                                  Global Baseball                                                         v2



             Note: Authentication is required for all API calls.




          Global Baseball API Map

          To best utilize the Global Baseball API, you will need several parameters to create your API calls. The map below illustrates how
          you can obtain the parameters you need.



            Example:

            To find the probability of a home team win for a given game:


              1. Call the Daily Schedule for the day the sport event takes place and find the Season Id for the chosen sport event
              2. Make note of the Sport Event Id for the given sport event
              3. Call the Season Probabilities using the Season Id
              4. Find Sport Event Id within the results locate the home team and the outcome probability


            The probability of a home team win is displayed.

          The primary feeds require only a date or human-readable parameters to call the endpoints. Those feeds provide Sport Event
          Ids, Competitor Ids, or Season Ids which can be used to generate the match, team, and tournament feeds.




https://perma.cc/NUC7-WEKX                                                                                                                    2/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                       Document   1-5 v2
                                                                Global Baseball Filed   02/10/25
                                                                                  | Sportradar           Page 13 of 443 PageID:
                                                                                               US API Portal
                                                                       911
                                            Competition Info                                Competitions

                                            Daily Summaries                                Live Summaries

                                              Live Timelines                             Live Timelines Delta
                                                                     Primary Feeds




                                      Season Feeds                 Sport Event Feeds               Competitor Feeds

                                  Competition Seasons             Sport Event Summary              Competitor Profile

                                                                                                         Competitor
                                   Season Competitors             Sport Event Timeline
                                                                                                         Summaries
                                                                                                     Competitor vs
                                       Season Info                Sport Events Created
                                                                                                      Competitor
                                                                      Sport Events
                                      Season Links
                                                                       Removed

                                    Seasonal Players              Sport Events Updated                Player Feed

                                                                                                      Player Profile
                                   Season Probabilities

                                                                                                   Player Summaries
                                    Season Standings


                                   Season Summaries


                                        Seasons


                                                                     Mapping Feeds
                                                                    Competitor Merge
                                     Competitor Mappings                                         Player Mappings
                                                                       Mappings

                                    Player Merge Mappings           Season Mappings            Sport Event Mappings


                                                                     Probabilities *
                                                                        Season
                                       Live Probabilities                                     Sport Event Probabilities
                                                                  Outright Probabilities
                                                       Sport Event
                                                                                 Timeline Probabilities
                                                   Upcoming Probabilities



               - Available only with the probabilities plan within the Global Baseball v2 package. See FAQ for details.



          Competition Info

          Provides the name, id, and parent id for a given competition.


           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Category &                      Category Country Code                           Category Id                    Category Name
           Sport Info:




https://perma.cc/NUC7-WEKX                                                                                                                3/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 14 of 443 PageID:
                                                                                           US API Portal
                                                                   912
           Competition                            Gender                                  Name                            Parent Id
           Info Data Points:                         Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitions/sr:competition:657/info.
            xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Competition Info feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitions/ {competition_id}
          /info. {format} ?api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish
                                (es)


                                Click here for a tabular list of available languages per competition.

            competition_id      Id of a given competition.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Competition Seasons

          Provides historical season information for a given competition. Competitions will return a maximum of three seasons of data,
          including current or newly created seasons.


           TTL / Cache:                                                        300 seconds

           Update                                                             As Necessary
           Frequency:

           Content Type:                                                       XML or JSON

           Competition                  Season Competition Id                        Season Id                    Season Start Date
           Info Data Points:               Season End Date                         Season Name                          Season Year


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitions/sr:competition:109/seaso
            ns.xml?api_key={your_api_key}"



            The above command returns xml structured like this.
https://perma.cc/NUC7-WEKX                                                                                                                  4/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                Document        1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 15 of 443 PageID:
                                                                                             US API Portal
                                                                     913
          Access the Competition Seasons feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitions/ {competition_id}
          /seasons. {format} ?api_key= {your_api_key}


           Parameter             Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish
                                 (es)


                                 Click here for a tabular list of available languages per competition.

            competition_id       Id of a given competition.

            format               xml or json.

            your_api_key         Your API key.


          Return to top



          Competitions

          Provides a list of all available baseball competitions.


           TTL / Cache:                                                         300 seconds

           Update                                                              As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Category &                       Category Country Code                       Category Id                  Category Name
           Sport Info:

           Competition                              Gender                                 Name                          Parent Id
           Info Data Points:                           Id



            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitions.xml?api_key={your_api_ke
            y}"



            The above command returns xml structured like this.

          Access the Competitions feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitions. {format} ?api_key=
           {your_api_key}




https://perma.cc/NUC7-WEKX                                                                                                                   5/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                 Document   1-5 v2
                                                          Global Baseball Filed   02/10/25
                                                                            | Sportradar           Page 16 of 443 PageID:
                                                                                         US API Portal
                                                                 914
           Parameter          Description

            access_level      Defines the access level of your API key as Production (production) or Trial (trial).

            version           Version number of the API you are accessing (Current Version: v2).

            language_code     2 letter code for supported languages


                              Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                              Click here for a tabular list of available languages per competition.

            format            xml or json.

            your_api_key      Your API key.


          Return to top



          Competitor Mappings

          Provides team id mapping between the Global Baseball API and the MLB API.


           TTL / Cache:                                                         300 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Mapping Info                                           External Id                                                   Id
           Data Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitors/mappings.xml?api_key={you
            r_api_key}"



            The above command returns xml structured like this.

          Access the Competitor Mappings feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitors/mappings. {format} ?
          api_key= {your_api_key}


           Parameter          Description

            access_level      Defines the access level of your API key as Production (production) or Trial (trial).

            version           Version number of the API you are accessing (Current Version: v2).

            language_code     2 letter code for supported languages


                              Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                              Click here for a tabular list of available languages per competition.


https://perma.cc/NUC7-WEKX                                                                                                                     6/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 17 of 443 PageID:
                                                                                            US API Portal
                                                                    915
            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/competitors/mappings.xml?api_key={your_api_ke
            y}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



          Competitor Merge Mappings

          Provides the valid Sportradar Id in cases when two competitors have been merged into one. Mapping entries will remain in the
          feed for 7 days.


           TTL / Cache:                                                         300 seconds

           Update                                                              As Necessary
           Frequency:

           Content Type:                                                       XML or JSON

           Mappings Info                 Name                            Merged Id                          Retained Id
           Data Points:


            curl -X GET "https://api.sportradar.com/baseball/trial/v2/en/competitors/merge_mappings.xml?api_k
            ey={your_api_key}"



            The above command returns xml structured like this.

          Access the Competitor Merge Mappings feed by replacing the parameters in the following URL:



https://perma.cc/NUC7-WEKX                                                                                                                 7/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                Document      1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 18 of 443 PageID:
                                                                                           US API Portal
                                                                   916
          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitors/merge_mappings.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Competitor Profile

          Provides top-level information for a given team, including the full team roster, manager, home venue, and team colors.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                          Sport Name
           Data Points:                          Category Id                         Sport Id

           Competitor Info Data         Competitor Abbreviation               Jersey Number Color                       Jersey Type
           Points:                       Competitor Age Group                   Jersey Shirt Type                Manager Country Code
                                           Competitor Country                  Jersey Sleeve Color               Manager Date of Birth
                                        Competitor Country Code               Jersey Sleeve Detail                     Manager Gender
                                              Competitor Gender                    Jersey Split                          Manager Id
                                                Competitor Id                    Jersey Squares                        Manager Name
                                              Competitor Name                     Jersey Stripes                  Manager Nationality
                                              Jersey Base Color
                                        Jersey Horizontal Stripes

           Player Info Data                     Country Code                            Id                                 Name
           Points:                              Date of Birth                    Jersey Number                            Position
                                                   Gender                          Nationality                             Weight
                                                   Height

           Venue Info Data                        Capacity                       Country Name                       Map Coordinates
           Points:                                  City                                Id                                 Name
                                                Country Code



            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitors/sr:competitor:3637/profil


https://perma.cc/NUC7-WEKX                                                                                                                      8/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 19 of 443 PageID:
                                                                                           US API Portal
            e.xml?api_key={your_api_key}"                          917

            The above command returns xml structured like this.

          Access the Competitor Profile feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
          /profile. {format} ?api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            competitor_id      Id of a given competitor.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Competitor Summaries

          Provides previous and upcoming game information for a given team, including statistics for past games and scheduling info for
          upcoming games.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                           Sport Name
           Data Points:                          Category Id                         Sport Id

           Competition Info Data          Competition Gender                     Round Number                          Stage End Date
           Points:                             Competition Id                Season Competition Id                       Stage Order
                                              Competition Name                  Season End Date                         Stage Phase
                                          Competition Parent Id                     Season Id                          Stage Start Date
                                                Coverage Live                     Season Name                            Stage Type
                                          Group - Group Name                    Season Start Date                        Stage Year
                                                  Group Id                         Season Year
                                                Group Name

           Competitor Info Data                 Abbreviation                      Country Code                              Name
           Points:                               Age Group                           Gender
                                                  Country                               Id

https://perma.cc/NUC7-WEKX                                                                                                                      9/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                      Document   1-5 v2
                                                               Global Baseball Filed   02/10/25
                                                                                 | Sportradar           Page 20 of 443 PageID:
                                                                                              US API Portal
                                                                      918
           Venue Info Data                       Capacity                        Country Name                             Name
           Points:                               Changed                                Id                         Reduced Capacity
                                                    City                        Map Coordinates                  Reduced Capacity Max
                                               Country Code

           Match Info Data                      Away Score                  Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier             Sport Event Resumed Time                      Inning
                                                Home Score                   Sport Event Start Time            Sport Event Status Home
                                               Period Number                 Sport Event Start Time                Normaltime Score
                                                Period Type                        Confirmed                Sport Event Status Home Score
                                               Sport Event Id                  Sport Event Status           Sport Event Status Match Status
                                                                            Sport Event Status Away             Sport Event Status Scout
                                                                               Normaltime Score                        Abandoned
                                                                         Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitors/sr:competitor:419265/summ
            aries.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Competitor Summaries feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
          /summaries. {format} ?api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            competitor_id      ID for a given competitor.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Competitor vs Competitor

          Provides previous and upcoming matches between two teams, including scoring information.


           TTL / Cache:                                                            60 seconds

           Update Frequency:                                                      As Necessary


https://perma.cc/NUC7-WEKX                                                                                                                      10/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 21 of 443 PageID:
                                                                                            US API Portal
                                                                    919
           Content Type:                                                         XML or JSON

           Category & Sport Info        Category Country Code                  Category Name                           Sport Name
           Data Points:                       Category Id                          Sport Id

           Competition Info Data         Competition Gender                     Round Number                       Stage End Date
           Points:                           Competition Id                 Season Competition Id                      Stage Order
                                          Competition Name                     Season End Date                         Stage Phase
                                         Competition Parent Id                    Season Id                        Stage Start Date
                                             Coverage Live                      Season Name                            Stage Type
                                         Group - Group Name                   Season Start Date                        Stage Year
                                               Group Id                          Season Year
                                              Group Name

           Competitor Info Data               Abbreviation                      Country Code                             Name
           Points:                             Age Group                            Gender
                                                Country                                Id

           Venue Info Data                     Capacity                         Country Name                             Name
           Points:                             Changed                                 Id                         Reduced Capacity
                                                  City                         Map Coordinates                 Reduced Capacity Max
                                             Country Code

           Match Info Data                    Away Score                   Sport Event Replaced By           Sport Event Status Decided
           Points:                       Competitor Qualifier            Sport Event Resumed Time                        Inning
                                              Home Score                    Sport Event Start Time            Sport Event Status Home
                                             Period Number                  Sport Event Start Time                Normaltime Score
                                              Period Type                         Confirmed                Sport Event Status Home Score
                                             Sport Event Id                   Sport Event Status          Sport Event Status Match Status
                                                                           Sport Event Status Away            Sport Event Status Scout
                                                                              Normaltime Score                         Abandoned
                                                                        Sport Event Status Away Score       Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/competitors/sr:competitor:419265/vers
            us/sr:competitor:419263/summaries.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Competitor vs Competitor feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
          /versus/ {competitor2_id} /summaries. {format} ?api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).




https://perma.cc/NUC7-WEKX                                                                                                                  11/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                       Document   1-5 v2
                                                                Global Baseball Filed   02/10/25
                                                                                  | Sportradar           Page 22 of 443 PageID:
                                                                                               US API Portal
                                                                       920
            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish
                                (es)


                                Click here for a tabular list of available languages per competition.

            competitor_id       ID for a given competitor.

            competitor2_id      ID for a given competitor.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Daily Summaries

          Provides game information for a given day, including scoring information.


           TTL / Cache:                                                           300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                  Category Name                         Sport Name
           Data Points:                          Category Id                        Sport Id

           Competition Info Data          Competition Gender                    Round Number                        Stage End Date
           Points:                              Competition Id              Season Competition Id                     Stage Order
                                           Competition Name                     Season End Date                       Stage Phase
                                         Competition Parent Id                     Season Id                        Stage Start Date
                                                Coverage Live                    Season Name                          Stage Type
                                          Group - Group Name                   Season Start Date                       Stage Year
                                                  Group Id                        Season Year
                                                 Group Name

           Competitor Info Data                  Abbreviation                    Country Code                            Name
           Points:                                Age Group                          Gender
                                                   Country                             Id

           Venue Info Data                        Capacity                       Country Name                            Name
           Points:                                Changed                              Id                          Reduced Capacity
                                                     City                       Map Coordinates                 Reduced Capacity Max
                                                Country Code

           Match Info Data                       Away Score                 Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier            Sport Event Resumed Time                       Inning
                                                 Home Score                  Sport Event Start Time            Sport Event Status Home
                                               Period Number                 Sport Event Start Time               Normaltime Score
                                                 Period Type                       Confirmed                Sport Event Status Home Score
                                                Sport Event Id                 Sport Event Status          Sport Event Status Match Status
                                                                            Sport Event Status Away            Sport Event Status Scout


https://perma.cc/NUC7-WEKX                                                                                                                   12/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 23 of 443 PageID:
                                                                                            US API Portal
                                                                    921 Normaltime Score                    Abandoned
                                                                          Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/schedules/2019-04-24/summaries.xml?ap
            i_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Daily Summaries feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /schedules/ {year} - {month} -
           {day} /summaries. {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            year                Year in 4 digit format (YYYY).

            month               Month in 2 digit format (MM).

            day                 Day in 2 digit format (DD).

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/schedules/2019-04-24/summaries.xml?api_key={y
            our_api_key}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 200.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description


https://perma.cc/NUC7-WEKX                                                                                                                       13/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                        Document   1-5 v2
                                                                 Global Baseball Filed   02/10/25
                                                                                   | Sportradar           Page 24 of 443 PageID:
                                                                                                US API Portal
                                                                        922
            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


          Return to top



          Live Summaries

          Provides game information for all currently live games, including team scoring. This feed updates in real time as games are
          played.


           TTL / Cache:                                                             1 second

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info           Category Country Code                 Category Name                     Sport Name
           Data Points:                           Category Id                       Sport Id

           Competition Info Data             Competition Gender                  Round Number                     Stage End Date
           Points:                               Competition Id              Season Competition Id                 Stage Order
                                             Competition Name                   Season End Date                    Stage Phase
                                            Competition Parent Id                  Season Id                     Stage Start Date
                                                 Coverage Live                   Season Name                        Stage Type
                                             Group - Group Name                 Season Start Date                   Stage Year
                                                   Group Id                       Season Year
                                                  Group Name

           Competitor Info Data                   Abbreviation                   Country Code                         Name
           Points:                                 Age Group                        Gender
                                                    Country                            Id

           Venue Info Data                         Capacity                      Country Name                         Name
           Points:                                 Changed                             Id                       Reduced Capacity
                                                      City                      Map Coordinates               Reduced Capacity Max
                                                 Country Code

           Match Info Data                        Away Score                Sport Event Replaced By         Sport Event Status Decided
           Points:                           Competitor Qualifier          Sport Event Resumed Time                   Inning
                                                  Home Score                 Sport Event Start Time          Sport Event Status Home
                                                Period Number                Sport Event Start Time             Normaltime Score
                                                  Period Type                      Confirmed              Sport Event Status Home Score
                                                 Sport Event Id                Sport Event Status         Sport Event Status Match Status
                                                                            Sport Event Status Away          Sport Event Status Scout
                                                                               Normaltime Score                    Abandoned
                                                                          Sport Event Status Away Score    Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/schedules/live/summaries.xml?api_key=
            {your_api_key}"



            The above command returns xml structured like this.

https://perma.cc/NUC7-WEKX                                                                                                                  14/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                 Document       1-5 v2
                                                              Global Baseball  Filed   02/10/25
                                                                                 | Sportradar           Page 25 of 443 PageID:
                                                                                              US API Portal
                                                                     923
          Access the Live Summaries feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
          /summaries. {format} ?api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            competitor_id       ID for a given competitor.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Live Timelines

          Provides a play-by-play event timeline for currently live games.


           TTL / Cache:                                                              1 second

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Match Info Data               Period Score Away Score             Sport Event Status Away         Sport Event Status Match Status
           Points:                       Period Score Home Score                Normaltime Score                 Sport Event Status Scout
                                           Period Score Number            Sport Event Status Away Score                 Abandoned
                                               Period Score Type            Sport Event Status Decided         Sport Event Status Winner Id
                                               Sport Event Status                      Inning                    Sport Event Timeline Id
                                                                             Sport Event Status Home         Sport Event Timeline Start Time
                                                                                Normaltime Score
                                                                         Sport Event Status Home Score

           Timeline Info Data                     Away Score                        Home Score                          Period Name
           Points:                                Break Name                             Id                                Time
                                                  Competitor                           Period                              Type


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/schedules/live/timelines.xml?api_key=
            {your_api_key}"



            The above command returns xml structured like this.

          Access the Live Timelines feed by replacing the parameters in the following URL:

https://perma.cc/NUC7-WEKX                                                                                                                       15/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                Document      1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 26 of 443 PageID:
                                                                                           US API Portal
                                                                   924
          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /schedules/live/timelines.
           {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


          To retrieve the XML Schema Definition (.XSD) for the Match Timeline use the following URL.


          https://schemas.sportradar.com/bsa/v1/endpoints/baseball/match_timeline.xsd


          Return to top



          Live Timelines Delta

          Provides a 10 second live delta of game information, including scoring and a play-by-play event timeline.


           TTL / Cache:                                                              1 second

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Match Info Data               Period Score Away Score             Sport Event Status Away         Sport Event Status Match Status
           Points:                       Period Score Home Score                Normaltime Score                 Sport Event Status Scout
                                           Period Score Number            Sport Event Status Away Score                 Abandoned
                                               Period Score Type            Sport Event Status Decided         Sport Event Status Winner Id
                                               Sport Event Status                      Inning                    Sport Event Timeline Id
                                                                             Sport Event Status Home         Sport Event Timeline Start Time
                                                                                Normaltime Score
                                                                         Sport Event Status Home Score

           Timeline Info Data                     Away Score                        Home Score                          Period Name
           Points:                                Break Name                             Id                                Time
                                                  Competitor                           Period                              Type



            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/schedules/live/timelines_delta.xml?ap
            i_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Live Timelines Delta feed by replacing the parameters in the following URL:

https://perma.cc/NUC7-WEKX                                                                                                                       16/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                Document      1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 27 of 443 PageID:
                                                                                           US API Portal
                                                                   925
          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /schedules/live/timelines_delta.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Player Mappings

          Provides player id mapping between the Global Baseball API and the MLB API.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 player
             mappings.



           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Mapping Info                                            External Id                                                   Id
           Data Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/players/mappings.xml?api_key={your_ap
            i_key}"



            The above command returns xml structured like this.

          Access the Player Mappings feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /players/mappings. {format} ?
          api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).


https://perma.cc/NUC7-WEKX                                                                                                                      17/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                      Document   1-5 v2
                                                               Global Baseball Filed   02/10/25
                                                                                 | Sportradar           Page 28 of 443 PageID:
                                                                                              US API Portal
                                                                      926
            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/players/mappings.xml?api_key={your_api_key}&s
            tart=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



          Player Merge Mappings

          Provides valid ids for players who have had their profiles merged. While Sportradar always strives to provide one unique player
          id, it is a possibility for two ids to be created. This feed provides the correct id once profiles have been merged.


           TTL / Cache:                                                          300 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Mapping Info                        Merged Id                         Name                              Retained Id
           Data Points:


https://perma.cc/NUC7-WEKX                                                                                                                       18/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 29 of 443 PageID:
                                                                                            US API Portal
                                                                    927
            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/players/merge_mappings.xml?api_key={y
            our_api_key}"



            The above command returns xml structured like this.

          Access the Player Merge Mappings feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /players/merge_mappings.
           {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/players/merge_mappings.xml?api_key={your_api_
            key}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



https://perma.cc/NUC7-WEKX                                                                                                                       19/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document   1-5 v2
                                                           Global Baseball Filed   02/10/25
                                                                             | Sportradar           Page 30 of 443 PageID:
                                                                                          US API Portal
                                                                  928
          Player Profile

          Provides player biographical information, including current team.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Competitor Info Data                Abbreviation                       Country Code                            Name
           Points:                              Age Group                            Gender
                                                 Country                                Id

           Player Info Data                       Active                             Height                             Position
           Points:                             Country Code                             Id                        Role Type / Position
                                               Date Of Birth                     Jersey Number                         Start Date
                                                 End Date                          Nationality                           Weight
                                                  Gender                              Name


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/players/sr:player:841933/profile.xml?
            api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Player Profile feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /players/ {player_id} /profile.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            player_id          ID of a given player.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Player Summaries

          Provides game info and results for the past 10 games in which a given player participated.


https://perma.cc/NUC7-WEKX                                                                                                                      20/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document   1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 31 of 443 PageID:
                                                                                             US API Portal
                                                                     929
           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                           Sport Name
           Data Points:                        Category Id                           Sport Id

           Competition Info Data          Competition Gender                     Round Number                          Stage End Date
           Points:                           Competition Id                  Season Competition Id                       Stage Order
                                           Competition Name                     Season End Date                         Stage Phase
                                          Competition Parent Id                     Season Id                          Stage Start Date
                                              Coverage Live                       Season Name                            Stage Type
                                          Group - Group Name                    Season Start Date                        Stage Year
                                                 Group Id                          Season Year
                                               Group Name

           Competitor Info Data               Abbreviation                        Country Code                              Name
           Points:                              Age Group                            Gender
                                                 Country                                Id

           Venue Info Data                       Capacity                        Country Name                               Name
           Points:                               Changed                                Id                         Reduced Capacity
                                                   City                         Map Coordinates                  Reduced Capacity Max
                                              Country Code

           Match Info Data                     Away Score                   Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier             Sport Event Resumed Time                        Inning
                                               Home Score                    Sport Event Start Time            Sport Event Status Home
                                             Period Number                   Sport Event Start Time                Normaltime Score
                                               Period Type                         Confirmed                Sport Event Status Home Score
                                              Sport Event Id                   Sport Event Status           Sport Event Status Match Status
                                                                            Sport Event Status Away             Sport Event Status Scout
                                                                               Normaltime Score                          Abandoned
                                                                         Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/players/sr:player:841933/summaries.xm
            l?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Player Summaries feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /players/ {player_id} /summaries.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)

https://perma.cc/NUC7-WEKX                                                                                                                      21/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                        Document   1-5 v2
                                                                 Global Baseball Filed   02/10/25
                                                                                   | Sportradar           Page 32 of 443 PageID:
                                                                                                US API Portal
                                                                        930
                                Click here for a tabular list of available languages per competition.

            player_id           ID of a given player.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Season Competitors

          Provides a list of teams participating for a given season.


           TTL / Cache:                                                             300 seconds

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Competitor Info Data                 Abbreviation                           Name                             Short Name
           Points:                                      Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/competitors.x
            ml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Competitors feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
          /competitors. {format} ?api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            season_id           ID of a given season.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



https://perma.cc/NUC7-WEKX                                                                                                                       22/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 33 of 443 PageID:
                                                                                           US API Portal
                                                                   931
          Season Info

          Provides detailed information for a given season, including participating teams and league structure.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                           Sport Name
           Data Points:                          Category Id                         Sport Id

           Competition Info Data          Competition Gender              Info Venue Reduced Capacity                   Season Year
           Points:                             Competition Id             Info Venue Reduced Capacity                  Stage End Date
                                              Competition Name                         Max                               Stage Order
                                          Competition Parent Id              Season Competition Id                      Stage Phase
                                          Group - Group Name                    Season End Date                        Stage Start Date
                                                  Group Id                          Season Id                            Stage Type
                                              Group Max Rounds                    Season Name                            Stage Year
                                                Group Name                      Season Start Date
                                         Info Competition Status

           Competitor Info Data                 Abbreviation                      Country Code                              Name
           Points:                               Age Group                           Gender
                                                  Country                               Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/info.xml?api_
            key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Info feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /info.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            season_id          ID of a given season.

            format             xml or json.

            your_api_key       Your API key.



https://perma.cc/NUC7-WEKX                                                                                                                      23/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document   1-5 v2
                                                           Global Baseball Filed   02/10/25
                                                                             | Sportradar           Page 34 of 443 PageID:
                                                                                          US API Portal

          Return to top                                           932


          Season Links

          Provides information about linked cup rounds for a given season.


          Use this feed to compile full advancement brackets for relevant seasons/tournaments. Links between all matches and rounds
          are available when competitors (TBD vs. TBD) are not yet known.


           TTL / Cache:                                                        300 seconds

           Update                                                              As Necessary
           Frequency:

           Content Type:                                                       XML or JSON

           Competition                    Cup Round Id                           Group Id                        Stage Start Date
           Info Data Points:            Cup Round Name                       Stage End Date                            Stage Type
                                        Cup Round Order                        Stage Phase                             Stage Year
                                         Cup Round State
                                         Cup Round Type
                                      Cup Round Winner Id
                                       Group - Group Name

           Match Info Data                Sport Event Id                        Start Time                    Start Time Confirmed
           Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/stages_groups
            _cup_rounds.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Links feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
          /stages_groups_cup_rounds. {format} ?api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            season_id          ID of a given season.

            format             xml or json.

            your_api_key       Your API key.


https://perma.cc/NUC7-WEKX                                                                                                                      24/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 35 of 443 PageID:
                                                                                            US API Portal

          Return to top                                             933


          Season Mappings

          Provides season id mapping between the Global Baseball API and the MLB API.


           TTL / Cache:                                                           300 seconds

           Update                                                                 As Necessary
           Frequency:

           Content Type:                                                          XML or JSON

           Mapping Info                                             External Id                                                   Id
           Data Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/mappings.xml?api_key={your_ap
            i_key}"



            The above command returns xml structured like this.

          Access the Season Mappings feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/mappings. {format} ?
          api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/seasons/mappings.xml?api_key={your_api_key}&s
            tart=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.




https://perma.cc/NUC7-WEKX                                                                                                                       25/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 36 of 443 PageID:
                                                                                            US API Portal
                                                                    934
             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter          Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


          Return to top



          Season Players

          Provides names and ids for all participating players for a given season.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 800 players.



           TTL / Cache:                                                         300 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Player Info Data                   Display First Name                           First Name                      Last Name
           Points:                             Display Last Name                                Id                           Name


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/players.xml?a
            pi_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Players feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /players.
           {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


https://perma.cc/NUC7-WEKX                                                                                                                       26/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 37 of 443 PageID:
                                                                                            US API Portal
                                                                    935
                                Click here for a tabular list of available languages per competition.

            season_id           ID of a given season.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/players.xml?api_key=
            {your_api_key}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 800.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter          Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 800.
                              Example: limit=75


          Return to top



          Season Probabilities

          Provides 2-way win probabilities (home team win, away team win) for all games for a given season.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info            Category Country Code                Category Name                     Sport Name
           Data Points:                           Category Id                        Sport Id

           Competition Info Data             Competition Gender                  Round Number                    Stage End Date
           Points:                              Competition Id               Season Competition Id                 Stage Order
                                               Competition Name                 Season End Date                   Stage Phase
                                            Competition Parent Id                   Season Id                    Stage Start Date
https://perma.cc/NUC7-WEKX                                                                                                                 27/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document     1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 38 of 443 PageID:
                                                                                            US API Portal

                                               Coverage Live        936      Season Name                    Stage Type
                                          Group - Group Name                    Season Start Date                        Stage Year
                                                 Group Id                          Season Year
                                               Group Name

           Competitor Info Data                Abbreviation                       Country Code                             Name
           Points:                              Age Group                            Gender
                                                 Country                                Id

           Venue Info Data                       Capacity                        Country Name                              Name
           Points:                               Changed                                Id                         Reduced Capacity
                                                    City                        Map Coordinates                  Reduced Capacity Max
                                               Country Code

           Probability Info Data       Away Team Win Probability                  Market Name                          Outcome Name
           Points:                    Home Team Win Probability

           Match Info Data                Competitor Qualifier              Sport Event Replaced By              Sport Event Start Time
           Points:                             Sport Event Id              Sport Event Resumed Time              Sport Event Start Time
                                                                                                                        Confirmed


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/probabilitie
            s.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Probabilities feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
          /probabilities. {format} ?api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            season_id          Id of a given season.

            format             xml or json.

            your_api_key       Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/baseball/trial/v2/en/seasons/sr:season:61503/probabilities.xml?ap



https://perma.cc/NUC7-WEKX                                                                                                                      28/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document   1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 39 of 443 PageID:
                                                                                             US API Portal
            i_key={your_api_key}&start=200'                          937

          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter           Description

            start              Number to start the list of results from.
                               Example: start=0

            limit              Number to limit the number of results. Minimum value is 1, maximum value is 200.
                               Example: limit=200


          Return to top



          Season Standings

          Provides detailed standings info for a given season.


           TTL / Cache:                                                          10 seconds

           Update Frequency:                                                    As Necessary

           Content Type:                                                        XML or JSON

           Competition Info Data             Group - Group Name                Stage End Date                     Stage Start Date
           Points:                                 Group Live                    Stage Order                        Stage Type
                                                    Group Id                     Stage Phase                        Stage Year
                                                  Group Name

           Competitor Info Data                   Abbreviation                  Country Code                           Name
           Points:                                 Age Group                       Gender
                                                    Country                           Id

           Standings Info Data                 Current Outcome                   Group Name                          Runs For
           Points:                                   Draw                          Losses                              Rank
                                                  Games Behind                     Played                 Season Standings Tie Break
                                             Group - Group Name                 Runs Against                           Rule
                                                    Group Id                   Runs Difference          Season Standings Type Winning
                                                   Group Live                                                       Percentage
                                                                                                                       Wins


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/standings.xm
            l?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Standings feed by replacing the parameters in the following URL:

https://perma.cc/NUC7-WEKX                                                                                                                 29/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                Document      1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 40 of 443 PageID:
                                                                                           US API Portal
                                                                   938
          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /standings.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            season_id          ID of a given season.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Season Summaries

          Provides schedule information and scoring for all matches from a given season.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
             events.



           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                           Sport Name
           Data Points:                          Category Id                         Sport Id

           Competition Info Data          Competition Gender                     Round Number                          Stage End Date
           Points:                             Competition Id                Season Competition Id                       Stage Order
                                              Competition Name                  Season End Date                         Stage Phase
                                          Competition Parent Id                     Season Id                          Stage Start Date
                                                Coverage Live                     Season Name                            Stage Type
                                          Group - Group Name                    Season Start Date                        Stage Year
                                                  Group Id                         Season Year
                                                Group Name

           Competitor Info Data                 Abbreviation                      Country Code                              Name
           Points:                               Age Group                           Gender
                                                  Country                               Id




https://perma.cc/NUC7-WEKX                                                                                                                      30/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                       Document   1-5 v2
                                                                Global Baseball Filed   02/10/25
                                                                                  | Sportradar           Page 41 of 443 PageID:
                                                                                               US API Portal
                                                                       939
           Venue Info Data                        Capacity                        Country Name                             Name
           Points:                                Changed                                Id                         Reduced Capacity
                                                     City                        Map Coordinates                  Reduced Capacity Max
                                                Country Code

           Match Info Data                       Away Score                  Sport Event Replaced By           Sport Event Status Decided
           Points:                         Competitor Qualifier             Sport Event Resumed Time                      Inning
                                                 Home Score                   Sport Event Start Time            Sport Event Status Home
                                                Period Number                 Sport Event Start Time                Normaltime Score
                                                 Period Type                        Confirmed                Sport Event Status Home Score
                                                Sport Event Id                  Sport Event Status           Sport Event Status Match Status
                                                                             Sport Event Status Away             Sport Event Status Scout
                                                                                Normaltime Score                        Abandoned
                                                                          Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/summaries.xm
            l?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Summaries feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /summaries.
           {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            season_id           ID of a given season.

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/seasons/sr:season:61503/summaries.xml?api_key
            ={your_api_key}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. This may be required to access all available data in this feed.


https://perma.cc/NUC7-WEKX                                                                                                                       31/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document   1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 42 of 443 PageID:
                                                                                             US API Portal
                                                                     940
             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


          Return to top



          Seasons

          Provides a list of historical season information for all competitions. Competitions will return a maximum of three seasons of
          data, including current or newly created seasons.


           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Competition                     Season Competition Id                       Season Id                     Season Start Date
           Info Data Points:                    Season End Date                      Season Name                         Season Year


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/seasons.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Seasons feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /seasons. {format} ?api_key=
           {your_api_key}



           Parameter             Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.


https://perma.cc/NUC7-WEKX                                                                                                                        32/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document   1-5 v2
                                                           Global Baseball Filed   02/10/25
                                                                             | Sportradar           Page 43 of 443 PageID:
                                                                                          US API Portal
                                                                  941
            your_api_key       Your API key.


          Return to top



          Sport Event Mappings

          Provides game id mapping between the Global Baseball API and the MLB API.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 sport
             event mappings.



           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Mapping Info                                            External Id                                                   Id
           Data Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/sport_events/mappings.xml?api_key={yo
            ur_api_key}"



            The above command returns xml structured like this.

          Access the Season Mappings feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /sport_events/mappings.
           {format} ?api_key= {your_api_key}



           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:


https://perma.cc/NUC7-WEKX                                                                                                                      33/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                       Document   1-5 v2
                                                                Global Baseball Filed   02/10/25
                                                                                  | Sportradar           Page 44 of 443 PageID:
                                                                                               US API Portal
                                                                       942
            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/sport_events/mappings.xml?api_key={your_api_k
            ey}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



          Sport Event Summary

          Provides real-time scoring for a given game. Please note that data returned is determined by coverage level.


           TTL / Cache:                                                           1 second

           Update Frequency:                                                    As Necessary

           Content Type:                                                        XML or JSON

           Category & Sport Info           Category Country Code               Category Name                       Sport Name
           Data Points:                          Category Id                       Sport Id

           Competition Info Data            Competition Gender                 Round Number                      Stage End Date
           Points:                             Competition Id               Season Competition Id                  Stage Order
                                             Competition Name                 Season End Date                     Stage Phase
                                           Competition Parent Id                  Season Id                      Stage Start Date
                                                Coverage Live                   Season Name                        Stage Type
                                            Group - Group Name                Season Start Date                    Stage Year
                                                  Group Id                       Season Year
                                                Group Name

           Competitor Info Data                 Abbreviation                    Country Code                             Name
           Points:                               Age Group                         Gender
                                                   Country                            Id

           Venue Info Data                        Capacity                     Country Name                              Name
           Points:                                Changed                             Id                        Reduced Capacity
                                                     City                     Map Coordinates                Reduced Capacity Max
                                                Country Code




https://perma.cc/NUC7-WEKX                                                                                                                 34/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 45 of 443 PageID:
                                                                                           US API Portal
                                                                   943
           Match Info Data                      Away Score                  Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier             Sport Event Resumed Time                      Inning
                                                Home Score                   Sport Event Start Time            Sport Event Status Home
                                               Period Number                 Sport Event Start Time                Normaltime Score
                                                Period Type                        Confirmed                Sport Event Status Home Score
                                               Sport Event Id                  Sport Event Status           Sport Event Status Match Status
                                                                            Sport Event Status Away             Sport Event Status Scout
                                                                               Normaltime Score                        Abandoned
                                                                         Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/sport_events/sr:sport_event:17433095/
            summary.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Sport Event Summary feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /sport_events/ {match_id}
          /summary. {format} ?api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            match_id           ID of a given match.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Sport Event Timeline

          Provides real-time scoring and a play-by-play event timeline for a given game. Please note that data returned is determined by
          coverage level.


           TTL / Cache:                                                             1 second

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                         Sport Name
           Data Points:                         Category Id                          Sport Id


https://perma.cc/NUC7-WEKX                                                                                                                      35/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document   1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 46 of 443 PageID:
                                                                                             US API Portal
                                                                     944
           Competition Info Data          Competition Gender                     Round Number                       Stage End Date
           Points:                            Competition Id                 Season Competition Id                      Stage Order
                                           Competition Name                     Season End Date                         Stage Phase
                                         Competition Parent Id                     Season Id                        Stage Start Date
                                              Coverage Live                      Season Name                            Stage Type
                                          Group - Group Name                   Season Start Date                         Stage Year
                                                Group Id                          Season Year
                                               Group Name

           Competitor Info Data                Abbreviation                      Country Code                              Name
           Points:                              Age Group                            Gender
                                                 Country                                Id

           Venue Info Data                      Capacity                         Country Name                              Name
           Points:                              Changed                                 Id                         Reduced Capacity
                                                   City                         Map Coordinates                 Reduced Capacity Max
                                              Country Code

           Match Info Data                     Away Score                   Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier            Sport Event Resumed Time                        Inning
                                               Home Score                    Sport Event Start Time            Sport Event Status Home
                                              Period Number                  Sport Event Start Time                Normaltime Score
                                               Period Type                         Confirmed                Sport Event Status Home Score
                                              Sport Event Id                   Sport Event Status          Sport Event Status Match Status
                                                                            Sport Event Status Away            Sport Event Status Scout
                                                                               Normaltime Score                         Abandoned
                                                                         Sport Event Status Away Score       Sport Event Status Winner Id

           Timeline Info Data                  Away Score                         Home Score                            Period Name
           Points:                             Break Name                               Id                                 Time
                                               Competitor                            Period                                Type


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/sport_events/sr:sport_event:17433095/
            timeline.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Sport Event Timeline feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
          /timeline. {format} ?api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish
                                (es)


                                Click here for a tabular list of available languages per competition.

https://perma.cc/NUC7-WEKX                                                                                                                   36/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 47 of 443 PageID:
                                                                                           US API Portal
                                                                   945
            sport_event_id       ID of a given sport event.

            format               xml or json.

            your_api_key         Your API key.


          Return to top



          Sport Events Created

          Provides ids for sport events that have been created in the last 24 hours.


           TTL / Cache:                                                         60 seconds

           Update                                                              As Necessary
           Frequency:

           Content Type:                                                       XML or JSON

           Sport Event Info                         Active Season Flag                            Id                   Created At
           Data Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/sport_events/created.xml?api_key={you
            r_api_key}"



            The above command returns xml structured like this.

          Access the Sport Events Created feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /sport_events/created. {format} ?
          api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:




https://perma.cc/NUC7-WEKX                                                                                                                      37/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 48 of 443 PageID:
                                                                                            US API Portal
                                                                    946
            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/sport_events/created.xml?api_key={your_api_ke
            y}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



          Sport Events Removed

          Provides ids for sport events that have been removed from the API due to an entry error. Ids will remain in the response for 2
          weeks.


           TTL / Cache:                                                          60 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Match Info Data                                                Sport Event Removed Id
           Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/sport_events/removed.xml?api_key={you
            r_api_key}"



            The above command returns xml structured like this.

          Access the Sport Events Removed feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /sport_events/removed. {format} ?
          api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).


https://perma.cc/NUC7-WEKX                                                                                                                 38/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                    Document   1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 49 of 443 PageID:
                                                                                            US API Portal
                                                                    947
            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/sport_events/removed.xml?api_key={your_api_ke
            y}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



          Sport Events Updated

          Provides ids for sport events that have been updated in the last 24 hours.


           TTL / Cache:                                                          60 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Match Info Data                Id                                                  Updated At
           Points:


            curl -X GET "https://api.sportradar.us/baseball/trial/v2/en/sport_events/updated.xml?api_key={you
            r_api_key}"

https://perma.cc/NUC7-WEKX                                                                                                                       39/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ              Document         1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 50 of 443 PageID:
                                                                                            US API Portal

            The above command returns xml structured like this.     948
          Access the Sport Events Updated feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball/ {access_level} / {version} / {language_code} /sport_events/updated. {format} ?
          api_key= {your_api_key}


           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.



          Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/baseball/trial/v2/en/sport_events/updated.xml?api_key={your_api_ke
            y}&start=0&limit=75'



          In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
          string parameters. By default the limit is set to 1000.



             Note: Optional query string parameters must be added after your API key with an ampersand (&).



          Replace placeholders with the following query parameters:


           Parameter         Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=75


          Return to top



          Probabilities Feeds



https://perma.cc/NUC7-WEKX                                                                                                                       40/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document         1-5 v2
                                                                    Global Baseball Filed   02/10/25
                                                                                      | Sportradar           Page 51 of 443 PageID:
                                                                                                   US API Portal
                                                                           949
          This collection of probability feeds is available for licensing as an add-on feature. They are an extension of the Season
          Probabilities feed in the main package which provides pre-match probabilities for the sport event winner market.



                                       For media use only: Use of this API is prohibited for betting clients.



          The main features of the Probabilities extension (where coverage applies) are:


               Live Probabilities that update throughout game
               Season Outright Probabilities for the Tournament Winner market
               Live Probabilities Coverage indicator for the next 24 hours


          For more information or to request a Trial of this feature, please contact a Sportradar Sales representative.


          The Open API specification and Syntax for using our Probabilities feeds, including examples of the payloads can be found
          below.



                                                             OpenAPI Specification



          Live Probabilities

          Provides top-level information for live games. If probabilities are available for a game, pre-match and live probabilities will be
          displayed.


           TTL / Cache:                                                              1 second

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info          Category Country Code                  Category Name                        Sport Name
           Data Points:                         Category Id                          Sport Id

           Competition Info Data           Competition Gender                    Round Number                       Stage End Date
           Points:                            Competition Id                 Season Competition Id                    Stage Order
                                            Competition Name                    Season End Date                       Stage Phase
                                          Competition Parent Id                     Season Id                       Stage Start Date
                                               Coverage Live                      Season Name                         Stage Type
                                           Group - Group Name                   Season Start Date                      Stage Year
                                                 Group Id                          Season Year
                                               Group Name

           Competitor Info Data                Abbreviation                       Country Code                            Name
           Points:                               Age Group                           Gender
                                                  Country                               Id

           Venue Info Data                       Capacity                        Country Name                             Name
           Points:                               Changed                                Id                         Reduced Capacity
                                                    City                        Map Coordinates                 Reduced Capacity Max
                                               Country Code




https://perma.cc/NUC7-WEKX                                                                                                                     41/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document   1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 52 of 443 PageID:
                                                                                             US API Portal
                                                                     950
           Probability Info Data        Away Team Win Probability               Market Home Score                        Market Name
           Points:                     Home Team Win Probability               Market Last Updated                      Market Removed
                                               Market Away Score                    Market Live                         Outcome Name

           Match Info Data                        Away Score                 Sport Event Replaced By           Sport Event Status Decided
           Points:                         Competitor Qualifier             Sport Event Resumed Time                        Inning
                                                  Home Score                  Sport Event Start Time            Sport Event Status Home
                                                Period Number                 Sport Event Start Time                Normaltime Score
                                                  Period Type                       Confirmed                Sport Event Status Home Score
                                                 Sport Event Id                 Sport Event Status           Sport Event Status Match Status
                                                                             Sport Event Status Away             Sport Event Status Scout
                                                                                Normaltime Score                          Abandoned
                                                                          Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball-probabilities/trial/v2/en/schedules/live/probabil
            ities.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Live Probabilities feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball-
          probabilities/ {access_level} / {version} / {language_code} /schedules/live/probabilities. {format} ?api_key=
           {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Season Outright Probabilities

          Provides a list of outright probabilities for each team from a given season.


           TTL / Cache:                                                             60 seconds

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON



https://perma.cc/NUC7-WEKX                                                                                                                       42/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 53 of 443 PageID:
                                                                                           US API Portal
                                                                   951
           Competitor Info Data                 Abbreviation                      Country Code                              Name
           Points:                               Age Group                           Gender
                                                  Country                               Id

           Probability Info Data               Win Probability                    Market Name                          Outcome Name
           Points:


            curl -X GET "https://api.sportradar.us/baseball-probabilities/trial/v2/en/seasons/sr:season:7950
            7/outright_probabilities.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Season Outright Probabilities feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball-
          probabilities/ {access_level} / {version} / {language_code} /seasons/ {season_id} /outright_probabilities. {format} ?
          api_key= {your_api_key}


           Parameter           Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                               Click here for a tabular list of available languages per competition.

            season_id          Id of a given season.

            format             xml or json.

            your_api_key       Your API key.


          Return to top



          Sport Event Probabilities

          Provides pre-match and live probabilities for a given match.


           TTL / Cache:                                                             1 second

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                           Sport Name
           Data Points:                          Category Id                         Sport Id

           Competition Info Data          Competition Gender                     Round Number                          Stage End Date
           Points:                             Competition Id                Season Competition Id                       Stage Order
                                              Competition Name                  Season End Date                         Stage Phase
                                          Competition Parent Id                     Season Id                          Stage Start Date
https://perma.cc/NUC7-WEKX                                                                                                                      43/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document     1-5 v2
                                                             Global Baseball Filed   02/10/25
                                                                               | Sportradar           Page 54 of 443 PageID:
                                                                                            US API Portal

                                               Coverage Live        952      Season Name                    Stage Type
                                          Group - Group Name                   Season Start Date                         Stage Year
                                                  Group Id                        Season Year
                                                Group Name

           Competitor Info Data                 Abbreviation                     Country Code                              Name
           Points:                               Age Group                           Gender
                                                  Country                               Id

           Venue Info Data                        Capacity                       Country Name                              Name
           Points:                                Changed                               Id                         Reduced Capacity
                                                    City                        Map Coordinates                 Reduced Capacity Max
                                               Country Code

           Probability Info Data       Away Team Win Probability              Market Home Score                         Market Name
           Points:                     Home Team Win Probability              Market Last Updated                  Market Removed
                                           Market Away Score                       Market Live                      Outcome Name

           Match Info Data                       Away Score                 Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier            Sport Event Resumed Time                        Inning
                                                Home Score                   Sport Event Start Time            Sport Event Status Home
                                               Period Number                 Sport Event Start Time                Normaltime Score
                                                 Period Type                       Confirmed                Sport Event Status Home Score
                                               Sport Event Id                  Sport Event Status          Sport Event Status Match Status
                                                                            Sport Event Status Away            Sport Event Status Scout
                                                                               Normaltime Score                         Abandoned
                                                                         Sport Event Status Away Score       Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball-probabilities/trial/v2/en/sport_events/sr:sport_e
            vent:24142067/sport_event_probabilities.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Sport Event Probabilities feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball-
          probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /probabilities.
           {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish
                                (es)


                                Click here for a tabular list of available languages per competition.

            sport_event_id      Id of a given sport event.

            format              xml or json.

https://perma.cc/NUC7-WEKX                                                                                                                   44/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 55 of 443 PageID:
                                                                                           US API Portal
                                                                   953
            your_api_key         Your API key.


          Return to top



          Sport Event Upcoming Probabilities

          Provides a list of IDs for upcoming sport events in the next 24 hours.


           TTL / Cache:                                                            1 second

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Match Info Data                                               Sport Event Upcoming Id
           Points:


            curl -X GET "https://api.sportradar.us/baseball-probabilities/trial/v2/en/sport_events/upcoming_p
            robabilities.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Sport Event Upcoming Probabilities feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball-
          probabilities/ {access_level} / {version} / {language_code} /sport_events/upcoming_probabilities. {format} ?api_key=
           {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish (es)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


          Return to top



          Timeline Probabilities

          Provides a timeline of pre-match and live probability changes for a given game.


           TTL / Cache:                                                              1 second

https://perma.cc/NUC7-WEKX                                                                                                                       45/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                      Document   1-5 v2
                                                               Global Baseball Filed   02/10/25
                                                                                 | Sportradar           Page 56 of 443 PageID:
                                                                                              US API Portal
                                                                      954
           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                  Category Name                           Sport Name
           Data Points:                          Category Id                        Sport Id

           Competition Info Data          Competition Gender                     Round Number                       Stage End Date
           Points:                            Competition Id                 Season Competition Id                      Stage Order
                                           Competition Name                     Season End Date                         Stage Phase
                                         Competition Parent Id                     Season Id                        Stage Start Date
                                              Coverage Live                      Season Name                             Stage Type
                                          Group - Group Name                   Season Start Date                         Stage Year
                                                  Group Id                        Season Year
                                               Group Name

           Competitor Info Data                Abbreviation                      Country Code                              Name
           Points:                               Age Group                           Gender
                                                  Country                               Id

           Venue Info Data                        Capacity                       Country Name                              Name
           Points:                                Changed                               Id                         Reduced Capacity
                                                    City                        Map Coordinates                 Reduced Capacity Max
                                              Country Code

           Probability Info Data       Away Team Win Probability              Market Home Score                         Market Name
           Points:                    Home Team Win Probability               Market Last Updated                  Market Removed
                                           Market Away Score                       Market Live                      Outcome Name

           Match Info Data                       Away Score                 Sport Event Replaced By           Sport Event Status Decided
           Points:                        Competitor Qualifier            Sport Event Resumed Time                         Inning
                                               Home Score                    Sport Event Start Time            Sport Event Status Home
                                              Period Number                  Sport Event Start Time                Normaltime Score
                                                 Period Type                       Confirmed                Sport Event Status Home Score
                                              Sport Event Id                   Sport Event Status          Sport Event Status Match Status
                                                                            Sport Event Status Away            Sport Event Status Scout
                                                                               Normaltime Score                         Abandoned
                                                                         Sport Event Status Away Score       Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/baseball-probabilities/trial/v2/en/sport_events/sr:sport_e
            vent:24142067/timeline_probabilities.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

          Access the Timeline Probabilities feed by replacing the parameters in the following URL:


          https://api.sportradar.com/baseball-
          probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /timeline_probabilities.
           {format} ?api_key= {your_api_key}



           Parameter            Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).


https://perma.cc/NUC7-WEKX                                                                                                                   46/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                      Document   1-5 v2
                                                               Global Baseball Filed   02/10/25
                                                                                 | Sportradar           Page 57 of 443 PageID:
                                                                                              US API Portal
                                                                      955
            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), English (en), Japanese (ja), Korean (ko), Spanish
                                 (es)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       Id of a given sport event.

            format               xml or json.

            your_api_key         Your API key.


          Return to top



          Frequently Asked Questions

          Q: What leagues do you cover, and at what level?


          Coverage information can be found via our Coverage Matrix.


          Q: What format are date fields presented in?


          A: When we present date only values we present these in the ISO 8601 standard format.
          ex: 2013-04-03
          We use these for attributes that have date and no time (such as birthdate). For more information:
          https://en.wikipedia.org/wiki/ISO_8601


          Q: What format are the date/time fields presented in?


          A: All of our Date/Time attributes are in UTC, presented in the ISO 8601 standard format.
          ex: 2013-04-03T18:15:00+00:00
          For more information: https://en.wikipedia.org/wiki/ISO_8601


          Q: How can I find the values for various enum data points within the API?


          A: Many enum values are listed in the FAQ below. For the most up-to-date values, please see the Schema section of the OpenAPI
          specification here: https://api.sportradar.com/baseball/trial/v2/openapi/swagger/index.html


          Q: What are the valid sport_event_status - status values?


          A: Here are the valid sport_event_status values and their definitions:


               not_started – The match is scheduled to be played
               match_about_to_start – The match is about to begin
               started – The match has started
               live – The match is currently in progress
               postponed – The match has been postponed to a future date
               suspended - The match began, but has been suspended to a later time
               delayed – The match has been temporarily delayed and will be continued


https://perma.cc/NUC7-WEKX                                                                                                                   47/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                Document         1-5 v2
                                                             Global Baseball   Filed   02/10/25
                                                                                 | Sportradar           Page 58 of 443 PageID:
                                                                                              US API Portal
                                                                      956
               cancelled – The match has been cancelled and will not be played
               interrupted - The match began, but coverage has stopped for a short time. Note that match scores may not be updated
               during this period, the last recorded match score will be displayed instead
               ended – The match is over
               closed – The match results have been confirmed


          Q: What are the valid sport_event_status – match_status values?


          A: Here are the valid match_status values:


               not_started
               start_delayed
               aet
               interrupted
               ended
               postponed
               started
               abandoned
               cancelled
               overtime
               1st_inning
               2nd_inning
               3rd_inning
               4th_inning
               5th_inning
               6th_inning
               7th_inning
               8th_inning
               9th_inning
               pause


          Q: What are the possible event types logged?


          A: Here are the valid event type:


               match_started
               period_start
               score_change
               period_score
               break_start
               match_ended


          Q: How do I access past seasons results and stats?


          A: Use the Competition Seasons endpoint to locate the season_id for the season you want to access. Use that season_id to
          interrogate the various seasons endpoints.


          Q: What are the valid outcomes for probabilities?
https://perma.cc/NUC7-WEKX                                                                                                           48/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                  Document   1-5 v2
                                                           Global Baseball Filed   02/10/25
                                                                             | Sportradar           Page 59 of 443 PageID:
                                                                                          US API Portal

          A: Here are the valid outcome probabilities:            957

               home_team_winner
               away_team_winner


          Q: How do I find out the coverage for a particular match?


          A: Find the node called "coverage" in any of the Summary, Lineups, or Timeline feeds. The attribute "coverage - live" reports if
          Sportradar has live coverage of the match or not.


          Q: Why do different groups have coverage information for a competition?


          A: The notion of “groups” is versatile and is used to distinguish between playoffs, and our competition structures and is
          therefore necessary to describe coverage at a group level for consistency. Generally, however, within a competition in Baseball,
          there will be no difference between competition coverage.


          Q: What are markets and what are the different markets?


          A: Markets is something you can bet on that we provide probabilities for. Over time we intend to provide more and more
          markets in the API. Currently the only market we provide is 2-way (will the home team win? Or the away team?).


          Q: How are group IDs delivered in the stage array with the various types?


          A: With the type of "league" they will have a sr:league prefix. With the type of "cup" they will have a sr:cup prefix.


          Q: How are “live” feeds handled in the API?


          A: Sport Events appear in the feed 10 minutes before the scheduled start time and are removed 10 minutes after the Sport
          Event is ended.


          Q: What is the probabilities package?


          A: The probabilities package is an add-on set of feeds that are an extension of the Season Probabilities feed in the main
          package (which already provides pre-match probabilities for the sport event winner market). The main features of the
          Probabilities extension are: Live Probabilities that update throughout game, Season Outright Probabilities for the Tournament
          Winner market, and Live Probabilities Coverage indicator for the next 24 hours.


          Q: Is there Live Probability coverage for every game you cover in the Global Baseball API?


          A: Live Probability coverage depends on a number of factors and we can’t guarantee that every game will be covered for any
          given league, however, Sportradar aims to cover close to 100% of games from the following Tier 1 leagues: Major League
          Baseball (MLB) – USA, Nippon Professional Baseball (NPB) – Japan, and KBO League – South Korea


          Q: Can I utilize the Probabilities extension if I license the Sportradar MLB API?


          A: If you have a license for our MLB API you can also integrate Live Probabilities by utilizing the ID Mapping feeds available in
          Global Baseball v2 to connect games between the two products.


          Q: Why can't I find a particular match in the Daily Summaries, Season Summaries or Sport Events Updated feeds?


          A: These endpoints support pagination and return 200 entries by default. To return more matches, an additional query string
          parameter must be used after your API key. For example, appending &start=200 will return the next 200 entries per page,
https://perma.cc/NUC7-WEKX                                                                                                                    49/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                   Document   1-5 v2
                                                            Global Baseball Filed   02/10/25
                                                                              | Sportradar           Page 60 of 443 PageID:
                                                                                           US API Portal

          &start=400 will return the next 200, and so on.          958

          Q: How will a sport event behave when it is not covered with live scores?


          A: When a sport_event is not covered live, the status and match_status will remain as not_started until results are entered post-
          match.


          Q: How do I locate the TTL (Time to Live)/cache on an API endpoint?


          A: The cache (in seconds) can be accessed in the returned header information on each RESTful API call, under cache-control .
          ex. cache-control: max-age=1, public, s-maxage=1 or
           cache-control: public, must-revalidate, max-age=120




          Q: What are the possible values for cup_round – state in the Season Links feed?


          A: Listed below are the values and definitions for cup_round - state . These can be leveraged to determine the status of a cup
          round.


                empty - A matchup has been created but neither the match details nor the competitors are known.

                unseeded_fixture - Match details are known but competitors are unknown.

                partial_seeded - One competitor is known.

                partial_seeded_fixture - Match details and one competitor are known.

                seeded - Both competitors are known.

                seeded_fixture - Match details and both competitors are known.

                unstarted - Match(es) have been added.

                on_going - The first match has started.

                decided - The last match has ended.

                winner - The winner is known.

                cancelled – The matchup has been cancelled.


          Q: How are extra innings displayed in the Global Baseball API?


          A: In the Summary endpoints, extra inning games have one overtime period for all extra innings.


          In the Sport Event Timeline feed, each extra inning will feature period_name="overtime" .


          Return to top




         SPORTRADAR
         150 South 5th St. Suite 400
         Minneapolis, MN 55402
         USA


         us-sales@sportradar.com
         us-jobs@sportradar.com
         Main: 612-361-4100


https://perma.cc/NUC7-WEKX                                                                                                                    50/51
2/3/25, 1:28Case
             PM  3:25-cv-01143-GC-JTQ                     Document   1-5 v2
                                                              Global Baseball Filed   02/10/25
                                                                                | Sportradar           Page 61 of 443 PageID:
                                                                                             US API Portal
         Sales: 612-361-4102                                         959
         Terms and Conditions

         SPORTRADAR IS SOCIAL




         Privacy Policy © Sportradar, a subsidiary of Sportradar AG




https://perma.cc/NUC7-WEKX                                                                                                      51/51
Case 3:25-cv-01143-GC-JTQ   Document 1-5   Filed 02/10/25   Page 62 of 443 PageID:
                                     960




                            Exhibit 54
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 63 of 443 PageID:
                                                                                               US API Portal
                                                                     961
                                                                                                                 ⋮ Docs Navigation    ☰ Menu

            Bash     Ruby     Python


           Global Basketball v2


                                                             Statistics Summary

                                                                Documentation

                                                           OpenAPI Specification

                                                                   Change Log

                                                                Coverage Matrix

                                                         Frequently Asked Questions

                                                                     Quick Access

                                    Postman Collection                                               XSD Schema

                                                                                                      Download




           Global Basketball API Overview

           The Global Basketball API provides real-time scoring and statistics (when available) and an array of supplementary data. Data is
           collected via Sportradar’s on-venue scouts and in-house operators.


           Over 200 unique competitions are available in one package. Select the Global Basketball package in our Coverage Matrix for
           competitions and data offered.


           The API is consistent in structure, format and behavior with the other General Sport APIs. Primary feeds will return seasons,
           competitions, team and player data, and real-time scores.


           Additional feeds provide a host of complementary stats, including:


               Standings
               Player profiles
               Team profiles
               Historical results
               Game rosters
               Seasonal statistics
               Match win probabilities
               Live event positional data


https://perma.cc/8MZQ-TLG8                                                                                                                     1/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                   Document       1-5 Filed
                                                               Global Basketball         02/10/25
                                                                                 v2 | Sportradar          Page 64 of 443 PageID:
                                                                                                 US API Portal
                                                                       962
           Real-time customers are also offered two delivery Push Feeds to enhance speed.


           An extended Probabilities package is also offered. This add-on includes in-game probability updates and season outrights.


                                          API                                                          API Version

                                  Global Basketball                                                        v2



              Note: Authentication is required for all API calls.




           Global Basketball API Map

           To best utilize the Global Basketball API, you will need several parameters to create your API calls. The map below illustrates
           how you can obtain the parameters you need.



             Example:

             To find the probability of a home team win for a given game:


               1. Call the Daily Schedule for the day the sport event takes place and find the Season Id for the chosen sport event
               2. Make note of the Sport Event Id for the given sport event
               3. Call the Season Probabilities using the Season Id
               4. Find Sport Event Id within the results locate the home team and the outcome probability


             The probability of a home team win is displayed.

           The primary feeds require only a date or human-readable parameters to call the endpoints. Those feeds provide Sport Event
           Ids, Competitor Ids, or Season Ids which can be used to generate the match, team, and tournament feeds.


               - Available only with the probabilities plan within the Global Basketball v2 package. See FAQ for details.




https://perma.cc/8MZQ-TLG8                                                                                                                   2/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                       Document    1-5 Filed
                                                                Global Basketball         02/10/25
                                                                                  v2 | Sportradar          Page 65 of 443 PageID:
                                                                                                  US API Portal
                                                                        963
                                             Competition Info                                 Competitions

                                            Daily Summaries                                 Live Summaries

                                              Live Timelines                               Live Timelines Delta

                                                                       Seasons
                                                                     Primary Feeds




                                      Season Feeds                 Sport Event Feeds                 Competitor Feeds

                                   Competition Seasons             Sport Event Lineups               Competitor Profile

                                                                                                          Competitor
                                   Season Competitors             Sport Event Summary
                                                                                                          Summaries
                                                                                                       Competitor vs
                                       Season Info                Sport Event Timeline
                                                                                                        Competitor
                                                                      Sport Events
                                     Season Lineups
                                                                       Removed
                                                                                                        Player Feed
                                                                      Sport Events
                                      Season Links
                                                                       Removed                         Player Profile

                                    Season Mappings               Sport Events Updated


                                     Season Players                                    Push Feeds
                                                                        Push Events                  Push Statistics
                                   Season Probabilities


                                    Season Standings


                                    Season Summaries



                                                                    Mapping Feeds
                                                                   Competitor Merge
                                     Competitor Mappings                                           Player Mappings
                                                                      Mappings

                                    Player Merge Mappings          Season Mappings              Sport Event Mappings


                                                                     Probabilities *
                                                                        Season
                                       Live Probabilities                                      Sport Event Probabilities
                                                                  Outright Probabilities
                                                       Sport Event
                                                                                 Timeline Probabilities
                                                   Upcoming Probabilities




           Competition Info

           Provides the name, id, and parent id for a given competition.


           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Category &                Category Country Code                        Category Id                            Category Name
            Sport Info:

https://perma.cc/8MZQ-TLG8                                                                                                                3/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 66 of 443 PageID:
                                                                                               US API Portal
                                                                     964
            Competition                Competition Gender                      Competition Name                    Competition Parent Id
            Info Data Points:             Competition Id


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitions/sr:competition:138/in
            fo.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competition Info feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitions/ {competition_id
           } /info. {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            competition_id       Id of a given competition.

            format               xml or json.

            your_api_key         Your API key.


           Return to top



           Competition Seasons

           Provides historical season information for a given competition. Competitions will return a maximum of three seasons of data,
           including current or newly created seasons.


           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Competition                  Season Competition Id                          Season Id                     Season Start Date
            Info Data Points:                Season End Date                          Season Name                        Season Year


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitions/sr:competition:138/se
            asons.xml?api_key={your_api_key}"

https://perma.cc/8MZQ-TLG8                                                                                                                         4/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ               Document         1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 67 of 443 PageID:
                                                                                               US API Portal

             The above command returns xml structured like this.     965
           Access the Competition Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitions/ {competition_id
           } /seasons. {format} ?api_key= {your_api_key}



            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v2).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                  Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                  Swedish (sv), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            competition_id        Id of a given competition.

            format                xml or json.

            your_api_key          Your API key.


           Return to top



           Competitions

           Provides a list of all available basketball competitions.


           TTL / Cache:                                                            300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Category &                 Category Country Code                        Category Id                        Category Name
            Sport Info:

            Competition                  Competition Gender                     Competition Name                    Competition Parent Id
            Info Data Points:               Competition Id


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitions.xml?api_key={your_api
            _key}"



             The above command returns xml structured like this.

           Access the Competitions feed by replacing the parameters in the following URL:




https://perma.cc/8MZQ-TLG8                                                                                                                          5/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                 Document      1-5 Filed
                                                            Global Basketball         02/10/25
                                                                              v2 | Sportradar          Page 68 of 443 PageID:
                                                                                              US API Portal
                                                                     966
           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitions. {format} ?
           api_key= {your_api_key}


            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                               Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                               Swedish (sv), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.

            parents=true       Optional query parameter to display only parent competitions. Note: Optional query string parameters
                               must be added after your API key with an ampersand (&).


           Return to top



           Competitor Mappings

           Provides team id mapping between the Global Basketball API and other basketball APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000
             competitor mappings.



           TTL / Cache:                                                              300 seconds

            Update                                                                   As Necessary
            Frequency:

            Content Type:                                                            XML or JSON

            Mapping Info                                               External Id                                                  Id
            Data Points:



            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitors/mappings.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Mapping feed by replacing the parameters in the following URL:




https://perma.cc/8MZQ-TLG8                                                                                                                       6/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                 Document      1-5 Filed
                                                            Global Basketball         02/10/25
                                                                              v2 | Sportradar          Page 69 of 443 PageID:
                                                                                              US API Portal
                                                                     967
           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitors/mappings.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/competitors/mappings.xml?api_key={your_api
            _key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Competitor Merge Mappings

           Provides the valid Sportradar Id in cases when two competitors have been merged into one. Mapping entries will remain in the
           feed for 7 days.
https://perma.cc/8MZQ-TLG8                                                                                                                         7/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 70 of 443 PageID:
                                                                                               US API Portal
                                                                     968
           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mappings Info                Name                            Merged Id                                   Retained Id
            Data Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitors/merge_mappings.xml?api
            _key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitors/merge_mappings.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Competitor Profile

           Provides top-level information for a given team, including the full team roster, home venue, and team colors.


           TTL / Cache:                                                              300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                         Category Id                            Sport Id




https://perma.cc/8MZQ-TLG8                                                                                                                        8/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                        Document    1-5 Filed
                                                                 Global Basketball         02/10/25
                                                                                   v2 | Sportradar          Page 71 of 443 PageID:
                                                                                                   US API Portal
                                                                         969
            Competitor Info Data          Competitor Abbreviation                 Jersey Base Color                      Jersey Stripes
            Points:                        Competitor Age Group               Jersey Horizontal Stripes                   Jersey Type
                                            Competitor Country                  Jersey Number Color                 Manager Country Code
                                         Competitor Country Code                   Jersey Shirt Type                 Manager Date of Birth
                                               Competitor Division               Jersey Sleeve Color                    Manager Gender
                                               Competitor Gender                      Jersey Split                         Manager Id
                                                 Competitor Id                      Jersey Squares                       Manager Name
                                               Competitor Name                                                        Manager Nationality
                                                Competitor State

            Player Info Data                     Country Code                              Id                                 Name
            Points:                               Date of Birth                     Jersey Number                           Position
                                                     Gender                           Nationality                            Weight
                                                     Height

            Venue Info Data                         Capacity                        Country Name                        Map Coordinates
            Points:                                   City                                 Id                                 Name
                                                 Country Code


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitors/sr:competitor:3515/pro
            file.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /profile. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            competitor_id       Id of a given competitor.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Competitor Summaries
https://perma.cc/8MZQ-TLG8                                                                                                                        9/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ               Document         1-5 Filed
                                                            Global Basketball         02/10/25
                                                                              v2 | Sportradar           Page 72 of 443 PageID:
                                                                                              US API Portal
                                                                     970
           Provides previous and upcoming game information for a given competitor, including statistics for past games and scheduling
           info for upcoming games.


           TTL / Cache:                                                        300 seconds

            Update Frequency:                                                  As Necessary

            Content Type:                                                      XML or JSON

            Category & Sport Info         Category Country Code               Category Name                       Sport Name
            Data Points:                       Category Id                       Sport Id

            Competition Info Data          Competition Gender                 Round Number                      Stage End Date
            Points:                          Competition Id               Season Competition Id                   Stage Order
                                            Competition Name                 Season End Date                      Stage Phase
                                          Competition Parent Id                 Season Id                       Stage Start Date
                                              Coverage Live                   Season Name                         Stage Type
                                         Coverage Property Type              Season Start Date                     Stage Year
                                         Coverage Property Value               Season Year
                                                Group Id
                                               Group Name

            Competitor Info Data         Competitor Abbreviation           Competitor Division                 Competitor Name
            Points:                       Competitor Age Group              Competitor Gender                  Competitor State
                                           Competitor Country                 Competitor Id
                                        Competitor Country Code

            Player Info Data                        Id                                              Name
            Points:

            Venue Info Data                     Capacity                      Country Name                           Name
            Points:                             Changed                             Id                         Reduced Capacity
                                                   City                      Map Coordinates                 Reduced Capacity Max
                                              Country Code

            Match Info Data                Competitor Qualifier           Sport Event Start Time           Sport Event Status Decided
            Points:                      Period Score Away Score          Sport Event Start Time                   Overtime
                                         Period Score Home Score                Confirmed                   Sport Event Status Home
                                          Period Score Number               Sport Event Status                 Normaltime Score
                                            Period Score Type            Sport Event Status Away       Sport Event Status Home Score
                                              Sport Event Id                Normaltime Score           Sport Event Status Match Status
                                         Sport Event Replaced By       Sport Event Status Away Score        Sport Event Status Scout
                                                                       Sport Event Status Decided by              Abandoned
                                                                                   Fed                  Sport Event Status Winner Id

            Competitor Match                     Assists                      Leader Points                     Team Turnovers
            Statistics Data Points:          Ball Possession              Leader Points Player Id            Three Point Attempts
                                               Biggest Lead                  Leader Rebounds                      Successful
                                           Defensive Rebounds           Leader Rebounds Player Id          Three Point Attempts Total
                                                  Fouls                     Offensive Rebound                 Time Spent in Lead
                                      Free Throw Attempts Successful            Rebounds                           Timeouts
                                        Free Throw Attempts Made              Shots Blocked                        Turnovers
                                              Leader Assists                      Steals               Two Point Attempts Successful
                                         Leader Assists Player Id              Team Leads                   Two Point Attempts Total
                                                                             Team Rebounds




https://perma.cc/8MZQ-TLG8                                                                                                               10/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 73 of 443 PageID:
                                                                                               US API Portal
                                                                     971
            Player Match Statistics                 Assists                       Free Throws Made                      Technical Fouls
            Data Points:                            Blocks                              Minutes                    Three Pointers Attempted
                                            Defensive Rebounds                   Offensive Rebounds                   Three Pointers Made
                                           Field Goals Attempted                    Personal Fouls                      Total Rebounds
                                                Field Goals Made                         Points                            Turnovers
                                          Free Throws Attempted                          Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitors/sr:competitor:3501/sum
            maries.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            competitor_id       ID for a given competitor.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Competitor vs Competitor

           Provides previous and upcoming games between two teams including scoring information, player game statistics and team
           game statistics.


           TTL / Cache:                                                               60 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                          Category Id                           Sport Id


https://perma.cc/8MZQ-TLG8                                                                                                                        11/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 74 of 443 PageID:
                                                                                                US API Portal
                                                                      972
            Competition Info Data          Competition Gender                 Round Number                       Stage End Date
            Points:                          Competition Id               Season Competition Id                    Stage Order
                                            Competition Name                 Season End Date                       Stage Phase
                                          Competition Parent Id                 Season Id                        Stage Start Date
                                              Coverage Live                    Season Name                         Stage Type
                                         Coverage Property Type              Season Start Date                      Stage Year
                                         Coverage Property Value               Season Year
                                                Group Id
                                               Group Name

            Competitor Info Data         Competitor Abbreviation            Competitor Division                 Competitor Name
            Points:                       Competitor Age Group              Competitor Gender                   Competitor State
                                           Competitor Country                 Competitor Id
                                        Competitor Country Code

            Player Info Data                        Id                                               Name
            Points:

            Venue Info Data                     Capacity                      Country Name                            Name
            Points:                             Changed                             Id                          Reduced Capacity
                                                   City                      Map Coordinates                  Reduced Capacity Max
                                              Country Code

            Match Info Data                Competitor Qualifier           Sport Event Start Time            Sport Event Status Decided
            Points:                      Period Score Away Score          Sport Event Start Time                    Overtime
                                         Period Score Home Score                Confirmed                    Sport Event Status Home
                                          Period Score Number               Sport Event Status                  Normaltime Score
                                            Period Score Type             Sport Event Status Away      Sport Event Status Home Score
                                              Sport Event Id                Normaltime Score           Sport Event Status Match Status
                                         Sport Event Replaced By       Sport Event Status Away Score         Sport Event Status Scout
                                                                       Sport Event Status Decided by               Abandoned
                                                                                   Fed                  Sport Event Status Winner Id

            Competitor Match                     Assists                       Leader Points                     Team Turnovers
            Statistics Data Points:          Ball Possession              Leader Points Player Id             Three Point Attempts
                                               Biggest Lead                  Leader Rebounds                       Successful
                                           Defensive Rebounds            Leader Rebounds Player Id          Three Point Attempts Total
                                                  Fouls                     Offensive Rebound                  Time Spent in Lead
                                      Free Throw Attempts Successful            Rebounds                            Timeouts
                                        Free Throw Attempts Made              Shots Blocked                         Turnovers
                                              Leader Assists                      Steals                Two Point Attempts Successful
                                         Leader Assists Player Id              Team Leads                    Two Point Attempts Total
                                                                             Team Rebounds

            Player Match Statistics              Assists                    Free Throws Made                     Technical Fouls
            Data Points:                         Blocks                          Minutes                    Three Pointers Attempted
                                           Defensive Rebounds               Offensive Rebounds                 Three Pointers Made
                                          Field Goals Attempted               Personal Fouls                     Total Rebounds
                                             Field Goals Made                     Points                            Turnovers
                                         Free Throws Attempted                    Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/competitors/sr:competitor:3501/ver
            sus/sr:competitor:6676/summaries.xml?api_key={your_api_key}"




https://perma.cc/8MZQ-TLG8                                                                                                               12/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ               Document         1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 75 of 443 PageID:
                                                                                               US API Portal

             The above command returns xml structured like this.     973
           Access the Competitor vs Competitor feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /versus/ {competitor2_id} /summaries. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            competitor_id        ID for a given competitor.

            competitor2_id       ID for a given competitor.

            format               xml or json.

            your_api_key         Your API key.


           Return to top



           Daily Summaries

           Provides game information for a given day including team scoring, player and team game statistics.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
             events.



           TTL / Cache:                                                              300 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competition Info Data           Competition Gender                     Round Number                         Stage End Date
            Points:                              Competition Id                Season Competition Id                      Stage Order
                                            Competition Name                      Season End Date                         Stage Phase
                                           Competition Parent Id                      Season Id                         Stage Start Date
                                                 Coverage Live                      Season Name                           Stage Type
                                          Coverage Property Type                                                           Stage Year

https://perma.cc/8MZQ-TLG8                                                                                                                         13/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                 Document        1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 76 of 443 PageID:
                                                                                                US API Portal

                                         Coverage Property Value      974   Season Start Date
                                                Group Id                        Season Year
                                               Group Name

            Competitor Info Data         Competitor Abbreviation            Competitor Division                 Competitor Name
            Points:                       Competitor Age Group              Competitor Gender                   Competitor State
                                           Competitor Country                  Competitor Id
                                        Competitor Country Code

            Player Info Data                        Id                                               Name
            Points:

            Venue Info Data                     Capacity                      Country Name                            Name
            Points:                             Changed                              Id                         Reduced Capacity
                                                   City                      Map Coordinates                  Reduced Capacity Max
                                              Country Code

            Match Info Data                Competitor Qualifier           Sport Event Start Time            Sport Event Status Home
            Points:                      Period Score Away Score          Sport Event Start Time                Normaltime Score
                                         Period Score Home Score                Confirmed              Sport Event Status Home Score
                                          Period Score Number                Sport Event Status        Sport Event Status Match Status
                                            Period Score Type             Sport Event Status Away           Sport Event Status Scout
                                              Sport Event Id                 Normaltime Score                      Abandoned
                                         Sport Event Replaced By       Sport Event Status Away Score    Sport Event Status Winner Id
                                                                       Sport Event Status Decided by              Time Played
                                                                                    Fed                          Time Remaining
                                                                        Sport Event Status Decided
                                                                                 Overtime

            Competitor Match                     Assists                       Leader Points                     Team Turnovers
            Statistics Data Points:          Ball Possession              Leader Points Player Id             Three Point Attempts
                                               Biggest Lead                  Leader Rebounds                       Successful
                                           Defensive Rebounds           Leader Rebounds Player Id           Three Point Attempts Total
                                                  Fouls                     Offensive Rebound                  Time Spent in Lead
                                      Free Throw Attempts Successful             Rebounds                           Timeouts
                                        Free Throw Attempts Made               Shots Blocked                        Turnovers
                                              Leader Assists                       Steals               Two Point Attempts Successful
                                         Leader Assists Player Id               Team Leads                  Two Point Attempts Total
                                                                              Team Rebounds

            Player Match Statistics              Assists                     Free Throws Made                    Technical Fouls
            Data Points:                         Blocks                           Minutes                   Three Pointers Attempted
                                           Defensive Rebounds               Offensive Rebounds                Three Pointers Made
                                          Field Goals Attempted               Personal Fouls                     Total Rebounds
                                             Field Goals Made                      Points                           Turnovers
                                         Free Throws Attempted                     Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/schedules/2019-01-15/summaries.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Daily Summaries feed by replacing the parameters in the following URL:




https://perma.cc/8MZQ-TLG8                                                                                                               14/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                 Document      1-5 Filed
                                                            Global Basketball         02/10/25
                                                                              v2 | Sportradar          Page 77 of 443 PageID:
                                                                                              US API Portal
                                                                     975
           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /schedules/ {year} - {month} -
           {day} /summaries. {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            year                 Year in 4 digit format (YYYY).

            month                Month in 2 digit format (MM).

            day                  Day in 2 digit format (DD).

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/schedules/2019-01-15/summaries.xml?api_key
            ={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top

https://perma.cc/8MZQ-TLG8                                                                                                                         15/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                      Document    1-5 Filed
                                                               Global Basketball         02/10/25
                                                                                 v2 | Sportradar          Page 78 of 443 PageID:
                                                                                                 US API Portal
                                                                       976
           Live Summaries

           Provides game information for all currently live games including team scoring, player and team match statistics. This feed
           updates in real time as matches are played. Matches appear a few minutes before kick-off and disappear a few minutes after
           the match reaches “ended” status.


           TTL / Cache:                                                            1 second

            Update Frequency:                                                    As Necessary

            Content Type:                                                        XML or JSON

            Category & Sport Info         Category Country Code                 Category Name                        Sport Name
            Data Points:                        Category Id                         Sport Id

            Competition Info Data          Competition Gender                   Round Number                       Stage End Date
            Points:                            Competition Id               Season Competition Id                    Stage Order
                                            Competition Name                   Season End Date                       Stage Phase
                                          Competition Parent Id                    Season Id                       Stage Start Date
                                               Coverage Live                     Season Name                         Stage Type
                                          Coverage Property Type               Season Start Date                     Stage Year
                                         Coverage Property Value                  Season Year
                                                  Group Id
                                                Group Name

            Competitor Info Data         Competitor Abbreviation              Competitor Division                 Competitor Name
            Points:                       Competitor Age Group                Competitor Gender                   Competitor State
                                           Competitor Country                    Competitor Id
                                         Competitor Country Code

            Player Info Data                         Id                                                Name
            Points:

            Venue Info Data                       Capacity                      Country Name                            Name
            Points:                               Changed                              Id                         Reduced Capacity
                                                    City                       Map Coordinates                  Reduced Capacity Max
                                               Country Code

            Match Info Data                Competitor Qualifier             Sport Event Start Time            Sport Event Status Home
            Points:                      Period Score Away Score            Sport Event Start Time                Normaltime Score
                                         Period Score Home Score                  Confirmed               Sport Event Status Home Score
                                           Period Score Number                Sport Event Status          Sport Event Status Match Status
                                            Period Score Type              Sport Event Status Away            Sport Event Status Scout
                                               Sport Event Id                 Normaltime Score                       Abandoned
                                         Sport Event Replaced By        Sport Event Status Away Score      Sport Event Status Winner Id
                                                                        Sport Event Status Decided by               Time Played
                                                                                      Fed                          Time Remaining
                                                                          Sport Event Status Decided
                                                                                   Overtime

            Competitor Match                       Assists                       Leader Points                     Team Turnovers
            Statistics Data Points:            Ball Possession              Leader Points Player Id             Three Point Attempts
                                                Biggest Lead                   Leader Rebounds                       Successful
                                           Defensive Rebounds             Leader Rebounds Player Id           Three Point Attempts Total
                                                   Fouls                      Offensive Rebound                  Time Spent in Lead
                                      Free Throw Attempts Successful              Rebounds                            Timeouts

https://perma.cc/8MZQ-TLG8                                                                                                                  16/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                  Document      1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 79 of 443 PageID:
                                                                                               US API Portal

                                        Free Throw Attempts Made     977       Shots Blocked                  Turnovers
                                                 Leader Assists                          Steals                 Two Point Attempts Successful
                                          Leader Assists Player Id                   Team Leads                    Two Point Attempts Total
                                                                                   Team Rebounds

            Player Match Statistics                 Assists                       Free Throws Made                      Technical Fouls
            Data Points:                            Blocks                              Minutes                    Three Pointers Attempted
                                            Defensive Rebounds                   Offensive Rebounds                   Three Pointers Made
                                           Field Goals Attempted                    Personal Fouls                      Total Rebounds
                                                Field Goals Made                         Points                            Turnovers
                                          Free Throws Attempted                          Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/schedules/live/summaries.xml?api_k
            ey={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            competitor_id       ID for a given competitor.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Live Timelines

           Provides a play-by-play event timeline for currently live games. Games appear a few minutes before tip-off and disappear a few
           minutes after the game reaches “ended” status.


           TTL / Cache:                                                                1 second

            Update Frequency:                                                        As Necessary

https://perma.cc/8MZQ-TLG8                                                                                                                        17/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                      Document    1-5 Filed
                                                               Global Basketball         02/10/25
                                                                                 v2 | Sportradar          Page 80 of 443 PageID:
                                                                                                 US API Portal
                                                                       978
            Content Type:                                                             XML or JSON

            Match Info Data                Period Score Away Score          Sport Event Status Away Score           Sport Event Status Scout
            Points:                       Period Score Home Score           Sport Event Status Decided by                  Abandoned
                                            Period Score Number                            Fed                    Sport Event Status Winner Id
                                                Period Score Type             Sport Event Status Decided             Sport Event Timeline Id
                                                Sport Event Status                      Overtime                Sport Event Timeline Start Time
                                           Sport Event Status Away             Sport Event Status Home                     Time Played
                                                Normaltime Score                   Normaltime Score                      Time Remaining
                                                                            Sport Event Status Home Score
                                                                            Sport Event Status Match Status

            Timeline Info Data                   Assist Player Id                    Goal Scorer Id                        Period Name
            Points:                             Assist Player Name                 Goal Scorer Name                            Time
                                                   Assist Type                        Home Score                               Type
                                                   Away Score                               Id                             X Coordinate
                                                   Break Name                         Match Clock                          Y Coordinate
                                                   Competitor                          Match Time
                                                   Home Score                            Period


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/schedules/live/timelines.xml?api_k
            ey={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timelines feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /schedules/live/timelines.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the XML Schema Definition (.XSD) for the Match Timeline use the following URL.


           https://schemas.sportradar.com/bsa/v1/endpoints/basketball/match_timeline.xsd



https://perma.cc/8MZQ-TLG8                                                                                                                         18/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 81 of 443 PageID:
                                                                                                US API Portal

           Return to top                                              979


           Live Timelines Delta

           Provides a 10 second live delta of game information, including scoring and a play-by-play event timeline.


           TTL / Cache:                                                               1 second

            Update Frequency:                                                       As Necessary

            Content Type:                                                           XML or JSON

            Match Info Data               Period Score Away Score          Sport Event Status Away Score          Sport Event Status Scout
            Points:                       Period Score Home Score          Sport Event Status Decided by                   Abandoned
                                            Period Score Number                          Fed                   Sport Event Status Winner Id
                                               Period Score Type             Sport Event Status Decided           Sport Event Timeline Id
                                               Sport Event Status                     Overtime                Sport Event Timeline Start Time
                                          Sport Event Status Away             Sport Event Status Home                     Time Played
                                               Normaltime Score                  Normaltime Score                        Time Remaining
                                                                           Sport Event Status Home Score
                                                                          Sport Event Status Match Status

            Timeline Info Data                  Assist Player Id                    Goal Scorer Id                        Period Name
            Points:                          Assist Player Name                  Goal Scorer Name                            Time
                                                  Assist Type                        Home Score                              Type
                                                  Away Score                              Id                              X Coordinate
                                                  Break Name                         Match Clock                          Y Coordinate
                                                  Competitor                         Match Time
                                                  Home Score                            Period


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/schedules/live/timelines_delta.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timelines Delta feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /schedules/live/timelines_delta.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).




https://perma.cc/8MZQ-TLG8                                                                                                                      19/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                   Document    1-5 Filed
                                                            Global Basketball         02/10/25
                                                                              v2 | Sportradar          Page 82 of 443 PageID:
                                                                                              US API Portal
                                                                    980
            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                               Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                               Swedish (sv), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.


           Return to top



           Player Mappings

           Provides player id mapping between the Global Basketball API and other basketball APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 player
             mappings.



           TTL / Cache:                                                              300 seconds

            Update                                                                   As Necessary
            Frequency:

            Content Type:                                                            XML or JSON

            Mapping Info                                               External Id                                                  Id
            Data Points:



            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/players/mappings.xml?api_key={your
            _api_key}"



             The above command returns xml structured like this.

           Access the Player Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /players/mappings. {format} ?
           api_key= {your_api_key}


            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),

https://perma.cc/8MZQ-TLG8                                                                                                                       20/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document         1-5 Filed
                                                                 Global Basketball           02/10/25
                                                                                     v2 | Sportradar          Page 83 of 443 PageID:
                                                                                                     US API Portal
                                                                          981
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/players/mappings.xml?api_key={your_api_ke
            y}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Player Merge Mappings

           Provides valid ids for players who have had their profiles merged. While Sportradar always strives to provide one unique player
           id, it is a possibility for two ids to be created. This feed provides the correct id once profiles have been merged.


           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Mapping Info                         Merged Id                        Name                              Retained Id
            Data Points:




https://perma.cc/8MZQ-TLG8                                                                                                                         21/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 84 of 443 PageID:
                                                                                                US API Portal
                                                                      982
            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/players/merge_mappings.xml?api_key
            ={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /players/merge_mappings.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/players/merge_mappings.xml?api_key={your_a
            pi_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


https://perma.cc/8MZQ-TLG8                                                                                                                         22/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 85 of 443 PageID:
                                                                                               US API Portal

           Return to top                                             983


           Player Profile

           Provides player information, including team membership info.


           TTL / Cache:                                                              300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Competitor Info Data          Competitor Abbreviation                Competitor Division                   Competitor Name
            Points:                        Competitor Age Group                  Competitor Gender                      Competitor State
                                            Competitor Country                      Competitor Id
                                         Competitor Country Code

            Player Info Data                    Country Code                               Id                                 Name
            Points:                             Date Of Birth                       Jersey Number                           Position
                                                   Gender                             Nationality                            Weight
                                                   Height


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/players/sr:player:607296/profile.x
            ml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /players/ {player_id} /profile.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            player_id           ID of a given player.

            format              xml or json.

            your_api_key        Your API key.


           Return to top

https://perma.cc/8MZQ-TLG8                                                                                                                        23/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 86 of 443 PageID:
                                                                                                US API Portal
                                                                      984
           Season Competitors

           Provides a list of teams participating for a given season.


           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                         As Necessary

            Content Type:                                                             XML or JSON

            Competitor Info Data           Competitor Abbreviation                 Competitor Name                   Competitor Short Name
            Points:                              Competitor Id


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:85212/competitor
            s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Competitors feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /competitors. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            ID of a given season.

            format               xml or json.

            your_api_key         Your API key.


           Return to top



           Season Info

           Provides detailed information for a given season, including participating teams and league structure.


           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                         As Necessary


https://perma.cc/8MZQ-TLG8                                                                                                                         24/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 87 of 443 PageID:
                                                                                               US API Portal
                                                                     985
            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender              Info Venue Reduced Capacity                   Season Year
            Points:                             Competition Id              Info Venue Reduced Capacity                  Stage End Date
                                               Competition Name                           Max                             Stage Order
                                           Competition Parent Id               Season Competition Id                      Stage Phase
                                                   Group Id                        Season End Date                      Stage Start Date
                                               Group Max Rounds                        Season Id                           Stage Type
                                                 Group Name                         Season Name                            Stage Year
                                          Info Competition Status                 Season Start Date

            Competitor Info Data          Competitor Abbreviation                Competitor Division                   Competitor Name
            Points:                        Competitor Age Group                  Competitor Gender                      Competitor State
                                            Competitor Country                      Competitor Id
                                         Competitor Country Code


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55285/info.xml?a
            pi_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Info feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /info.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           ID of a given season.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Season Lineups

https://perma.cc/8MZQ-TLG8                                                                                                                        25/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document       1-5 Filed
                                                                Global Basketball         02/10/25
                                                                                  v2 | Sportradar          Page 88 of 443 PageID:
                                                                                                  US API Portal

           Provides game rosters for all games in a given season.       986


             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
             events.



           TTL / Cache:                                                         30 seconds

            Update Frequency:                                                  As Necessary

            Content Type:                                                      XML or JSON

            Category & Sport Info        Category Country Code                Category Name                      Sport Name
            Data Points:                      Category Id                         Sport Id

            Competition Info Data         Competition Gender                   Group Name                        Season Year
            Points:                          Competition Id                   Round Number                      Stage End Date
                                           Competition Name               Season Competition Id                  Stage Order
                                         Competition Parent Id               Season End Date                     Stage Phase
                                             Coverage Live                       Season Id                     Stage Start Date
                                        Coverage Property Type                 Season Name                        Stage Type
                                        Coverage Property Value              Season Start Date                    Stage Year
                                          Group - Group Name
                                                Group Id

            Competitor Info Data        Competitor Abbreviation             Competitor Division               Competitor Name
            Points:                      Competitor Age Group               Competitor Gender                  Competitor State
                                          Competitor Country                   Competitor Id
                                       Competitor Country Code

            Player Info Data                 Country Code                     Jersey Number                        Position
            Points:                           Date of Birth                     Nationality                         Starter
                                                 Height                            Name                             Weight
                                                   Id                             Played

            Venue Info Data                     Capacity                      Country Name                          Name
            Points:                             Changed                              Id                       Reduced Capacity
                                                  City                       Map Coordinates                Reduced Capacity Max
                                             Country Code

            Match Info Data               Competitor Qualifier            Sport Event Start Time          Sport Event Status Decided
            Points:                     Period Score Away Score           Sport Event Start Time                   Overtime
                                        Period Score Home Score                 Confirmed                  Sport Event Status Home
                                         Period Score Number                Sport Event Status                Normaltime Score
                                           Period Score Type              Sport Event Status Away       Sport Event Status Home Score
                                             Sport Event Id                  Normaltime Score          Sport Event Status Match Status
                                        Sport Event Replaced By       Sport Event Status Away Score        Sport Event Status Scout
                                                                       Sport Event Status Decided by             Abandoned
                                                                                    Fed                  Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55467/lineups.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.


https://perma.cc/8MZQ-TLG8                                                                                                               26/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                  Document        1-5 Filed
                                                               Global Basketball         02/10/25
                                                                                 v2 | Sportradar          Page 89 of 443 PageID:
                                                                                                 US API Portal
                                                                       987
           Access the Season Lineups feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /lineups.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            Id of a given season.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55467/lineups.xml?api_ke
            y={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the lineup information with one or more of the following
           optional query string parameters. By default the limit is set to 200.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



https://perma.cc/8MZQ-TLG8                                                                                                                         27/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 90 of 443 PageID:
                                                                                                US API Portal
                                                                      988
           Season Links

           Provides information about linked cup rounds for a given season.


           Use this feed to compile full advancement brackets for relevant seasons/tournaments. Links between all matches and rounds
           are available when competitors (TBD vs. TBD) are not yet known.


           TTL / Cache:                                                              300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Competition Info Data                Cup Round Id                          Group Id                         Stage Start Date
            Points:                             Cup Round Name                      Stage End Date                         Stage Type
                                                Cup Round Order                      Stage Phase                           Stage Year
                                                Cup Round State
                                                Cup Round Type
                                            Cup Round Winner Id
                                            Group - Group Name

            Sport Event Info Data                Sport Event Id                 Sport Event Start Time              Sport Event Start Time
            Points:                                                                                                        Confirmed


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:79153/stages_gro
            ups_cup_rounds.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Links feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /stages_groups_cup_rounds. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


https://perma.cc/8MZQ-TLG8                                                                                                                        28/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                  Document        1-5 Filed
                                                               Global Basketball         02/10/25
                                                                                 v2 | Sportradar          Page 91 of 443 PageID:
                                                                                                 US API Portal
                                                                       989
           To retrieve the OpenAPI Schema Definition for the Season Links feed, use the following URL.


           https://api.sportradar.com/basketball/trial/v2/openapi/swagger/index.html#/seasons/getSeasonStagesGroupsCupRounds


           Return to top



           Season Mappings

           Provides season id mapping between the Global Basketball API and other basketball APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 season
             mappings.



           TTL / Cache:                                                              300 seconds

            Update                                                                   As Necessary
            Frequency:

            Content Type:                                                            XML or JSON

            Mapping Info                                               External Id                                                  Id
            Data Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/mappings.xml?api_key={your
            _api_key}"



             The above command returns xml structured like this.

           Access the Season Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/mappings. {format} ?
           api_key= {your_api_key}


            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v2).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                               Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                               Swedish (sv), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.



https://perma.cc/8MZQ-TLG8                                                                                                                       29/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 92 of 443 PageID:
                                                                                                US API Portal
                                                                      990
           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/seasons/mappings.xml?api_key={your_api_ke
            y}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter          Description

            start              Number to start the list of results from.
                               Example: start=0

            limit              Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                               Example: limit=75


           Return to top



           Season Players

           Provides names and ids for all participating players for a given season.


           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                           XML or JSON

            Player Info Data                   Display First Name                     First Name                         Last Name
            Points:                            Display Last Name                          Id                              Name


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:85212/players.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Players feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id} /players.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).


https://perma.cc/8MZQ-TLG8                                                                                                             30/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                       Document    1-5 Filed
                                                                Global Basketball         02/10/25
                                                                                  v2 | Sportradar          Page 93 of 443 PageID:
                                                                                                  US API Portal
                                                                        991
            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Season Probabilities

           Provides 2-way win probabilities (home team win, away team win) for all games for a given season.


           TTL / Cache:                                                               60 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender                      Round Number                         Stage End Date
            Points:                             Competition Id                 Season Competition Id                      Stage Order
                                               Competition Name                    Season End Date                        Stage Phase
                                           Competition Parent Id                       Season Id                        Stage Start Date
                                                 Coverage Live                      Season Name                            Stage Type
                                          Coverage Property Type                  Season Start Date                        Stage Year
                                          Coverage Property Value                    Season Year
                                                   Group Id
                                                 Group Name

            Competitor Info Data          Competitor Abbreviation                Competitor Division                   Competitor Name
            Points:                        Competitor Age Group                  Competitor Gender                     Competitor State
                                            Competitor Country                      Competitor Id
                                         Competitor Country Code

            Venue Info Data                        Capacity                         Country Name                              Name
            Points:                                Changed                                 Id                          Reduced Capacity
                                                     City                          Map Coordinates                   Reduced Capacity Max
                                                 Country Code

            Probability Info Data       Away Team Win Probability                    Market Name                        Outcome Name
            Points:                     Home Team Win Probability



https://perma.cc/8MZQ-TLG8                                                                                                                        31/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                      Document    1-5 Filed
                                                               Global Basketball         02/10/25
                                                                                 v2 | Sportradar          Page 94 of 443 PageID:
                                                                                                 US API Portal
                                                                       992
            Match Info Data                   Competitor Qualifier               Sport Event Replaced By              Sport Event Start Time
            Points:                               Sport Event Id                  Sport Event Start Time                     Confirmed


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:59060/probabilit
            ies.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /probabilities. {format} ?api_key= {your_api_key}


            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v2).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                  Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                  Swedish (sv), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            season_id             Id of a given season.

            format                xml or json.

            your_api_key          Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:59060/probabilities.xml?
            api_key={your_api_key}&start=200'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter           Description



https://perma.cc/8MZQ-TLG8                                                                                                                          32/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 95 of 443 PageID:
                                                                                               US API Portal
                                                                     993
            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 200.
                              Example: limit=200


           Return to top



           Season Standings

           Provides detailed standings info for a given season.


           TTL / Cache:                                                             10 seconds

            Update Frequency:                                                      As Necessary

            Content Type:                                                          XML or JSON

            Competition Info Data           Group - Group Name                    Stage End Date                        Stage Start Date
            Points:                               Group Live                        Stage Order                           Stage Type
                                                   Group Id                         Stage Phase                            Stage Year
                                                 Group Name

            Competitor Info Data          Competitor Abbreviation              Competitor Division                  Competitor Name
            Points:                        Competitor Age Group                 Competitor Gender                       Competitor State
                                            Competitor Country                     Competitor Id
                                         Competitor Country Code

            Standings Info Data                    Change                      Last Ten Loss Record                        Points For
            Points:                           Current Outcome                  Last Ten Win Record                           Rank
                                                    Draw                              Losses                   Season Standings Tie Break
                                                 Games Behind                   Losses Conference                            Rule
                                            Group - Group Name                    Losses Division                Season Standings Type
                                                   Group Id                           Played                       Winning Percentage
                                                  Group Live                           Points                 Winning Percentage Decimal
                                                 Group Name                       Points Against                             Wins
                                                                                                                        Wins Conference
                                                                                                                         Wins Division


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55467/standings.
            xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Standings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /standings. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).



https://perma.cc/8MZQ-TLG8                                                                                                                  33/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                    Document    1-5 Filed
                                                             Global Basketball         02/10/25
                                                                               v2 | Sportradar          Page 96 of 443 PageID:
                                                                                               US API Portal
                                                                     994
            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           ID of a given season.

            format              xml or json.

            your_api_key        Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55467/standings.xml?api_
            key={your_api_key}&round=1'



           In addition to the URL parameters listed above, you can filter the Standings information with the following optional query
           string parameter.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            Parameter                    Description

            round                        Round number expressed as: {round}.
                                         Example: round=1

            live                         Live standings expressed as a boolean value.
                                         Example: live=true


           To retrieve the OpenAPI Schema Definition for Season Standings, use the following URL.


           https://api.sportradar.com/basketball/trial/v2/openapi/swagger/index.html#/seasons/getSeasonStandings


           Return to top



           Season Summaries

           Provides schedule information for all games from a given season including scoring and statistics at the game level.


https://perma.cc/8MZQ-TLG8                                                                                                                        34/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document    1-5 Filed
                                                              Global Basketball         02/10/25
                                                                                v2 | Sportradar          Page 97 of 443 PageID:
                                                                                                US API Portal
                                                                      995
              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



           TTL / Cache:                                                          300 seconds

            Update Frequency:                                                   As Necessary

            Content Type:                                                       XML or JSON

            Category & Sport Info         Category Country Code                Category Name                        Sport Name
            Data Points:                       Category Id                         Sport Id

            Competition Info Data          Competition Gender                  Round Number                       Stage End Date
            Points:                           Competition Id               Season Competition Id                    Stage Order
                                            Competition Name                  Season End Date                       Stage Phase
                                          Competition Parent Id                   Season Id                       Stage Start Date
                                              Coverage Live                     Season Name                         Stage Type
                                         Coverage Property Type               Season Start Date                     Stage Year
                                         Coverage Property Value                 Season Year
                                                 Group Id
                                               Group Name

            Competitor Info Data         Competitor Abbreviation             Competitor Division                 Competitor Name
            Points:                       Competitor Age Group               Competitor Gender                   Competitor State
                                           Competitor Country                   Competitor Id
                                        Competitor Country Code

            Player Info Data                        Id                                                Name
            Points:

            Venue Info Data                      Capacity                      Country Name                            Name
            Points:                              Changed                              Id                         Reduced Capacity
                                                   City                       Map Coordinates                  Reduced Capacity Max
                                              Country Code

            Match Info Data                Competitor Qualifier            Sport Event Start Time            Sport Event Status Home
            Points:                      Period Score Away Score           Sport Event Start Time                Normaltime Score
                                         Period Score Home Score                 Confirmed               Sport Event Status Home Score
                                          Period Score Number                Sport Event Status         Sport Event Status Match Status
                                            Period Score Type              Sport Event Status Away           Sport Event Status Scout
                                              Sport Event Id                  Normaltime Score                      Abandoned
                                         Sport Event Replaced By       Sport Event Status Away Score      Sport Event Status Winner Id
                                                                        Sport Event Status Decided by              Time Played
                                                                                     Fed                          Time Remaining
                                                                         Sport Event Status Decided
                                                                                  Overtime

            Competitor Match                      Assists                       Leader Points                     Team Turnovers
            Statistics Data Points:          Ball Possession               Leader Points Player Id             Three Point Attempts
                                               Biggest Lead                   Leader Rebounds                       Successful
                                           Defensive Rebounds            Leader Rebounds Player Id           Three Point Attempts Total
                                                  Fouls                      Offensive Rebound                  Time Spent in Lead
                                      Free Throw Attempts Successful              Rebounds                           Timeouts
                                        Free Throw Attempts Made                Shots Blocked                        Turnovers
                                                                                    Steals

https://perma.cc/8MZQ-TLG8                                                                                                                35/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                     Document       1-5 Filed
                                                                 Global Basketball         02/10/25
                                                                                   v2 | Sportradar          Page 98 of 443 PageID:
                                                                                                   US API Portal

                                                  Leader Assists         996        Team Leads              Two Point Attempts Successful
                                           Leader Assists Player Id                 Team Rebounds                   Two Point Attempts Total

            Player Match Statistics                  Assists                       Free Throws Made                      Technical Fouls
            Data Points:                             Blocks                              Minutes                    Three Pointers Attempted
                                             Defensive Rebounds                   Offensive Rebounds                   Three Pointers Made
                                            Field Goals Attempted                    Personal Fouls                      Total Rebounds
                                                 Field Goals Made                         Points                            Turnovers
                                           Free Throws Attempted                          Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55285/summaries.
            xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            ID of a given season.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:55285/summaries.xml?api_
            key={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.




https://perma.cc/8MZQ-TLG8                                                                                                                         36/65
2/3/25, 1:33Case
             PM  3:25-cv-01143-GC-JTQ                       Document    1-5 Filed
                                                                Global Basketball         02/10/25
                                                                                  v2 | Sportradar          Page 99 of 443 PageID:
                                                                                                  US API Portal
                                                                        997
              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Seasonal Competitor Statistics

           Provides team seasonal statistics for a given season.


           TTL / Cache:                                                          30 seconds

            Update Frequency:                                                   As Necessary

            Content Type:                                                       XML or JSON

            Category & Sport Info                   Sport Id                                       Sport Name
            Data Points:

            Competition Info Data           Season Competition Id                 Season Id                     Season Start Date
            Points:                             Season End Date                 Season Name                       Season Year

            Competitor Info Data           Competitor Abbreviation           Competitor Division                Competitor Name
            Points:                         Competitor Age Group              Competitor Gender                 Competitor State
                                             Competitor Country                 Competitor Id
                                           Competitor Country Code

            Player Info Data                           Id                                            Name
            Points:

            Team Season Statistics              Field Goals Made                                    Minutes
            Data Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons/sr:season:59060/competitor
            s/sr:competitor:130098/statistics.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Seasonal Competitors Statistics feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /competitors/ {competitor_id} /statistics. {format} ?api_key= {your_api_key}


            Parameter            Description


https://perma.cc/8MZQ-TLG8                                                                                                          37/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document   1-5 Filed
                                                            Global Basketball        02/10/25
                                                                              v2 | Sportradar         Page 100 of 443 PageID:
                                                                                              US API Portal
                                                                    998
            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            competitor_id       ID of a given competitor.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Seasons

           Provides a list of historical season information for all competitions. Competitions will return a maximum of three seasons of
           data, including current or newly created seasons.


           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Competition                   Season Competition Id                         Season Id                     Season Start Date
            Info Data Points:                  Season Disabled                        Season Name                        Season Year
                                               Season End Date



            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/seasons.xml?api_key={your_api_ke
            y}"



             The above command returns xml structured like this.

           Access the Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /seasons. {format} ?api_key=
           {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).



https://perma.cc/8MZQ-TLG8                                                                                                                        38/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                       Document   1-5 Filed
                                                               Global Basketball        02/10/25
                                                                                 v2 | Sportradar         Page 101 of 443 PageID:
                                                                                                 US API Portal
                                                                       999
            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Sport Event Lineups

           Provides detailed roster information for a given game. Starting players are included if supported by coverage level.


           TTL / Cache:                                                                1 second

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender                      Round Number                         Stage End Date
            Points:                             Competition Id                 Season Competition Id                      Stage Order
                                               Competition Name                    Season End Date                        Stage Phase
                                           Competition Parent Id                       Season Id                        Stage Start Date
                                                 Coverage Live                      Season Name                            Stage Type
                                          Coverage Property Type                  Season Start Date                        Stage Year
                                          Coverage Property Value                    Season Year
                                                   Group Id
                                                 Group Name

            Competitor Info Data          Competitor Abbreviation                Competitor Division                   Competitor Name
            Points:                        Competitor Age Group                  Competitor Gender                     Competitor State
                                            Competitor Country                      Competitor Id
                                         Competitor Country Code

            Player Info Data                     Country Code                       Jersey Number                             Type
            Points:                              Date of Birth                        Nationality                            Starter
                                                    Height                               Name                                Weight
                                                      Id                                Played

            Match Info Data                 Competitor Qualifier                Sport Event Start Time            Sport Event Status Decided
            Points:                       Period Score Away Score               Sport Event Start Time                      Overtime
                                         Period Score Home Score                      Confirmed                    Sport Event Status Home
                                           Period Score Number                    Sport Event Status                   Normaltime Score
                                               Period Score Type               Sport Event Status Away          Sport Event Status Home Score

https://perma.cc/8MZQ-TLG8                                                                                                                        39/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document      1-5 Filed
                                                                Global Basketball        02/10/25
                                                                                  v2 | Sportradar         Page 102 of 443 PageID:
                                                                                                  US API Portal

                                                 Sport Event Id        1000   Normaltime Score             Sport Event Status Match Status
                                         Sport Event Replaced By           Sport Event Status Away Score           Sport Event Status Scout
                                                                           Sport Event Status Decided by                  Abandoned
                                                                                          Fed                    Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/sr:sport_event:151644
            19/lineups.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Lineups feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id
           } /lineups. {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       ID of a given match.

            format               xml or json.

            your_api_key         Your API key.


           Return to top



           Sport Event Mappings

           Provides game id mapping between the Global Basketball API and other basketball APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 sport
             event mappings.



           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON


https://perma.cc/8MZQ-TLG8                                                                                                                         40/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 103 of 443 PageID:
                                                                                               US API Portal
                                                                    1001
            Mapping Info                                                 External Id                                                  Id
            Data Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/mappings.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/mappings.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/sport_events/mappings.xml?api_key={your_ap
            i_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

https://perma.cc/8MZQ-TLG8                                                                                                                         41/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                        Document   1-5 Filed
                                                                Global Basketball        02/10/25
                                                                                  v2 | Sportradar         Page 104 of 443 PageID:
                                                                                                  US API Portal
                                                                       1002
            limit              Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                               Example: limit=75


           Return to top



           Sport Event Summary

           Provides real-time game-level statistics for a given game. Including scores by quarter and player and team stats. Please note
           that data returned is determined by coverage level.


           TTL / Cache:                                                             1 second

            Update Frequency:                                                     As Necessary

            Content Type:                                                         XML or JSON

            Category & Sport Info          Category Country Code                 Category Name                       Sport Name
            Data Points:                           Category Id                      Sport Id

            Competition Info Data           Competition Gender                   Round Number                      Stage End Date
            Points:                            Competition Id                Season Competition Id                   Stage Order
                                             Competition Name                   Season End Date                      Stage Phase
                                           Competition Parent Id                   Season Id                       Stage Start Date
                                               Coverage Live                     Season Name                         Stage Type
                                          Coverage Property Type               Season Start Date                      Stage Year
                                          Coverage Property Value                 Season Year
                                                    Group Id
                                                Group Name

            Competitor Info Data          Competitor Abbreviation             Competitor Division                 Competitor Name
            Points:                        Competitor Age Group                Competitor Gender                  Competitor State
                                            Competitor Country                   Competitor Id
                                         Competitor Country Code

            Player Info Data                           Id                                              Name
            Points:

            Venue Info Data                         Capacity                     Country Name                           Name
            Points:                                 Changed                            Id                         Reduced Capacity
                                                      City                      Map Coordinates                 Reduced Capacity Max
                                               Country Code

            Match Info Data                 Competitor Qualifier             Sport Event Start Time           Sport Event Status Decided
            Points:                       Period Score Away Score            Sport Event Start Time                   Overtime
                                          Period Score Home Score                  Confirmed                   Sport Event Status Home
                                            Period Score Number                Sport Event Status                 Normaltime Score
                                             Period Score Type              Sport Event Status Away       Sport Event Status Home Score
                                               Sport Event Id                  Normaltime Score           Sport Event Status Match Status
                                          Sport Event Replaced By        Sport Event Status Away Score         Sport Event Status Scout
                                                                          Sport Event Status Decided by              Abandoned
                                                                                      Fed                   Sport Event Status Winner Id

            Competitor Match                         Assists                     Leader Points                     Team Turnovers
            Statistics Data Points:            Ball Possession               Leader Points Player Id            Three Point Attempts
                                                Biggest Lead                    Leader Rebounds                      Successful


https://perma.cc/8MZQ-TLG8                                                                                                                  42/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                   Document      1-5 Filed
                                                              Global Basketball        02/10/25
                                                                                v2 | Sportradar         Page 105 of 443 PageID:
                                                                                                US API Portal

                                            Defensive Rebounds       1003
                                                                        Leader Rebounds Player Id           Three Point Attempts Total
                                                     Fouls                       Offensive Rebound                    Time Spent in Lead
                                      Free Throw Attempts Successful                  Rebounds                             Timeouts
                                        Free Throw Attempts Made                    Shots Blocked                          Turnovers
                                                 Leader Assists                         Steals                  Two Point Attempts Successful
                                          Leader Assists Player Id                   Team Leads                    Two Point Attempts Total
                                                                                   Team Rebounds

            Player Match Statistics                 Assists                       Free Throws Made                      Technical Fouls
            Data Points:                            Blocks                             Minutes                    Three Pointers Attempted
                                            Defensive Rebounds                   Offensive Rebounds                  Three Pointers Made
                                           Field Goals Attempted                    Personal Fouls                      Total Rebounds
                                                Field Goals Made                        Points                             Turnovers
                                          Free Throws Attempted                         Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/sr:sport_event:149835
            99/summary.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Summary feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id
           } /summary. {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       ID of a given match.

            format               xml or json.

            your_api_key         Your API key.


           Return to top



           Sport Event Timeline

           Provides real-time game-level statistics and a play-by-play event timeline for a given game. This includes scores by quarter and
           player and team stats. Please note that data returned is determined by coverage level.


https://perma.cc/8MZQ-TLG8                                                                                                                         43/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                  Document   1-5 Filed
                                                          Global Basketball        02/10/25
                                                                            v2 | Sportradar         Page 106 of 443 PageID:
                                                                                            US API Portal
                                                                 1004
           TTL / Cache:                                                       1 second

            Update Frequency:                                               As Necessary

            Content Type:                                                   XML or JSON

            Category & Sport Info      Category Country Code               Category Name                        Sport Name
            Data Points:                    Category Id                       Sport Id

            Competition Info Data       Competition Gender                 Round Number                       Stage End Date
            Points:                       Competition Id               Season Competition Id                    Stage Order
                                         Competition Name                 Season End Date                       Stage Phase
                                       Competition Parent Id                 Season Id                        Stage Start Date
                                           Coverage Live                   Season Name                          Stage Type
                                      Coverage Property Type             Season Start Date                      Stage Year
                                      Coverage Property Value               Season Year
                                             Group Id
                                           Group Name

            Competitor Info Data      Competitor Abbreviation           Competitor Division                  Competitor Name
            Points:                    Competitor Age Group              Competitor Gender                   Competitor State
                                        Competitor Country                 Competitor Id
                                      Competitor Country Code

            Player Info Data                     Id                                               Name
            Points:

            Venue Info Data                  Capacity                      Country Name                            Name
            Points:                          Changed                             Id                          Reduced Capacity
                                                City                      Map Coordinates                  Reduced Capacity Max
                                           Country Code

            Match Info Data             Competitor Qualifier           Sport Event Start Time            Sport Event Status Home
            Points:                   Period Score Away Score          Sport Event Start Time                Normaltime Score
                                      Period Score Home Score                Confirmed              Sport Event Status Home Score
                                       Period Score Number               Sport Event Status         Sport Event Status Match Status
                                         Period Score Type            Sport Event Status Away            Sport Event Status Scout
                                           Sport Event Id                Normaltime Score                       Abandoned
                                      Sport Event Replaced By      Sport Event Status Away Score     Sport Event Status Winner Id
                                                                    Sport Event Status Decided by              Time Played
                                                                                Fed                           Time Remaining
                                                                     Sport Event Status Decided
                                                                              Overtime

            Timeline Info Data            Assist Player Id                 Goal Scorer Id                      Period Name
            Points:                      Assist Player Name              Goal Scorer Name                          Time
                                            Assist Type                     Home Score                             Type
                                            Away Score                           Id                            X Coordinate
                                            Break Name                      Match Clock                        Y Coordinate
                                            Competitor                      Match Time
                                            Home Score                         Period

            Competitor Match                  Assists                      Leader Points                      Team Turnovers
            Statistics Data Points:       Ball Possession              Leader Points Player Id             Three Point Attempts
                                           Biggest Lead                   Leader Rebounds                       Successful
                                        Defensive Rebounds           Leader Rebounds Player Id           Three Point Attempts Total
                                               Fouls                     Offensive Rebound                  Time Spent in Lead

https://perma.cc/8MZQ-TLG8                                                                                                            44/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                  Document       1-5 Filed
                                                              Global Basketball        02/10/25
                                                                                v2 | Sportradar         Page 107 of 443 PageID:
                                                                                                US API Portal

                                      Free Throw Attempts Successful 1005        Rebounds                      Timeouts
                                         Free Throw Attempts Made                    Shots Blocked                          Turnovers
                                                  Leader Assists                         Steals                  Two Point Attempts Successful
                                           Leader Assists Player Id                   Team Leads                    Two Point Attempts Total
                                                                                    Team Rebounds

            Player Match Statistics                  Assists                       Free Throws Made                      Technical Fouls
            Data Points:                             Blocks                             Minutes                    Three Pointers Attempted
                                             Defensive Rebounds                   Offensive Rebounds                  Three Pointers Made
                                            Field Goals Attempted                    Personal Fouls                      Total Rebounds
                                                 Field Goals Made                        Points                             Turnovers
                                           Free Throws Attempted                         Steals


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/sr:sport_event:149722
            81/timeline.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Timeline feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id
           } /timeline. {format} ?api_key= {your_api_key}



            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v2).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                  Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                  Swedish (sv), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            sport_event_id        ID of a given sport event.

            format                xml or json.

            your_api_key          Your API key.


           Return to top



           Sport Events Created

           Provides ids for sport events that have been created in the last 24 hours.


           TTL / Cache:                                                            60 seconds




https://perma.cc/8MZQ-TLG8                                                                                                                          45/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 108 of 443 PageID:
                                                                                               US API Portal
                                                                    1006
            Update                                                                As Necessary
            Frequency:

            Content Type:                                                          XML or JSON

            Match Info Data                           Active Season Flag                              Id                   Created At
            Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/created.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Created feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/created. {format} ?
           api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/sport_events/created.xml?api_key={your_api
            _key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:



https://perma.cc/8MZQ-TLG8                                                                                                                         46/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document   1-5 Filed
                                                            Global Basketball        02/10/25
                                                                              v2 | Sportradar         Page 109 of 443 PageID:
                                                                                              US API Portal
                                                                   1007
            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Events Removed

           Provides ids for sport events that have been removed from the API due to an entry error. Ids will remain in the response for 2
           weeks.


           TTL / Cache:                                                            60 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Match Info Data                                                Sport Event Removed Id
            Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/removed.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Removed feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/removed.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


https://perma.cc/8MZQ-TLG8                                                                                                                        47/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 110 of 443 PageID:
                                                                                               US API Portal
                                                                    1008
           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/sport_events/removed.xml?api_key={your_api
            _key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Events Updated

           Provides ids for sport events that have been updated in the last 24 hours.


           TTL / Cache:                                                         60 seconds

            Update                                                            As Necessary
            Frequency:

            Content Type:                                                      XML or JSON

            Match Info Data                Id                                                Updated At
            Points:


            curl -X GET "https://api.sportradar.com/basketball/trial/v2/en/sport_events/updated.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Updated feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball/ {access_level} / {version} / {language_code} /sport_events/updated.
           {format} ?api_key= {your_api_key}



            Parameter            Description



https://perma.cc/8MZQ-TLG8                                                                                                                  48/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 111 of 443 PageID:
                                                                                               US API Portal
                                                                    1009
            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v2).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                 Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                 Swedish (sv), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/basketball/trial/v2/en/sport_events/updated.xml?api_key={your_api
            _key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Push Feeds

             To best utilize Push feeds, we have included code samples in Ruby, Java and Python which provide an example of a way
             you can consume the feeds. Using these samples will output the feeds content to STDOUT.
             For Java, we have also provided a Stream Client to assist your integration.


             Note: In the provided Java sample, replace "URL GOES HERE" with the desired Push feed URL.



https://perma.cc/8MZQ-TLG8                                                                                                                         49/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                       Document   1-5 Filed
                                                               Global Basketball        02/10/25
                                                                                 v2 | Sportradar         Page 112 of 443 PageID:
                                                                                                 US API Portal
                                                                      1010
            package com.sportradar.http.stream.client;

            import org.junit.After;
            import org.junit.Before;
            import org.junit.Test;


            public class StreamClientTest {

                  private StreamClient client;


                  private static String SERVICE_URL = "<url goes="" here="">";

                  @Before
                  public void setup() {
                        client = new StreamClient();
                  }

                  @After
                  public void cleanup() {
                      client.terminate();
                  }


                  @Test
                  public void testStream() throws Exception {
                      Handler handler = new ConsoleHandler();
                        client.stream(SERVICE_URL, handler);
                        System.out.println("Connecting....");
                        Thread.sleep(1 * 60 * 1000);
                        System.out.println("Disconnecting....");
                  }

            }



           Some of our APIs include Push feeds that allow you to get updates as soon as they are available. Push API feeds automatically
           send JSON and XML payloads to you via a push service, and can dramatically reduce the number of calls you need to make to
           our RESTful API feeds. The structure of the Push feeds are similar to the structure of the corresponding RESTful API feed (i.e.
           Push Events and Push Statistics). The push service ensures reliable and efficient delivery of the most up to date information.


           Our Push services are based on a HTTP publish/subscribe model. When making a call to the Push APIs, you "subscribe" to
           various data feeds provided by our service; whenever new content is available on one of those feeds, the server pushes that
           information out to your client. When no new information is available on the feed, a heartbeat message is sent every 5 seconds
           to keep the connection active. If you want to filter the results of the feeds, there are several optional query string parameters
           that can be applied to the API call. If left unfiltered, then all data for the feed is displayed (i.e. all events).


           For your applications to accept data from our Push feeds, ensure that your application can:


                Can follow a HTTP redirect or use the location provided in the feeds header within one minute of your initial request.
                Can accept HTTP data transfer encoded as chunked.


           Our Push service does not provide a "stateful session", there is no memory of what data has been sent previously. If you are
           disconnected from the Push session, you can use the RESTful API to catch up or recover from the disconnection.


           Syntax for using our Push feeds and examples of the JSON and XML payloads can be found below.



           Push Events
https://perma.cc/8MZQ-TLG8                                                                                                                     50/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document   1-5 Filed
                                                            Global Basketball        02/10/25
                                                                              v2 | Sportradar         Page 113 of 443 PageID:
                                                                                              US API Portal
                                                                   1011
            curl -L GET 'api.sportradar.com/basketball/trial/stream/events/subscribe?api_key={your_api_key}'



             The above command returns json like this.

           This endpoint retrieves real-time event updates for all live matches.


           https://api.sportradar.com/basketball/ {access_level} /stream/events/subscribe?api_key= {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            your_api_key            Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'https://api.sportradar.com/basketball/trial/stream/events/subscribe?api_key={your_ap
            i_key}&amp;format=json&amp;sport_event_id=sr:sport_event_id:17582523'



           In addition to the URL parameters listed above, you can filter the Events information with one or more of the following optional
           query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            URL Parameters                        Description

            channel                               Channel type expressed as: {channel_type}.
                                                  Example: channel=basketball

            competition_id                        Competition Id expressed as: {competition_id}.
                                                  Example: competition_id=sr:competition:27230

            event_id                              Event type expressed as: {event_type}.
                                                  Example: event_id=score_change

            format                                Format type expressed as: {format}.
                                                  Example: format=json

            season_id                             Season id expressed as: {season_id}.
                                                  Example: season_id=sr:season:59654

            sport_event_id                        Sport event id expressed as: {sport_event_id}.
                                                  Example: sport_event_id=sr:sport_event:17582523



https://perma.cc/8MZQ-TLG8                                                                                                                    51/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document   1-5 Filed
                                                            Global Basketball        02/10/25
                                                                              v2 | Sportradar         Page 114 of 443 PageID:
                                                                                              US API Portal
                                                                   1012
            sport_id                              Sport id expressed as: {sport_id}.
                                                  Example: sport_id=sr:sport:22


           Return to top



           Push Statistics

            curl -L GET 'api.sportradar.com/basketball/trial/stream/statistics/subscribe?api_key={your_api_ke
            y}'



             The above command returns json like this.

           This endpoint retrieves real-time team and player game-level statistics for all live games.


           https://api.sportradar.com/basketball/ {access_level} /stream/statistics/subscribe?api_key= {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            your_api_key            Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'https://api.sportradar.com/basketball/trial/stream/statistics/subscribe?api_key={you
            r_api_key}&amp;format=json&amp;sport_event_id=sr:sport_event_id:17582523'



           In addition to the URL parameters listed above, you can filter the Statistics information with one or more of the following
           optional query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            URL Parameters                        Description

            channel                               Channel type expressed as: {channel_type}.
                                                  Example: channel=basketball

            competition_id                        Competition Id expressed as: {competition_id}.
                                                  Example: competition_id=sr:competition:27230

            event_id                              Event type expressed as: {event_type}.
                                                  Example: event_id=score_change

https://perma.cc/8MZQ-TLG8                                                                                                               52/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document   1-5 Filed
                                                            Global Basketball        02/10/25
                                                                              v2 | Sportradar         Page 115 of 443 PageID:
                                                                                              US API Portal
                                                                   1013
            format                               Format type expressed as: {format}.
                                                 Example: format=json

            season_id                            Season id expressed as: {season_id}.
                                                 Example: season_id=sr:season:59654

            sport_event_id                       Sport event id expressed as: {sport_event_id}.
                                                 Example: sport_event_id=sr:sport_event:17582523

            sport_id                             Sport id expressed as: {sport_id}.
                                                 Example: sport_id=sr:sport:22


           Return to top



           Probabilities Feeds

           This collection of probability feeds is available for licensing as an add-on feature. They are an extension of the Season
           Probabilities feed in the main package which provides pre-match probabilities for the sport event winner market.


           The main features of the Probabilities extension (where coverage applies) are:


                Live Probabilities that update throughout game
                Season Outright Probabilities for the Tournament Winner market
                Live Probabilities Coverage indicator for the next 24 hours


           For more information or to request a Trial of this feature, please contact a Sportradar Sales representative.


           The Open API specification and Syntax for using our Probabilities feeds, including examples of the payloads can be found
           below.



                                                            OpenAPI Specification



           Live Probabilities

           Provides top-level information for live games. If probabilities are available for a game, pre-match and live probabilities will be
           displayed.


           TTL / Cache:                                                               1 second

            Update Frequency:                                                      As Necessary

            Content Type:                                                          XML or JSON

            Category & Sport Info          Category Country Code                  Category Name                        Sport Name
            Data Points:                         Category Id                          Sport Id

            Competition Info Data           Competition Gender             Round Cup Round Number of                Season Start Date
            Points:                            Competition Id                      Sport Events                        Season Year
                                             Competition Name             Round Cup Round Sport Event                Stage End Date
                                           Competition Parent Id                      Number                           Stage Order
                                                Coverage Live                      Round Name                          Stage Phase

https://perma.cc/8MZQ-TLG8                                                                                                                      53/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                  Document       1-5 Filed
                                                              Global Basketball        02/10/25
                                                                                v2 | Sportradar         Page 116 of 443 PageID:
                                                                                                US API Portal

                                          Coverage Property Type     1014     Round Number                    Stage Start Date
                                          Coverage Property Value              Season Competition Id                       Stage Type
                                            Group - Group Name                     Season End Date                         Stage Year
                                                  Group Id                             Season Id
                                                Group Name                          Season Name

            Competitor Info Data                Abbreviation                        Country Code                                Id
            Points:                              Age Group                              Division                              Name
                                                    Country                             Gender

            Venue Info Data                       Capacity                          Country Name                              Name
            Points:                               Changed                                  Id                          Reduced Capacity
                                                     City                          Map Coordinates                   Reduced Capacity Max
                                                Country Code

            Probability Info Data       Away Team Win Probability                Market Home Score                       Market Name
            Points:                     Home Team Win Probability                Market Last Updated                    Market Removed
                                             Market Away Score                        Market Live                       Outcome Name

            Match Info Data                      Away Score                  Sport Event Resumed Time              Sport Event Status Home
            Points:                         Competitor Qualifier                Sport Event Start Time                 Normaltime Score
                                               Ground Neutral                   Sport Event Start Time          Sport Event Status Home Score
                                                Home Score                            Confirmed                Sport Event Status Match Status
                                               Period Number                      Sport Event Status               Sport Event Status Scout
                                                 Period Type                   Sport Event Status Away                    Abandoned
                                               Sport Event Id                     Normaltime Score               Sport Event Status Winner Id
                                          Sport Event Replaced By          Sport Event Status Away Score                  Time Played
                                                                           Sport Event Status Decided by                Time Remaining
                                                                                          Fed
                                                                             Sport Event Status Decided
                                                                                       Overtime


            curl -X GET "https://api.sportradar.com/basketball-probabilities/trial/v2/en/schedules/live/proba
            bilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball-
           probabilities/ {access_level} / {version} / {language_code} /schedules/live/probabilities. {format} ?api_key=
           {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),


https://perma.cc/8MZQ-TLG8                                                                                                                        54/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document         1-5 Filed
                                                                  Global Basketball        02/10/25
                                                                                    v2 | Sportradar         Page 117 of 443 PageID:
                                                                                                    US API Portal

                                Swedish (sv), Thai (th), Turkish (tr)    1015

                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Season Outright Probabilities

           Provides a list of outright probabilities for each team from a given season.


           TTL / Cache:                                                               60 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Competitor Info Data                 Abbreviation                       Country Code                             Gender
            Points:                               Age Group                             Division                                Id
                                                    Country                                                                   Name

            Probability Info Data               Win Probability                      Market Name                        Outcome Name
            Points:


            curl -X GET "https://api.sportradar.com/basketball-probabilities/trial/v2/en/seasons/sr:season:79
            153/outright_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Outright Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball-
           probabilities/ {access_level} / {version} / {language_code} /seasons/ {season_id} /outright_probabilities. {format} ?
           api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

https://perma.cc/8MZQ-TLG8                                                                                                                        55/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 118 of 443 PageID:
                                                                                               US API Portal
                                                                    1016
            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Sport Event Probabilities

           Provides pre-match and live probabilities for a given game.


           TTL / Cache:                                                            1 second

            Update Frequency:                                                    As Necessary

            Content Type:                                                        XML or JSON

            Category & Sport Info         Category Country Code                 Category Name                     Sport Name
            Data Points:                          Category Id                      Sport Id

            Competition Info Data          Competition Gender            Round Cup Round Number of             Season Start Date
            Points:                             Competition Id                   Sport Events                     Season Year
                                               Competition Name          Round Cup Round Sport Event             Stage End Date
                                          Competition Parent Id                    Number                         Stage Order
                                                 Coverage Live                   Round Name                       Stage Phase
                                         Coverage Property Type                 Round Number                    Stage Start Date
                                         Coverage Property Value            Season Competition Id                  Stage Type
                                           Group - Group Name                  Season End Date                     Stage Year
                                                   Group Id                       Season Id
                                                 Group Name                     Season Name

            Competitor Info Data                 Abbreviation                   Country Code                           Id
            Points:                               Age Group                        Division                          Name
                                                   Country                         Gender                             State

            Venue Info Data                        Capacity                     Country Name                         Name
            Points:                                Changed                            Id                       Reduced Capacity
                                                      City                     Map Coordinates               Reduced Capacity Max
                                                 Country Code

            Probability Info Data       Away Team Win Probability             Market Home Score                   Market Name
            Points:                    Home Team Win Probability             Market Last Updated                Market Removed
                                               Market Away Score                  Market Live                   Outcome Name

            Match Info Data                       Away Score              Sport Event Resumed Time          Sport Event Status Home
            Points:                        Competitor Qualifier             Sport Event Start Time             Normaltime Score
                                                Ground Neutral              Sport Event Start Time       Sport Event Status Home Score
                                                  Home Score                      Confirmed              Sport Event Status Match Status
                                                Period Number                 Sport Event Status            Sport Event Status Scout
                                                  Period Type              Sport Event Status Away                Abandoned
                                                 Sport Event Id               Normaltime Score            Sport Event Status Winner Id
                                         Sport Event Replaced By         Sport Event Status Away Score            Time Played
                                                                         Sport Event Status Decided by          Time Remaining
                                                                                     Fed
                                                                          Sport Event Status Decided
                                                                                   Overtime

https://perma.cc/8MZQ-TLG8                                                                                                                 56/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 119 of 443 PageID:
                                                                                               US API Portal
                                                                    1017
            curl -X GET "https://api.sportradar.com/basketball-probabilities/trial/v2/en/sport_events/sr:spor
            t_event:26109208/sport_event_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
           /sport_event_probabilities. {format} ?api_key= {your_api_key}


            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v2).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                  Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                  Swedish (sv), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            sport_event_id        Id of a given sport event.

            format                xml or json.

            your_api_key          Your API key.


           Return to top



           Sport Event Upcoming Probabilities

           Provides a list of IDs for upcoming sport events in the next 24 hours.


           TTL / Cache:                                                             1 second

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Match Info Data                                                 Sport Event Upcoming Id
            Points:


            curl -X GET "https://api.sportradar.com/basketball-probabilities/trial/v2/en/sport_events/upcomin
            g_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Upcoming Probabilities feed by replacing the parameters in the following URL:

https://perma.cc/8MZQ-TLG8                                                                                                                          57/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                       Document   1-5 Filed
                                                               Global Basketball        02/10/25
                                                                                 v2 | Sportradar         Page 120 of 443 PageID:
                                                                                                 US API Portal

           https://api.sportradar.com/basketball-                     1018
           probabilities/ {access_level} / {version} / {language_code} /sport_events/upcoming_probabilities. {format} ?api_key=
           {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v2).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                Swedish (sv), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           Return to top



           Timeline Probabilities

           Provides a timeline of pre-match and live probability changes for a given game.


           TTL / Cache:                                                                1 second

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender              Round Cup Round Number of                  Season Start Date
            Points:                             Competition Id                       Sport Events                         Season Year
                                               Competition Name            Round Cup Round Sport Event                   Stage End Date
                                           Competition Parent Id                       Number                             Stage Order
                                                 Coverage Live                       Round Name                           Stage Phase
                                          Coverage Property Type                    Round Number                        Stage Start Date
                                          Coverage Property Value              Season Competition Id                       Stage Type
                                            Group - Group Name                     Season End Date                         Stage Year
                                                   Group Id                            Season Id
                                                 Group Name                         Season Name

            Competitor Info Data                 Abbreviation                       Country Code                                Id
            Points:                               Age Group                             Division                              Name
                                                    Country                             Gender                                State

            Player Info Data                          Id                                                   Name
            Points:

https://perma.cc/8MZQ-TLG8                                                                                                                        58/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                    Document   1-5 Filed
                                                            Global Basketball        02/10/25
                                                                              v2 | Sportradar         Page 121 of 443 PageID:
                                                                                              US API Portal
                                                                   1019
            Venue Info Data                       Capacity                      Country Name                        Name
            Points:                               Changed                             Id                      Reduced Capacity
                                                     City                      Map Coordinates              Reduced Capacity Max
                                               Country Code

            Probability Info Data       Away Team Win Probability             Market Home Score                  Market Name
            Points:                    Home Team Win Probability             Market Last Updated               Market Removed
                                            Market Away Score                     Market Live                  Outcome Name

            Match Info Data                     Away Score                Sport Event Resumed Time         Sport Event Status Home
            Points:                        Competitor Qualifier             Sport Event Start Time            Normaltime Score
                                               Ground Neutral               Sport Event Start Time      Sport Event Status Home Score
                                                Home Score                        Confirmed             Sport Event Status Match Status
                                               Period Number                  Sport Event Status           Sport Event Status Scout
                                                Period Type                Sport Event Status Away               Abandoned
                                               Sport Event Id                 Normaltime Score           Sport Event Status Winner Id
                                         Sport Event Replaced By        Sport Event Status Away Score            Time Played
                                                                        Sport Event Status Decided by          Time Remaining
                                                                                      Fed
                                                                          Sport Event Status Decided
                                                                                   Overtime

            Competitor Match                        Assists                     Leader Points                  Team Turnovers
            Statistics Data Points:            Ball Possession              Leader Points Player Id          Three Point Attempts
                                                Biggest Lead                   Leader Rebounds                    Successful
                                           Defensive Rebounds             Leader Rebounds Player Id       Three Point Attempts Total
                                                    Fouls                     Offensive Rebound               Time Spent in Lead
                                      Free Throw Attempts Successful              Rebounds                        Timeouts
                                        Free Throw Attempts Made                Shots Blocked                     Turnovers
                                               Leader Assists                       Steals              Two Point Attempts Successful
                                          Leader Assists Player Id               Team Leads                Two Point Attempts Total
                                                                               Team Rebounds

            Player Match Statistics                 Assists                   Free Throws Made                  Technical Fouls
            Data Points:                            Blocks                         Minutes                 Three Pointers Attempted
                                           Defensive Rebounds                Offensive Rebounds              Three Pointers Made
                                          Field Goals Attempted                 Personal Fouls                 Total Rebounds
                                             Field Goals Made                       Points                        Turnovers
                                          Free Throws Attempted                     Steals


            curl -X GET "https://api.sportradar.com/basketball-probabilities/trial/v2/en/sport_events/sr:spor
            t_event:26109208/timeline_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Timeline Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/basketball-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /timeline_probabilities.
           {format} ?api_key= {your_api_key}



            Parameter            Description



https://perma.cc/8MZQ-TLG8                                                                                                                59/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                       Document   1-5 Filed
                                                               Global Basketball        02/10/25
                                                                                 v2 | Sportradar         Page 122 of 443 PageID:
                                                                                                 US API Portal
                                                                      1020
            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v2).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Hungarian (hu), Indonesian (id), Italian (it), Japanese (ja),
                                  Korean (ko), Norwegian (no), Portuguese (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es),
                                  Swedish (sv), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            sport_event_id        Id of a given sport event.

            format                xml or json.

            your_api_key          Your API key.


           Return to top



           Frequently Asked Questions

           Q: What leagues or tournaments do you cover for basketball?


           You can find all the leagues we cover, as well as a breakdown of data offered, via our Coverage Matrix.


           Q: What format are date fields presented in?


           A: When we present date only values we present these in the ISO 8601 standard format.
           ex: 2013-04-03
           We use these for attributes that have date and no time (such as birthdate). For more information:
           https://en.wikipedia.org/wiki/ISO_8601


           Q: What format are the date/time fields presented in?


           A: All of our Date/Time attributes are in UTC, presented in the ISO 8601 standard format.
           ex: 2013-04-03T18:15:00+00:00
           For more information: https://en.wikipedia.org/wiki/ISO_8601


           Q: How can I find the values for various enum data points within the API?


           A: Many enum values are listed in the FAQ below. For the most up-to-date values, please see the Schema section of the OpenAPI
           specification here: https://api.sportradar.com/basketball/trial/v2/openapi/swagger/index.html


           Q: What are the valid sport_event_status - status values?


           A: Here are the valid sport_event_status - status values and their definitions:


                not_started – The game is scheduled to be played
                started – The game has begun
                live – The game is currently in progress
https://perma.cc/8MZQ-TLG8                                                                                                                          60/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ              Document        1-5 Filed
                                                           Global Basketball        02/10/25
                                                                             v2 | Sportradar         Page 123 of 443 PageID:
                                                                                             US API Portal
                                                                   1021
               postponed – The game has been postponed to a future date
               suspended - The game began, but has been suspended to a later time
               match_about_to_start – The game is about to begin
               delayed – The game has been temporarily delayed and will be continued
               interrupted - The game began, but coverage has stopped for a short time. Note that game scores may not be updated
               during this period, the last recorded game score will be displayed instead
               cancelled – The game has been cancelled and will not be played
               ended – The game is over
               closed – The game results have been confirmed


           Q: What are the valid sport_event_status – match_status values?


           A: Here are the valid sport_event_status - status values:


               1st_quarter
               2nd_quarter
               3rd_quarter
               4th_quarter
               1st_half
               2nd_half
               overtime
               penalties
               pause
               awaiting_extra_time
               awaiting_penalties
               interrupted
               not_started
               aet
               ended
               postponed
               cancelled
               abandoned
               start_delayed
               started


           Q: How do I access past seasons results and stats?


           A: Use the Competition Seasons endpoint to locate the season_id for the season you want to access. Use that season_id to
           interrogate the various seasons endpoints.


           Q: What are the valid outcomes for probabilities?


           A: Here are the valid outcome probabilities:


               home_team_winner
               away_team_winner


           Q: How do I find out the coverage for a particular match?
https://perma.cc/8MZQ-TLG8                                                                                                            61/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                   Document       1-5 Filed
                                                               Global Basketball        02/10/25
                                                                                 v2 | Sportradar         Page 124 of 443 PageID:
                                                                                                 US API Portal
                                                                      1022
           A: Find the node called "coverage" in the Summary, Lineups, or Timeline feeds. The attribute "coverage - live" reports if
           Sportradar has live coverage of the match or not. Properties within the coverage node denotes specific coverage properties,
           and displays a boolean value if the coverage type is available. A list of possible properties and their definitions are listed below:


                boxscore - Player statistics are available post-match.
                lineups - Lineups are available, with starting players, pre-match.
                match_clock - A running match clock is available.
                stats_leaders - Live statistics leaders are available. leader_points, leader_assists, leader_rebounds.
                time_played_minutes_and_seconds - Player statistic for minutes is available in minutes and seconds.
                time_played_minutes_only - Player statistic for minutes is available however only in minutes.


           Q: Why do different groups have coverage information for a competition?


           A: The notion of “groups” is versatile and is used to distinguish between playoffs, and our competition structures and is
           therefore necessary to describe coverage at a group level for consistency. Generally, however, within a competition in
           Basketball, there will be no difference between competition coverage between conferences.


           Q: What are the possible event type values?


           A: Here are the possible values for an event type:


                match_started
                period_start
                rebound
                score_change
                foul
                ball_block
                break_start
                timeout
                period_score
                match_ended
                attempt_missed
                free_throws_awarded
                steal
                timeout_over
                turnover
                video_review
                video_review_over
                won_jump_ball


           Q: What are markets and what are the different markets?


           A: Markets is something you can bet on that we provide probabilities for. Over time we intend to provide more and more
           markets in the API. Currently the only market we provide is 2-way (will the home team win? Or the away team?).


           Q: What is the scale of the X Y coordinates?


           A: The court we use is 100 by 100. Here is a layout of the court:

https://perma.cc/8MZQ-TLG8                                                                                                                         62/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document   1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 125 of 443 PageID:
                                                                                               US API Portal
                                                                    1023
            0                                                     X                                                    100




            Y




            100


           Q: How are group IDs delivered in the stage array with the various types?


           A: With the type of "league" they will have a sr:league prefix. With the type of "cup" they will have a sr:cup prefix.


           Q: Do you provide fixtures for future matches, before the competitors are known?


           A: For playoff phase matches in selected leagues*, we will provide fixtures before the competitors are known. These matches
           will be created with placeholder competitors and when the fixture is fully drawn, the correct competitors will overwrite the
           placeholder names, with the match ID remaining the same.


           Regarding the competitor placeholder names, we look to follow official naming where possible. This does mean that some
           differences will apply across competitions.


           * Selected leagues are listed below:


                Euroleague
                Eurocup
                Pro A
                Liga ACB
                BBL
                TBSL
                United League
                A1
                Liga ABA
                NBL
                Israel Super League
                CBA


           Q: How are “live” feeds handled in the API?


           A: Sport Events appear in the feed 10 minutes before the scheduled start time and are removed 10 minutes after the Sport
           Event is ended.


           Q: What is the probabilities package?


           A: The probabilities package is an add-on set of feeds that are an extension of the Season Probabilities feed in the main
           package (which already provides pre-match probabilities for the sport event winner market). The main features of the

https://perma.cc/8MZQ-TLG8                                                                                                                63/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                     Document        1-5 Filed
                                                                  Global Basketball        02/10/25
                                                                                    v2 | Sportradar         Page 126 of 443 PageID:
                                                                                                    US API Portal
                                                                         1024
           Probabilities extension are: Live Probabilities that update throughout game, Season Outright Probabilities for the Tournament
           Winner market, and Live Probabilities Coverage indicator for the next 24 hours.


           Q: Is there Live Probability coverage for every game you cover in the Global Basketball API?


           A: Live Probability coverage depends on a number of factors and we can’t guarantee that every game will be covered for any
           given league, however, Sportradar aims to cover close to 100% of games from the following Tier 1 league: National Basketball
           Association (NBA) – USA


           Q: Can I utilize the Probabilities extension if I license the Sportradar NBA API?


           A: If you have a license for our NBA API you can also integrate Live Probabilities by utilizing the ID Mapping feeds available in
           Global Basketball v2 to connect games between the two products.


           Q: What are the possible standings types I can observe in the Standings feed?


           A: Listed below are the values for standing – type.


                total
                home
                away
                first_half_total
                first_half_home
                first_half_away
                second_half_total
                second_half_home
                second_half_away


           Q: Why can't I find a particular match in the Daily Summaries, Season Summaries or Sport Events Updated feeds?


           A: These endpoints support pagination and return 200 entries by default. To return more matches, an additional query string
           parameter must be used after your API key. For example, appending &start=200 will return the next 200 entries per page,
           &start=400 will return the next 200, and so on.


           Q: How will a sport event behave when it is not covered with live scores?


           A: When a sport_event is not covered live, the status and match_status will remain as not_started until results are entered post-
           match.


           Q: How do I locate the TTL (Time to Live)/cache on an API endpoint?


           A: The cache (in seconds) can be accessed in the returned header information on each RESTful API call, under cache-control .
           ex. cache-control: max-age=1, public, s-maxage=1 or
           cache-control: public, must-revalidate, max-age=120




           Q: What are the possible values for cup_round – state in the Season Links feed?


           A: Listed below are the values and definitions for cup_round - state . These can be leveraged to determine the status of a cup
           round.


https://perma.cc/8MZQ-TLG8                                                                                                                     64/65
           Case
2/3/25, 1:33 PM 3:25-cv-01143-GC-JTQ                Document        1-5 Filed
                                                             Global Basketball        02/10/25
                                                                               v2 | Sportradar         Page 127 of 443 PageID:
                                                                                               US API Portal
                                                                    1025
                empty - A matchup has been created but neither the match details nor the competitors are known.

                unseeded_fixture - Match details are known but competitors are unknown.

                partial_seeded - One competitor is known.

                partial_seeded_fixture - Match details and one competitor are known.

                seeded - Both competitors are known.

                seeded_fixture - Match details and both competitors are known.

                unstarted - Match(es) have been added.

                on_going - The first match has started.

                decided - The last match has ended.

                winner - The winner is known.

                cancelled – The matchup has been cancelled.


           Return to top




         SPORTRADAR
         150 South 5th St. Suite 400
         Minneapolis, MN 55402
         USA


         us-sales@sportradar.com
         us-jobs@sportradar.com
         Main: 612-361-4100
         Sales: 612-361-4102
         Terms and Conditions

         SPORTRADAR IS SOCIAL




         Privacy Policy © Sportradar, a subsidiary of Sportradar AG




https://perma.cc/8MZQ-TLG8                                                                                                       65/65
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 128 of 443 PageID:
                                     1026




                            Exhibit 55
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 129 of 443 PageID:
                                                                      1027
                                                                                                                  ⋮ Docs Navigation   ☰ Menu

            Bash     Ruby    Python


           Global American Football v2


                                                              Statistics Summary

                                                                Documentation

                                                            OpenAPI Specification

                                                                   Change Log

                                                                Coverage Matrix

                                                         Frequently Asked Questions

                                                                       Quick Access

                                    Postman Collection                                                XSD Schema

                                                                                                       Download




           Global American Football API Overview

           The Global American Football API provides real-time game updates (when available) and a database of supplementary
           statistics. Data is collected via Sportradar on-venue scouts and in-house operators.


           Leagues covered include NFL, NCAA, CFL, European League football, and more. Select the Global American Football package
           in our Coverage Matrix for competitions and data offered.


           The API is consistent in structure, format, and behavior with the other General Sport APIs. Primary feeds will return seasons,
           competitions, team and player data, and real-time scores.


           Additional feeds provide a host of complementary stats, including:


               Standings
               Player profiles
               Team profiles
               Historical results
               Match win probabilities


           An extended Probabilities package is also offered. This add-on includes in-game probability updates and season outrights.


                                           API                                                        API Version

https://perma.cc/2DD5-SQDE                                                                                                                     1/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document     1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 130 of 443 PageID:
                                                                    1028
                              Global American Football                                                    v2



              Note: Authentication is required for all API calls.




           Global American Football API Map

           To best utilize the Global American Football API, you will need several parameters to create your API calls. The map below
           illustrates how you can obtain the parameters you need.



             Example:

             To find the probability of a home team win for a given game:


               1. Call the Daily Schedule for the day the sport event takes place and find the Season Id for the chosen sport event
               2. Make note of the Sport Event Id for the given sport event
               3. Call the Season Probabilities using the Season Id
               4. Find Sport Event Id within the results locate the home team and the outcome probability


             The probability of a home team win is displayed.

           The primary feeds require only a date or human-readable parameters to call the endpoints. Those feeds provide Sport Event
           Ids, Competitor Ids, or Season Ids which can be used to generate the match, team, and tournament feeds.


               - Available only with the probabilities plan within the Global American Football v2 package. See FAQ for details.




https://perma.cc/2DD5-SQDE                                                                                                              2/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                      Document     1-5 Football
                                                             Global American  Filed v2 |02/10/25        Page
                                                                                         Sportradar US API Portal 131 of 443 PageID:
                                                                       1029
                                            Competition Info                                Competitions

                                            Daily Summaries                                Live Summaries

                                              Live Timelines                           Live Timelines Delta
                                                                     Primary Feeds




                                      Season Feeds                Sport Event Feeds                Competitor Feeds

                                   Competition Seasons            Sport Event Summary              Competitor Profile

                                                                                                         Competitor
                                   Season Competitors             Sport Event Timeline                   Summaries
                                                                                                        Competitor vs
                                       Season Info                Sport Events Created                   Competitor

                                      Season Links                    Sport Events
                                                                       Removed

                                     Season Players               Sport Events Updated                  Player Feed

                                                                                                        Player Profile
                                   Season Probabilities

                                                                                                   Player Summaries
                                    Season Standings


                                    Season Summaries


                                         Seasons


                                                                    Mapping Feeds
                                                                   Competitor Merge
                                     Competitor Mappings                                         Player Mappings
                                                                      Mappings

                                    Player Merge Mappings          Season Mappings             Sport Event Mappings


                                                                     Probabilities *
                                                                        Season
                                       Live Probabilities                                     Sport Event Probabilities
                                                                  Outright Probabilities
                                                       Sport Event
                                                                                 Timeline Probabilities
                                                   Upcoming Probabilities




           Competition Info

           Provides the name, id, and parent id for a given competition.


           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Category &                      Category Country Code                           Category Id                    Category Name
           Sport Info:

           Competition                               Gender                                  Name                             State
           Info Data Points:                           Id                                   Parent Id



https://perma.cc/2DD5-SQDE                                                                                                                3/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 132 of 443 PageID:
                                                                      1030
            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitions/sr:competition:3
            1/info.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competition Info feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitions/ {competiti
           on_id} /info. {format} ?api_key= {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            competition_id           Id of a given competition.

            format                   xml or json.

            your_api_key             Your API key.


           Download


           Return to top



           Competition Seasons

           Provides historical season information for a given competition. Competitions will return a maximum of three seasons of data,
           including current or newly created seasons.


           TTL / Cache:                                                        300 seconds

           Update                                                              As Necessary
           Frequency:

           Content Type:                                                       XML or JSON

           Competition                   Season Competition Id                       Season Id                    Season Start Date
           Info Data Points:                Season End Date                        Season Name                       Season Year


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitions/sr:competition:3
            1/seasons.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competition Seasons feed by replacing the parameters in the following URL:


https://perma.cc/2DD5-SQDE                                                                                                                4/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document       1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 133 of 443 PageID:
                                                                    1031
           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitions/ {competiti
           on_id} /seasons. {format} ?api_key= {your_api_key}



            Parameter                  Description

            access_level               Defines the access level of your API key as Production (production) or Trial (trial).

            version                    Version number of the API you are accessing (Current Version: v2).

            language_code              2 letter code for supported languages


                                       Chinese - simplified (zh), English (en)


                                       Click here for a tabular list of available languages per competition.

            competition_id             Id of a given competition.

            format                     xml or json.

            your_api_key               Your API key.


           Return to top



           Competitions

           Provides a list of all available competitions.


           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Category &                        Category Country Code                        Category Id                  Category Name
           Sport Info Data
           Points:

           Competition                                 Gender                                Name                         Parent Id
           Info Data Points:                             Id                                  State


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitions.xml?api_key={you
            r_api_key}"



             The above command returns xml structured like this.

           Access the Competitions feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitions. {format} ?
           api_key= {your_api_key}


            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

https://perma.cc/2DD5-SQDE                                                                                                             5/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document     1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 134 of 443 PageID:
                                                                    1032
            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            format                  xml or json.

            your_api_key            Your API key.


           Return to top



           Competitor Mappings

           Provides team id mapping between the Global American Football API and other football APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000
             competitor mappings.



           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Mapping Info                                            External Id                                              Id
           Data Points:


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitors/mappings.xml?api_
            key={your_api_key}"



            The above command returns xml structured like this.

           Access the Competitor Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitors/mappings.
           {format} ?api_key= {your_api_key}



            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).




https://perma.cc/2DD5-SQDE                                                                                                          6/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 135 of 443 PageID:
                                                                      1033
            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/competitors/mappings.xml?api_key={you
            r_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Competitor Merge Mappings

           Provides the valid Sportradar Id in cases when two competitors have been merged into one. Mapping entries will remain in the
           feed for 7 days.


           TTL / Cache:                                                          300 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Mappings Info                  Name                            Merged Id                           Retained Id
           Data Points:




https://perma.cc/2DD5-SQDE                                                                                                                  7/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 136 of 443 PageID:
                                                                      1034
            curl -X GET "https://api.sportradar.com/americanfootball/trial/v2/en/competitors/merge_mappings.x
            ml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code}
           /competitors/merge_mappings. {format} ?api_key= {your_api_key}


            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Competitor Profile

           Provides top-level information for a given team, including the full team roster, home venue, and team colors.


           TTL / Cache:                                                              300 seconds

           Update Frequency:                                                        As Necessary

           Content Type:                                                             XML or JSON

           Category & Sport Info          Category Country Code                    Category Name                       Sport Name
           Data Points:                         Category Id                            Sport Id

           Competitor Info Data          Competitor Abbreviation                  Jersey Base Color                Jersey Sleeve Detail
           Points:                         Competitor Age Group                Jersey Horizontal Stripes               Jersey Split
                                            Competitor Country                  Jersey Number Color                   Jersey Squares
                                         Competitor Country Code                  Jersey Shirt Type                   Jersey Stripes
                                            Competitor Gender                    Jersey Sleeve Color                   Jersey Type
                                               Competitor Id
                                             Competitor Name
                                             Competitor State

           Player Info Data                    Country Code                               Id                                 Name
           Points:                              Date of Birth                      Jersey Number                         Position
                                                     Gender                          Nationality                             Weight
                                                     Height


https://perma.cc/2DD5-SQDE                                                                                                                8/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 137 of 443 PageID:
                                                                     1035
           Venue Info Data                         Capacity                      Country Name                       Map Coordinates
           Points:                                   City                               Id                                  Name
                                              Country Code


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitors/sr:competitor:442
            4/profile.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitors/ {competitor
           _id} /profile. {format} ?api_key= {your_api_key}



            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            competitor_id           Id of a given competitor.

            format                  xml or json.

            your_api_key            Your API key.


           Return to top



           Competitor Summaries

           Provides previous and upcoming game information for a given competitor, including results for past games and scheduling info
           for upcoming games.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info          Category Country Code                  Category Name                        Sport Name
           Data Points:                        Category Id                           Sport Id

           Competition Info Data           Competition Gender           Round - Cup Round Sport Event                 Season Year
           Points:                            Competition Id                         Number                          Stage End Date
                                            Competition Name                      Round Name                          Stage Order
                                          Competition Parent Id                  Round Number                         Stage Phase
                                              Coverage Live               Round - Other Sport Event Id              Stage Start Date
                                           Group - Group Name                 Season Competition Id

https://perma.cc/2DD5-SQDE                                                                                                                9/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                  Document       1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 138 of 443 PageID:

                                                  Group Id           1036  Season End Date                        Stage Type
                                              Group Name                           Season Id                          Stage Year
                                         Round - Cup Round Id                     Season Name
                                     Round - Cup Round Number of                Season Start Date
                                              Sport Events

           Competitor Info Data               Abbreviation                       Country Code                              Name
           Points:                                 Country                             Id                                  State

           Venue Info Data                        Capacity                       Country Name                              Name
           Points:                                Changed                              Id                         Reduced Capacity
                                                    City                        Map Coordinates                 Reduced Capacity Max
                                             Country Code

           Match Info Data                Competitor Qualifier               Sport Event Start Time          Sport Event Status Decided
           Points:                         Period Away Score                 Sport Event Start Time                    Overtime
                                           Period Home Score                       Confirmed                  Sport Event Status Home
                                            Period Number                      Sport Event Status                 Normaltime Score
                                              Period Type                    Sport Event Status Away       Sport Event Status Home Score
                                             Sport Event Id                    Normaltime Score            Sport Event Status Match Status
                                                                        Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitors/sr:competitor:442
            4/summaries.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

           Access the Competitor Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitors/ {competitor
           _id} /summaries. {format} ?api_key= {your_api_key}



            Parameter              Description

            access_level           Defines the access level of your API key as Production (production) or Trial (trial).

            version                Version number of the API you are accessing (Current Version: v2).

            language_code          2 letter code for supported languages


                                   Chinese - simplified (zh), English (en)


                                   Click here for a tabular list of available languages per competition.

            competitor_id          ID for a given competitor.

            format                 xml or json.

            your_api_key           Your API key.


           Return to top



           Competitor vs Competitor

https://perma.cc/2DD5-SQDE                                                                                                                   10/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ               Document      1-5 Football
                                                       Global American    Filedv2 |02/10/25        Page
                                                                                    Sportradar US API Portal 139 of 443 PageID:
                                                                 1037
           Provides previous and upcoming games between two teams including scoring information.


           TTL / Cache:                                                            60 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                        Sport Name
           Data Points:                        Category Id                          Sport Id

           Competition Info Data          Competition Gender            Round - Cup Round Sport Event                 Season Year
           Points:                           Competition Id                         Number                          Stage End Date
                                           Competition Name                       Round Name                          Stage Order
                                          Competition Parent Id                  Round Number                         Stage Phase
                                              Coverage Live               Round - Other Sport Event Id              Stage Start Date
                                          Group - Group Name                 Season Competition Id                     Stage Type
                                                Group Id                        Season End Date                        Stage Year
                                              Group Name                            Season Id
                                          Round - Cup Round Id                   Season Name
                                     Round - Cup Round Number of               Season Start Date
                                              Sport Events

           Competitor Info Data               Abbreviation                       Country Code                            Name
           Points:                              Age Group                            Gender                                  State
                                                 Country                                Id

           Venue Info Data                      Capacity                         Country Name                            Name
           Points:                              Changed                                 Id                         Reduced Capacity
                                                   City                         Map Coordinates                 Reduced Capacity Max
                                              Country Code

           Match Info Data                Competitor Qualifier               Sport Event Start Time           Sport Event Status Decided
           Points:                         Period Away Score                 Sport Event Start Time                    Overtime
                                           Period Home Score                       Confirmed                   Sport Event Status Home
                                             Period Number                     Sport Event Status                  Normaltime Score
                                               Period Type                  Sport Event Status Away         Sport Event Status Home Score
                                              Sport Event Id                   Normaltime Score            Sport Event Status Match Status
                                                                         Sport Event Status Away Score       Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/competitors/sr:competitor:442
            4/versus/sr:competitor:4324/summaries.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

           Access the Competitor vs Competitor feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitors/ {competitor
           _id} /versus/ {competitor2_id} /summaries. {format} ?api_key= {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).


https://perma.cc/2DD5-SQDE                                                                                                                   11/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 140 of 443 PageID:
                                                                     1038
            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            competitor_id            ID for a given competitor.

            competitor2_id           ID for a given competitor.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Daily Summaries

           Provides game information for a given day including scoring information.


           TTL / Cache:                                                             300 seconds

           Update Frequency:                                                        As Necessary

           Content Type:                                                            XML or JSON

           Category & Sport Info         Category Country Code                     Category Name                      Sport Name
           Data Points:                        Category Id                            Sport Id

           Competition Info Data           Competition Gender           Round - Cup Round Sport Event                Season Year
           Points:                           Competition Id                           Number                        Stage End Date
                                           Competition Name                         Round Name                        Stage Order
                                          Competition Parent Id                    Round Number                      Stage Phase
                                              Coverage Live               Round - Other Sport Event Id              Stage Start Date
                                          Group - Group Name                   Season Competition Id                  Stage Type
                                                 Group Id                         Season End Date                     Stage Year
                                              Group Name                             Season Id
                                          Round - Cup Round Id                      Season Name
                                      Round - Cup Round Number of                 Season Start Date
                                              Sport Events

           Competitor Info Data               Abbreviation                         Country Code                          Name
           Points:                              Age Group                              Gender                            State
                                                    Country                              Id

           Venue Info Data                      Capacity                           Country Name                          Name
           Points:                              Changed                                  Id                        Reduced Capacity
                                                     City                         Map Coordinates                Reduced Capacity Max
                                              Country Code

           Match Info Data                Competitor Qualifier                 Sport Event Start Time         Sport Event Status Decided
           Points:                          Period Away Score                  Sport Event Start Time                  Overtime
                                           Period Home Score                         Confirmed                 Sport Event Status Home
                                             Period Number                       Sport Event Status                Normaltime Score
                                                                               Sport Event Status Away       Sport Event Status Home Score


https://perma.cc/2DD5-SQDE                                                                                                                   12/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document       1-5 Football
                                                              Global American  Filed v2 |02/10/25        Page
                                                                                          Sportradar US API Portal 141 of 443 PageID:

                                                  Period Type           1039  Normaltime Score            Sport Event Status Match Status
                                                 Sport Event Id            Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/schedules/2022-01-09/summarie
            s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Daily Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /schedules/ {year} -
           {month} - {day} /summaries. {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            year                      Year in 4 digit format (YYYY).

            month                     Month in 2 digit format (MM).

            day                       Day in 2 digit format (DD).

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/schedules/2022-01-09/summaries.xml?ap
            i_key={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 200.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description


https://perma.cc/2DD5-SQDE                                                                                                                     13/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 142 of 443 PageID:
                                                                      1040
            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Live Summaries

           Provides game information for all currently live games, including team scoring. This feed updates in real time as games are
           played.


           TTL / Cache:                                                            1 second

           Update Frequency:                                                     As Necessary

           Content Type:                                                         XML or JSON

           Category & Sport Info           Category Country Code                Category Name                       Sport Name
           Data Points:                           Category Id                       Sport Id

           Competition Info Data             Competition Gender          Round - Cup Round Sport Event              Season Year
           Points:                               Competition Id                     Number                        Stage End Date
                                             Competition Name                    Round Name                         Stage Order
                                            Competition Parent Id               Round Number                       Stage Phase
                                                 Coverage Live            Round - Other Sport Event Id            Stage Start Date
                                             Group - Group Name              Season Competition Id                  Stage Type
                                                   Group Id                    Season End Date                      Stage Year
                                                  Group Name                       Season Id
                                            Round - Cup Round Id                 Season Name
                                       Round - Cup Round Number of             Season Start Date
                                                  Sport Events

           Competitor Info Data                   Abbreviation                   Country Code                          Name
           Points:                                 Age Group                        Gender                             State
                                                    Country                            Id

           Venue Info Data                         Capacity                     Country Name                           Name
           Points:                                 Changed                             Id                        Reduced Capacity
                                                      City                     Map Coordinates                Reduced Capacity Max
                                                 Country Code

           Match Info Data                   Competitor Qualifier            Sport Event Start Time         Sport Event Status Decided
           Points:                            Period Away Score              Sport Event Start Time                  Overtime
                                             Period Home Score                    Confirmed                  Sport Event Status Home
                                                Period Number                  Sport Event Status               Normaltime Score
                                                  Period Type               Sport Event Status Away       Sport Event Status Home Score
                                                 Sport Event Id                Normaltime Score           Sport Event Status Match Status
                                                                         Sport Event Status Away Score     Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/schedules/live/summaries.xml?
            api_key={your_api_key}"



https://perma.cc/2DD5-SQDE                                                                                                                  14/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ               Document        1-5 Football
                                                         Global American  Filed v2 |02/10/25        Page
                                                                                     Sportradar US API Portal 143 of 443 PageID:

             The above command returns xml structured like this.   1041
           Access the Live Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /competitors/ {competitor
           _id} /summaries. {format} ?api_key= {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            competitor_id            ID for a given competitor.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Live Timelines

           Provides a play-by-play event timeline for currently live games.


           TTL / Cache:                                                                1 second

           Update Frequency:                                                         As Necessary

           Content Type:                                                             XML or JSON

           Match Info Data                   Period Away Score                  Sport Event Status Away      Sport Event Status Match Status
           Points:                          Period Home Score                      Normaltime Score            Sport Event Status Winner Id
                                           Period Score Number            Sport Event Status Away Score          Sport Event Timeline Id
                                             Period Score Type                 Sport Event Status Decided    Sport Event Timeline Start Time
                                             Sport Event Status                        Overtime
                                                                                Sport Event Status Home
                                                                                   Normaltime Score
                                                                          Sport Event Status Home Score

           Timeline Info Data                   Away Score                                 Id                          Period Name
           Points:                              Break Name                            Match Clock                            Time
                                                Competitor                            Match Time                             Type
                                                Home Score                              Period


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/schedules/live/timelines.xml?
            api_key={your_api_key}"



             The above command returns xml structured like this.
https://perma.cc/2DD5-SQDE                                                                                                                     15/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document       1-5 Football
                                                            Global American      Filed
                                                                                     v2 |02/10/25        Page
                                                                                          Sportradar US API Portal 144 of 443 PageID:
                                                                       1042
           Access the Live Timelines feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /schedules/live/timelines.
           {format} ?api_key= {your_api_key}



            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            format                  xml or json.

            your_api_key            Your API key.


           Return to top



           Live Timelines Delta

           Provides a 10 second live delta of game information, including scoring and a play-by-play event timeline.


           TTL / Cache:                                                               1 second

           Update Frequency:                                                        As Necessary

           Content Type:                                                            XML or JSON

           Match Info Data                  Period Away Score                  Sport Event Status Away      Sport Event Status Match Status
           Points:                          Period Home Score                     Normaltime Score            Sport Event Status Winner Id
                                           Period Score Number           Sport Event Status Away Score          Sport Event Timeline Id
                                            Period Score Type                 Sport Event Status Decided    Sport Event Timeline Start Time
                                            Sport Event Status                        Overtime
                                                                               Sport Event Status Home
                                                                                  Normaltime Score
                                                                         Sport Event Status Home Score

           Timeline Info Data                   Away Score                                Id                          Period Name
           Points:                             Break Name                            Match Clock                            Time
                                                Competitor                           Match Time                             Type
                                               Home Score                              Period


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/schedules/live/timelines_delt
            a.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timelines Delta feed by replacing the parameters in the following URL:


https://perma.cc/2DD5-SQDE                                                                                                                    16/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document       1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 145 of 443 PageID:
                                                                    1043
           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code}
           /schedules/live/timelines_delta. {format} ?api_key= {your_api_key}


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            format                  xml or json.

            your_api_key            Your API key.


           Return to top



           Player Mappings

           Provides player id mapping between the Global American Football API and other football APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 player
             mappings.



           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Mapping Info                                            External Id                                              Id
           Data Points:


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/players/mappings.xml?api_key=
            {your_api_key}"



            The above command returns xml structured like this.

           Access the Player Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /players/mappings.
           {format} ?api_key= {your_api_key}



            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).


https://perma.cc/2DD5-SQDE                                                                                                              17/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                       Document     1-5 Football
                                                              Global American  Filed v2 |02/10/25        Page
                                                                                          Sportradar US API Portal 146 of 443 PageID:
                                                                        1044
            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/players/mappings.xml?api_key={your_ap
            i_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Player Merge Mappings

           Provides valid ids for players who have had their profiles merged. While Sportradar always strives to provide one unique player
           id, it is a possibility for two ids to be created. This feed provides the correct id once profiles have been merged.


           TTL / Cache:                                                           300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Mapping Info                        Merged Id                          Name                              Retained Id
           Data Points:


https://perma.cc/2DD5-SQDE                                                                                                                   18/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 147 of 443 PageID:
                                                                      1045
            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/players/merge_mappings.xml?ap
            i_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /players/merge_mappings.
           {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/players/merge_mappings.xml?api_key={y
            our_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



https://perma.cc/2DD5-SQDE                                                                                                                  19/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 148 of 443 PageID:
                                                                      1046
           Player Profile

           Provides player biographical information, including current team.


           TTL / Cache:                                                             300 seconds

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Competitor Info Data                 Abbreviation                       Country Code                              Name
           Points:                                  Age Group                         Gender                                 State
                                                     Country                             Id

           Player Info Data                          Active                           Height                                 Name
           Points:                             Country Code                              Id                              Position
                                                Date Of Birth                     Jersey Number                         Role Type
                                                    End Date                        Nationality                         Start Date
                                                     Gender                            Name                                  Weight


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/players/sr:player:834683/prof
            ile.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /players/ {player_id}
           /profile. {format} ?api_key= {your_api_key}


            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            player_id                ID of a given player.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Player Summaries

           Provides game info and results for the past 10 games in which a given player participated.


https://perma.cc/2DD5-SQDE                                                                                                            20/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document     1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 149 of 443 PageID:
                                                                    1047
           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                        Sport Name
           Data Points:                        Category Id                           Sport Id

           Competition Info Data           Competition Gender           Round - Cup Round Sport Event                 Season Year
           Points:                           Competition Id                          Number                          Stage End Date
                                           Competition Name                       Round Name                          Stage Order
                                          Competition Parent Id                  Round Number                         Stage Phase
                                              Coverage Live               Round - Other Sport Event Id              Stage Start Date
                                          Group - Group Name                 Season Competition Id                     Stage Type
                                                  Group Id                      Season End Date                        Stage Year
                                               Group Name                           Season Id
                                          Round - Cup Round Id                    Season Name
                                     Round - Cup Round Number of                Season Start Date
                                               Sport Events

           Competitor Info Data                Abbreviation                       Country Code                              Name
           Points:                              Age Group                            Gender                                 State
                                                  Country                               Id

           Venue Info Data                        Capacity                       Country Name                               Name
           Points:                                Changed                               Id                         Reduced Capacity
                                                    City                        Map Coordinates                  Reduced Capacity Max
                                              Country Code

           Match Info Data                Competitor Qualifier               Sport Event Start Time           Sport Event Status Decided
           Points:                          Period Away Score                Sport Event Start Time                     Overtime
                                           Period Home Score                       Confirmed                   Sport Event Status Home
                                             Period Number                     Sport Event Status                  Normaltime Score
                                               Period Type                  Sport Event Status Away         Sport Event Status Home Score
                                              Sport Event Id                   Normaltime Score             Sport Event Status Match Status
                                                                         Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/players/sr:player:834683/summ
            aries.xml?api_key={your_api_key}"



            The above command returns xml structured like this.

           Access the Player Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /players/ {player_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages



https://perma.cc/2DD5-SQDE                                                                                                                    21/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document         1-5 Football
                                                              Global American    Filed v2 |02/10/25        Page
                                                                                            Sportradar US API Portal 150 of 443 PageID:
                                                                          1048
                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            player_id                 ID of a given player.

            format                    xml or json.

            your_api_key              Your API key.


           Return to top



           Season Competitors

           Provides a list of teams participating for a given season.


           TTL / Cache:                                                              300 seconds

           Update Frequency:                                                        As Necessary

           Content Type:                                                            XML or JSON

           Competitor Info Data                  Abbreviation                           Name                            Short Name
           Points:                                     Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/compe
            titors.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Competitors feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /competitors. {format} ?api_key= {your_api_key}


            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            season_id                 ID of a given season.

            format                    xml or json.

            your_api_key              Your API key.


           Return to top

https://perma.cc/2DD5-SQDE                                                                                                                22/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 151 of 443 PageID:
                                                                     1049
           Season Info

           Provides detailed information for a given season, including participating teams and league structure.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info          Category Country Code                  Category Name                        Sport Name
           Data Points:                         Category Id                          Sport Id

           Competition Info Data           Competition Gender             Info Venue Reduced Capacity                 Season Year
           Points:                            Competition Id              Info Venue Reduced Capacity                Stage End Date
                                            Competition Name                           Max                            Stage Order
                                          Competition Parent Id               Season Competition Id                   Stage Phase
                                           Group - Group Name                   Season End Date                     Stage Start Date
                                                   Group Id                         Season Id                          Stage Type
                                            Group Max Rounds                      Season Name                          Stage Year
                                               Group Name                       Season Start Date
                                          Info Competition Status

           Competitor Info Data                Abbreviation                       Country Code                              Name
           Points:                                 Age Group                         Gender                                 State
                                                    Country                             Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/info.
            xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Info feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /info. {format} ?api_key= {your_api_key}


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            season_id               ID of a given season.

            format                  xml or json.

            your_api_key            Your API key.



https://perma.cc/2DD5-SQDE                                                                                                             23/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                       Document     1-5 Football
                                                              Global American  Filed v2 |02/10/25        Page
                                                                                          Sportradar US API Portal 152 of 443 PageID:

           Return to top                                                1050


           Season Links

           Provides information about linked cup rounds for a given season.


           Use this feed to compile full advancement brackets for relevant seasons/tournaments. Links between all matches and rounds
           are available when competitors (TBD vs. TBD) are not yet known.


           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Competition Info Data             Competition Id                         Group Id                        Stage Start Date
           Points:                            Cup Round Id                       Stage End Date                        Stage Type
                                            Cup Round Name                         Stage Phase                         Stage Year
                                            Cup Round Order
                                             Cup Round State
                                             Cup Round Type
                                          Cup Round Winner Id
                                           Group - Group Name

           Match Info Data                            Id                            Start Time                   Start Time Confirmed
           Points:                                  Country                             Id                                  State


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/stage
            s_groups_cup_rounds.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Links feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /stages_groups_cup_rounds. {format} ?api_key= {your_api_key}


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            season_id               ID of a given season.

            format                  xml or json.

            your_api_key            Your API key.


https://perma.cc/2DD5-SQDE                                                                                                              24/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 153 of 443 PageID:

           Return to top                                              1051


           Season Mappings

           Provides season id mapping between the Global American Football API and other football APIs.


           TTL / Cache:                                                            300 seconds

           Update                                                                  As Necessary
           Frequency:

           Content Type:                                                           XML or JSON

           Mapping Info                                              External Id                                              Id
           Data Points:


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/mappings.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Season Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/mappings.
           {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/seasons/mappings.xml?api_key={your_ap
            i_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.




https://perma.cc/2DD5-SQDE                                                                                                                  25/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 154 of 443 PageID:
                                                                     1052
              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Season Players

           Provides names and ids for all participating players for a given season.


           TTL / Cache:                                                               300 seconds

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Player Info Data                       First Name                    Display Last Name                       Last Name
           Points:                           Display First Name                           Id                                 Name


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:74885/playe
            rs.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Players feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /players. {format} ?api_key= {your_api_key}


            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            season_id                Id of a given season.

            format                   xml or json.

https://perma.cc/2DD5-SQDE                                                                                                           26/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 155 of 443 PageID:
                                                                      1053
            your_api_key              Your API key.


           Return to top



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:74885/players.xml?a
            pi_key={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Season Probabilities

           Provides 2-way win probabilities (home team win, away team win) for all games for a given season.


           TTL / Cache:                                                            60 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info            Category Country Code                Category Name                      Sport Name
           Data Points:                           Category Id                        Sport Id

           Competition Info Data             Competition Gender           Round - Cup Round Sport Event            Season Year
           Points:                              Competition Id                      Number                        Stage End Date
                                              Competition Name                    Round Name                        Stage Order
                                            Competition Parent Id                Round Number                      Stage Phase
                                                 Coverage Live             Round - Other Sport Event Id           Stage Start Date
                                             Group - Group Name               Season Competition Id                 Stage Type
                                                   Group Id                     Season End Date                     Stage Year
                                                 Group Name                         Season Id
                                            Round - Cup Round Id

https://perma.cc/2DD5-SQDE                                                                                                                  27/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document      1-5 Football
                                                         Global American  Filed v2 |02/10/25        Page
                                                                                     Sportradar US API Portal 156 of 443 PageID:

                                      Round - Cup Round Number of  1054    Season Name
                                               Sport Events                     Season Start Date

           Competitor Info Data                Abbreviation                       Country Code                              Name
           Points:                                 Age Group                         Gender                                 State
                                                    Country                             Id

           Venue Info Data                         Capacity                      Country Name                               Name
           Points:                                 Changed                              Id                         Reduced Capacity
                                                     City                       Map Coordinates                  Reduced Capacity Max
                                              Country Code

           Probability Info Data       Home Team Win Probability                  Market Name                       Outcome Name
           Points:                     Home Team Win Probability

           Match Info Data                 Competitor Qualifier               Sport Event Start Time             Sport Event Start Time
           Points:                            Sport Event Id                                                           Confirmed


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/proba
            bilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /probabilities. {format} ?api_key= {your_api_key}


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            season_id               Id of a given season.

            format                  xml or json.

            your_api_key            Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/americanfootball/trial/v2/en/seasons/sr:season:52800/probabilitie
            s.xml?api_key={your_api_key}&start=200'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters.
https://perma.cc/2DD5-SQDE                                                                                                                  28/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 157 of 443 PageID:
                                                                     1055
              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 200.
                              Example: limit=200


           Return to top



           Season Standings

           Provides detailed standings info for a given season.


           TTL / Cache:                                                         10 seconds

           Update Frequency:                                                   As Necessary

           Content Type:                                                       XML or JSON

           Competition Info Data            Group - Group Name                Stage End Date                     Stage Start Date
           Points:                                Group Live                    Stage Order                        Stage Type
                                                   Group Id                     Stage Phase                        Stage Year
                                                 Group Name

           Competitor Info Data                  Abbreviation                  Country Code                           Name
           Points:                                Age Group                       Gender                              State
                                                   Country                           Id

           Standings Info Data                     Change                   Group - Group Name                       Points
           Points:                            Current Outcome                     Group Id                            Rank
                                                     Draw                       Group Live                 Season Standings Round
                                                 Goals Against                  Group Name               Season Standings Tie Break
                                              Goals Difference                    Losses                              Rule
                                                   Goals For                      Played               Season Standings Type Winning
                                                                                                                   Percentage
                                                                                                                      Wins


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/stand
            ings.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Standings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /standings. {format} ?api_key= {your_api_key}


https://perma.cc/2DD5-SQDE                                                                                                             29/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 158 of 443 PageID:
                                                                     1056
            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            season_id               ID of a given season.

            format                  xml or json.

            your_api_key            Your API key.


           Return to top



           Season Summaries

           Provides schedule information and scoring for all matches from a given season.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 500 sport
             events.



           TTL / Cache:                                                            300 seconds

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info         Category Country Code                   Category Name                        Sport Name
           Data Points:                        Category Id                           Sport Id

           Competition Info Data           Competition Gender           Round - Cup Round Sport Event                 Season Year
           Points:                           Competition Id                          Number                          Stage End Date
                                           Competition Name                       Round Name                          Stage Order
                                          Competition Parent Id                  Round Number                         Stage Phase
                                              Coverage Live               Round - Other Sport Event Id              Stage Start Date
                                          Group - Group Name                  Season Competition Id                    Stage Type
                                                   Group Id                     Season End Date                        Stage Year
                                               Group Name                           Season Id
                                          Round - Cup Round Id                    Season Name
                                      Round - Cup Round Number of               Season Start Date
                                               Sport Events

           Competitor Info Data                Abbreviation                       Country Code                              Name
           Points:                                 Age Group                         Gender                                 State
                                                    Country                             Id

           Venue Info Data                         Capacity                      Country Name                               Name
           Points:                                 Changed                              Id                         Reduced Capacity

https://perma.cc/2DD5-SQDE                                                                                                             30/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 159 of 443 PageID:

                                                     City            1057  Map Coordinates                  Reduced Capacity Max
                                                Country Code

           Match Info Data                  Competitor Qualifier               Sport Event Start Time          Sport Event Status Decided
           Points:                           Period Away Score                 Sport Event Start Time                    Overtime
                                             Period Home Score                       Confirmed                  Sport Event Status Home
                                               Period Number                     Sport Event Status                 Normaltime Score
                                                 Period Type                   Sport Event Status Away       Sport Event Status Home Score
                                                Sport Event Id                   Normaltime Score            Sport Event Status Match Status
                                                                          Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/summa
            ries.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            season_id                ID of a given season.

            format                   xml or json.

            your_api_key             Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/seasons/sr:season:52800/summaries.xm
            l?api_key={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).




https://perma.cc/2DD5-SQDE                                                                                                                     31/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                  Document       1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 160 of 443 PageID:

           Replace placeholders with the following query parameters: 1058


            Parameter        Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Seasons

           Provides a list of historical season information for all competitions. Competitions will return a maximum of three seasons of
           data, including current or newly created seasons.


           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Competition                     Season Competition Id                       Season Id                     Season Start Date
           Info Data Points:                  Season End Date                        Season Name                        Season Year


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/seasons.xml?api_key={your_api
            _key}"



             The above command returns xml structured like this.

           Access the Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /seasons. {format} ?
           api_key= {your_api_key}


            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.




https://perma.cc/2DD5-SQDE                                                                                                                 32/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document     1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 161 of 443 PageID:

           Return to top                                            1059


           Sport Event Mappings

           Provides game id mapping between the Global American Football API and other football APIs.



             Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 sport
             event mappings.



           TTL / Cache:                                                          300 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Mapping Info                                            External Id                                              Id
           Data Points:


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/sport_events/mappings.xml?api
            _key={your_api_key}"



            The above command returns xml structured like this.

           Access the Sport Event Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /sport_events/mappings.
           {format} ?api_key= {your_api_key}



            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            format                  xml or json.

            your_api_key            Your API key.



           Optional Query String Parameters

            Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/sport_events/mappings.xml?api_key={yo
            ur_api_key}&start=0&limit=75'


https://perma.cc/2DD5-SQDE                                                                                                             33/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document       1-5 Football
                                                            Global American    Filedv2 |02/10/25        Page
                                                                                         Sportradar US API Portal 162 of 443 PageID:
                                                                       1060
           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Event Summary

           Provides real-time scoring for a given game. Please note that data returned is determined by coverage level.


           TTL / Cache:                                                             1 second

           Update Frequency:                                                      As Necessary

           Content Type:                                                          XML or JSON

           Category & Sport Info            Category Country Code                Category Name                      Sport Name
           Data Points:                           Category Id                        Sport Id

           Competition Info Data             Competition Gender           Round - Cup Round Sport Event             Season Year
           Points:                              Competition Id                       Number                       Stage End Date
                                              Competition Name                    Round Name                        Stage Order
                                            Competition Parent Id                Round Number                      Stage Phase
                                                 Coverage Live             Round - Other Sport Event Id           Stage Start Date
                                             Group - Group Name               Season Competition Id                 Stage Type
                                                   Group Id                     Season End Date                     Stage Year
                                                 Group Name                         Season Id
                                            Round - Cup Round Id                  Season Name
                                        Round - Cup Round Number of             Season Start Date
                                                 Sport Events

           Competitor Info Data                  Abbreviation                     Country Code                            Name
           Points:                                Age Group                          Gender                               State
                                                    Country                             Id

           Venue Info Data                         Capacity                      Country Name                             Name
           Points:                                 Changed                              Id                       Reduced Capacity
                                                      City                      Map Coordinates               Reduced Capacity Max
                                                 Country Code

           Match Info Data                   Competitor Qualifier             Sport Event Start Time        Sport Event Status Decided
           Points:                            Period Away Score               Sport Event Start Time                 Overtime

https://perma.cc/2DD5-SQDE                                                                                                                  34/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document       1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 163 of 443 PageID:

                                            Period Home Score       1061     Confirmed                    Sport Event Status Home
                                              Period Number                     Sport Event Status                 Normaltime Score
                                               Period Type                    Sport Event Status Away       Sport Event Status Home Score
                                              Sport Event Id                    Normaltime Score            Sport Event Status Match Status
                                                                         Sport Event Status Away Score        Sport Event Status Winner Id


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/sport_events/sr:match:3158803
            1/summary.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Summary feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /sport_events/ {match_id}
           /summary. {format} ?api_key= {your_api_key}


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v2).

            language_code           2 letter code for supported languages


                                    Chinese - simplified (zh), English (en)


                                    Click here for a tabular list of available languages per competition.

            match_id                ID of a given match.

            format                  xml or json.

            your_api_key            Your API key.


           Return to top



           Sport Event Timeline

           Provides real-time scoring and a play-by-play event timeline for a given game. Please note that data returned is determined by
           coverage level.


           TTL / Cache:                                                              1 second

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Category & Sport Info          Category Country Code                   Category Name                       Sport Name
           Data Points:                         Category Id                          Sport Id

           Competition Info Data           Competition Gender           Round - Cup Round Sport Event                 Season Year
           Points:                            Competition Id                         Number                          Stage End Date
                                            Competition Name                       Round Name                         Stage Order
                                          Competition Parent Id                   Round Number                        Stage Phase

https://perma.cc/2DD5-SQDE                                                                                                                    35/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document       1-5 Football
                                                          Global American   Filedv2 |02/10/25        Page
                                                                                      Sportradar US API Portal 164 of 443 PageID:

                                              Coverage Live         1062
                                                                       Round - Other Sport Event Id            Stage Start Date
                                           Group - Group Name                  Season Competition Id                   Stage Type
                                                 Group Id                         Season End Date                      Stage Year
                                               Group Name                            Season Id
                                          Round - Cup Round Id                      Season Name
                                      Round - Cup Round Number of                 Season Start Date
                                               Sport Events

           Competitor Info Data                Abbreviation                        Country Code                          Name
           Points:                              Age Group                              Gender                                State
                                                    Country                              Id

           Venue Info Data                       Capacity                          Country Name                          Name
           Points:                               Changed                                 Id                        Reduced Capacity
                                                     City                         Map Coordinates                Reduced Capacity Max
                                              Country Code

           Match Info Data                 Competitor Qualifier                Sport Event Start Time          Sport Event Status Decided
           Points:                          Period Away Score                  Sport Event Start Time                  Overtime
                                           Period Home Score                         Confirmed                  Sport Event Status Home
                                             Period Number                       Sport Event Status                Normaltime Score
                                               Period Type                     Sport Event Status Away       Sport Event Status Home Score
                                              Sport Event Id                     Normaltime Score            Sport Event Status Match Status
                                                                         Sport Event Status Away Score        Sport Event Status Winner Id

           Timeline Info Data                  Away Score                                Id                           Period Name
           Points:                             Break Name                           Match Clock                              Time
                                               Competitor                           Match Time                               Type
                                               Home Score                              Period


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/sport_events/sr:match:3158803
            1/timeline.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Timeline feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /sport_events/ {sport_eve
           nt_id} /timeline. {format} ?api_key= {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            sport_event_id           ID of a given sport event.

            format                   xml or json.

https://perma.cc/2DD5-SQDE                                                                                                                     36/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 165 of 443 PageID:
                                                                      1063
            your_api_key              Your API key.


           Return to top



           Sport Events Created

           Provides ids for sport events that have been created in the last 24 hours.


           TTL / Cache:                                                          60 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Match Info Data                            Active Season Flag                           Id                  Created At
           Points:



            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/sport_events/created.xml?api_
            key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Created feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /sport_events/created.
           {format} ?api_key= {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            format                   xml or json.

            your_api_key             Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/sport_events/created.xml?api_key={you
            r_api_key}&start=0&limit=75'




https://perma.cc/2DD5-SQDE                                                                                                            37/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document       1-5 Football
                                                            Global American    Filedv2 |02/10/25        Page
                                                                                         Sportradar US API Portal 166 of 443 PageID:
                                                                       1064
           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Events Removed

           Provides ids for sport events that have been removed from the API due to an entry error. Ids will remain in the response for 2
           weeks.


           TTL / Cache:                                                           60 seconds

           Update                                                                As Necessary
           Frequency:

           Content Type:                                                         XML or JSON

           Match Info Data                                                 Sport Event Removed Id
           Points:


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/sport_events/removed.xml?api_
            key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Removed feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /sport_events/removed.
           {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


https://perma.cc/2DD5-SQDE                                                                                                                  38/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 167 of 443 PageID:
                                                                      1065
                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/sport_events/removed.xml?api_key={you
            r_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Events Updated

           Provides ids for sport events that have been updated in the last 24 hours.


           TTL / Cache:                                                          60 seconds

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Match Info Data                 Id                                                 Updated At
           Points:


            curl -X GET "https://api.sportradar.us/americanfootball/trial/v2/en/sport_events/updated.xml?api_
            key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Updated feed by replacing the parameters in the following URL:
https://perma.cc/2DD5-SQDE                                                                                                                  39/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document       1-5 Football
                                                          Global American  Filed v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 168 of 443 PageID:
                                                                    1066
           https://api.sportradar.com/americanfootball/ {access_level} / {version} / {language_code} /sport_events/updated.
           {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            format                    xml or json.

            your_api_key              Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/americanfootball/trial/v2/en/sport_events/updated.xml?api_key={you
            r_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Probabilities Feeds

           This collection of probability feeds is available for licensing as an add-on feature. They are an extension of the Season
           Probabilities feed in the main package which provides pre-match probabilities for the sport event winner market.


           The main features of the Probabilities extension (where coverage applies) are:


https://perma.cc/2DD5-SQDE                                                                                                                  40/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document       1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 169 of 443 PageID:

                Live Probabilities that update throughout game        1067
                Season Outright Probabilities for the Tournament Winner market
                Live Probabilities Coverage indicator for the next 24 hours


           For more information or to request a Trial of this feature, please contact a Sportradar Sales representative.


           The Open API specification and Syntax for using our Probabilities feeds, including examples of the payloads can be found
           below.



                                                              OpenAPI Specification



           Live Probabilities

           Provides top-level information for live games. If probabilities are available for a game, pre-match and live probabilities will be
           displayed.


           TTL / Cache:                                                               1 second

           Update Frequency:                                                        As Necessary

           Content Type:                                                            XML or JSON

           Category & Sport Info           Category Country Code                   Category Name                       Sport Name
           Data Points:                          Category Id                           Sport Id

           Competition Info Data            Competition Gender            Round - Cup Round Sport Event                Season Year
           Points:                             Competition Id                          Number                        Stage End Date
                                             Competition Name                       Round Name                         Stage Order
                                           Competition Parent Id                   Round Number                        Stage Phase
                                                Coverage Live              Round - Other Sport Event Id              Stage Start Date
                                            Group - Group Name                 Season Competition Id                   Stage Type
                                                  Group Id                        Season End Date                       Stage Year
                                                Group Name                            Season Id
                                            Round - Cup Round Id                    Season Name
                                       Round - Cup Round Number of                Season Start Date
                                                Sport Events

           Competitor Info Data                 Abbreviation                           Division                            State
           Points:                                Age Group                            Gender                              Virtual
                                                   Country                                Id
                                                Country Code                            Name

           Venue Info Data                        Capacity                         Country Name                            Name
           Points:                                Changed                                 Id                        Reduced Capacity
                                                     City                         Map Coordinates                Reduced Capacity Max
                                                Country Code

           Probability Info Data         Away Team Win Probability              Market Last Updated                    Match Time
           Points:                      Home Team Win Probability                    Market Live                     Outcome Name
                                             Market Away Score                      Market Name                      Remaining Time
                                             Market Home Score                    Market Removed                Remaining Time in Period

           Match Info Data                       Away Score                   Sport Event Resumed Time          Sport Event Status Home
           Points:                          Competitor Qualifier                Sport Event Start Time              Normaltime Score

https://perma.cc/2DD5-SQDE                                                                                                                      41/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                  Document       1-5 Football
                                                           Global American    Filedv2 |02/10/25        Page
                                                                                        Sportradar US API Portal 170 of 443 PageID:

                                                Home Score           1068  Sport Event Start Time       Sport Event Status Home Score
                                               Period Number                          Confirmed              Sport Event Status Match Status
                                                Period Type                        Sport Event Status          Sport Event Status Winner Id
                                               Sport Event Id                   Sport Event Status Away                Time Played
                                          Sport Event Replaced By                  Normaltime Score                  Time Remaining
                                                                          Sport Event Status Away Score
                                                                               Sport Event Status Decided
                                                                                       Overtime


            curl -X GET "https://api.sportradar.us/americanfootball-probabilities/trial/v2/en/schedules/live/
            probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball-
           probabilities/ {access_level} / {version} / {language_code} /schedules/live/probabilities. {format} ?api_key=
           {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Season Outright Probabilities

           Provides a list of outright probabilities for each competitor from a given season.


           TTL / Cache:                                                               60 seconds

           Update Frequency:                                                         As Necessary

           Content Type:                                                             XML or JSON

           Competitor Info Data                 Abbreviation                            Division                             State
           Points:                                  Age Group                           Gender                               Virtual
                                                     Country                               Id
                                               Country Code                              Name



https://perma.cc/2DD5-SQDE                                                                                                                     42/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                     Document     1-5 Football
                                                            Global American  Filed v2 |02/10/25        Page
                                                                                        Sportradar US API Portal 171 of 443 PageID:
                                                                      1069
           Probability Info Data              Win Probability                      Market Name                       Outcome Name
           Points:


            curl -X GET "https://api.sportradar.us/americanfootball-probabilities/trial/v2/en/seasons/sr:seas
            on:75095/outright_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Outright Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball-
           probabilities/ {access_level} / {version} / {language_code} /seasons/ {season_id} /outright_probabilities. {format} ?
           api_key= {your_api_key}


            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            season_id                Id of a given season.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Sport Event Probabilities

           Provides pre-match and live probabilities for a given match.


           TTL / Cache:                                                              1 second

           Update Frequency:                                                       As Necessary

           Content Type:                                                           XML or JSON

           Category & Sport Info          Category Country Code                   Category Name                        Sport Name
           Data Points:                         Category Id                           Sport Id

           Competition Info Data            Competition Gender            Round - Cup Round Sport Event                Season Year
           Points:                            Competition Id                          Number                          Stage End Date
                                            Competition Name                       Round Name                          Stage Order
                                           Competition Parent Id                  Round Number                         Stage Phase
                                               Coverage Live               Round - Other Sport Event Id              Stage Start Date
                                           Group - Group Name                  Season Competition Id                    Stage Type
                                                    Group Id                     Season End Date                        Stage Year

https://perma.cc/2DD5-SQDE                                                                                                              43/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                  Document     1-5 Football
                                                         Global American  Filed v2 |02/10/25        Page
                                                                                     Sportradar US API Portal 172 of 443 PageID:

                                               Group Name          1070      Season Id
                                           Round - Cup Round Id                      Season Name
                                      Round - Cup Round Number of                  Season Start Date
                                               Sport Events

           Competitor Info Data                Abbreviation                            Division                               State
           Points:                               Age Group                              Gender                            Virtual
                                                  Country                                 Id
                                               Country Code                             Name

           Venue Info Data                       Capacity                           Country Name                          Name
           Points:                               Changed                                  Id                        Reduced Capacity
                                                    City                           Map Coordinates                Reduced Capacity Max
                                               Country Code

           Probability Info Data        Away Team Win Probability                Market Last Updated                   Match Time
           Points:                     Home Team Win Probability                      Market Live                    Outcome Name
                                            Market Away Score                        Market Name                     Remaining Time
                                            Market Home Score                      Market Removed               Remaining Time in Period

           Match Info Data                      Away Score                 Sport Event Resumed Time              Sport Event Status Home
           Points:                         Competitor Qualifier                 Sport Event Start Time              Normaltime Score
                                                Home Score                      Sport Event Start Time        Sport Event Status Home Score
                                              Period Number                           Confirmed               Sport Event Status Match Status
                                                Period Type                       Sport Event Status           Sport Event Status Winner Id
                                               Sport Event Id                   Sport Event Status Away                Time Played
                                         Sport Event Replaced By                  Normaltime Score                   Time Remaining
                                                                          Sport Event Status Away Score
                                                                           Sport Event Status Decided
                                                                                       Overtime


            curl -X GET "https://api.sportradar.us/americanfootball-probabilities/trial/v2/en/sport_events/s
            r:sport_event:25496754/sport_event_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /probabilities.
           {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.



https://perma.cc/2DD5-SQDE                                                                                                                      44/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document     1-5 Football
                                                           Global American  Filed v2 |02/10/25        Page
                                                                                       Sportradar US API Portal 173 of 443 PageID:
                                                                     1071
            sport_event_id             Id of a given sport event.

            format                     xml or json.

            your_api_key               Your API key.


           Return to top



           Sport Event Upcoming Probabilities

           Provides a list of IDs for upcoming sport events in the next 24 hours.


           TTL / Cache:                                                             1 second

           Update                                                               As Necessary
           Frequency:

           Content Type:                                                        XML or JSON

           Match Info Data                                                Sport Event Upcoming Id
           Points:


            curl -X GET "https://api.sportradar.us/americanfootball-probabilities/trial/v2/en/sport_events/up
            coming_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Upcoming Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/americanfootball-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/upcoming_probabilities. {format} ?api_key=
           {your_api_key}



            Parameter                Description

            access_level             Defines the access level of your API key as Production (production) or Trial (trial).

            version                  Version number of the API you are accessing (Current Version: v2).

            language_code            2 letter code for supported languages


                                     Chinese - simplified (zh), English (en)


                                     Click here for a tabular list of available languages per competition.

            format                   xml or json.

            your_api_key             Your API key.


           Return to top



           Timeline Probabilities

https://perma.cc/2DD5-SQDE                                                                                                           45/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document       1-5 Football
                                                           Global American       Filedv2 |02/10/25        Page
                                                                                           Sportradar US API Portal 174 of 443 PageID:
                                                                       1072
           Provides a timeline of pre-match and live probability changes for a given game.


           TTL / Cache:                                                            1 second

           Update Frequency:                                                     As Necessary

           Content Type:                                                         XML or JSON

           Category & Sport Info          Category Country Code                 Category Name                    Sport Name
           Data Points:                         Category Id                        Sport Id

           Competition Info Data           Competition Gender          Round - Cup Round Sport Event             Season Year
           Points:                            Competition Id                       Number                       Stage End Date
                                            Competition Name                     Round Name                      Stage Order
                                          Competition Parent Id                 Round Number                     Stage Phase
                                              Coverage Live              Round - Other Sport Event Id          Stage Start Date
                                           Group - Group Name               Season Competition Id                 Stage Type
                                                 Group Id                      Season End Date                    Stage Year
                                               Group Name                         Season Id
                                          Round - Cup Round Id                  Season Name
                                      Round - Cup Round Number of             Season Start Date
                                               Sport Events

           Competitor Info Data                Abbreviation                        Division                          State
           Points:                              Age Group                           Gender                          Virtual
                                                 Country                              Id
                                               Country Code                         Name

           Venue Info Data                       Capacity                       Country Name                        Name
           Points:                               Changed                              Id                      Reduced Capacity
                                                    City                       Map Coordinates              Reduced Capacity Max
                                               Country Code

           Probability Info Data        Away Team Win Probability            Market Last Updated                 Match Time
           Points:                     Home Team Win Probability                  Market Live                  Outcome Name
                                            Market Away Score                    Market Name                   Remaining Time
                                            Market Home Score                  Market Removed             Remaining Time in Period

           Match Info Data                      Away Score                Sport Event Resumed Time         Sport Event Status Home
           Points:                         Competitor Qualifier             Sport Event Start Time            Normaltime Score
                                               Home Score                   Sport Event Start Time      Sport Event Status Home Score
                                              Period Number                       Confirmed             Sport Event Status Match Status
                                               Period Type                    Sport Event Status         Sport Event Status Winner Id
                                              Sport Event Id               Sport Event Status Away               Time Played
                                         Sport Event Replaced By              Normaltime Score                 Time Remaining
                                                                        Sport Event Status Away Score
                                                                          Sport Event Status Decided
                                                                                   Overtime


            curl -X GET "https://api.sportradar.us/americanfootball-probabilities/trial/v2/en/sport_events/s
            r:sport_event:25496754/timeline_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Timeline Probabilities feed by replacing the parameters in the following URL:



https://perma.cc/2DD5-SQDE                                                                                                                46/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document     1-5 Football
                                                        Global American  Filed v2 |02/10/25        Page
                                                                                    Sportradar US API Portal 175 of 443 PageID:

           https://api.sportradar.com/americanfootball-           1073
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /timeline_probabilities.
           {format} ?api_key= {your_api_key}



            Parameter                 Description

            access_level              Defines the access level of your API key as Production (production) or Trial (trial).

            version                   Version number of the API you are accessing (Current Version: v2).

            language_code             2 letter code for supported languages


                                      Chinese - simplified (zh), English (en)


                                      Click here for a tabular list of available languages per competition.

            sport_event_id            Id of a given sport event.

            format                    xml or json.

            your_api_key              Your API key.


           Return to top



           Frequently Asked Questions

           Q: What leagues do you cover, and at what level?


           Coverage information can be found via our Coverage Matrix.


           Please note that sr:competition:27653 (NCAA, Regular Season) includes DI, DII, and DIII games.


           Q: What format are date fields presented in?


           A: When we present date only values we present these in the ISO 8601 standard format.
           ex: 2013-04-03
           We use these for attributes that have date and no time (such as birthdate). For more information:
           https://en.wikipedia.org/wiki/ISO_8601


           Q: What format are the date/time fields presented in?


           A: All of our Date/Time attributes are in UTC, presented in the ISO 8601 standard format.
           ex: 2013-04-03T18:15:00+00:00
           For more information: https://en.wikipedia.org/wiki/ISO_8601


           Q: How can I find the values for various enum data points within the API?


           A: Many enum values are listed in the FAQ below. For the most up-to-date values, please see the Schema section of the OpenAPI
           specification here: https://api.sportradar.com/americanfootball/trial/v2/openapi/swagger/index.html


           Q: What are the valid sport_event_status - status values?



https://perma.cc/2DD5-SQDE                                                                                                                 47/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                    Document       1-5 Football
                                                            Global American       Filed
                                                                                      v2 |02/10/25        Page
                                                                                           Sportradar US API Portal 176 of 443 PageID:
                                                                        1074
           A: Here are the valid sport_event_status values and their definitions:


                not_started – The match is scheduled to be played
                started – The match has begun
                live – The match is currently in progress
                postponed – The match has been postponed to a future date
                suspended - The match began, but has been suspended to a later time
                delayed – The match has been temporarily delayed and will be continued
                cancelled – The match has been cancelled and will not be played
                match_about_to_start – The match is about to begin
                interrupted - The match began, but coverage has stopped for a short time. Note that match scores may not be updated
                during this period, the last recorded match score will be displayed instead
                ended – The match is over
                closed – The match results have been confirmed


           Q: What are the valid sport_event_status – match_status values?


           A: Here are the valid match_status values:


                not_started
                ended
                postponed
                cancelled
                interrupted
                overtime
                abandoned
                1st_quarter
                2nd_quarter
                3rd_quarter
                4th_quarter
                pause
                awaiting_extra_time
                aet
                start_delayed


           Q: What are the possible event types logged?


           A: Here are the valid event type:


                match_started
                period_start
                score_change
                period_score
                break_start
                match_ended


           Q: How do I access past seasons results and stats?

https://perma.cc/2DD5-SQDE                                                                                                               48/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                   Document        1-5 Football
                                                           Global American     Filedv2 |02/10/25        Page
                                                                                         Sportradar US API Portal 177 of 443 PageID:
                                                                       1075
           A: Use the Seasons endpoint to locate the season_id for the season you want to access. Use that season_id to interrogate the
           various seasons endpoints.


           Q: What are the valid outcomes for probabilities?


           A: Here are the valid outcome probabilities:


                home_team_winner
                away_team_winner


           Q: How do I find out the coverage for a particular match?


           A: Find the node called "coverage" in any of the Summary, Lineups, or Timeline feeds. The attribute "coverage - live" reports if
           Sportradar has live coverage of the match or not.


           Q: Why do different groups have coverage information for a competition?


           A: The notion of “groups” is versatile and is used to distinguish between playoffs, and our competition structures and is
           therefore necessary to describe coverage at a group level for consistency. Generally, however, within a competition in Football,
           there will be no difference between competition coverage.


           Q: What are markets and what are the different markets?


           A: Markets is something you can bet on that we provide probabilities for. Over time we intend to provide more and more
           markets in the API. Currently the only market we provide is 2-way (will the home team win? Or the away team?).


           Q: How are group IDs delivered in the stage array with the various types?


           A: With the type of "league" they will have a sr:league prefix. With the type of "cup" they will have a sr:cup prefix.


           Q: How are “live” feeds handled in the API?


           A: Sport Events appear in the feed 10 minutes before the scheduled start time and are removed 10 minutes after the Sport
           Event is ended.


           Q: What is the probabilities package?


           A: The probabilities package is an add-on set of feeds that are an extension of the Season Probabilities feed in the main
           package (which already provides pre-match probabilities for the sport event winner market). The main features of the
           Probabilities extension are: Live Probabilities that update throughout game, Season Outright Probabilities for the Tournament
           Winner market, and Live Probabilities Coverage indicator for the next 24 hours.


           Q: Is there Live Probability coverage for every game you cover in the American Football API?


           A: Live Probability coverage depends on a number of factors and we can’t guarantee that every game will be covered for any
           given league, however, Sportradar aims to cover close to 100% of games from the following Tier 1 league: National Football
           League (NFL) – USA


           Q: Can I utilize the Probabilities extension if I license the Sportradar NFL API?


           A: If you have a license for our NFL API you can also integrate Live Probabilities by utilizing the ID Mapping feeds available in
           American Football v2 to connect games between the two products.
https://perma.cc/2DD5-SQDE                                                                                                                     49/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                 Document       1-5 Football
                                                          Global American    Filed
                                                                                 v2 |02/10/25        Page
                                                                                      Sportradar US API Portal 178 of 443 PageID:
                                                                     1076
           Q: What are the possible standings types I can observe in the Standings feed?


           A: Listed below are the values for standing – type.


               total
               home
               away
               first_half_total
               first_half_home
               first_half_away
               second_half_total
               second_half_home
               second_half_away


           Q: Why can't I find a particular match in the Daily Summaries, Season Summaries or Sport Events Updated feeds?


           A: These endpoints support pagination and return 200 entries by default. To return more matches, an additional query string
           parameter must be used after your API key. For example, appending &start=200 will return the next 200 entries per page,
           &start=400 will return the next 200, and so on.


           Q: How will a sport event behave when it is not covered with live scores?


           A: When a sport_event is not covered live, the status and match_status will remain as not_started until results are entered post-
           match.


           Q: How do I locate the TTL (Time to Live)/cache on an API endpoint?


           A: The cache (in seconds) can be accessed in the returned header information on each RESTful API call, under cache-control .
           ex. cache-control: max-age=1, public, s-maxage=1 or
           cache-control: public, must-revalidate, max-age=120




           Q: What are the possible values for cup_round – state in the Season Links feed?


           A: Listed below are the values and definitions for cup_round - state . These can be leveraged to determine the status of a cup
           round.


                empty - A matchup has been created but neither the match details nor the competitors are known.

                unseeded_fixture - Match details are known but competitors are unknown.

                partial_seeded - One competitor is known.

                partial_seeded_fixture - Match details and one competitor are known.

                seeded - Both competitors are known.

                seeded_fixture - Match details and both competitors are known.

                unstarted - Match(es) have been added.

                on_going - The first match has started.

                decided - The last match has ended.

                winner - The winner is known.

                cancelled – The matchup has been cancelled.


https://perma.cc/2DD5-SQDE                                                                                                                     50/51
           Case
2/3/25, 1:35 PM 3:25-cv-01143-GC-JTQ                      Document     1-5 Football
                                                             Global American  Filed v2 |02/10/25        Page
                                                                                         Sportradar US API Portal 179 of 443 PageID:

           Return to top                                               1077




         SPORTRADAR
         150 South 5th St. Suite 400
         Minneapolis, MN 55402
         USA


         us-sales@sportradar.com
         us-jobs@sportradar.com
         Main: 612-361-4100
         Sales: 612-361-4102
         Terms and Conditions

         SPORTRADAR IS SOCIAL




         Privacy Policy © Sportradar, a subsidiary of Sportradar AG




https://perma.cc/2DD5-SQDE                                                                                                             51/51
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 180 of 443 PageID:
                                     1078




                            Exhibit 56
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 181 of 443 PageID:
                                                                                                US API Portal
                                                                      1079
                                                                                                                 ⋮ Docs Navigation     ☰ Menu

             Bash    Ruby     Python


           Global Ice Hockey v2


                                                              Statistics Summary

                                                                Documentation

                                                             OpenAPI Specification

                                                                   Change Log

                                                                Coverage Matrix

                                                          Frequently Asked Questions

                                                                     Quick Access

                                     Postman Collection                                              XSD Schema

                                                                                                      Download




           Global Ice Hockey API Overview

           The Global Ice Hockey API provides real-time scoring and statistics (when available) and an array of supplementary data. Data is
           collected via Sportradar’s on-venue scouts and in-house operators.


           80+ leagues are covered, including: SHL, Liiga, Czech Extraliga, Ekstraliga, HKL, and Olympics Men. Select the Global Ice
           Hockey package in our Coverage Matrix for competitions and data offered.


           The API is consistent in structure, format and behavior with the other General Sport APIs. Primary feeds will return seasons,
           competitions, team and player data, and real-time scores.


           Additional feeds provide a host of complementary stats, including:


                Standings
                Player profiles
                Team profiles
                Historical results
                Game lineups
                Seasonal statistics
                Match win probabilities


           Real-time customers are also offered two delivery Push Feeds to enhance speed.

https://perma.cc/3ZJS-43NQ                                                                                                                      1/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document         1-5
                                                                Global Ice HockeyFiled   02/10/25
                                                                                  v2 | Sportradar         Page 182 of 443 PageID:
                                                                                                  US API Portal
                                                                        1080
           An extended Probabilities package is also offered. This add-on includes in-game probability updates and season outrights.


                                         API                                                           API Version

                                  Global Ice Hockey                                                        v2



              Note: Authentication is required for all API calls.




           Global Ice Hockey API Map

           To best utilize the Global Ice Hockey API, you will need several parameters to create your API calls. The map below illustrates
           how you can obtain the parameters you need.



             Example:

             To find the probability of a home team win for a given game:


               1. Call the Daily Schedule for the day the sport event takes place and find the Season Id for the chosen sport event
               2. Make note of the Sport Event Id for the given sport event
               3. Call the Season Probabilities using the Season Id
               4. Find Sport Event Id within the results locate the home team and the outcome probability


             The probability of a home team win is displayed.

           The primary feeds require only a date or human-readable parameters to call the endpoints. Those feeds provide Sport Event
           Ids, Competitor Ids, or Season Ids which can be used to generate the match, team, and tournament feeds.




https://perma.cc/3ZJS-43NQ                                                                                                                   2/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 183 of 443 PageID:
                                                                                                US API Portal
                                                                      1081
                                            Competition Info                               Competitions

                                            Daily Summaries                               Live Summaries

                                              Live Timelines                            Live Timelines Delta
                                                                    Primary Feeds




                                      Season Feeds                Sport Event Feeds                Competitor Feeds

                                   Competition Seasons           Sport Event Lineups               Competitor Profile

                                                                                                      Competitor
                                   Season Competitors            Sport Event Summary
                                                                                                      Summaries
                                                                                                     Competitor vs
                                       Season Info               Sport Event Timeline
                                                                                                      Competitor

                                     Season Leaders              Sport Events Created
                                                                                                      Player Feed
                                                                     Sport Events
                                     Season Lineups
                                                                      Removed                        Player Profile

                                      Season Links              Sport Events Updated               Player Summaries

                                     Season Players
                                                                                      Push Feeds
                                   Season Probabilities                Push Events                 Push Statistics

                                    Season Standings


                                    Season Summaries

                                   Seasonal Competitor
                                        Statistics

                                         Seasons


                                                                   Mapping Feeds
                                                                  Competitor Merge
                                     Competitor Mappings                                        Player Mappings
                                                                     Mappings

                                    Player Merge Mappings         Season Mappings             Sport Event Mappings


                                                                    Probabilities *
                                                                       Season
                                       Live Probabilities                                    Sport Event Probabilities
                                                                 Outright Probabilities
                                                       Sport Event
                                                                                Timeline Probabilities
                                                   Upcoming Probabilities




           Competition Info

           Provides the name, id, and parent id for a given competition.


            TTL / Cache:                                                        300 seconds

            Update                                                              As Necessary
            Frequency:

            Content Type:                                                       XML or JSON


https://perma.cc/3ZJS-43NQ                                                                                                        3/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 184 of 443 PageID:
                                                                                               US API Portal
                                                                     1082
            Category &                  Category Country Code                        Category Id                      Category Name
            Sport Info:

            Competition                  Competition Gender                        Competition Id                   Competition Name
            Info Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitions/sr:competition:3/info.
             xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competition Info feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitions/ {competition_id
           } /info. {format} ?api_key= {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             competition_id      Id of a given competition.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Competition Seasons

           Provides historical season information for a given competition. Competitions will return a maximum of three seasons of data,
           including current or newly created seasons.


            TTL / Cache:                                                         300 seconds

            Update                                                              As Necessary
            Frequency:

            Content Type:                                                       XML or JSON

            Competition                  Season Competition Id                         Season Id                     Season Start Date
            Info Data Points:               Season End Date                          Season Name                        Season Year


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitions/sr:competition:3/seaso
             ns.xml?api_key={your_api_key}"


https://perma.cc/3ZJS-43NQ                                                                                                                      4/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ               Document          1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 185 of 443 PageID:
                                                                                               US API Portal

             The above command returns xml structured like this.     1083
           Access the Competition Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitions/ {competition_id
           } /seasons. {format} ?api_key= {your_api_key}



            Parameter              Description

             access_level          Defines the access level of your API key as Production (production) or Trial (trial).

             version               Version number of the API you are accessing (Current Version: v2).

             language_code         2 letter code for supported languages


                                   Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                   Click here for a tabular list of available languages per competition.

             competition_id        Id of a given competition.

             format                xml or json.

             your_api_key          Your API key.


           Return to top



           Competitions

           Provides a list of all available competitions.


            TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Category &                    Category Country Code                        Category Id                      Category Name
            Sport Info:

            Competition                    Competition Gender                        Competition Id                   Competition Name
            Info Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitions.xml?api_key={your_api_
             key}"



             The above command returns xml structured like this.

           Access the Competitions feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitions. {format} ?
           api_key= {your_api_key}




https://perma.cc/3ZJS-43NQ                                                                                                                        5/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document    1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 186 of 443 PageID:
                                                                                             US API Portal
                                                                   1084
            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.

             format             xml or json.

             your_api_key       Your API key.


           Return to top



           Competitor Mappings

           Provides team id mapping between the Global Ice Hockey API and other hockey APIs.


            TTL / Cache:                                                          300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mapping Info                                            External Id                                                    Id
            Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitors/mappings.xml?api_key={y
             our_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitors/mappings.
           {format} ?api_key= {your_api_key}



            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.


https://perma.cc/3ZJS-43NQ                                                                                                                     6/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 187 of 443 PageID:
                                                                                               US API Portal
                                                                     1085
             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/competitors/mappings.xml?api_key={your_api_k
             ey}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Competitor Merge Mappings

           Provides the valid Sportradar Id in cases when two competitors have been merged into one. Mapping entries will remain in the
           feed for 7 days.


            TTL / Cache:                                                          300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Mappings Info                Name                              Merged Id                         Retained Id
            Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitors/merge_mappings.xml?api_
             key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Merge Mappings feed by replacing the parameters in the following URL:



https://perma.cc/3ZJS-43NQ                                                                                                                7/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document      1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 188 of 443 PageID:
                                                                                             US API Portal
                                                                   1086
           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitors/merge_mappings.
           {format} ?api_key= {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Competitor Profile

           Provides top-level information for a given team, including the full team roster, home venue, and team colors.


            TTL / Cache:                                                             300 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competitor Info Data          Competitor Abbreviation                 Jersey Base Color                       Jersey Split
            Points:                        Competitor Age Group               Jersey Horizontal Stripes                  Jersey Squares
                                            Competitor Country                  Jersey Number Color                      Jersey Stripes
                                         Competitor Country Code                  Jersey Shirt Type                       Jersey Type
                                             Competitor Gender                   Jersey Sleeve Color
                                                 Competitor Id
                                                Competitor Name

            Player Info Data                     Country Code                              Id                                Name
            Points:                               Date of Birth                    Jersey Number                            Position
                                                    Gender                            Nationality                           Weight
                                                     Height

            Venue Info Data                        Capacity                         Country Name                       Map Coordinates
            Points:                                   City                                 Id                                Name
                                                 Country Code


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitors/sr:competitor:3696/prof
             ile.xml?api_key={your_api_key}"




https://perma.cc/3ZJS-43NQ                                                                                                                      8/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ               Document          1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 189 of 443 PageID:
                                                                                               US API Portal

             The above command returns xml structured like this.     1087
           Access the Competitor Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /profile. {format} ?api_key= {your_api_key}


            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             competitor_id       Id of a given competitor.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Competitor Summaries

           Provides previous and upcoming game information for a given competitor, including results for past games and scheduling info
           for upcoming games.


            TTL / Cache:                                                             300 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competition Info Data           Competition Gender                     Round Number                          Stage End Date
            Points:                              Competition Id                Season Competition Id                      Stage Order
                                             Competition Name                     Season End Date                         Stage Phase
                                                 Coverage Live                        Season Id                        Stage Start Date
                                            Group - Group Name                      Season Name                           Stage Type
                                                   Group Id                       Season Start Date                        Stage Year
                                                  Group Name                         Season Year
                                                 Round Name

            Competitor Info Data          Competitor Abbreviation             Competitor Country Code                 Competitor Name
            Points:                        Competitor Age Group                  Competitor Gender
                                            Competitor Country                      Competitor Id

            Player Info Data                           Id                                                  Name
            Points:

https://perma.cc/3ZJS-43NQ                                                                                                                      9/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document    1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 190 of 443 PageID:
                                                                                             US API Portal
                                                                   1088
            Venue Info Data                      Capacity                          Country Name                             Name
            Points:                              Changed                                  Id                         Reduced Capacity
                                                    City                         Map Coordinates                   Reduced Capacity Max
                                               Country Code

            Match Info Data                Competitor Qualifier                    Sport Event Id              Sport Event Status Decided by
            Points:                           Neutral Ground                 Sport Event Replaced By                         Fed
                                            Period Away Score                 Sport Event Start Time          Sport Event Status Home Score
                                            Period Home Score                 Sport Event Start Time          Sport Event Status Match Status
                                              Period Number                          Confirmed                    Sport Event Status Scout
                                                Period Type                      Sport Event Status                      Abandoned
                                                                           Sport Event Status Aggregate         Sport Event Status Winner Id
                                                                                    Away Score
                                                                           Sport Event Status Aggregate
                                                                                    Home Score
                                                                           Sport Event Status Aggregate
                                                                                     Winner Id
                                                                          Sport Event Status Away Score

            Competitor Match                       Goals                              Penalties                             Saves
            Statistics Data Points:           Goals Conceded                      Penalty Minutes                       Shots on Target
                                           Goals in Power Play                      Power Plays                            Shutouts
                                        Goals While Short Handed                 Puck Possessions                   Suspensions Minutes
                                                                                                                    Suspensions Number

            Player Match Statistics               Assists                             Penalties                             Saves
            Data Points:                        First Assists                     Penalty Minutes                       Second Assists
                                          Goalie Minutes Played                      Plus Minus                         Shots on Target
                                                                                       Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitors/sr:competitor:3691/summ
             aries.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.

             competitor_id      ID for a given competitor.



https://perma.cc/3ZJS-43NQ                                                                                                                      10/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                       Document    1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 191 of 443 PageID:
                                                                                                 US API Portal
                                                                       1089
             format             xml or json.

             your_api_key       Your API key.


           Return to top



           Competitor vs Competitor

           Provides previous and upcoming games between two teams, including scoring information.


            TTL / Cache:                                                         60 seconds

            Update Frequency:                                                   As Necessary

            Content Type:                                                       XML or JSON

            Category & Sport Info        Category Country Code                 Category Name                      Sport Name
            Data Points:                         Category Id                       Sport Id

            Competition Info Data         Competition Gender                   Round Number                     Stage End Date
            Points:                             Competition Id              Season Competition Id                 Stage Order
                                           Competition Name                   Season End Date                     Stage Phase
                                                Coverage Live                     Season Id                     Stage Start Date
                                          Group - Group Name                    Season Name                       Stage Type
                                                   Group Id                   Season Start Date                    Stage Year
                                                 Group Name                      Season Year
                                                 Round Name

            Competitor Info Data        Competitor Abbreviation           Competitor Country Code              Competitor Name
            Points:                      Competitor Age Group                Competitor Gender
                                           Competitor Country                   Competitor Id

            Player Info Data                          Id                                             Name
            Points:

            Venue Info Data                        Capacity                    Country Name                          Name
            Points:                               Changed                             Id                       Reduced Capacity
                                                     City                     Map Coordinates                Reduced Capacity Max
                                                Country Code

            Match Info Data               Competitor Qualifier                  Sport Event Id          Sport Event Status Decided by
            Points:                             Neutral Ground             Sport Event Replaced By                    Fed
                                           Period Away Score                Sport Event Start Time      Sport Event Status Home Score
                                           Period Home Score                Sport Event Start Time      Sport Event Status Match Status
                                                Period Number                    Confirmed                  Sport Event Status Scout
                                                 Period Type                  Sport Event Status                  Abandoned
                                                                         Sport Event Status Aggregate    Sport Event Status Winner Id
                                                                                 Home Score
                                                                         Sport Event Status Aggregate
                                                                                  Winner Id
                                                                        Sport Event Status Away Score




https://perma.cc/3ZJS-43NQ                                                                                                                11/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 192 of 443 PageID:
                                                                                               US API Portal
                                                                     1090
            Competitor Match                         Goals                            Penalties                              Saves
            Statistics Data Points:              Goals Conceded                    Penalty Minutes                      Shots on Target
                                            Goals in Power Play                      Power Plays                           Shutouts
                                         Goals While Short Handed                 Puck Possessions                  Suspensions Minutes
                                                                                                                    Suspensions Number

            Player Match Statistics                  Assists                          Penalties                              Saves
            Data Points:                          First Assists                    Penalty Minutes                      Second Assists
                                           Goalie Minutes Played                      Plus Minus                        Shots on Target
                                                                                        Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/competitors/sr:competitor:3691/vers
             us/sr:competitor:3703/summaries.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor vs Competitor feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /versus/ {competitor2_id} /summaries. {format} ?api_key= {your_api_key}


            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             competitor_id        ID for a given competitor.

             competitor2_id       ID for a given competitor.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Daily Summaries

           Provides game information for a given day including team scoring, player and team game statistics.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



            TTL / Cache:                                                             300 seconds

https://perma.cc/3ZJS-43NQ                                                                                                                       12/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 193 of 443 PageID:
                                                                                               US API Portal
                                                                     1091
            Update Frequency:                                                  As Necessary

            Content Type:                                                      XML or JSON

            Category & Sport Info        Category Country Code                Category Name                      Sport Name
            Data Points:                       Category Id                        Sport Id

            Competition Info Data         Competition Gender                  Round Number                     Stage End Date
            Points:                          Competition Id               Season Competition Id                  Stage Order
                                           Competition Name                  Season End Date                     Stage Phase
                                              Coverage Live                      Season Id                     Stage Start Date
                                          Group - Group Name                   Season Name                       Stage Type
                                                Group Id                     Season Start Date                    Stage Year
                                              Group Name                        Season Year
                                              Round Name

            Competitor Info Data        Competitor Abbreviation          Competitor Country Code              Competitor Name
            Points:                      Competitor Age Group               Competitor Gender
                                           Competitor Country                  Competitor Id

            Player Info Data                        Id                                              Name
            Points:

            Venue Info Data                     Capacity                      Country Name                          Name
            Points:                             Changed                              Id                       Reduced Capacity
                                                   City                      Map Coordinates                Reduced Capacity Max
                                              Country Code

            Match Info Data               Competitor Qualifier                 Sport Event Id          Sport Event Status Decided by
            Points:                          Neutral Ground               Sport Event Replaced By                    Fed
                                           Period Away Score              Sport Event Start Time       Sport Event Status Home Score
                                           Period Home Score              Sport Event Start Time       Sport Event Status Match Status
                                             Period Number                      Confirmed                  Sport Event Status Scout
                                               Period Type                   Sport Event Status                  Abandoned
                                                                       Sport Event Status Aggregate     Sport Event Status Winner Id
                                                                                Home Score
                                                                       Sport Event Status Aggregate
                                                                                 Winner Id
                                                                       Sport Event Status Away Score

            Competitor Match                      Goals                          Penalties                          Saves
            Statistics Data Points:          Goals Conceded                   Penalty Minutes                  Shots on Target
                                           Goals in Power Play                  Power Plays                       Shutouts
                                        Goals While Short Handed             Puck Possessions               Suspensions Minutes
                                                                                                            Suspensions Number

            Player Match Statistics              Assists                         Penalties                          Saves
            Data Points:                       First Assists                  Penalty Minutes                  Second Assists
                                          Goalie Minutes Played                 Plus Minus                     Shots on Target
                                                                                   Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/schedules/2021-10-30/summaries.xml?
             api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Daily Summaries feed by replacing the parameters in the following URL:
https://perma.cc/3ZJS-43NQ                                                                                                               13/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document      1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 194 of 443 PageID:
                                                                                             US API Portal
                                                                   1092
           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /schedules/ {year} - {month} -
           {day} /summaries. {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             year                 Year in 4 digit format (YYYY).

             month                Month in 2 digit format (MM).

             day                  Day in 2 digit format (DD).

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/schedules/2019-01-15/summaries.xml?api_key=
             {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This will often be required to access all available data in this feed. By default the limit is set to 200.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

             start           Number to start the list of results from.
                             Example: start=0

             limit           Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Live Summaries

https://perma.cc/3ZJS-43NQ                                                                                                                       14/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document        1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 195 of 443 PageID:
                                                                                                 US API Portal
                                                                        1093
           Provides game information for all currently live games, including team scoring. This feed updates in real time as games are
           played.


            TTL / Cache:                                                       1 second

            Update Frequency:                                                As Necessary

            Content Type:                                                    XML or JSON

            Category & Sport Info       Category Country Code               Category Name                      Sport Name
            Data Points:                      Category Id                      Sport Id

            Competition Info Data        Competition Gender                 Round Number                     Stage End Date
            Points:                         Competition Id              Season Competition Id                  Stage Order
                                          Competition Name                 Season End Date                     Stage Phase
                                             Coverage Live                     Season Id                     Stage Start Date
                                         Group - Group Name                  Season Name                       Stage Type
                                               Group Id                    Season Start Date                    Stage Year
                                             Group Name                       Season Year
                                             Round Name

            Competitor Info Data       Competitor Abbreviation         Competitor Country Code              Competitor Name
            Points:                     Competitor Age Group              Competitor Gender
                                          Competitor Country                 Competitor Id

            Player Info Data                       Id                                             Name
            Points:

            Venue Info Data                    Capacity                     Country Name                          Name
            Points:                            Changed                            Id                        Reduced Capacity
                                                  City                     Map Coordinates                Reduced Capacity Max
                                             Country Code

            Match Info Data              Competitor Qualifier               Sport Event Id           Sport Event Status Decided by
            Points:                         Neutral Ground              Sport Event Replaced By                    Fed
                                          Period Away Score             Sport Event Start Time       Sport Event Status Home Score
                                          Period Home Score             Sport Event Start Time       Sport Event Status Match Status
                                            Period Number                     Confirmed                  Sport Event Status Scout
                                             Period Type                  Sport Event Status                   Abandoned
                                                                     Sport Event Status Aggregate     Sport Event Status Winner Id
                                                                             Home Score
                                                                     Sport Event Status Aggregate
                                                                               Winner Id
                                                                     Sport Event Status Away Score

            Competitor Match                     Goals                         Penalties                          Saves
            Statistics Data Points:        Goals Conceded                   Penalty Minutes                  Shots on Target
                                          Goals in Power Play                Power Plays                        Shutouts
                                       Goals While Short Handed            Puck Possessions               Suspensions Minutes
                                                                                                          Suspensions Number

            Player Match Statistics             Assists                        Penalties                          Saves
            Data Points:                      First Assists                 Penalty Minutes                  Second Assists
                                         Goalie Minutes Played                Plus Minus                     Shots on Target
                                                                                Points




https://perma.cc/3ZJS-43NQ                                                                                                               15/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 196 of 443 PageID:
                                                                                                US API Portal
                                                                      1094
             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/schedules/live/summaries.xml?api_ke
             y={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             competitor_id       ID for a given competitor.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Live Timelines

           Provides a play-by-play event timeline for currently live games.


            TTL / Cache:                                                               1 second

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Match Info Data               Period Score Away Score          Sport Event Status Away Score           Sport Event Status Scout
            Points:                      Period Score Home Score           Sport Event Status Decided by                  Abandoned
                                           Period Score Number                            Fed                    Sport Event Status Winner Id
                                                Period Score Type          Sport Event Status Home Score           Sport Event Timeline Id
                                             Sport Event Status           Sport Event Status Match Status Sport Event Timeline Start Time
                                       Sport Event Status Aggregate
                                                  Home Score
                                       Sport Event Status Aggregate
                                                   Winner Id

            Timeline Info Data                   Assist Player Id                    Competitor                              Period
            Points:                          Assist Player Name                      Home Score                          Period Name
                                                   Assist Type                             Id                        Suspension Minutes



https://perma.cc/3ZJS-43NQ                                                                                                                      16/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document     1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 197 of 443 PageID:
                                                                                                US API Portal

                                                   Away Score         1095      Match Clock                      Time
                                                  Break Name                         Match Time                              Type


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/schedules/live/timelines.xml?api_ke
             y={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timelines feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /schedules/live/timelines.
           {format} ?api_key= {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Live Timelines Delta

           Provides a 10 second live delta of game information, including scoring and a play-by-play event timeline.


            TTL / Cache:                                                               1 second

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Match Info Data               Period Score Away Score          Sport Event Status Away Score           Sport Event Status Scout
            Points:                      Period Score Home Score           Sport Event Status Decided by                  Abandoned
                                           Period Score Number                            Fed                    Sport Event Status Winner Id
                                                Period Score Type          Sport Event Status Home Score           Sport Event Timeline Id
                                             Sport Event Status           Sport Event Status Match Status Sport Event Timeline Start Time
                                       Sport Event Status Aggregate
                                                  Home Score
                                       Sport Event Status Aggregate
                                                   Winner Id

            Timeline Info Data                   Assist Player Id                    Competitor                              Period
            Points:                          Assist Player Name                      Home Score                          Period Name
                                                   Assist Type                             Id                        Suspension Minutes

https://perma.cc/3ZJS-43NQ                                                                                                                      17/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document     1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 198 of 443 PageID:
                                                                                              US API Portal

                                                 Away Score         1096      Match Clock                      Time
                                                 Break Name                           Match Time                             Type


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/schedules/live/timelines_delta.xml?
             api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timelines Delta feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /schedules/live/timelines_delta.
           {format} ?api_key= {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Player Mappings

           Provides player id mapping between the Global Ice Hockey API and other hockey APIs.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 player
              mappings.



            TTL / Cache:                                                           300 seconds

            Update                                                                 As Necessary
            Frequency:

            Content Type:                                                          XML or JSON

            Mapping Info                                             External Id                                                    Id
            Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/players/mappings.xml?api_key={your_
             api_key}"




https://perma.cc/3ZJS-43NQ                                                                                                                      18/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ               Document          1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 199 of 443 PageID:
                                                                                               US API Portal

             The above command returns xml structured like this.     1097
           Access the Player Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /players/mappings. {format} ?
           api_key= {your_api_key}


            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/players/mappings.xml?api_key={your_api_key}&
             start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This may be required to access all available data in this feed. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Player Merge Mappings

           Provides valid ids for players who have had their profiles merged. While Sportradar always strives to provide one unique player
           id, it is a possibility for two ids to be created. This feed provides the correct id once profiles have been merged.
https://perma.cc/3ZJS-43NQ                                                                                                                       19/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                         Document    1-5
                                                                 Global Ice HockeyFiled   02/10/25
                                                                                   v2 | Sportradar         Page 200 of 443 PageID:
                                                                                                   US API Portal
                                                                         1098
            TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mapping Info                         Merged Id                         Name                               Retained Id
            Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/players/merge_mappings.xml?api_key=
             {your_api_key}"



             The above command returns xml structured like this.

           Access the Player Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /players/merge_mappings.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/players/merge_mappings.xml?api_key={your_api
             _key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description


https://perma.cc/3ZJS-43NQ                                                                                                                       20/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 201 of 443 PageID:
                                                                                                US API Portal
                                                                      1099
             start             Number to start the list of results from.
                               Example: start=0

             limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                               Example: limit=75


           Return to top



           Player Profile

           Provides player biographical information, including current team.


            TTL / Cache:                                                              300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                             XML or JSON

            Competitor Info Data           Competitor Abbreviation             Competitor Country Code                 Competitor Name
            Points:                         Competitor Age Group                  Competitor Gender
                                             Competitor Country                      Competitor Id

            Player Info Data                      Country Code                              Id                                Name
            Points:                               Date Of Birth                     Jersey Number                            Position
                                                    Gender                             Nationality                           Weight
                                                     Height


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/players/sr:player:29663/profile.xm
             l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /players/ {player_id} /profile.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             player_id            ID of a given player.

             format               xml or json.

             your_api_key         Your API key.

https://perma.cc/3ZJS-43NQ                                                                                                                       21/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                       Document    1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 202 of 443 PageID:
                                                                                                 US API Portal

           Return to top                                               1100


           Player Summaries

           Provides game info, results, and statistics for the past 10 matches in which a given player participated.


            TTL / Cache:                                                           300 seconds

            Update Frequency:                                                      As Necessary

            Content Type:                                                          XML or JSON

            Category & Sport Info          Category Country Code                  Category Name                          Sport Name
            Data Points:                         Category Id                         Sport Id

            Competition Info Data           Competition Gender                    Round Number                         Stage End Date
            Points:                            Competition Id                 Season Competition Id                      Stage Order
                                             Competition Name                    Season End Date                        Stage Phase
                                               Coverage Live                         Season Id                         Stage Start Date
                                            Group - Group Name                    Season Name                            Stage Type
                                                  Group Id                      Season Start Date                        Stage Year
                                                Group Name                         Season Year
                                                Round Name

            Competitor Info Data          Competitor Abbreviation           Competitor Country Code                Competitor Name
            Points:                        Competitor Age Group                 Competitor Gender
                                            Competitor Country                    Competitor Id

            Player Info Data                          Id                                                Name
            Points:

            Venue Info Data                       Capacity                        Country Name                              Name
            Points:                               Changed                                Id                        Reduced Capacity
                                                     City                        Map Coordinates                 Reduced Capacity Max
                                                Country Code

            Match Info Data                 Competitor Qualifier                  Sport Event Id             Sport Event Status Decided by
            Points:                            Neutral Ground                Sport Event Replaced By                         Fed
                                             Period Away Score                Sport Event Start Time        Sport Event Status Home Score
                                             Period Home Score                Sport Event Start Time        Sport Event Status Match Status
                                               Period Number                        Confirmed                   Sport Event Status Scout
                                                 Period Type                    Sport Event Status                       Abandoned
                                                                           Sport Event Status Aggregate       Sport Event Status Winner Id
                                                                                   Home Score
                                                                           Sport Event Status Aggregate
                                                                                     Winner Id
                                                                          Sport Event Status Away Score

            Competitor Match                        Goals                            Penalties                              Saves
            Statistics Data Points:           Goals Conceded                     Penalty Minutes                       Shots on Target
                                             Goals in Power Play                   Power Plays                            Shutouts
                                         Goals While Short Handed               Puck Possessions                  Suspensions Minutes
                                                                                                                 Suspensions Number




https://perma.cc/3ZJS-43NQ                                                                                                                    22/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 203 of 443 PageID:
                                                                                               US API Portal
                                                                     1101
            Player Match Statistics                 Assists                            Penalties                             Saves
            Data Points:                         First Assists                     Penalty Minutes                       Second Assists
                                            Goalie Minutes Played                     Plus Minus                         Shots on Target
                                                                                        Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/players/sr:player:29663/summaries.x
             ml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /players/ {player_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             player_id           Id of a given player.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Season Competitors

           Provides a list of teams participating for a given season.


            TTL / Cache:                                                             300 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Competitor Info Data          Competitor Abbreviation                   Competitor Id                  Competitor Short Name
            Points:                                                               Competitor Name



             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/competitor
             s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.


https://perma.cc/3ZJS-43NQ                                                                                                                      23/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document         1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 204 of 443 PageID:
                                                                                                US API Portal
                                                                      1102
           Access the Season Competitors feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /competitors. {format} ?api_key= {your_api_key}


            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             season_id           ID of a given season.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Season Info

           Provides detailed information for a given season, including participating teams and league structure.


            TTL / Cache:                                                             300 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competition Info Data           Competition Gender              Info Venue Reduced Capacity                  Stage End Date
            Points:                              Competition Id                          Max                              Stage Order
                                             Competition Name                  Season Competition Id                      Stage Phase
                                                   Group Id                       Season End Date                      Stage Start Date
                                             Group Max Rounds                         Season Id                           Stage Type
                                                  Group Name                        Season Name                            Stage Year
                                          Info Competition Status                 Season Start Date
                                       Info Venue Reduced Capacity                   Season Year

            Competitor Info Data          Competitor Abbreviation             Competitor Country Code                 Competitor Name
            Points:                        Competitor Age Group                  Competitor Gender
                                            Competitor Country                      Competitor Id


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/info.xml?ap
             i_key={your_api_key}"




https://perma.cc/3ZJS-43NQ                                                                                                                      24/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ               Document          1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 205 of 443 PageID:
                                                                                               US API Portal

             The above command returns xml structured like this.     1103
           Access the Season Info feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id} /info.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             season_id            ID of a given season.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Season Leaders

           Provides a list of leaders for a given season. Statistics include goals, points, and assists.


            TTL / Cache:                                                              300 seconds

            Update Frequency:                                                         As Necessary

            Content Type:                                                             XML or JSON

            Competitor Info Data           Competitor Abbreviation                   Competitor Id                     Competitor Name
            Points:

            Player Info Data                         Player Id                        Player Name                  Multiple Competitors Flag
            Points:

            Season Leader Info                    Data Point Type                     Leader Rank                           List Type
            Data Points:                         Data Point Value


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:85082/leaders.xm
             l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Leaders feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id} /leaders.
           {format} ?api_key= {your_api_key}



https://perma.cc/3ZJS-43NQ                                                                                                                       25/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 206 of 443 PageID:
                                                                                               US API Portal
                                                                     1104
            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             season_id           ID of a given season.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Season Lineups

           Provides game rosters for all games in a given season.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



            TTL / Cache:                                                              30 seconds

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competition Info Data           Competition Gender                       Group Name                           Season Year
            Points:                              Competition Id                    Round Number                          Stage End Date
                                             Competition Name                  Season Competition Id                      Stage Order
                                           Competition Parent Id                  Season End Date                         Stage Phase
                                                 Coverage Live                        Season Id                        Stage Start Date
                                          Coverage Property Type                    Season Name                           Stage Type
                                          Coverage Property Value                 Season Start Date                        Stage Year
                                            Group - Group Name
                                                   Group Id

            Competitor Info Data          Competitor Abbreviation               Jersey Number Color                 Manager Country Code
            Points:                        Competitor Age Group                   Jersey Shirt Type                 Manager Date of Birth
                                            Competitor Country                   Jersey Sleeve Color                   Manager Gender
                                         Competitor Country Code                     Jersey Split                         Manager Id
                                             Competitor Gender                     Jersey Squares                        Manager Name
                                                 Competitor Id                      Jersey Stripes                   Manager Nationality
                                                Competitor Name                      Jersey Type                      Manager Nickname

https://perma.cc/3ZJS-43NQ                                                                                                                      26/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document         1-5
                                                                 Global Ice HockeyFiled   02/10/25
                                                                                   v2 | Sportradar         Page 207 of 443 PageID:
                                                                                                   US API Portal

                                               Jersey Base Color         1105
                                        Jersey Horizontal Stripes

            Player Info Data                    Country Code                      Jersey Number                            Position
            Points:                              Date of Birth                       Nationality                           Starter
                                                    Height                             Name                                Weight
                                                      Id                               Played

            Venue Info Data                        Capacity                        Country Name                             Name
            Points:                                Changed                                Id                         Reduced Capacity
                                                     City                        Map Coordinates                   Reduced Capacity Max
                                                Country Code

            Match Info Data                Competitor Qualifier                    Sport Event Id              Sport Event Status Decided by
            Points:                             Neutral Ground               Sport Event Replaced By                         Fed
                                         Period Score Away Score              Sport Event Start Time          Sport Event Status Home Score
                                        Period Score Home Score               Sport Event Start Time          Sport Event Status Match Status
                                          Period Score Number                        Confirmed                    Sport Event Status Scout
                                               Period Score Type                 Sport Event Status                      Abandoned
                                                                           Sport Event Status Aggregate         Sport Event Status Winner Id
                                                                                    Home Score
                                                                           Sport Event Status Aggregate
                                                                                     Winner Id
                                                                          Sport Event Status Away Score


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/lineups.xm
             l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Lineups feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id} /lineups.
           {format} ?api_key= {your_api_key}



            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.

             season_id          Id of a given season.

             format             xml or json.

             your_api_key       Your API key.



           Optional Query String Parameters
https://perma.cc/3ZJS-43NQ                                                                                                                      27/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                  Document       1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 208 of 443 PageID:
                                                                                               US API Portal

             Example including optional query string parameters:     1106

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/seasons/sr:season:78917/lineups.xml?api_key=
             {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the lineup information with one or more of the following
           optional query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

             start           Number to start the list of results from.
                             Example: start=0

             limit           Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Season Links

           Provides information about linked cup rounds for a given season.


           Use this feed to compile full advancement brackets for relevant seasons/tournaments. Links between all matches and rounds
           are available when competitors (TBD vs. TBD) are not yet known.


            TTL / Cache:                                                           300 seconds

            Update Frequency:                                                     As Necessary

            Content Type:                                                         XML or JSON

            Competition Info Data                Cup Round Id                       Group Id                    Stage Start Date
            Points:                             Cup Round Name                   Stage End Date                    Stage Type
                                                Cup Round Order                    Stage Phase                     Stage Year
                                                Cup Round State
                                                Cup Round Type
                                            Cup Round Winner Id
                                             Group - Group Name

            Match Info Data                      Sport Event Id               Sport Event Start Time         Sport Event Start Time
            Points:                                                                                                Confirmed


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/stages_grou
             ps_cup_rounds.xml?api_key={your_api_key}"



             The above command returns xml structured like this.


https://perma.cc/3ZJS-43NQ                                                                                                             28/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document       1-5
                                                              Global Ice HockeyFiled    02/10/25
                                                                                 v2 | Sportradar         Page 209 of 443 PageID:
                                                                                                 US API Portal
                                                                      1107
           Access the Season Links feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /stages_groups_cup_rounds. {format} ?api_key= {your_api_key}


            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.

             season_id          ID of a given season.

             format             xml or json.

             your_api_key       Your API key.


           Return to top



           Season Mappings

           Provides season id mapping between the Global Ice Hockey API and other hockey APIs.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 season
              mappings.



            TTL / Cache:                                                          300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mapping Info                                            External Id                                                    Id
            Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/mappings.xml?api_key={your_
             api_key}"



             The above command returns xml structured like this.

           Access the Season Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/mappings. {format} ?
           api_key= {your_api_key}


https://perma.cc/3ZJS-43NQ                                                                                                                     29/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 210 of 443 PageID:
                                                                                               US API Portal
                                                                     1108
            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/seasons/mappings.xml?api_key={your_api_key}&
             start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Season Players

           Provides names and ids for all participating players for a given season.



              Note: Pagination may be required to pull all data within this feed. By default, the feed will return 1,000 players.



            TTL / Cache:                                                           300 seconds



https://perma.cc/3ZJS-43NQ                                                                                                                       30/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 211 of 443 PageID:
                                                                                                US API Portal
                                                                      1109
            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Player Info Data                      Display First Name                            Player Id                        Name
            Points:                               Display Last Name                            Last Name                      Nickname
                                                     First Name


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/players.xm
             l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Players feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id} /players.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             season_id            ID of a given season.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/seasons/sr:season:78917/players.xml?api_key=
             {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:
https://perma.cc/3ZJS-43NQ                                                                                                                       31/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 212 of 443 PageID:
                                                                                               US API Portal
                                                                     1110
            Parameter         Description

             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Season Probabilities

           Provides 3-way match win probabilities (home team win, away team win, draw) for all games for a given season.


            TTL / Cache:                                                          60 seconds

            Update Frequency:                                                   As Necessary

            Content Type:                                                        XML or JSON

            Category & Sport Info           Category Country Code              Category Name                        Sport Name
            Data Points:                          Category Id                      Sport Id

            Competition Info Data            Competition Gender                Round Number                       Stage End Date
            Points:                            Competition Id               Season Competition Id                   Stage Order
                                             Competition Name                  Season End Date                     Stage Phase
                                                 Coverage Type                    Season Id                       Stage Start Date
                                             Group - Group Name                 Season Name                         Stage Type
                                                   Group Id                   Season Start Date                     Stage Year
                                                 Group Name                      Season Year
                                                 Round Name

            Competitor Info Data          Competitor Abbreviation         Competitor Country Code             Competitor Name
            Points:                         Competitor Age Group             Competitor Gender
                                             Competitor Country                 Competitor Id

            Venue Info Data                        Capacity                     Country Name                           Name
            Points:                                Changed                            Id                      Reduced Capacity
                                                      City                    Map Coordinates               Reduced Capacity Max
                                                 Country Code

            Probability Info Data       Home Team Win Probability               Market Name                       Outcome Name
            Points:                     Home Team Win Probability

            Match Info Data                  Competitor Qualifier          Sport Event Replaced By          Sport Event Start Time
            Points:                            Neutral Ground               Sport Event Start Time                  Confirmed
                                                 Sport Event Id


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/probabiliti
             es.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Probabilities feed by replacing the parameters in the following URL:



https://perma.cc/3ZJS-43NQ                                                                                                           32/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document      1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 213 of 443 PageID:
                                                                                             US API Portal
                                                                   1111
           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /probabilities. {format} ?api_key= {your_api_key}


            Parameter              Description

             access_level          Defines the access level of your API key as Production (production) or Trial (trial).

             version               Version number of the API you are accessing (Current Version: v2).

             language_code         2 letter code for supported languages


                                   Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                   Click here for a tabular list of available languages per competition.

             season_id             Id of a given season.

             format                xml or json.

             your_api_key          Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/probabilities.xml?a
             pi_key={your_api_key}&start=200'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter           Description

             start              Number to start the list of results from.
                                Example: start=0

             limit              Number to limit the number of results. Minimum value is 1, maximum value is 200.
                                Example: limit=200


           Return to top



           Season Standings

           Provides detailed standings info for a given season.


            TTL / Cache:                                                                10 seconds

https://perma.cc/3ZJS-43NQ                                                                                                                        33/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 214 of 443 PageID:
                                                                                                US API Portal
                                                                      1112
            Update Frequency:                                                        As Necessary

            Content Type:                                                             XML or JSON

            Competition Info Data            Group - Group Name                     Stage End Date                      Stage Start Date
            Points:                                Group Live                         Stage Order                          Stage Type
                                                    Group Id                          Stage Phase                           Stage Year
                                                   Group Name

            Competitor Info Data           Competitor Abbreviation             Competitor Country Code                 Competitor Name
            Points:                         Competitor Age Group                  Competitor Gender
                                             Competitor Country                      Competitor Id

            Standings Info Data                      Change                        Loss Normal Time                       Tie Break Rule
            Points:                              Current Outcome                     Loss Overtime                            Type
                                                      Draw                           Loss Shootout                             Win
                                                  Goals Against                          Played                         Win Normal Time
                                                 Goals Difference                        Points                           Win Overtime
                                                    Goals For                             Rank                            Win Shootout
                                                      Loss                               Round


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/standings.x
             ml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Standings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id} /standings.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             season_id            ID of a given season.

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/standings.xml?api_k


https://perma.cc/3ZJS-43NQ                                                                                                                       34/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 215 of 443 PageID:
                                                                                                US API Portal
             ey={your_api_key}&round=1'                               1113

           In addition to the URL parameters listed above, you can filter the Season Standings information with the following optional
           query string parameter.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            Parameter                    Description

             round                       Round number expressed as: {round}.
                                         Example: round=1

             live                        Live standings expressed as a boolean value.
                                         Example: live=true


           Return to top



           Season Summaries

           Provides schedule information for all matches from a given season including scoring and statistics at the match level.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



            TTL / Cache:                                                          300 seconds

            Update Frequency:                                                    As Necessary

            Content Type:                                                        XML or JSON

            Category & Sport Info         Category Country Code                 Category Name                       Sport Name
            Data Points:                        Category Id                         Sport Id

            Competition Info Data          Competition Gender                   Round Number                      Stage End Date
            Points:                           Competition Id                Season Competition Id                   Stage Order
                                            Competition Name                   Season End Date                      Stage Phase
                                              Coverage Type                        Season Id                      Stage Start Date
                                           Group - Group Name                    Season Name                         Stage Type
                                                 Group Id                      Season Start Date                     Stage Year
                                               Group Name                         Season Year
                                               Round Name

            Competitor Info Data         Competitor Abbreviation           Competitor Country Code               Competitor Name
            Points:                       Competitor Age Group                Competitor Gender
                                            Competitor Country                   Competitor Id

            Player Info Data                         Id                                               Name
            Points:

https://perma.cc/3ZJS-43NQ                                                                                                               35/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document    1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 216 of 443 PageID:
                                                                                              US API Portal
                                                                    1114
            Venue Info Data                       Capacity                         Country Name                             Name
            Points:                               Changed                                 Id                         Reduced Capacity
                                                    City                         Map Coordinates                   Reduced Capacity Max
                                                Country Code

            Match Info Data                Competitor Qualifier                    Sport Event Id              Sport Event Status Decided by
            Points:                            Neutral Ground                Sport Event Replaced By                         Fed
                                            Period Away Score                 Sport Event Start Time          Sport Event Status Home Score
                                            Period Home Score                 Sport Event Start Time          Sport Event Status Match Status
                                               Period Number                         Confirmed                    Sport Event Status Scout
                                                Period Type                      Sport Event Status                      Abandoned
                                                                           Sport Event Status Aggregate         Sport Event Status Winner Id
                                                                                    Home Score
                                                                           Sport Event Status Aggregate
                                                                                     Winner Id
                                                                          Sport Event Status Away Score

            Competitor Match                       Goals                              Penalties                             Saves
            Statistics Data Points:            Goals Conceded                     Penalty Minutes                       Shots on Target
                                           Goals in Power Play                      Power Plays                            Shutouts
                                        Goals While Short Handed                 Puck Possessions                   Suspensions Minutes
                                                                                                                    Suspensions Number

            Player Match Statistics                Assists                            Penalties                             Saves
            Data Points:                        First Assists                     Penalty Minutes                       Second Assists
                                          Goalie Minutes Played                      Plus Minus                         Shots on Target
                                                                                       Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:85082/summaries.x
             ml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.

             season_id          ID of a given season.

             format             xml or json.



https://perma.cc/3ZJS-43NQ                                                                                                                      36/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                       Document    1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 217 of 443 PageID:
                                                                                                 US API Portal
                                                                       1115
             your_api_key        Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/seasons/sr:season:78917/summaries.xml?api_ke
             y={your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

             start           Number to start the list of results from.
                             Example: start=0

             limit           Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Seasonal Competitor Statistics

           Provides team seasonal statistics for a given team and season.


            TTL / Cache:                                                            30 seconds

            Update Frequency:                                                      As Necessary

            Content Type:                                                          XML or JSON

            Category & Sport Info                  Sport Id                                           Sport Name
            Data Points:

            Competition Info Data          Season Competition Id                    Season Id                      Season Start Date
            Points:                             Season End Date                   Season Name                        Season Year

            Competitor Info Data           Competitor Abbreviation          Competitor Country Code                Competitor Name
            Points:                         Competitor Age Group               Competitor Gender
                                             Competitor Country                   Competitor Id

            Player Info Data                          Id                                                Name
            Points:

            Competitor Season                        Form                        Matches Played                         Saves
            Statistics Data Points:                  Goals                         Matches Won                      Shots on Target
                                                                                                                       Shutouts

https://perma.cc/3ZJS-43NQ                                                                                                             37/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document      1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 218 of 443 PageID:
                                                                                                 US API Portal

                                                 Goals Allowed         1116  Number of Penalties
                                                 Matches Lost                      Penalty Minutes

            Player Season                           Assists                           Last Goals                           Plus Minus
            Statistics Data Points:               First Assists                    Minutes Played                            Points
                                                  First Goals                          Penalties                             Saves
                                                     Goals                         Penalty Minutes                       Shots on Target


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons/sr:season:78917/competitor
             s/sr:competitor:344158/statistics.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Seasonal Competitor Statistics feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /competitors/ {competitor_id} /statistics. {format} ?api_key= {your_api_key}


            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             season_id           Id of a given season.

             competitor_id       ID of a given competitor.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Seasons

           Provides a list of historical season information for all competitions. Competitions will return a maximum of three seasons of
           data, including current or newly created seasons.


            TTL / Cache:                                                          300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Competition                   Season Competition Id                         Season Id                     Season Start Date
            Info Data Points:                Season End Date                          Season Name                         Season Year


https://perma.cc/3ZJS-43NQ                                                                                                                      38/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 219 of 443 PageID:
                                                                                               US API Portal
                                                                     1117
             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/seasons.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /seasons. {format} ?api_key=
           {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Sport Event Lineups

           Provides detailed roster information for a given match.


            TTL / Cache:                                                               1 second

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competition Info Data           Competition Gender                     Round Number                          Stage End Date
            Points:                              Competition Id                Season Competition Id                      Stage Order
                                             Competition Name                     Season End Date                         Stage Phase
                                                 Coverage Type                        Season Id                        Stage Start Date
                                            Group - Group Name                      Season Name                           Stage Type
                                                   Group Id                       Season Start Date                        Stage Year
                                                  Group Name                         Season Year
                                                 Round Name

            Competitor Info Data          Competitor Abbreviation               Jersey Number Color                 Manager Country Code
            Points:                        Competitor Age Group                   Jersey Shirt Type                 Manager Date of Birth
                                            Competitor Country                   Jersey Sleeve Color                   Manager Gender
                                         Competitor Country Code                     Jersey Split                         Manager Id
                                             Competitor Gender                     Jersey Squares                        Manager Name
                                                 Competitor Id
https://perma.cc/3ZJS-43NQ                                                                                                                      39/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document       1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 220 of 443 PageID:
                                                                                              US API Portal

                                            Competitor Name         1118     Jersey Stripes                 Manager Nationality
                                            Jersey Base Color                       Jersey Type                     Manager Nickname
                                        Jersey Horizontal Stripes

            Player Info Data                     Country Code                     Jersey Number                             Type
            Points:                              Date of Birth                      Nationality                            Starter
                                                    Height                             Name                                Weight
                                                      Id                               Played

            Venue Info Data                        Capacity                       Country Name                              Name
            Points:                                Changed                               Id                          Reduced Capacity
                                                     City                        Map Coordinates                   Reduced Capacity Max
                                                 Country Code

            Match Info Data                Competitor Qualifier                    Sport Event Id              Sport Event Status Decided by
            Points:                             Neutral Ground               Sport Event Replaced By                         Fed
                                         Period Score Away Score              Sport Event Start Time          Sport Event Status Home Score
                                        Period Score Home Score               Sport Event Start Time          Sport Event Status Match Status
                                          Period Score Number                        Confirmed                    Sport Event Status Scout
                                            Period Score Type                   Sport Event Status                       Abandoned
                                                                           Sport Event Status Aggregate        Sport Event Status Winner Id
                                                                                    Home Score
                                                                           Sport Event Status Aggregate
                                                                                     Winner Id
                                                                          Sport Event Status Away Score


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/sr:sport_event:1844974
             8/lineups.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Lineups feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id
           } /lineups. {format} ?api_key= {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             sport_event_id      ID of a given match.

             format              xml or json.

             your_api_key        Your API key.




https://perma.cc/3ZJS-43NQ                                                                                                                      40/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document    1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 221 of 443 PageID:
                                                                                             US API Portal

           Return to top                                           1119


           Sport Event Mappings

           Provides game id mapping between the Global Ice Hockey API and other hockey APIs.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 sport
              event mappings.



            TTL / Cache:                                                          300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mapping Info                                            External Id                                                    Id
            Data Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/mappings.xml?api_key=
             {your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/mappings.
           {format} ?api_key= {your_api_key}



            Parameter           Description

             access_level       Defines the access level of your API key as Production (production) or Trial (trial).

             version            Version number of the API you are accessing (Current Version: v2).

             language_code      2 letter code for supported languages


                                Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                Click here for a tabular list of available languages per competition.

             format             xml or json.

             your_api_key       Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/sport_events/mappings.xml?api_key={your_api_
             key}&start=0&limit=75'


https://perma.cc/3ZJS-43NQ                                                                                                                     41/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document        1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 222 of 443 PageID:
                                                                                                 US API Portal
                                                                       1120
           In addition to the URL parameters listed above, you can paginate the summaries with one or more of the following optional
           query string parameters. This may be required to access all available data in this feed. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter          Description

             start             Number to start the list of results from.
                               Example: start=0

             limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                               Example: limit=75


           Return to top



           Sport Event Summary

           Provides real-time match-level statistics for a given match. Including player stats, team stats, and scoring by period. Please note
           that data returned is determined by coverage level.


            TTL / Cache:                                                              1 second

            Update Frequency:                                                         Realtime

            Content Type:                                                           XML or JSON

            Category & Sport Info            Category Country Code                 Category Name                        Sport Name
            Data Points:                           Category Id                         Sport Id

            Competition Info Data             Competition Gender                   Round Number                        Stage End Date
            Points:                             Competition Id                 Season Competition Id                    Stage Order
                                              Competition Name                    Season End Date                       Stage Phase
                                                  Coverage Type                       Season Id                       Stage Start Date
                                              Group - Group Name                    Season Name                          Stage Type
                                                    Group Id                      Season Start Date                      Stage Year
                                                  Group Name                         Season Year
                                                  Round Name

            Competitor Info Data           Competitor Abbreviation           Competitor Country Code                 Competitor Name
            Points:                          Competitor Age Group                Competitor Gender
                                              Competitor Country                    Competitor Id

            Player Info Data                           Id                                                 Name
            Points:

            Venue Info Data                         Capacity                       Country Name                            Name
            Points:                                 Changed                               Id                         Reduced Capacity
                                                      City                        Map Coordinates                  Reduced Capacity Max
                                                  Country Code

            Match Info Data                   Competitor Qualifier                  Sport Event Id             Sport Event Status Decided by
            Points:                             Neutral Ground                Sport Event Replaced By                        Fed

https://perma.cc/3ZJS-43NQ                                                                                                                       42/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document       1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 223 of 443 PageID:
                                                                                                US API Portal

                                          Period Score Away Score     1121 Sport Event Start Time        Sport Event Status Home Score
                                         Period Score Home Score               Sport Event Start Time          Sport Event Status Match Status
                                           Period Score Number                        Confirmed                    Sport Event Status Scout
                                             Period Score Type                   Sport Event Status                       Abandoned
                                                                            Sport Event Status Aggregate        Sport Event Status Winner Id
                                                                                     Home Score
                                                                            Sport Event Status Aggregate
                                                                                      Winner Id
                                                                           Sport Event Status Away Score

            Competitor Match                         Goals                            Penalties                              Saves
            Statistics Data Points:              Goals Conceded                    Penalty Minutes                      Shots on Target
                                            Goals in Power Play                      Power Plays                           Shutouts
                                         Goals While Short Handed                 Puck Possessions                  Suspensions Minutes
                                                                                                                    Suspensions Number

            Player Match Statistics                  Assists                          Penalties                              Saves
            Data Points:                          First Assists                    Penalty Minutes                      Second Assists
                                           Goalie Minutes Played                      Plus Minus                        Shots on Target
                                                                                        Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/sr:sport_event:2827447
             4/summary.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Summary feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id
           } /summary. {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             sport_event_id       ID of a given match.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Sport Event Timeline


https://perma.cc/3ZJS-43NQ                                                                                                                       43/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document         1-5
                                                                 Global Ice HockeyFiled   02/10/25
                                                                                   v2 | Sportradar         Page 224 of 443 PageID:
                                                                                                   US API Portal
                                                                         1122
           Provides real-time match-level statistics and a play-by-play event timeline for a given match. This includes player stats, team
           stats, scoring by period, clock time for each recorded event. Please note that data returned is determined by coverage level.


            TTL / Cache:                                                            1 second

            Update Frequency:                                                       Realtime

            Content Type:                                                         XML or JSON

            Category & Sport Info         Category Country Code                 Category Name                        Sport Name
            Data Points:                        Category Id                         Sport Id

            Competition Info Data           Competition Gender                   Round Number                      Stage End Date
            Points:                           Competition Id                 Season Competition Id                   Stage Order
                                            Competition Name                    Season End Date                     Stage Phase
                                               Coverage Type                       Season Id                      Stage Start Date
                                           Group - Group Name                    Season Name                         Stage Type
                                                  Group Id                     Season Start Date                     Stage Year
                                                Group Name                        Season Year
                                               Round Name

            Competitor Info Data         Competitor Abbreviation           Competitor Country Code               Competitor Name
            Points:                        Competitor Age Group               Competitor Gender
                                            Competitor Country                   Competitor Id

            Player Info Data                         Id                                               Name
            Points:

            Venue Info Data                       Capacity                       Country Name                           Name
            Points:                              Changed                               Id                        Reduced Capacity
                                                    City                        Map Coordinates                Reduced Capacity Max
                                               Country Code

            Match Info Data                Competitor Qualifier                  Sport Event Id            Sport Event Status Decided by
            Points:                           Neutral Ground                Sport Event Replaced By                      Fed
                                         Period Score Away Score             Sport Event Start Time        Sport Event Status Home Score
                                         Period Score Home Score             Sport Event Start Time       Sport Event Status Match Status
                                           Period Score Number                     Confirmed                  Sport Event Status Scout
                                             Period Score Type                 Sport Event Status                    Abandoned
                                                                          Sport Event Status Aggregate      Sport Event Status Winner Id
                                                                                  Home Score                        Time Played
                                                                          Sport Event Status Aggregate            Time Remaining
                                                                                   Winner Id
                                                                         Sport Event Status Away Score

            Timeline Info Data                Assist Player Id                    Competitor                           Period
            Points:                         Assist Player Name                    Home Score                        Period Name
                                                Assist Type                            Id                       Suspension Minutes
                                                Away Score                        Match Clock                           Time
                                                Break Name                        Match Time                            Type

            Competitor Match                       Goals                            Penalties                           Saves
            Statistics Data Points:           Goals Conceded                    Penalty Minutes                    Shots on Target
                                            Goals in Power Play                   Power Plays                         Shutouts
                                         Goals While Short Handed              Puck Possessions                 Suspensions Minutes
                                                                                                                Suspensions Number



https://perma.cc/3ZJS-43NQ                                                                                                                   44/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 225 of 443 PageID:
                                                                                               US API Portal
                                                                     1123
            Player Match Statistics                 Assists                             Penalties                            Saves
            Data Points:                          First Assists                    Penalty Minutes                      Second Assists
                                           Goalie Minutes Played                      Plus Minus                        Shots on Target
                                                                                         Points


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/sr:sport_event:2827447
             4/timeline.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Timeline feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id
           } /timeline. {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             sport_event_id       ID of a given sport event.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Sport Events Created

           Provides ids for sport events that have been created in the last 24 hours.


            TTL / Cache:                                                          60 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Match Info Data                           Active Season Flag                             Id                   Created At
            Points:



             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/created.xml?api_key={y
             our_api_key}"



             The above command returns xml structured like this.
https://perma.cc/3ZJS-43NQ                                                                                                                       45/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                   Document        1-5
                                                               Global Ice HockeyFiled   02/10/25
                                                                                 v2 | Sportradar         Page 226 of 443 PageID:
                                                                                                 US API Portal
                                                                       1124
           Access the Sport Events Created feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/created. {format} ?
           api_key= {your_api_key}


            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/sport_events/created.xml?api_key={your_api_k
             ey}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Events Removed

           Provides ids for sport events that have been removed from the API due to an entry error. Ids will remain in the response for 2
           weeks.


https://perma.cc/3ZJS-43NQ                                                                                                                       46/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 227 of 443 PageID:
                                                                                               US API Portal
                                                                     1125
            TTL / Cache:                                                           60 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Match Info Data                                                 Sport Event Removed Id
            Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/removed.xml?api_key={y
             our_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Removed feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/removed.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             format               xml or json.

             your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/sport_events/removed.xml?api_key={your_api_k
             ey}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description


https://perma.cc/3ZJS-43NQ                                                                                                                       47/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document    1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 228 of 443 PageID:
                                                                                              US API Portal
                                                                    1126
             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Sport Events Updated

           Provides ids for sport events that have been updated in the last 24 hours.


            TTL / Cache:                                                          60 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Match Info Data               Id                                                   Updated At
            Points:


             curl -X GET "https://api.sportradar.com/icehockey/trial/v2/en/sport_events/updated.xml?api_key={y
             our_api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Updated feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} / {version} / {language_code} /sport_events/updated.
           {format} ?api_key= {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             format              xml or json.

             your_api_key        Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:



https://perma.cc/3ZJS-43NQ                                                                                                                      48/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 229 of 443 PageID:
                                                                                               US API Portal
                                                                     1127
             curl -L GET 'api.sportradar.us/icehockey/trial/v2/en/sport_events/updated.xml?api_key={your_api_k
             ey}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. By default the limit is set to 1000.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

             start            Number to start the list of results from.
                              Example: start=0

             limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=75


           Return to top



           Push Feeds

             To best utilize Push feeds, we have included code samples in Ruby, Java and Python which provide an example of a way
             you can consume the feeds. Using these samples will output the feeds content to STDOUT.
             For Java, we have also provided a Stream Client to assist your integration.


             Note: In the provided Java sample, replace "URL GOES HERE" with the desired Push feed URL.

             package com.sportradar.http.stream.client;


             import org.junit.After;
             import org.junit.Before;
             import org.junit.Test;


             public class StreamClientTest {

                  private StreamClient client;


                  private static String SERVICE_URL = "<url goes="" here="">";

                  @Before
                  public void setup() {
                      client = new StreamClient();
                  }


                  @After
                  public void cleanup() {
                      client.terminate();
                  }

                  @Test
                  public void testStream() throws Exception {
                       Handler handler = new ConsoleHandler();

https://perma.cc/3ZJS-43NQ                                                                                                                  49/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ             Document       1-5
                                                        Global Ice HockeyFiled   02/10/25
                                                                          v2 | Sportradar         Page 230 of 443 PageID:
                                                                                          US API Portal
                        client.stream(SERVICE_URL, handler);    1128
                        System.out.println("Connecting....");
                        Thread.sleep(1 * 60 * 1000);
                        System.out.println("Disconnecting....");
                  }


             }



           Some of our APIs include Push feeds that allow you to get updates as soon as they are available. Push API feeds automatically
           send JSON and XML payloads to you via a push service, and can dramatically reduce the number of calls you need to make to
           our RESTful API feeds. The structure of the Push feeds are similar to the structure of the corresponding RESTful API feed (i.e.
           Push Events and Push Statistics). The push service ensures reliable and efficient delivery of the most up to date information.


           Our Push services are based on a HTTP publish/subscribe model. When making a call to the Push APIs, you "subscribe" to
           various data feeds provided by our service; whenever new content is available on one of those feeds, the server pushes that
           information out to your client. When no new information is available on the feed, a heartbeat message is sent every 5 seconds
           to keep the connection active. If you want to filter the results of the feeds, there are several optional query string parameters
           that can be applied to the API call. If left unfiltered, then all data for the feed is displayed (i.e. all events).


           For your applications to accept data from our Push feeds, ensure that your application can:


                 Can follow a HTTP redirect or use the location provided in the feeds header within one minute of your initial request.
                 Can accept HTTP data transfer encoded as chunked.


           Our Push service does not provide a "stateful session", there is no memory of what data has been sent previously. If you are
           disconnected from the Push session, you can use the RESTful API to catch up or recover from the disconnection.


           Syntax for using our Push feeds and examples of the JSON and XML payloads can be found below.



           Push Events

           Provides real-time event updates for all live matches.


             curl -L GET 'api.sportradar.com/icehockey/trial/stream/events/subscribe?api_key={your_api_key}'



             The above command returns json like this.

           Access the Push Events feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} /stream/events/subscribe?api_key= {your_api_key}


            Parameter                 Description

             access_level             Defines the access level of your API key as Production (production) or Trial (trial).

             your_api_key             Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:



https://perma.cc/3ZJS-43NQ                                                                                                                     50/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document    1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 231 of 443 PageID:
                                                                                              US API Portal
                                                                    1129
             curl -L GET 'https://api.sportradar.com/icehockey/trial/stream/events/subscribe?api_key={your_api
             _key}&amp;format=json&amp;sport_event_id=sr:sport_event_id:18449748'



           In addition to the URL parameters listed above, you can filter the Events information with one or more of the following optional
           query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            URL Parameters                        Description

             channel                              Channel type expressed as: {channel_type}.
                                                  Example: channel=icehockey

             competition_id                       Competition Id expressed as: {competition_id}.
                                                  Example: competition_id=sr:competition:237

             event_id                             Event type expressed as: {event_type}.
                                                  Example: event_id=score_change

             format                               Format type expressed as: {format}.
                                                  Example: format=json

             season_id                            Season id expressed as: {season_id}.
                                                  Example: season_id=sr:season:68178

             sport_event_id                       Sport event id expressed as: {sport_event_id}.
                                                  Example: sport_event_id=sr:sport_event:18449748

             sport_id                             Sport id expressed as: {sport_id}.
                                                  Example: sport_id=sr:sport:4




           Push Statistics

           Provides real-time team and player match-level statistics for all live matches.


             curl -L "GET api.sportradar.com/icehockey/trial/stream/statistics/subscribe?api_key={your_api_ke
             y}"



             The above command returns json like this.

           Access the Push Statistics feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey/ {access_level} /stream/statistics/subscribe?api_key= {your_api_key}


            Parameter               Description

             access_level           Defines the access level of your API key as Production (production) or Trial (trial).


https://perma.cc/3ZJS-43NQ                                                                                                                    51/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document    1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 232 of 443 PageID:
                                                                                              US API Portal
                                                                    1130
             your_api_key           Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

             curl -L GET 'https://api.sportradar.com/icehockey/trial/stream/statistics/subscribe?api_key={your
             _api_key}&amp;format=json&amp;sport_event_id=sr:sport_event_id:18449748'



           In addition to the URL parameters listed above, you can filter the Statistics information with one or more of the following
           optional query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            URL Parameters                       Description

             channel                             Channel type expressed as: {channel_type}.
                                                 Example: channel=icehockey

             competition_id                      Competition Id expressed as: {competition_id}.
                                                 Example: competition_id=sr:competition:237

             event_id                            Event type expressed as: {event_type}.
                                                 Example: event_id=score_change

             format                              Format type expressed as: {format}.
                                                 Example: format=json

             season_id                           Season id expressed as: {season_id}.
                                                 Example: season_id=sr:season:68178

             sport_event_id                      Sport event id expressed as: {sport_event_id}.
                                                 Example: sport_event_id=sr:sport_event:18449748

             sport_id                            Sport id expressed as: {sport_id}.
                                                 Example: sport_id=sr:sport:4




           Probabilities Feeds

           This collection of probability feeds is available for licensing as an add-on feature. They are an extension of the Season
           Probabilities feed in the main package which provides pre-match probabilities for the sport event winner market.


           The main features of the Probabilities extension (where coverage applies) are:


                Live Probabilities that update throughout game
                Season Outright Probabilities for the Tournament Winner market
                Live Probabilities Coverage indicator for the next 24 hours
https://perma.cc/3ZJS-43NQ                                                                                                               52/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document          1-5
                                                                  Global Ice HockeyFiled   02/10/25
                                                                                    v2 | Sportradar         Page 233 of 443 PageID:
                                                                                                    US API Portal
                                                                          1131
           For more information or to request a Trial of this feature, please contact a Sportradar Sales representative.


           The Open API specification and Syntax for using our Probabilities feeds, including examples of the payloads can be found
           below.



                                                              OpenAPI Specification



           Live Probabilities

           Provides top-level information for live matches. If probabilities are available for a match, pre-match and live probabilities will
           be displayed.


            TTL / Cache:                                                              1 second

            Update Frequency:                                                      As Necessary

            Content Type:                                                           XML or JSON

            Category & Sport Info          Category Country Code                  Category Name                        Sport Name
            Data Points:                         Category Id                          Sport Id

            Competition Info Data           Competition Gender                     Coverage Type                      Season Name
            Points:                            Competition Id                  Group - Group Name                   Season Start Date
                                             Competition Name                         Group Id                         Season Year
                                            Competition Parent Id                   Group Name                        Stage End Date
                                          Competition Properties -                 Round Name                          Stage Order
                                                   Brackets                       Round Number                         Stage Phase
                                          Competition Properties -            Season Competition Id                  Stage Start Date
                                                  Schedules                      Season End Date                        Stage Type
                                          Competition Properties -                   Season Id                          Stage Year
                                             Season Player Stats
                                          Competition Properties -
                                            Season Stats Leaders
                                          Competition Properties -
                                             Season Team Stats
                                          Competition Properties -
                                                  Standings
                                       Competition Properties - Team
                                                   Squads

            Competitor Info Data                Abbreviation                       Country Code                           Name
            Points:                               Age Group                           Gender
                                                   Country                               Id

            Venue Info Data                        Capacity                        Country Name                           Name
            Points:                               Changed                                Id                         Reduced Capacity
                                                     City                        Map Coordinates                  Reduced Capacity Max
                                                Country Code

            Probability Info Data        Away Team Win Probability             Market Last Updated                     Match Time
            Points:                      Home Team Win Probability                  Market Live                      Outcome Name
                                             Market Away Score                     Market Name                       Remaining Time
                                             Market Home Score                   Market Removed                 Remaining Time in Period


https://perma.cc/3ZJS-43NQ                                                                                                                      53/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 234 of 443 PageID:
                                                                                               US API Portal
                                                                     1132
            Match Info Data                       Away Score              Sport Event Properties - Deeper           Sport Event Start Time
            Points:                         Competitor Qualifier                     Player Stats                         Confirmed
                                                  Home Score              Sport Event Properties - Deeper             Sport Event Status
                                                 Neutral Ground                       Team Stats                Sport Event Status Aggregate
                                                 Period Number                 Sport Event Properties -                   Home Score
                                                  Period Type                          Lineups                  Sport Event Status Aggregate
                                                 Sport Event Id             Sport Event Properties - Goal                  Winner Id
                                       Sport Event Properties - Basic                   Scorers                 Sport Event Status Away Score
                                                  Play by Play             Sport Event Properties - Scores      Sport Event Status Decided by
                                       Sport Event Properties - Basic         Sport Event Replaced By                         Fed
                                                 Team Statistics             Sport Event Resumed Time          Sport Event Status Home Score
                                                                               Sport Event Start Time          Sport Event Status Match Status
                                                                                                                   Sport Event Status Scout
                                                                                                                          Abandoned
                                                                                                                 Sport Event Status Winner Id


             curl -X GET "https://api.sportradar.com/icehockey-probabilities/trial/v2/en/schedules/live/probab
             ilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey-
           probabilities/ {access_level} / {version} / {language_code} /schedules/live/probabilities. {format} ?api_key=
           {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Season Outright Probabilities

           Provides a list of outright probabilities for each competitor from a given season.


            TTL / Cache:                                                              60 seconds

            Update Frequency:                                                       As Necessary

https://perma.cc/3ZJS-43NQ                                                                                                                       54/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 235 of 443 PageID:
                                                                                               US API Portal
                                                                     1133
            Content Type:                                                            XML or JSON

            Competitor Info Data                  Abbreviation                      Country Code                             Name
            Points:                                Age Group                            Gender
                                                    Country                                Id

            Probability Info Data                Win Probability                    Market Name                         Outcome Name
            Points:


             curl -X GET "https://api.sportradar.com/icehockey-probabilities/trial/v2/en/seasons/sr:season:789
             17/outright_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Outright Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey-
           probabilities/ {access_level} / {version} / {language_code} /seasons/ {season_id} /outright_probabilities. {format} ?
           api_key= {your_api_key}


            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).

             version             Version number of the API you are accessing (Current Version: v2).

             language_code       2 letter code for supported languages


                                 Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                 Click here for a tabular list of available languages per competition.

             season_id           Id of a given season.

             format              xml or json.

             your_api_key        Your API key.


           Return to top



           Sport Event Probabilities

           Provides pre-match and live probabilities for a given match.


            TTL / Cache:                                                               1 second

            Update Frequency:                                                       As Necessary

            Content Type:                                                            XML or JSON

            Category & Sport Info         Category Country Code                    Category Name                          Sport Name
            Data Points:                          Category Id                          Sport Id

            Competition Info Data           Competition Gender                      Coverage Type                        Season Name
            Points:                              Competition Id                 Group - Group Name                     Season Start Date

https://perma.cc/3ZJS-43NQ                                                                                                                      55/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                  Document      1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 236 of 443 PageID:
                                                                                              US API Portal

                                            Competition Name        1134        Group Id                    Season Year
                                          Competition Parent Id                  Group Name                       Stage End Date
                                         Competition Properties -                Round Name                        Stage Order
                                                 Brackets                       Round Number                       Stage Phase
                                         Competition Properties -           Season Competition Id                Stage Start Date
                                                Schedules                      Season End Date                      Stage Type
                                         Competition Properties -                  Season Id                        Stage Year
                                            Season Player Stats
                                         Competition Properties -
                                           Season Stats Leaders
                                         Competition Properties -
                                            Season Team Stats
                                         Competition Properties -
                                                Standings
                                      Competition Properties - Team
                                                  Squads

            Competitor Info Data               Abbreviation                     Country Code                          Name
            Points:                             Age Group                           Gender
                                                 Country                              Id

            Venue Info Data                      Capacity                       Country Name                          Name
            Points:                              Changed                              Id                        Reduced Capacity
                                                    City                       Map Coordinates                Reduced Capacity Max
                                               Country Code

            Probability Info Data       Away Team Win Probability            Market Last Updated                   Match Time
            Points:                    Home Team Win Probability                  Market Live                    Outcome Name
                                            Market Away Score                    Market Name                     Remaining Time
                                            Market Home Score                  Market Removed               Remaining Time in Period

            Match Info Data                     Away Score              Sport Event Properties - Deeper       Sport Event Start Time
            Points:                        Competitor Qualifier                  Player Stats                       Confirmed
                                               Home Score               Sport Event Properties - Deeper         Sport Event Status
                                              Neutral Ground                      Team Stats               Sport Event Status Aggregate
                                              Period Number                Sport Event Properties -                Home Score
                                               Period Type                         Lineups                 Sport Event Status Aggregate
                                              Sport Event Id             Sport Event Properties - Goal              Winner Id
                                       Sport Event Properties - Basic               Scorers               Sport Event Status Away Score
                                               Play by Play             Sport Event Properties - Scores   Sport Event Status Decided by
                                       Sport Event Properties - Basic      Sport Event Replaced By                     Fed
                                              Team Statistics             Sport Event Resumed Time        Sport Event Status Home Score
                                                                            Sport Event Start Time        Sport Event Status Match Status
                                                                                                             Sport Event Status Scout
                                                                                                                   Abandoned
                                                                                                           Sport Event Status Winner Id


             curl -X GET "https://api.sportradar.com/icehockey-probabilities/trial/v2/en/sport_events/sr:sport
             _event:24663546/sport_event_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Probabilities feed by replacing the parameters in the following URL:



https://perma.cc/3ZJS-43NQ                                                                                                                  56/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                    Document    1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 237 of 443 PageID:
                                                                                              US API Portal

           https://api.sportradar.com/icehockey-                    1135
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /probabilities.
           {format} ?api_key= {your_api_key}



            Parameter             Description

             access_level         Defines the access level of your API key as Production (production) or Trial (trial).

             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             sport_event_id       Id of a given sport event.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Sport Event Upcoming Probabilities

           Provides a list of IDs for upcoming sport events in the next 24 hours.


            TTL / Cache:                                                            1 second

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Match Info Data                                               Sport Event Upcoming Id
            Points:


             curl -X GET "https://api.sportradar.com/icehockey-probabilities/trial/v2/en/sport_events/upcoming
             _probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Upcoming Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/upcoming_probabilities. {format} ?api_key=
           {your_api_key}



            Parameter            Description

             access_level        Defines the access level of your API key as Production (production) or Trial (trial).



https://perma.cc/3ZJS-43NQ                                                                                                                       57/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                         Document    1-5
                                                                 Global Ice HockeyFiled   02/10/25
                                                                                   v2 | Sportradar         Page 238 of 443 PageID:
                                                                                                   US API Portal
                                                                         1136
             version              Version number of the API you are accessing (Current Version: v2).

             language_code        2 letter code for supported languages


                                  Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                  Click here for a tabular list of available languages per competition.

             format               xml or json.

             your_api_key         Your API key.


           Return to top



           Timeline Probabilities

           Provides a timeline of pre-match and live probability changes for a given match. This also provides match information
           including player stats, team stats, and scoring info.


            TTL / Cache:                                                                1 second

            Update Frequency:                                                        As Necessary

            Content Type:                                                             XML or JSON

            Category & Sport Info          Category Country Code                    Category Name                          Sport Name
            Data Points:                           Category Id                          Sport Id

            Competition Info Data            Competition Gender                      Coverage Type                        Season Name
            Points:                               Competition Id                 Group - Group Name                     Season Start Date
                                              Competition Name                          Group Id                           Season Year
                                            Competition Parent Id                     Group Name                         Stage End Date
                                           Competition Properties -                   Round Name                           Stage Order
                                                    Brackets                        Round Number                           Stage Phase
                                           Competition Properties -             Season Competition Id                   Stage Start Date
                                                    Schedules                      Season End Date                         Stage Type
                                           Competition Properties -                    Season Id                            Stage Year
                                             Season Player Stats
                                           Competition Properties -
                                             Season Stats Leaders
                                           Competition Properties -
                                              Season Team Stats
                                           Competition Properties -
                                                    Standings
                                       Competition Properties - Team
                                                     Squads

            Competitor Info Data                   Abbreviation                      Country Code                             Name
            Points:                                 Age Group                            Gender
                                                     Country                                Id

            Player Info Data                            Id                                                  Name
            Points:



https://perma.cc/3ZJS-43NQ                                                                                                                       58/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 239 of 443 PageID:
                                                                                                US API Portal
                                                                      1137
            Venue Info Data                         Capacity                        Country Name                              Name
            Points:                                 Changed                                Id                         Reduced Capacity
                                                       City                        Map Coordinates                  Reduced Capacity Max
                                                  Country Code

            Probability Info Data         Away Team Win Probability              Market Last Updated                        Match Time
            Points:                       Home Team Win Probability                   Market Live                      Outcome Name
                                              Market Away Score                      Market Name                       Remaining Time
                                              Market Home Score                    Market Removed                 Remaining Time in Period

            Match Info Data                        Away Score              Sport Event Properties - Deeper          Sport Event Start Time
            Points:                          Competitor Qualifier                     Player Stats                          Confirmed
                                                  Home Score               Sport Event Properties - Deeper            Sport Event Status
                                                Neutral Ground                        Team Stats                Sport Event Status Aggregate
                                                Period Number                  Sport Event Properties -                     Home Score
                                                   Period Type                          Lineups                 Sport Event Status Aggregate
                                                  Sport Event Id             Sport Event Properties - Goal                   Winner Id
                                         Sport Event Properties - Basic                 Scorers                Sport Event Status Away Score
                                                   Play by Play             Sport Event Properties - Scores     Sport Event Status Decided by
                                         Sport Event Properties - Basic        Sport Event Replaced By                         Fed
                                                Team Statistics               Sport Event Resumed Time         Sport Event Status Home Score
                                                                                Sport Event Start Time         Sport Event Status Match Status
                                                                                                                  Sport Event Status Scout
                                                                                                                            Abandoned
                                                                                                                Sport Event Status Winner Id

            Competitor Match                          Goals                            Penalties                              Saves
            Statistics Data Points:             Goals Conceded                     Penalty Minutes                     Shots on Target
                                              Goals in Power Play                     Power Plays                            Shutouts
                                           Goals While Short Handed                Puck Possessions                 Suspensions Minutes
                                                                                                                    Suspensions Number

            Player Match Statistics                  Assists                           Penalties                              Saves
            Data Points:                           First Assists                   Penalty Minutes                      Second Assists
                                             Goalie Minutes Played                    Plus Minus                       Shots on Target
                                                                                         Points


             curl -X GET "https://api.sportradar.com/icehockey-probabilities/trial/v2/en/sport_events/sr:sport
             _event:28274474/timeline_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Timeline Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.com/icehockey-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /timeline_probabilities.
           {format} ?api_key= {your_api_key}



            Parameter               Description

             access_level           Defines the access level of your API key as Production (production) or Trial (trial).

             version                Version number of the API you are accessing (Current Version: v2).


https://perma.cc/3ZJS-43NQ                                                                                                                       59/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                     Document    1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 240 of 443 PageID:
                                                                                               US API Portal
                                                                     1138
             language_code         2 letter code for supported languages


                                   Chinese - simplified (zh), English (en), Finnish (fi), French (fr), Russian (ru), Spanish (es), Swedish (sv)


                                   Click here for a tabular list of available languages per competition.

             sport_event_id        Id of a given sport event.

             format                xml or json.

             your_api_key          Your API key.


           Return to top



           Frequently Asked Questions

           Q: What leagues do you cover, and at what level?


           Coverage information can be found via our Coverage Matrix.


           Q: What format are date fields presented in?


           A: When we present date only values we present these in the ISO 8601 standard format.
           ex: 2013-04-03
           We use these for attributes that have date and no time (such as birthdate). For more information:
           https://en.wikipedia.org/wiki/ISO_8601


           Q: What format are the date/time fields presented in?


           A: All of our Date/Time attributes are in UTC, presented in the ISO 8601 standard format.
           ex: 2013-04-03T18:15:00+00:00
           For more information: https://en.wikipedia.org/wiki/ISO_8601


           Q: How can I find the values for various enum data points within the API?


           A: Many enum values are listed in the FAQ below. For the most up-to-date values, please see the Schema section of the OpenAPI
           specification here: https://api.sportradar.com/icehockey/trial/v2/openapi/swagger/index.html


           Q: What are the valid sport event status (sport_event_status – status) values?


           A: Here are the valid sport event status values and their definitions:


                not_started – The match is scheduled to be played
                live – The match is currently in progress
                postponed – The match has been postponed to a future date
                delayed – The match has been temporarily delayed and will be continued
                interrupted - The match began, but coverage has stopped for a short time. Note that match scores may not be updated
                during this period, the last recorded match score will be displayed instead
                cancelled – The match has been cancelled and will not be played
                ended – The match is over


https://perma.cc/3ZJS-43NQ                                                                                                                        60/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                  Document       1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 241 of 443 PageID:
                                                                                               US API Portal

                closed – The match results have been confirmed.      1139

           Q: What are the valid match status (sport_event_status – match_status) values?


           A: Here are the valid sport event status values and their definitions:


                not_started – The match is scheduled to be played
                live – The match is currently in progress
                1st_period – The match is in the first period
                2nd_period – The match is in the second period
                3rd_period – The match is in the third period
                overtime – The match is in overtime
                1st_extra – The match is in the first extra period
                2nd_extra – The match is in the second extra period
                3rd_extra – The match is in the third extra period
                awaiting_penalties – Waiting for announcement of penalties
                penalties – Penalties are ongoing
                pause – The match is paused
                awaiting_extra_time – Waiting on referee to announce extra time
                interrupted – The match has been interrupted
                abandoned – The match has been abandoned
                postponed – The match has been postponed to a future date
                delayed – The match has been temporarily delayed and will be continued
                cancelled – The match has been cancelled and will not be played
                ended – The match is over
                aet – The match is after extra time
                ap – The match is in after penalties


           Q: How do I access past seasons’ result and stats?


           A: Use the Competition Seasons endpoint to locate the season_id for the season you want to access. Use that season_id to
           interrogate the various seasons endpoints.


           Q: What are the valid outcomes for probabilities?


           A: Here are the valid outcome probabilities:


                home_team_winner
                away_team_winner


           Q: How do I find out the coverage for a particular match?


           A: Within the Summaries, and Timeline feeds, find the node for “coverage”. Coverage nodes have two types: season level and
           sport_event level.
           The season level describes data coverage you can expect for matches involved in that given season.
           The sport_event level, this exists to describe the data depth of a specific match within the group and season.
           Note: There are occasions when the sport_event coverage can vary from the anticipated season coverage and this node exists
           to highlight that in that event to assist in handling any discrepancies.


https://perma.cc/3ZJS-43NQ                                                                                                              61/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ               Document        1-5
                                                           Global Ice HockeyFiled   02/10/25
                                                                             v2 | Sportradar         Page 242 of 443 PageID:
                                                                                             US API Portal
                                                                   1140
           Q: Why do different groups have coverage information for a tournament?


           A: The notion of “groups” is versatile and is used to distinguish between playoffs, and our competition structures and is
           therefore necessary to describe coverage at a group level for consistency. Generally, however, within a competition in Ice
           Hockey, there will be no difference between competition coverage between conferences.


           Q: What are the possible event types logged?


           A: Here are all of the possible event types we log:


                match_started
                period_started
                period_score
                score_change (goal_scorer, primary_assist, secondary_assist)
                suspension
                break_start
                match_ended


           Q: What are markets and what are the different markets?


           Markets are something you can bet on, for which we provide probabilities. Over time we intend to provide more and more
           markets in the API. Currently we provide 3-way (home win, away win, or draw) and Next Goal (which team will score the next
           goal) markets.


           Q: What are the possible outcomes?


           A: Different markets have different outcomes. The available markets are currently:


                home_team_winner
                away_team_winner
                draw
                none


           Q: Why are the “shots_on_target” incorrect for Finland Liiga?


           A: At this time, the league does not provide shots on target instead (for Finland Liiga only) we provide this data point as a total
           number of shots.


           Q: What are the possible player positions in the feeds?


           A: Here are the valid player - types:


                F - Forward
                D - Defenseman
                G – Goalie
                F-D – Forward/Defenseman
                LW – Left Wing
                RW – Right Wing
                C - Center


https://perma.cc/3ZJS-43NQ                                                                                                                       62/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document        1-5
                                                             Global Ice HockeyFiled   02/10/25
                                                                               v2 | Sportradar         Page 243 of 443 PageID:
                                                                                               US API Portal
                                                                     1141
           Q: How are group IDs delivered in the stage array with the various types?


           A: With the type of "league" they will have a sr:league prefix. With the type of "cup" they will have a sr:cup prefix.


           Q: How are “live” feeds handled in the API?


           A: Sport Events appear in the feed 10 minutes before the scheduled start time and are removed 10 minutes after the Sport
           Event is ended.


           Q: What is the probabilities package?


           A: The probabilities package is an add-on set of feeds that are an extension of the Season Probabilities feed in the main
           package (which already provides pre-match probabilities for the sport event winner market). The main features of the
           Probabilities extension are: Live Probabilities that update throughout game, Season Outright Probabilities for the Tournament
           Winner market, and Live Probabilities Coverage indicator for the next 24 hours.


           Q: Is there Live Probability coverage for every game you cover in the Global Ice Hockey API?


           A: Live Probability coverage depends on a number of factors and we can’t guarantee that every game will be covered for any
           given league, however, Sportradar aims to cover close to 100% of games from the following Tier 1 league: National Hockey
           League (NHL) – USA


           Q: Can I utilize the Probabilities extension if I license the Sportradar NHL API?


           A: If you have a license for our NHL API you can also integrate Live Probabilities by utilizing the ID Mapping feeds available in
           Global Ice Hockey v2 to connect games between the two products.


           Q: What are the possible standings types I can observe in the Standings feed?


           A: Listed below are the values for standing – type.


                total
                home
                away
                first_half_total
                first_half_home
                first_half_away
                second_half_total
                second_half_home
                second_half_away


           Q: Why can't I find a particular match in the Daily Summaries, Season Summaries or Sport Events Updated feeds?


           A: These endpoints support pagination and return 200 entries by default. To return more matches, an additional query string
           parameter must be used after your API key. For example, appending &start=200 will return the next 200 entries per page,
           &start=400 will return the next 200, and so on.


           Q: How will a sport event behave when it is not covered with live scores?


           A: When a sport_event is not covered live, the status and match_status will remain as not_started until results are entered post-
           match.
https://perma.cc/3ZJS-43NQ                                                                                                                     63/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                 Document       1-5
                                                            Global Ice HockeyFiled   02/10/25
                                                                              v2 | Sportradar         Page 244 of 443 PageID:
                                                                                              US API Portal
                                                                    1142
           Q: What are the possible values for break_name in the feeds?


           A: Here are the valid break names:


                1st_pause
                2nd_pause
                awaiting_extra
                awaiting_penalties


           Q: What are the possible values for player type in the feeds?


           A: Here are the valid player type values:


                scorer
                assist
                secondary_assist


           Q: How do I locate the TTL (Time to Live)/cache on an API endpoint?


           A: The cache (in seconds) can be accessed in the returned header information on each RESTful API call, under cache-control .
           ex. cache-control: max-age=1, public, s-maxage=1 or
           cache-control: public, must-revalidate, max-age=120




           Q: What are the possible values for cup_round – state in the Season Links feed?


           A: Listed below are the values and definitions for cup_round - state . These can be leveraged to determine the status of a cup
           round.


                empty - A matchup has been created but neither the match details nor the competitors are known.

                unseeded_fixture - Match details are known but competitors are unknown.

                partial_seeded - One competitor is known.

                partial_seeded_fixture - Match details and one competitor are known.

                seeded - Both competitors are known.

                seeded_fixture - Match details and both competitors are known.

                unstarted - Match(es) have been added.

                on_going - The first match has started.

                decided - The last match has ended.

                winner - The winner is known.

                cancelled – The matchup has been cancelled.


           Return to top




         SPORTRADAR
         150 South 5th St. Suite 400
         Minneapolis, MN 55402
         USA

https://perma.cc/3ZJS-43NQ                                                                                                                  64/65
           Case
2/3/25, 1:37 PM 3:25-cv-01143-GC-JTQ                      Document    1-5
                                                              Global Ice HockeyFiled   02/10/25
                                                                                v2 | Sportradar         Page 245 of 443 PageID:
                                                                                                US API Portal
         us-sales@sportradar.com                                      1143
         us-jobs@sportradar.com
         Main: 612-361-4100
         Sales: 612-361-4102
         Terms and Conditions

         SPORTRADAR IS SOCIAL




         Privacy Policy © Sportradar, a subsidiary of Sportradar AG




https://perma.cc/3ZJS-43NQ                                                                                                        65/65
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 246 of 443 PageID:
                                     1144




                            Exhibit 57
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 247 of 443 PageID:
                                                                  1145
                                                                                                                 ⋮ Docs Navigation   ☰ Menu

            Bash     Ruby      Python


           Soccer v4

                                                              Statistics Summary

                                                                 Documentation

                                                            OpenAPI Specification

                                                                    Change Log

                                                                 Coverage Matrix

                                                        Frequently Asked Questions

                                                                      Quick Access

                                  Postman Collection                                                 XSD Schema

                                                                                                      Download




           Soccer API Overview

           Our Soccer API provides real-time game updates and a vast database of supplementary statistics for the largest leagues in the
           world. Data is collected via Sportradar on-venue scouts and in-house operators.


           Over 650 unique competitions are available in one package. See our Coverage Matrix for a detailed breakdown of competitions
           and data offered.


           The Soccer API is consistent in structure, format and behavior with the other General Sport APIs. Primary feeds will return
           seasons, competitions, team/player data and real-time scores.


           Additional feeds provide a host of complementary stats, including:


               Live standings for top leagues
               League leaders
               Win probabilities for every match
               Lineups with formations
               Seasonal statistics
               Season leaders
               Missing/Injured players
               Live ball-spotting data (x,y coordinates for events on the field)
               Head-to-head statistics
               Fun facts
https://perma.cc/AV94-HVKM                                                                                                                    1/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer 1-5 v4 | Filed    02/10/25
                                                                               Sportradar US API Portal Page 248 of 443 PageID:
                                                                      1146
           Real-time customers are also offered two delivery Push Feeds to enhance speed.


           An extra package containing extended statistics is also available. This package includes live extended match player stats for:


               Minutes
               Passing
               Tackles
               Crosses
               Blocks/Saves
               Fouls
               Offsides


           An extended Probabilities package is also offered. This add-on includes in-game probability updates and season outrights.


                                          API                                                         API Version

                                        Soccer                                                             v4



              Note: Each league group requires a separate API key and authentication is required for all API calls.




           Soccer v4 API Map

           To best utilize the Soccer v4 API, you will need several parameters to create your API calls. The map below illustrates how you
           can obtain the parameters you need.



             Examples:

             To find the fun facts for a given match:


               1. Call the daily summaries for the date of the match and find the Sport Event Id for the chosen match
               2. Call the Sport Event Fun Facts using the Sport Event Id
               3. Locate the Fact Statement


             The fun facts for the match are displayed.


             To find a teams number of goals by headers for the current season:


               1. Call the daily summaries and find the desired Competitor Id
               2. Make note of the Season Id for the current season
               3. Call the seasonal competitor statistics using the Team Id and Season Id
               4. Locate the statistics - goals_by_head


             The teams number of goals by headers is displayed.

           Primary and mapping feeds only require dates, human-readable parameters or a Competition Id (which can be found in the
           competitions endpoint), while other feeds require a global unique identifier (GUID) to identify the sport event, competitor, or
           player that the feed will describe. The primary feeds provide GUIDs for sport events, competitions, and competitors, while
           sport event and competitors provide GUIDS for players.
https://perma.cc/AV94-HVKM                                                                                                                   2/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer  1-5 v4 | Filed    02/10/25
                                                                                  Sportradar US API Portal Page 249 of 443 PageID:
                                                                        1147
               - Available only with the probabilities plan within the Soccer v4 package. See FAQ for details.




https://perma.cc/AV94-HVKM                                                                                                           3/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ           DocumentSoccer
                                                        1-5 v4 | Filed   02/10/25
                                                                 Sportradar US API Portal Page 250 of 443 PageID:
                                                         1148
                              Competition Info                             Competition Seasons

                                Competitions                                Daily Summaries

                              Live Summaries                                  Live Timelines

                             Live Timelines Delta                               Seasons
                                                       Primary Feeds




                    Sport Event Feeds                  Season Feeds                  Competitor Feeds
                                                       Season Form
                     League Timeline                                                 Competitor Profile
                                                        Standings
                     Sport Event Fun                                                    Competitor
                                                        Season Info
                          Facts                                                         Summaries
                                                                                       Competitor vs
                   Sport Event Lineups                Season Leaders
                                                                                        Competitor
                                                                                    Seasonal Competitor
                  Sport Event Summary                 Season Lineups
                                                                                         Players
                                                                                    Seasonal Competitor
                   Sport Event Timeline                Season Links
                                                                                         Statistics
                                                      Season Missing
                                                         Players

                                                      Season Players


                                                    Season Probabilities

                                                    Season Over/Under
                                                        Statistics

                                                     Season Schedule


                                                     Season Standings


                                                    Season Summaries


                                                    Season Summaries


                                                     Season Transfers




                     Mapping Feeds                      Other Feeds
https://perma.cc/AV94-HVKM                                                                                          4/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 251 of 443 PageID:
                       Mapping Feeds                          Other  Feeds
                                                                   1149
                   Competitor Mappings                              Sport Events
                                                                                                             Player Feeds
                                                                      Created
                     Competitor Merge                               Sport Events                             Player Profile
                        Mappings                                     Removed
                                                                    Sport Events                          Player Summaries
                      Player Mappings                                 Updated

                          Player Merge
                            Mappings

                                                                     Push Feeds

                                      Push Events                                                Push Statistics


                                                              Probabilities Feeds *

                                    Live Probabilities                                 Season Outright Probabilities


                                Sport Event Probabilities                         Sport Event Upcoming Probabilities


                                                               Timeline Probabilites



           Soccer v4 Failover Information

           If our scout feed goes down or becomes unavailable, Sportradar takes over Live Data Entry (LDE) to provide a failover.


           In case of a failover, we follow one of the following scenarios:


             1. We are unable to provide deeper player or team stats, such as shots, corners, assists, and offsides. We will deliver only
                basic stats and events such as goals, cards, and substitutions with player names.
             2. We are unable to provide deeper player or team stats and player names for all basic events, such as cards, substitutions,
                shots, corners, assists, and offsides. We will display player names for goals.



           Competition Info

           Provides the name, id, and parent id for a given competition.


           TTL / Cache:                                                          300 seconds

            Update                                                              As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Category &                       Category Country Code                       Category Id                 Category Name
            Sport Info:

            Competition                                 Id                                  Name                        Parent Id
            Info Data Points:


https://perma.cc/AV94-HVKM                                                                                                                  5/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 252 of 443 PageID:
                                                                   1150
            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitions/sr:competition:17/info.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competition Info feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitions/ {competition_id} /info.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            competition_id       Id of a given competition.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Competition Info feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitions/getCompetitionInfo


           Return to top



           Competition Seasons

           Provides historical season information for a given competition. Competitions will return a maximum of three seasons of data,
           including current or newly created seasons.


           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Competition                  Season Competition Gender                           Season Id                   Season Start Date
            Info Data Points:               Season Competition Id                          Season Name                      Season Year
                                                 Season End Date




https://perma.cc/AV94-HVKM                                                                                                                      6/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 253 of 443 PageID:
                                                                   1151
            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitions/sr:competition:17/season
            s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competition Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitions/ {competition_id}
           /seasons. {format} ?api_key= {your_api_key}


            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v4).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                  (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            competition_id        Id of a given competition.

            format                xml or json.

            your_api_key          Your API key.


           To retrieve the OpenAPI Schema Definition for the Competition Seasons feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitions/getCompetitionSeasons


           Return to top



           Competitions

           Provides a list of all available Soccer competitions.


           TTL / Cache:                                                            300 seconds

            Update                                                                 As Necessary
            Frequency:

            Content Type:                                                          XML or JSON

            Category &                 Category Country Code                         Category Id                         Category Name
            Sport Info:

            Competition                  Competition Gender                      Competition Name                    Competition Parent Id
            Info Data Points:               Competition Id




https://perma.cc/AV94-HVKM                                                                                                                       7/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 254 of 443 PageID:
                                                                    1152
            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitions.xml?api_key={your_api_ke
            y}"



             The above command returns xml structured like this.

           Access the Competitions feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitions. {format} ?api_key=
           {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitions feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitions/getCompetitions


           Return to top



           Competitor Mappings

           Provides competitor id mapping between previous versions of the Soccer API.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000
              competitor mappings.



           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mappings Info                   External Id                           Merged Id                              Retained Id
            Data Points:                        Id




https://perma.cc/AV94-HVKM                                                                                                                         8/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 255 of 443 PageID:
                                                                    1153
            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitors/mappings.xml?api_key={your
            _api_key}"



             The above command returns xml structured like this.

           Access the Competitor Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitors/mappings. {format} ?
           api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitor Mappings feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitors/getCompetitorMappings


           Return to top



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/players/sr:player:159665/summaries.xml?api_key=
            {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description



https://perma.cc/AV94-HVKM                                                                                                                          9/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 256 of 443 PageID:
                                                                   1154
            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                             Example: limit=1000


           Return to top



           Competitor Merge Mappings

           Provides the valid Sportradar Id in cases when two competitors have been merged into one. Entries are retained in this
           endpoint for one week.


           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mappings Info                Name                             Merged Id                                      Retained Id
            Data Points:                   Id


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitors/merge_mappings.xml?api_key
            ={your_api_key}"



           Access the Competitor Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitors/merge_mappings.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitor Merge Mappings feed, use the following URL.


           https://api.sportradar.com/soccer-extended/trial/v4/openapi/swagger/index.html#/mappings/getCompetitorMergeMappings

https://perma.cc/AV94-HVKM                                                                                                                         10/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 257 of 443 PageID:

           Return to top                                            1155


           Competitor Profile

           Provides top-level information for a given team, including the full team roster, manager, home venue, and team colors.


           TTL / Cache:                                                         300 seconds

            Update                                                              As Necessary
            Frequency:

            Content Type:                                                       XML or JSON

            Sport &                 Category Country Code                       Category Name                             Sport Name
            Category Info                 Category Id                               Sport Id
            Data Points:

            Competitor Info        Competitor Abbreviation              Jersey Horizontal Stripes Color             Jersey Stripes Color
            Data Points:            Competitor Age Group                     Jersey Number Color                          Jersey Type
                                      Competitor Country                       Jersey Shirt Type                  Manager Country Code
                                   Competitor Country Code                    Jersey Sleeve Color                  Manager Date of Birth
                                      Competitor Gender                       Jersey Sleeve Detail                      Manager Gender
                                         Competitor Id                            Jersey Split                            Manager Id
                                       Competitor Name                         Jersey Split Color                       Manager Name
                                     Competitor Qualifier                       Jersey Squares                      Manager Nationality
                                      Competitor Virtual                     Jersey Squares Color                   Manager Nickname
                                       Jersey Base Color                         Jersey Stripes                   Manager Preferred Foot
                                   Jersey Horizontal Stripes

            Player Info Data             Country Code                                  Id                                  Nickname
            Points:                       Date of Birth                         Jersey Number                            Place of Birth
                                            Gender                                   Name                                Preferred Foot
                                              Height                              Nationality                                Type
                                                                                                                            Weight

            Venue Info Data                 Capacity                             Country Code                           Map Coordinates
            Points:                            City                                    Id                                    Name
                                            Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitors/sr:competitor:44/profile.x
            ml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /profile. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).


https://perma.cc/AV94-HVKM                                                                                                                 11/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 258 of 443 PageID:
                                                                   1156
            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            competitor_id       Id of a given competitor.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitor Profile feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitors/getCompetitorProfile


           Return to top



           Competitor Summaries

           Provides previous and upcoming match information for a given competitor, including statistics for past matches and
           scheduling info for upcoming matches.


           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                          Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender             Competition Properties Season                  Season Name
            Points:                             Competition Id                      Team Statistics                      Season Start Date
                                               Competition Name                Competition Properties                Season Competition Id
                                           Competition Parent Id                       Standings                           Season Year
                                          Competition Properties            Competition Properties Team                   Stage End Date
                                                   Brackets                             Squads                             Stage Order
                                      Competition Properties Missing              Group Group Name                         Stage Phase
                                                    Players                             Group Id                         Stage Start Date
                                       Competition Properties Player                 Group Name                             Stage Type
                                                Transfer History           Round Competition Sport Event                    Stage Year
                                          Competition Properties                        Number
                                                  Schedules                 Round Cup Round Number of
                                      Competition Properties Season                  Sport Events
                                                Player Statistics           Round Cup Round Sport Event
                                      Competition Properties Season                     Number
                                                 Probabilities                       Round Name
                                      Competition Properties Season                 Round Number
                                                 Stats Leaders               Round Other Sport Event Id



https://perma.cc/AV94-HVKM                                                                                                                         12/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 259 of 443 PageID:
                                                                   1157 Season End Date
                                                                                Season Id

            Competitor Info Data        Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                       Competitor Age Group              Competitor Gender               Competitor Qualifier
                                           Competitor Country                 Competitor Id                  Competitor Virtual

            Player Info Data                        Id                            Name                             Starter
            Points:

            Sport Event Info Data           Attendance Count                    Referee Id             Sport Event Properties Deeper
            Points:                         Channel Country                   Referee Name                      Play-by-Play
                                         Channel Country Code               Referee Nationality        Sport Event Properties Deeper
                                             Channel Name                  Referee Country Code                 Player Stats
                                              Channel URL                      Referee Type            Sport Event Properties Deeper
                                             Coverage Type                    Sport Event Id                     Team Stats
                                             Ground Neutral              Sport Event Replaced By           Sport Event Properties
                                        Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                          Group Properties Cup            Sport Event Start Time           Sport Event Properties
                                      Group Properties Group Stage        Sport Event Start Time            Extended Team Stats
                                        Group Properties League                 Confirmed                Sport Event Properties Fun
                                        Group Properties Missing          Sport Event Properties                    Facts
                                                 Players                       Ballspotting             Sport Event Properties Game
                                      Group Properties Qualification   Sport Event Properties Basic                Clock
                                        Group Properties Results               Play-by-Play              Sport Event Properties Goal
                                       Group Properties Schedules      Sport Event Properties Basic               Scorers
                                       Group Properties Standings              Player Stats            Sport Event Properties Lineups
                                           Lineups Confirmed           Sport Event Properties Basic    Sport Event Properties Lineups
                                                                                Team Stats                       Availability
                                                                          Sport Event Properties           Sport Event Properties
                                                                               Commentary                       Probabilities
                                                                                                        Sport Event Properties Scores
                                                                                                        Sport Event Properties Venue
                                                                                                         Weather Overall Conditions
                                                                                                          Weather Pitch Conditions

            Boxscore Info Data                Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                       Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                               Announced                    Normaltime Score            Sport Event Status Match Tie
                                       Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                        Period Score Away Score               Overtime Score                    Abandoned
                                        Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                          Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                            Period Score Type                      Fed
                                        Match Situation - Qualifier      Sport Event Status Home
                                         Match Situation - Status           Normaltime Score
                                                                         Sport Event Status Home
                                                                              Overtime Score

            Play by Play Info Data               Qualifier                     X Coordinate                     Y Coordinate
            Points:                               Order

            Player Match Statistics               Assists                    Penalties Missed                  Substituted In
            Data Points:                      Corner Kicks                      Red Cards                     Substituted Out
                                              Goals Scored                    Shots Blocked

https://perma.cc/AV94-HVKM                                                                                                               13/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 260 of 443 PageID:

                                                  Offsides        1158    Shots Off Target               Yellow Cards
                                                 Own Goals                         Shots On Target                      Yellow/Red Cards

            Team Match Statistics              Ball Possession                         Injuries                         Shots On Target
            Data Points:                        Cards Given                            Offsides                           Shots Saved
                                                Corner Kicks                      Penalties Missed                         Shots Total
                                                   Fouls                              Red Cards                           Substitutions
                                                 Free Kicks                         Shots Blocked                          Throw Ins
                                                 Goal Kicks                        Shots Off Target                       Yellow Cards
                                                                                                                        Yellow/Red Cards

            Venue Info Data                       Capacity                          Country Code                             Name
            Points:                               Changed                                 Id                            Reduced Capacity
                                                    City                          Map Coordinates                   Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitors/sr:competitor:44/summarie
            s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /summaries. {format} ?api_key= {your_api_key}


            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            competitor_id      Id of a given competitor.

            format             xml or json.

            your_api_key       Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitor Summaries feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitors/getCompetitorSummaries


           Return to top



           Competitor vs Competitor
https://perma.cc/AV94-HVKM                                                                                                                        14/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ               DocumentSoccer1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 261 of 443 PageID:
                                                                 1159
           Provides previous and upcoming matches between two teams including scoring information, player and team match statistics.


           TTL / Cache:                                                       60 seconds

            Update Frequency:                                                As Necessary

            Content Type:                                                    XML or JSON

            Sport & Category Info       Category Country Code               Category Name                     Sport Name
            Data Points:                     Category Id                        Sport Id

            Competition Info Data        Competition Gender          Competition Properties Season           Season Name
            Points:                        Competition Id                   Team Statistics                Season Start Date
                                          Competition Name              Competition Properties          Season Competition Id
                                        Competition Parent Id                  Standings                      Season Year
                                       Competition Properties         Competition Properties Team           Stage End Date
                                               Brackets                         Squads                        Stage Order
                                    Competition Properties Missing        Group Group Name                    Stage Phase
                                               Players                         Group Id                     Stage Start Date
                                    Competition Properties Player             Group Name                      Stage Type
                                           Transfer History          Round Competition Sport Event             Stage Year
                                       Competition Properties                   Number
                                              Schedules               Round Cup Round Number of
                                    Competition Properties Season            Sport Events
                                           Player Statistics         Round Cup Round Sport Event
                                    Competition Properties Season               Number
                                             Probabilities                   Round Name
                                    Competition Properties Season           Round Number
                                            Stats Leaders              Round Other Sport Event Id
                                                                            Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation         Competitor Country Code             Competitor Name
            Points:                     Competitor Age Group              Competitor Gender               Competitor Qualifier
                                         Competitor Country                  Competitor Id                 Competitor Virtual

            Player Info Data                      Id                             Name                           Starter
            Points:

            Sport Event Info Data         Attendance Count                     Referee Id            Sport Event Properties Deeper
            Points:                        Channel Country                   Referee Name                    Play-by-Play
                                        Channel Country Code              Referee Nationality        Sport Event Properties Deeper
                                            Channel Name                 Referee Country Code                 Player Stats
                                            Channel URL                      Referee Type            Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                   Team Stats
                                           Ground Neutral               Sport Event Replaced By          Sport Event Properties
                                      Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                        Group Properties Cup             Sport Event Start Time          Sport Event Properties
                                    Group Properties Group Stage         Sport Event Start Time          Extended Team Stats
                                       Group Properties League                Confirmed                Sport Event Properties Fun
                                       Group Properties Missing          Sport Event Properties                  Facts
                                               Players                        Ballspotting           Sport Event Properties Game
                                    Group Properties Qualification    Sport Event Properties Basic               Clock
                                       Group Properties Results               Play-by-Play            Sport Event Properties Goal
                                     Group Properties Schedules       Sport Event Properties Basic              Scorers
                                                                              Player Stats           Sport Event Properties Lineups
https://perma.cc/AV94-HVKM                                                                                                             15/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 262 of 443 PageID:

                                       Group Properties Standings 1160
                                                                    Sport Event Properties Basic     Sport Event Properties Lineups
                                           Lineups Confirmed                    Team Stats                        Availability
                                                                          Sport Event Properties            Sport Event Properties
                                                                               Commentary                        Probabilities
                                                                                                         Sport Event Properties Scores
                                                                                                         Sport Event Properties Venue
                                                                                                          Weather Overall Conditions
                                                                                                           Weather Pitch Conditions

            Boxscore Info Data                Clock Played             Match Situation - Updated At     Sport Event Status Home Score
            Points:                       Clock Stoppage Time             Sport Event Status Away       Sport Event Status Match Status
                                               Announced                     Normaltime Score            Sport Event Status Match Tie
                                      Clock Stoppage Time Played          Sport Event Status Away          Sport Event Status Scout
                                        Period Score Away Score               Overtime Score                     Abandoned
                                        Period Score Home Score        Sport Event Status Away Score       Sport Event Status Status
                                          Period Score Number          Sport Event Status Decided by     Sport Event Status Winner Id
                                            Period Score Type                       Fed
                                        Match Situation - Qualifier      Sport Event Status Home
                                         Match Situation - Status            Normaltime Score
                                                                         Sport Event Status Home
                                                                              Overtime Score

            Play by Play Info Data               Qualifier                     X Coordinate                      Y Coordinate
            Points:                               Order

            Player Match Statistics               Assists                    Penalties Missed                   Substituted In
            Data Points:                      Corner Kicks                       Red Cards                     Substituted Out
                                              Goals Scored                     Shots Blocked                     Yellow Cards
                                                 Offsides                     Shots Off Target                 Yellow/Red Cards
                                               Own Goals                      Shots On Target

            Team Match Statistics            Ball Possession                      Injuries                     Shots On Target
            Data Points:                       Cards Given                        Offsides                       Shots Saved
                                              Corner Kicks                   Penalties Missed                     Shots Total
                                                  Fouls                          Red Cards                      Substitutions
                                                Free Kicks                     Shots Blocked                      Throw Ins
                                                Goal Kicks                    Shots Off Target                   Yellow Cards
                                                                                                               Yellow/Red Cards

            Venue Info Data                     Capacity                       Country Code                         Name
            Points:                             Changed                              Id                       Reduced Capacity
                                                   City                      Map Coordinates                Reduced Capacity Max
                                                 Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/competitors/sr:competitor:44/versus/s
            r:competitor:42/summaries.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Competitor vs Competitor feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /competitors/ {competitor_id}
           /versus/ {competitor_id2} /summaries. {format} ?api_key= {your_api_key}



https://perma.cc/AV94-HVKM                                                                                                                16/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 263 of 443 PageID:
                                                                   1161
            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            competitor_id        Id of a given competitor.

            competitor_id2       Id of a given competitor.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitor vs Competitor feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/summaries/getCompetitorVersusSummaries


           Return to top



           Daily Summaries

           Provides match information for a given day including team scoring, player and team match statistics.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                          Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender             Competition Properties Season                  Season Name
            Points:                              Competition Id                     Team Statistics                     Season Start Date
                                             Competition Name                  Competition Properties                Season Competition Id
                                           Competition Parent Id                       Standings                           Season Year
                                          Competition Properties            Competition Properties Team                   Stage End Date
                                                   Brackets                             Squads                             Stage Order
                                      Competition Properties Missing              Group Group Name                         Stage Phase
                                                    Players                             Group Id                         Stage Start Date
                                      Competition Properties Player                   Group Name

https://perma.cc/AV94-HVKM                                                                                                                      17/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                DocumentSoccer
                                                             1-5 v4 | Filed   02/10/25
                                                                      Sportradar US API Portal Page 264 of 443 PageID:

                                           Transfer History   1162
                                                              Round Competition Sport Event           Stage Type
                                       Competition Properties                  Number                          Stage Year
                                             Schedules               Round Cup Round Number of
                                    Competition Properties Season            Sport Events
                                           Player Statistics         Round Cup Round Sport Event
                                    Competition Properties Season              Number
                                            Probabilities                    Round Name
                                    Competition Properties Season           Round Number
                                            Stats Leaders             Round Other Sport Event Id
                                                                           Season End Date
                                                                              Season Id

            Competitor Info Data      Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                     Competitor Age Group              Competitor Gender               Competitor Qualifier
                                         Competitor Country                 Competitor Id                  Competitor Virtual

            Player Info Data                      Id                            Name                             Starter
            Points:

            Sport Event Info Data         Attendance Count                    Referee Id             Sport Event Properties Deeper
            Points:                       Channel Country                   Referee Name                      Play-by-Play
                                        Channel Country Code              Referee Nationality        Sport Event Properties Deeper
                                           Channel Name                  Referee Country Code                 Player Stats
                                            Channel URL                      Referee Type            Sport Event Properties Deeper
                                           Coverage Type                    Sport Event Id                     Team Stats
                                           Ground Neutral              Sport Event Replaced By           Sport Event Properties
                                      Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                        Group Properties Cup            Sport Event Start Time           Sport Event Properties
                                    Group Properties Group Stage        Sport Event Start Time            Extended Team Stats
                                      Group Properties League                 Confirmed                Sport Event Properties Fun
                                      Group Properties Missing          Sport Event Properties                    Facts
                                               Players                       Ballspotting             Sport Event Properties Game
                                    Group Properties Qualification   Sport Event Properties Basic                Clock
                                      Group Properties Results               Play-by-Play              Sport Event Properties Goal
                                     Group Properties Schedules      Sport Event Properties Basic               Scorers
                                     Group Properties Standings              Player Stats            Sport Event Properties Lineups
                                         Lineups Confirmed           Sport Event Properties Basic    Sport Event Properties Lineups
                                                                              Team Stats                       Availability
                                                                        Sport Event Properties           Sport Event Properties
                                                                             Commentary                       Probabilities
                                                                                                      Sport Event Properties Scores
                                                                                                      Sport Event Properties Venue
                                                                                                       Weather Overall Conditions
                                                                                                        Weather Pitch Conditions

            Boxscore Info Data              Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                     Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                             Announced                    Normaltime Score            Sport Event Status Match Tie
                                     Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                       Period Score Away Score              Overtime Score                    Abandoned
                                      Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                        Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                          Period Score Type                      Fed
                                                                       Sport Event Status Home

https://perma.cc/AV94-HVKM                                                                                                             18/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer1-5 v4 | Filed   02/10/25
                                                                             Sportradar US API Portal Page 265 of 443 PageID:

                                        Match Situation - Qualifier 1163   Normaltime Score
                                         Match Situation - Status             Sport Event Status Home
                                                                                   Overtime Score

            Play by Play Info Data                Qualifier                         X Coordinate                          Y Coordinate
            Points:                                Order

            Player Match Statistics                Assists                        Penalties Missed                       Substituted In
            Data Points:                       Corner Kicks                           Red Cards                         Substituted Out
                                               Goals Scored                         Shots Blocked                         Yellow Cards
                                                  Offsides                         Shots Off Target                     Yellow/Red Cards
                                                Own Goals                          Shots On Target

            Team Match Statistics             Ball Possession                          Injuries                         Shots On Target
            Data Points:                        Cards Given                            Offsides                           Shots Saved
                                               Corner Kicks                       Penalties Missed                         Shots Total
                                                   Fouls                              Red Cards                           Substitutions
                                                 Free Kicks                         Shots Blocked                          Throw Ins
                                                 Goal Kicks                        Shots Off Target                       Yellow Cards
                                                                                                                        Yellow/Red Cards

            Venue Info Data                      Capacity                           Country Code                             Name
            Points:                              Changed                                  Id                            Reduced Capacity
                                                    City                          Map Coordinates                   Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/schedules/2019-07-23/summaries.xml?api
            _key={your_api_key}"



             The above command returns xml structured like this.

           Access the Daily Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /schedules/ {year} - {month} -
           {day} /summaries. {format} ?api_key= {your_api_key}



            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            year               Year in 4 digit format (YYYY).

            month              Month in 2 digit format (MM).

            day                Day in 2 digit format (DD).


https://perma.cc/AV94-HVKM                                                                                                                        19/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 266 of 443 PageID:
                                                                   1164
            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Daily Summaries feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/summaries/getScheduleSummaries



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/schedules/2019-07-23/summaries.xml?api_key={you
            r_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 200.
                              Example: limit=200


           Return to top



           League Timeline

           Provides an alternate set of statistics for an event which match official league sites.


           Official stats are provided for: England Premier League, Germany Bundesliga, Italy Serie A, Spain La Liga, UEFA Champions
           League, USA MLS, Austria Bundesliga.


           TTL / Cache:                                                              300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Sport & Category Info           Category Country Code                  Category Name                   Sport Name
            Data Points:                           Category Id                         Sport Id

            Competition Info Data            Competition Gender            Competition Properties Season          Season Name
            Points:                              Competition Id                     Team Statistics              Season Start Date
                                                Competition Name               Competition Properties        Season Competition Id
https://perma.cc/AV94-HVKM                                                                                                                  20/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ               DocumentSoccer
                                                              1-5 v4 | Filed   02/10/25
                                                                       Sportradar US API Portal Page 267 of 443 PageID:

                                        Competition Parent Id 1165       Standings                    Season Year
                                       Competition Properties         Competition Properties Team            Stage End Date
                                              Brackets                          Squads                        Stage Order
                                    Competition Properties Missing        Group Group Name                    Stage Phase
                                               Players                         Group Id                     Stage Start Date
                                    Competition Properties Player             Group Name                       Stage Type
                                           Transfer History          Round Competition Sport Event             Stage Year
                                       Competition Properties                   Number
                                              Schedules               Round Cup Round Number of
                                    Competition Properties Season            Sport Events
                                           Player Statistics         Round Cup Round Sport Event
                                    Competition Properties Season               Number
                                            Probabilities                    Round Name
                                    Competition Properties Season           Round Number
                                            Stats Leaders              Round Other Sport Event Id
                                                                            Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation         Competitor Country Code             Competitor Name
            Points:                     Competitor Age Group              Competitor Gender               Competitor Qualifier
                                         Competitor Country                  Competitor Id                 Competitor Virtual

            Player Info Data                      Id                            Starter                           Type
            Points:                             Name

            Sport Event Info Data         Attendance Count                     Referee Id            Sport Event Properties Deeper
            Points:                       Channel Country                    Referee Name                     Play-by-Play
                                        Channel Country Code              Referee Nationality        Sport Event Properties Deeper
                                           Channel Name                  Referee Country Code                 Player Stats
                                            Channel URL                      Referee Type            Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                    Team Stats
                                           Ground Neutral               Sport Event Replaced By          Sport Event Properties
                                      Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                        Group Properties Cup             Sport Event Start Time          Sport Event Properties
                                    Group Properties Group Stage         Sport Event Start Time           Extended Team Stats
                                       Group Properties League                Confirmed                Sport Event Properties Fun
                                       Group Properties Missing          Sport Event Properties                   Facts
                                               Players                        Ballspotting            Sport Event Properties Game
                                    Group Properties Qualification    Sport Event Properties Basic               Clock
                                       Group Properties Results               Play-by-Play             Sport Event Properties Goal
                                     Group Properties Schedules       Sport Event Properties Basic              Scorers
                                     Group Properties Standings               Player Stats           Sport Event Properties Lineups
                                         Lineups Confirmed            Sport Event Properties Basic   Sport Event Properties Lineups
                                                                              Team Stats                       Availability
                                                                         Sport Event Properties          Sport Event Properties
                                                                             Commentary                       Probabilities
                                                                                                      Sport Event Properties Scores
                                                                                                      Sport Event Properties Venue
                                                                                                       Weather Overall Conditions
                                                                                                        Weather Pitch Conditions

            Boxscore Info Data              Clock Played              Match Situation - Updated At   Sport Event Status Home Score
            Points:                     Clock Stoppage Time             Sport Event Status Away      Sport Event Status Match Status
                                             Announced                     Normaltime Score           Sport Event Status Match Tie

https://perma.cc/AV94-HVKM                                                                                                             21/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 268 of 443 PageID:

                                       Clock Stoppage Time Played 1166
                                                                     Sport Event Status Away          Sport Event Status Scout
                                         Period Score Away Score                 Overtime Score                          Abandoned
                                         Period Score Home Score          Sport Event Status Away Score         Sport Event Status Status
                                           Period Score Number            Sport Event Status Decided by       Sport Event Status Winner Id
                                            Period Score Type                           Fed
                                        Match Situation - Qualifier         Sport Event Status Home
                                         Match Situation - Status               Normaltime Score
                                                                            Sport Event Status Home
                                                                                 Overtime Score

            Play by Play Info Data           Away Team Score                    Event Coordinate Y                 Event Period Name
            Points:                       Ball Location Qualifier                    Event Id                       Event Period Type
                                            Ball Location Order           Event Injury Time Announced          Event Shootout Away Score
                                        Ball Location X Coordinate              Event Match Clock             Event Shootout Home Score
                                        Ball Location Y Coordinate              Event Match Time                  Event Stoppage Time
                                            Event Break Name                      Event Method                           Event Type
                                          Event Card Description                  Event Outcome                          Event Time
                                            Event Commentary                       Event Period                     Home Team Score
                                             Event Competitor
                                            Event Coordinate X

            Play Details Data               Assisting Player Id                 Goal Scorer Name               Substitution Player In Type
            Points:                      Assisting Player Method                 Goal Scorer Type               Substitution Player Out Id
                                          Assisting Player Name              Substitution Player In Id       Substitution Player Out Method
                                           Assisting Player Type          Substitution Player In Method      Substitution Player Out Name
                                               Goal Scorer Id              Substitution Player In Name        Substitution Player Out Type
                                            Goal Scorer Method

            Player Match Statistics               Assists                         Substituted In                         Yellow Cards
            Data Points:                           Goals                         Substituted Out                    Yellow/Red Cards
                                                 Red Cards

            Team Match Statistics                 Assists                           Red Cards                            Yellow Cards
            Data Points:                           Goals                           Substitutions                    Yellow/Red Cards

            Venue Info Data                      Capacity                         Country Code                              Name
            Points:                              Changed                                 Id                         Reduced Capacity
                                                    City                         Map Coordinates                 Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/sr:sport_event:18427304/l
            eague_timeline.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the League Timeline feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
           /league_timeline. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).



https://perma.cc/AV94-HVKM                                                                                                                    22/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 269 of 443 PageID:
                                                                   1167
            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       Id of a given sport event.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the League Timeline feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventTimeline


           Return to top



           Live Summaries

           Provides match information for all currently live matches including team scoring, player and team match statistics. This feed
           updates in real time as matches are played. Matches appear a few minutes before kick-off and disappear a few minutes after
           the match reaches “ended” status.


           TTL / Cache:                                                                 1 second

            Update Frequency:                                                           Realtime

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                          Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender             Competition Properties Season                  Season Name
            Points:                              Competition Id                     Team Statistics                     Season Start Date
                                             Competition Name                  Competition Properties                Season Competition Id
                                           Competition Parent Id                       Standings                           Season Year
                                          Competition Properties            Competition Properties Team                   Stage End Date
                                                    Brackets                            Squads                             Stage Order
                                      Competition Properties Missing              Group Group Name                         Stage Phase
                                                    Players                             Group Id                         Stage Start Date
                                      Competition Properties Player                   Group Name                            Stage Type
                                                Transfer History           Round Competition Sport Event                    Stage Year
                                          Competition Properties                        Number
                                                   Schedules                Round Cup Round Number of
                                      Competition Properties Season                  Sport Events
                                                Player Statistics           Round Cup Round Sport Event
                                      Competition Properties Season                     Number
                                                  Probabilities                      Round Name
                                                                                    Round Number
https://perma.cc/AV94-HVKM                                                                                                                      23/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                             Sportradar US API Portal Page 270 of 443 PageID:

                                      Competition Properties Season 1168
                                                                      Round Other Sport Event Id
                                              Stats Leaders                  Season End Date
                                                                                Season Id

            Competitor Info Data        Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                       Competitor Age Group              Competitor Gender               Competitor Qualifier
                                           Competitor Country                 Competitor Id                  Competitor Virtual

            Player Info Data                        Id                            Name                             Starter
            Points:

            Sport Event Info Data           Attendance Count                    Referee Id             Sport Event Properties Deeper
            Points:                         Channel Country                   Referee Name                      Play-by-Play
                                         Channel Country Code               Referee Nationality        Sport Event Properties Deeper
                                             Channel Name                  Referee Country Code                 Player Stats
                                              Channel URL                      Referee Type            Sport Event Properties Deeper
                                             Coverage Type                    Sport Event Id                     Team Stats
                                             Ground Neutral              Sport Event Replaced By           Sport Event Properties
                                        Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                          Group Properties Cup            Sport Event Start Time           Sport Event Properties
                                      Group Properties Group Stage        Sport Event Start Time            Extended Team Stats
                                        Group Properties League                 Confirmed                Sport Event Properties Fun
                                        Group Properties Missing          Sport Event Properties                    Facts
                                                 Players                       Ballspotting             Sport Event Properties Game
                                      Group Properties Qualification   Sport Event Properties Basic                Clock
                                        Group Properties Results               Play-by-Play              Sport Event Properties Goal
                                       Group Properties Schedules      Sport Event Properties Basic               Scorers
                                       Group Properties Standings              Player Stats            Sport Event Properties Lineups
                                           Lineups Confirmed           Sport Event Properties Basic    Sport Event Properties Lineups
                                                                                Team Stats                       Availability
                                                                          Sport Event Properties           Sport Event Properties
                                                                               Commentary                       Probabilities
                                                                                                        Sport Event Properties Scores
                                                                                                        Sport Event Properties Venue
                                                                                                         Weather Overall Conditions
                                                                                                          Weather Pitch Conditions

            Boxscore Info Data                Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                       Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                               Announced                    Normaltime Score            Sport Event Status Match Tie
                                       Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                        Period Score Away Score               Overtime Score                    Abandoned
                                        Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                          Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                            Period Score Type                      Fed
                                        Match Situation - Qualifier      Sport Event Status Home
                                         Match Situation - Status           Normaltime Score
                                                                         Sport Event Status Home
                                                                              Overtime Score

            Play by Play Info Data               Qualifier                     X Coordinate                     Y Coordinate
            Points:                               Order

            Player Match Statistics               Assists                    Penalties Missed                  Substituted In
            Data Points:                      Corner Kicks                      Red Cards                     Substituted Out

https://perma.cc/AV94-HVKM                                                                                                               24/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 271 of 443 PageID:

                                                Goals Scored     1169    Shots Blocked                  Yellow Cards
                                                  Offsides                         Shots Off Target                     Yellow/Red Cards
                                                 Own Goals                         Shots On Target

            Team Match Statistics              Ball Possession                         Injuries                         Shots On Target
            Data Points:                        Cards Given                            Offsides                           Shots Saved
                                                Corner Kicks                      Penalties Missed                         Shots Total
                                                   Fouls                              Red Cards                           Substitutions
                                                 Free Kicks                         Shots Blocked                          Throw Ins
                                                 Goal Kicks                        Shots Off Target                       Yellow Cards
                                                                                                                        Yellow/Red Cards

            Venue Info Data                       Capacity                          Country Code                             Name
            Points:                               Changed                                 Id                            Reduced Capacity
                                                    City                          Map Coordinates                   Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/schedules/live/summaries.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Live Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /schedules/live/summaries. {format} ?
           api_key= {your_api_key}


            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            format             xml or json.

            your_api_key       Your API key.


           To retrieve the OpenAPI Schema Definition for the Live Summaries feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/summaries/getScheduleLiveSummaries


           Return to top



           Live Timelines

https://perma.cc/AV94-HVKM                                                                                                                        25/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer  1-5 v4 | Filed   02/10/25
                                                                                 Sportradar US API Portal Page 272 of 443 PageID:
                                                                        1170
           Provides a play-by-play event timeline for currently live matches. Matches appear a few minutes before kick-off and disappear
           a few minutes after the match reaches “ended” status.


           TTL / Cache:                                                            1 second

            Update Frequency:                                                      Realtime

            Content Type:                                                        XML or JSON

            Player Info Data                        Id                              Name                            Starter
            Points:

            Boxscore Info Data                 Clock Played              Match Situation - Updated At   Sport Event Status Home Score
            Points:                        Clock Stoppage Time             Sport Event Status Away      Sport Event Status Match Status
                                                Announced                     Normaltime Score           Sport Event Status Match Tie
                                       Clock Stoppage Time Played          Sport Event Status Away         Sport Event Status Scout
                                         Period Score Away Score               Overtime Score                    Abandoned
                                         Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                           Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                            Period Score Type                        Fed
                                        Match Situation - Qualifier        Sport Event Status Home
                                         Match Situation - Status             Normaltime Score
                                                                           Sport Event Status Home
                                                                               Overtime Score

            Play by Play Info Data           Away Team Score                       Event Id               Event Shootout Away Score
            Points:                       Ball Location Qualifier       Event Injury Time Announced      Event Shootout Home Score
                                            Ball Location Order               Event Match Clock              Event Stoppage Time
                                        Ball Location X Coordinate            Event Match Time                    Event Type
                                        Ball Location Y Coordinate              Event Method                      Event Time
                                            Event Break Name                   Event Outcome                  Home Team Score
                                          Event Card Description             Event Period Name              Sport Event Timeline Id
                                            Event Commentary                  Event Period Type         Sport Event Timeline Start Time
                                            Event Competitor
                                            Event Coordinate X
                                            Event Coordinate Y

            Play Details Data               Assisting Player Id               Goal Scorer Name            Substitution Player In Type
            Points:                      Assisting Player Method               Goal Scorer Type           Substitution Player Out Id
                                          Assisting Player Name            Substitution Player In Id    Substitution Player Out Method
                                           Assisting Player Type        Substitution Player In Method   Substitution Player Out Name
                                              Goal Scorer Id             Substitution Player In Name     Substitution Player Out Type
                                           Goal Scorer Method


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/schedules/live/timelines.xml?api_key=
            {your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timeline feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /schedules/live/timelines. {format} ?
           api_key= {your_api_key}




https://perma.cc/AV94-HVKM                                                                                                                 26/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                         DocumentSoccer
                                                                      1-5 v4 | Filed   02/10/25
                                                                               Sportradar US API Portal Page 273 of 443 PageID:
                                                                       1171
            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Live Timelines feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/timelines/getLiveTimelines


           Return to top



           Live Timelines Delta

           Provides a 10 second live delta of match information, including scoring and a play-by-play event timeline.


           TTL / Cache:                                                                  1 second

            Update Frequency:                                                           Realtime

            Content Type:                                                             XML or JSON

            Player Info Data                            Id                                Name                                  Starter
            Points:

            Boxscore Info Data                     Clock Played               Match Situation - Updated At       Sport Event Status Home Score
            Points:                          Clock Stoppage Time                Sport Event Status Away          Sport Event Status Match Status
                                                   Announced                       Normaltime Score                Sport Event Status Match Tie
                                         Clock Stoppage Time Played             Sport Event Status Away              Sport Event Status Scout
                                           Period Score Away Score                   Overtime Score                           Abandoned
                                          Period Score Home Score            Sport Event Status Away Score           Sport Event Status Status
                                             Period Score Number             Sport Event Status Decided by         Sport Event Status Winner Id
                                                Period Score Type                          Fed
                                          Match Situation - Qualifier           Sport Event Status Home
                                           Match Situation - Status                Normaltime Score
                                                                                Sport Event Status Home
                                                                                     Overtime Score

            Play by Play Info Data               Away Team Score                         Event Id                  Event Shootout Away Score
            Points:                         Ball Location Qualifier          Event Injury Time Announced           Event Shootout Home Score
                                                Ball Location Order                Event Match Clock                      Event Stoppage Time
                                          Ball Location X Coordinate                Event Match Time                          Event Type
                                          Ball Location Y Coordinate                  Event Method                            Event Time
https://perma.cc/AV94-HVKM                                                                                                                          27/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 274 of 443 PageID:

                                               Event Break Name    1172    Event Outcome                Home Team Score
                                           Event Card Description                 Event Period Name              Sport Event Timeline Delta Id
                                               Event Commentary                   Event Period Type                Sport Event Timeline Delta
                                                Event Competitor                                                           Start Time
                                               Event Coordinate X
                                               Event Coordinate Y

            Play Details Data                  Assisting Player Id                Goal Scorer Name                 Substitution Player In Type
            Points:                       Assisting Player Method                  Goal Scorer Type                Substitution Player Out Id
                                           Assisting Player Name               Substitution Player In Id        Substitution Player Out Method
                                            Assisting Player Type           Substitution Player In Method        Substitution Player Out Name
                                                 Goal Scorer Id              Substitution Player In Name          Substitution Player Out Type
                                               Goal Scorer Method


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/schedules/live/timelines_delta.xml?api
            _key={your_api_key}"



             The above command returns xml structured like this.

           Access the Live Timlines Delta feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /schedules/live/timelines_delta.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Live Timelines Delta feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/timelines/getLiveTimelinesDelta


           Return to top



           Player Mappings

           Provides player id mapping between previous versions of the Soccer API.



https://perma.cc/AV94-HVKM                                                                                                                         28/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 275 of 443 PageID:
                                                                    1173
              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1,000 player
              mappings.



           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mappings Info                   External Id                           Merged Id                              Retained Id
            Data Points:                        Id


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/players/mappings.xml?api_key={your_api
            _key}"



             The above command returns xml structured like this.

           Access the Player Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /players/mappings. {format} ?api_key=
           {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Player Mappings feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/players/getPlayerMappings


           Return to top



           Optional Query String Parameters

             Example including optional query string parameters:




https://perma.cc/AV94-HVKM                                                                                                                         29/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 276 of 443 PageID:
                                                                   1174
            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/players/sr:player:159665/summaries.xml?api_key=
            {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=1000


           Return to top



           Player Merge Mappings

           Provides valid ids for players who have had their profiles merged. While Sportradar always strives to provide one unique player
           id, it is a possibility for two ids to be created. This feed provides the correct id once profiles have been merged. Entries are
           retained in this endpoint for one week.


           TTL / Cache:                                                           300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Mappings Info                 Name                            Merged Id                                 Retained Id
            Data Points:                    Id


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/players/merge_mappings.xml?api_key={yo
            ur_api_key}"



             The above command returns xml structured like this.

           Access the Player Merge Mappings feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /players/merge_mappings. {format} ?
           api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).



https://perma.cc/AV94-HVKM                                                                                                                    30/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 277 of 443 PageID:
                                                                   1175
            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Player Merge Mappings feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/players/getPlayerMergeMappings


           Return to top



           Player Profile

           Provides player information, including current and historical team membership info.


           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Competitor Info      Competitor Abbreviation             Competitor Country Code                        Competitor Name
            Data Points:          Competitor Age Group                  Competitor Gender                         Competitor Qualifier
                                    Competitor Country                     Competitor Id                           Competitor Virtual

            Player Info Data           Country Code                             Name                          Team Membership End Date
            Points:                     Date of Birth                        Nationality                   Team Membership Jersey Number
                                           Gender                            Nickname                         Team Membership Start Date
                                           Height                           Place of Birth                      Team Membership Type
                                               Id                          Preferred Foot                                 Type
                                      Jersey Number                Team Membership Active Flag                           Weight


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/players/sr:player:159665/profile.xml?a
            pi_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Profile feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /players/ {player_id} /profile.
           {format} ?api_key= {your_api_key}



            Parameter           Description

https://perma.cc/AV94-HVKM                                                                                                                         31/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 278 of 443 PageID:
                                                                   1176
            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            player_id           Id of a given player.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Player Profile feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/players/getPlayerProfile


           Return to top



           Player Summaries

           Provides match info and statistics for the past 10 matches in which a given player participated.


           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                          Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender             Competition Properties Season                  Season Name
            Points:                             Competition Id                      Team Statistics                      Season Start Date
                                               Competition Name                Competition Properties                Season Competition Id
                                           Competition Parent Id                       Standings                           Season Year
                                          Competition Properties            Competition Properties Team                   Stage End Date
                                                   Brackets                             Squads                             Stage Order
                                      Competition Properties Missing              Group Group Name                         Stage Phase
                                                    Players                             Group Id                         Stage Start Date
                                       Competition Properties Player                 Group Name                             Stage Type
                                                Transfer History           Round Competition Sport Event                    Stage Year
                                          Competition Properties                        Number
                                                  Schedules                 Round Cup Round Number of
                                      Competition Properties Season                  Sport Events
                                                Player Statistics           Round Cup Round Sport Event
                                      Competition Properties Season                     Number
                                                 Probabilities                       Round Name
                                                                                    Round Number

https://perma.cc/AV94-HVKM                                                                                                                         32/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                             Sportradar US API Portal Page 279 of 443 PageID:

                                      Competition Properties Season 1177
                                                                      Round Other Sport Event Id
                                              Stats Leaders                  Season End Date
                                                                                Season Id

            Competitor Info Data        Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                       Competitor Age Group              Competitor Gender               Competitor Qualifier
                                           Competitor Country                 Competitor Id                  Competitor Virtual

            Player Info Data                        Id                            Name                             Starter
            Points:

            Sport Event Info Data           Attendance Count                    Referee Id             Sport Event Properties Deeper
            Points:                         Channel Country                   Referee Name                      Play-by-Play
                                         Channel Country Code               Referee Nationality        Sport Event Properties Deeper
                                             Channel Name                  Referee Country Code                 Player Stats
                                              Channel URL                      Referee Type            Sport Event Properties Deeper
                                             Coverage Type                    Sport Event Id                     Team Stats
                                             Ground Neutral              Sport Event Replaced By           Sport Event Properties
                                        Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                          Group Properties Cup            Sport Event Start Time           Sport Event Properties
                                      Group Properties Group Stage        Sport Event Start Time            Extended Team Stats
                                        Group Properties League                 Confirmed                Sport Event Properties Fun
                                        Group Properties Missing          Sport Event Properties                    Facts
                                                 Players                       Ballspotting             Sport Event Properties Game
                                      Group Properties Qualification   Sport Event Properties Basic                Clock
                                        Group Properties Results               Play-by-Play              Sport Event Properties Goal
                                       Group Properties Schedules      Sport Event Properties Basic               Scorers
                                       Group Properties Standings              Player Stats            Sport Event Properties Lineups
                                           Lineups Confirmed           Sport Event Properties Basic    Sport Event Properties Lineups
                                                                                Team Stats                       Availability
                                                                          Sport Event Properties           Sport Event Properties
                                                                               Commentary                       Probabilities
                                                                                                        Sport Event Properties Scores
                                                                                                        Sport Event Properties Venue
                                                                                                         Weather Overall Conditions
                                                                                                          Weather Pitch Conditions

            Boxscore Info Data                Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                       Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                               Announced                    Normaltime Score            Sport Event Status Match Tie
                                       Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                        Period Score Away Score               Overtime Score                    Abandoned
                                        Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                          Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                            Period Score Type                      Fed
                                        Match Situation - Qualifier      Sport Event Status Home
                                         Match Situation - Status           Normaltime Score
                                                                         Sport Event Status Home
                                                                              Overtime Score

            Play by Play Info Data               Qualifier                     X Coordinate                     Y Coordinate
            Points:                               Order

            Player Match Statistics               Assists                    Penalties Missed                  Substituted In
            Data Points:                      Corner Kicks                      Red Cards                     Substituted Out

https://perma.cc/AV94-HVKM                                                                                                               33/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 280 of 443 PageID:

                                                Goals Scored     1178    Shots Blocked                  Yellow Cards
                                                  Offsides                         Shots Off Target                     Yellow/Red Cards
                                                 Own Goals                         Shots On Target

            Team Match Statistics              Ball Possession                         Injuries                         Shots On Target
            Data Points:                        Cards Given                            Offsides                           Shots Saved
                                                Corner Kicks                      Penalties Missed                         Shots Total
                                                   Fouls                              Red Cards                           Substitutions
                                                 Free Kicks                         Shots Blocked                          Throw Ins
                                                 Goal Kicks                        Shots Off Target                       Yellow Cards
                                                                                                                        Yellow/Red Cards

            Venue Info Data                       Capacity                          Country Code                             Name
            Points:                               Changed                                 Id                            Reduced Capacity
                                                       City                       Map Coordinates                   Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/players/sr:player:159665/summaries.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Player Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /players/ {player_id} /summaries.
           {format} ?api_key= {your_api_key}



            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            player_id          Id of a given player.

            format             xml or json.

            your_api_key       Your API key.


           To retrieve the OpenAPI Schema Definition for the Player Summaries feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/players/getPlayerSummaries



           Optional Query String Parameters


https://perma.cc/AV94-HVKM                                                                                                                        34/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 281 of 443 PageID:

             Example including optional query string parameters: 1179

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/players/sr:player:159665/summaries.xml?api_key=
            {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 200.
                              Example: limit=200


           Return to top



           Season Competitors

           Provides a list of teams participating for a given season.


           TTL / Cache:                                                          300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Competitor Info              Abbreviation                         Name                             Competitor Virtual
            Data Points:                       Id                          Short Name


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/competitors.xm
            l?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Competitors feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /competitors.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

https://perma.cc/AV94-HVKM                                                                                                                  35/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                       DocumentSoccer
                                                                    1-5 v4 | Filed   02/10/25
                                                                             Sportradar US API Portal Page 282 of 443 PageID:
                                                                     1180
            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Competitors feed, use the following URL.


           https://api.sportradar.com/soccer/production/v4/openapi/swagger/index.html#/seasons/getSeasonCompetitors


           Return to top



           Season Form Standings

           Provides a form table of game results and splits for a given season. Table displays W/D/L (win/draw/loss) for a maximum of 6
           matches for each team.


           TTL / Cache:                                                            60 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Competition                         Group Id                                               Group Name
            Info Data Points:

            Competitor Info          Competitor Abbreviation                  Competitor Country Code                     Competitor Name
            Data Points:              Competitor Age Group                        Competitor Gender                      Competitor Qualifier
                                       Competitor Country                            Competitor Id                       Competitor Virtual

            Standings Data                       Draws                              Goal Difference                            Points
            Points:                   Form Standing Results                            Goals For                                Rank
                                       Form Standing Type                                Losses                                 Wins
                                           Goals Against                                Played


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:93741/form_standing
            s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Form Standings feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /form_standings. {format} ?api_key= {your_api_key}


https://perma.cc/AV94-HVKM                                                                                                                         36/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 283 of 443 PageID:
                                                                    1181
            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            Id of a given season.

            format               xml or json.

            your_api_key         Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:93741/form_standings.xml?api
            _key={your_api_key}&limit=3'



           In addition to the URL parameters listed above, you can filter the Standings information with the following optional query
           string parameter.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            Parameter      Description

            round          Round number expressed as: {round}.
                           Example: round=1

            limit          Number of matches played to display for each team.
                           Example: limit=2


                           Note: The max limit is 10, which will show for example played=10 , win=8 , loss=2 . But the form will always
                           display a max of 6 matches.


           Return to top



           Season Info

https://perma.cc/AV94-HVKM                                                                                                                          37/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer  1-5 v4 | Filed    02/10/25
                                                                                 Sportradar US API Portal Page 284 of 443 PageID:
                                                                        1182
           Provides detailed information for a given season, including participating teams and coverage level.


           TTL / Cache:                                                      300 seconds

            Update Frequency:                                                As Necessary

            Content Type:                                                    XML or JSON

            Sport & Category Info      Category Country Code                Category Name                      Sport Name
            Data Points:                     Category Id                       Sport Id

            Competition Info Data        Competition Gender             Competition Properties                  Season Id
            Points:                        Competition Id                     Standings                       Season Name
                                         Competition Name            Competition Properties Team            Season Start Date
                                        Competition Parent Id                   Squads                   Season Competition Id
                                       Competition Properties             Group Group Name                     Season Year
                                              Brackets                         Group Id                      Stage End Date
                                    Competition Properties Missing        Group Max Rounds                     Stage Order
                                               Players                       Group Name                        Stage Phase
                                    Competition Properties Player       Group Parent Group Id                Stage Start Date
                                           Transfer History             Info Competition Status                Stage Type
                                       Competition Properties            Info Venue Changed                     Stage Year
                                              Schedules              Info Venue Reduced Capacity
                                    Competition Properties Season    Info Venue Reduced Capacity
                                           Player Statistics                     Max
                                    Competition Properties Season          Season End Date
                                            Probabilities
                                    Competition Properties Season
                                            Stats Leaders
                                    Competition Properties Season
                                           Team Statistics

            Competitor Info Data       Competitor Abbreviation         Competitor Country Code              Competitor Name
            Points:                     Competitor Age Group              Competitor Gender                Competitor Qualifier
                                         Competitor Country                 Competitor Id                   Competitor Virtual
                                                                      Competitor Other Season Id

            Sport Event Info Data           Coverage Type             Group Properties Standings          Sport Event Properties
            Points:                   Group Properties Brackets      Sport Event Properties Assists       Extended Player Stats
                                        Group Properties Cup            Sport Event Properties            Sport Event Properties
                                    Group Properties Group Stage             Ballspotting                 Extended Team Stats
                                       Group Properties League       Sport Event Properties Basic       Sport Event Properties Fun
                                       Group Properties Missing              Play-by-Play                         Facts
                                               Players               Sport Event Properties Basic     Sport Event Properties Game
                                    Group Properties Qualification            Player Stats                        Clock
                                       Group Properties Results      Sport Event Properties Basic      Sport Event Properties Goal
                                     Group Properties Schedules               Team Stats                         Scorers
                                                                        Sport Event Properties        Sport Event Properties Lineups
                                                                             Commentary               Sport Event Properties Lineups
                                                                     Sport Event Properties Deeper             Availability
                                                                             Play-by-Play                 Sport Event Properties
                                                                     Sport Event Properties Deeper            Probabilities
                                                                              Player Stats            Sport Event Properties Scores
                                                                     Sport Event Properties Deeper    Sport Event Properties Venue
                                                                              Team Stats

https://perma.cc/AV94-HVKM                                                                                                             38/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 285 of 443 PageID:
                                                                    1183
            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/info.xml?api_k
            ey={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Info feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /info.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            Id of a given season.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Info feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonInfo


           Return to top



           Season Leaders

           Provides a list of leaders for a given season. Statistics include points, goals, assists, cards, and minutes played.


           TTL / Cache:                                                                300 seconds

            Update Frequency:                                                         As Necessary

            Content Type:                                                             XML or JSON

            Competitor Info Data           Competitor Abbreviation                    Competitor Id                       Competitor Name
            Points:

            Player Info Data                       Player Id                  Player Multiple Competitors                   Player Name
            Points:

            Season Leader Info                     List Type                         Datapoint Type                       Datapoint Value
            Data Points:                         Leader Rank


https://perma.cc/AV94-HVKM                                                                                                                          39/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 286 of 443 PageID:
                                                                   1184
            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/leaders.xml?ap
            i_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Leaders feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /leaders.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Leaders feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonLeaders


           Return to top



           Season Lineups

           Provides match lineups and substitutions for a given season.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



           TTL / Cache:                                                               30 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                         Sport Name
            Data Points:                         Category Id                            Sport Id



https://perma.cc/AV94-HVKM                                                                                                                         40/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 287 of 443 PageID:
                                                                 1185
            Competition Info Data        Competition Gender          Competition Properties Season            Season Name
            Points:                        Competition Id                   Team Statistics                  Season Start Date
                                         Competition Name               Competition Properties            Season Competition Id
                                        Competition Parent Id                  Standings                       Season Year
                                       Competition Properties         Competition Properties Team             Stage End Date
                                               Brackets                         Squads                         Stage Order
                                    Competition Properties Missing        Group Group Name                     Stage Phase
                                               Players                          Group Id                     Stage Start Date
                                    Competition Properties Player             Group Name                        Stage Type
                                           Transfer History          Round Competition Sport Event              Stage Year
                                       Competition Properties                   Number
                                              Schedules               Round Cup Round Number of
                                    Competition Properties Season             Sport Events
                                           Player Statistics         Round Cup Round Sport Event
                                    Competition Properties Season               Number
                                             Probabilities                   Round Name
                                    Competition Properties Season           Round Number
                                            Stats Leaders              Round Other Sport Event Id
                                                                            Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation       Jersey Horizontal Stripes Color       Jersey Stripes Color
            Points:                     Competitor Age Group              Jersey Number Color                  Jersey Type
                                         Competitor Country                Jersey Shirt Type              Manager Country Code
                                      Competitor Country Code             Jersey Sleeve Color              Manager Date of Birth
                                         Competitor Gender                Jersey Sleeve Detail               Manager Gender
                                            Competitor Id                     Jersey Split                      Manager Id
                                          Competitor Name                  Jersey Split Color                 Manager Name
                                         Competitor Qualifier               Jersey Squares                 Manager Nationality
                                          Competitor Virtual              Jersey Squares Color              Manager Nickname
                                          Jersey Base Color                  Jersey Stripes               Manager Preferred Foot
                                       Jersey Horizontal Stripes

            Player Info Data                Country Code                    Jersey Number                         Played
            Points:                          Date of Birth                       Name                         Preferred Foot
                                               Gender                         Nationality                         Starter
                                                Height                         Nickname                            Type
                                                  Id                         Place of Birth                       Weight

            Sport Event Info Data         Attendance Count                     Referee Id              Sport Event Properties Deeper
            Points:                        Channel Country                   Referee Name                      Play-by-Play
                                        Channel Country Code              Referee Nationality          Sport Event Properties Deeper
                                            Channel Name                 Referee Country Code                  Player Stats
                                             Channel URL                      Referee Type             Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                     Team Stats
                                           Ground Neutral               Sport Event Replaced By           Sport Event Properties
                                      Group Properties Brackets        Sport Event Resume Time             Extended Player Stats
                                        Group Properties Cup             Sport Event Start Time           Sport Event Properties
                                    Group Properties Group Stage         Sport Event Start Time            Extended Team Stats
                                       Group Properties League                 Confirmed                Sport Event Properties Fun
                                       Group Properties Missing          Sport Event Properties                    Facts
                                               Players                        Ballspotting             Sport Event Properties Game
                                    Group Properties Qualification    Sport Event Properties Basic                Clock

https://perma.cc/AV94-HVKM                                                                                                             41/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 288 of 443 PageID:

                                          Group Properties Results 1186      Play-by-Play             Sport Event Properties Goal
                                         Group Properties Schedules         Sport Event Properties Basic                    Scorers
                                         Group Properties Standings                  Player Stats             Sport Event Properties Lineups
                                             Lineups Confirmed              Sport Event Properties Basic      Sport Event Properties Lineups
                                                                                     Team Stats                            Availability
                                                                               Sport Event Properties              Sport Event Properties
                                                                                    Commentary                            Probabilities
                                                                                                               Sport Event Properties Scores
                                                                                                               Sport Event Properties Venue
                                                                                                                Weather Overall Conditions
                                                                                                                 Weather Pitch Conditions

            Boxscore Info Data                   Clock Played               Match Situation - Updated At      Sport Event Status Home Score
            Points:                         Clock Stoppage Time               Sport Event Status Away         Sport Event Status Match Status
                                                  Announced                      Normaltime Score              Sport Event Status Match Tie
                                        Clock Stoppage Time Played            Sport Event Status Away             Sport Event Status Scout
                                          Period Score Away Score                  Overtime Score                          Abandoned
                                          Period Score Home Score          Sport Event Status Away Score         Sport Event Status Status
                                            Period Score Number            Sport Event Status Decided by       Sport Event Status Winner Id
                                               Period Score Type                         Fed
                                          Match Situation - Qualifier         Sport Event Status Home
                                           Match Situation - Status              Normaltime Score
                                                                              Sport Event Status Home
                                                                                   Overtime Score

            Play by Play Info Data                 Qualifier                 Ball Location X Coordinate          Ball Location Y Coordinate
            Points:                                 Order

            Match Lineups Data                   Player Order                    Team Designation                        Team Formation
            Points:                             Player Position

            Venue Info Data                        Capacity                         Country Code                             Name
            Points:                                Changed                                Id                         Reduced Capacity
                                                     City                         Map Coordinates                  Reduced Capacity Max
                                                   Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/lineups.xml?ap
            i_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Lineups feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /lineups.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages



https://perma.cc/AV94-HVKM                                                                                                                      42/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer   1-5 v4 | Filed    02/10/25
                                                                                    Sportradar US API Portal Page 289 of 443 PageID:
                                                                          1187
                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            Id of a given season.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Lineups feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonLineups



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/seasons/sr:season:66441/lineups.xml?api_key={yo
            ur_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter        Description

            start            Number to start the list of results from.
                             Example: start=0

            limit            Number to limit the number of results. Minimum value is 1, suggested maximum value is 75.
                             Example: limit=75


           Return to top



           Season Links

           Provides information about linked cup rounds for a given season.


           Use this feed to compile full advancement brackets for relevant seasons/tournaments. Links between all matches and rounds
           are available when competitors (TBD vs. TBD) are not yet known.


           TTL / Cache:                                                                300 seconds

            Update Frequency:                                                         As Necessary

https://perma.cc/AV94-HVKM                                                                                                                          43/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 290 of 443 PageID:
                                                                   1188
            Content Type:                                                            XML or JSON

            Competition Info Data                Cup Round Id                    Group - Group Name                      Stage Start Date
            Points:                             Cup Round Name                          Group Id                           Stage Type
                                                Cup Round Order                     Stage End Date                         Stage Year
                                                Cup Round State                       Stage Order
                                                Cup Round Type                        Stage Phase
                                            Cup Round Winner Id

            Sport Event Info Data                Sport Event Id                 Sport Event Start Time               Sport Event Start Time
            Points:                                                                                                        Confirmed


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:74551/stages_groups_
            cup_rounds.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Links feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /stages_groups_cup_rounds. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Links feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonStagesGroupsCupRounds


           Return to top



           Season Missing Players

           Provides a list of injured and/or missing players for a given season.


           TTL / Cache:                                                               300 seconds

https://perma.cc/AV94-HVKM                                                                                                                         44/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                         DocumentSoccer
                                                                      1-5 v4 | Filed   02/10/25
                                                                               Sportradar US API Portal Page 291 of 443 PageID:
                                                                       1189
            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Competitor Info Data          Competitor Abbreviation                    Competitor Id                       Competitor Name
            Points:

            Player Info Data                            Id                         Missing Start Date                        Status
            Points:                             Missing Reason                           Name


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/missing_player
            s.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Missing Players feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /missing_players. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Missing Players feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonMissingPlayers


           Return to top



           Season Over/Under Statistics

           Provides the over/under match goal totals for all teams in a given season.


           TTL / Cache:                                                               300 seconds

            Update Frequency:                                                        As Necessary


https://perma.cc/AV94-HVKM                                                                                                                         45/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 292 of 443 PageID:
                                                                   1190
            Content Type:                                                            XML or JSON

            Competitor Info Data                 Competitor Id                                       Competitor Name
            Points:

            Team Season Statistics          Over/Under List Type              Over/Under - Matches Over           Over/Under - Matches Under
            Data Points:                       Over/Under - Goals


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:83926/over_under_sta
            tistics.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Over/Under Statistics feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /over_under_statistics. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Over/Under Statistics feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonOverUnderStatistics


           Return to top



           Season Players

           Provides names and ids for all participating players for a given season.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 1000
              players.




https://perma.cc/AV94-HVKM                                                                                                                         46/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 293 of 443 PageID:
                                                                  1191
           TTL / Cache:                                                          300 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                        XML or JSON

            Player Info Data                   Country Code                                  Gender                             Name
            Points:                            Date of Birth                                 Height                          Nationality
                                           Display First Name                                   Id                            Nickname
                                           Display Last Name                            Jersey Number                            Type
                                                First Name                                 Last Name                           Weight


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/players.xml?ap
            i_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Players feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /players.
           {format} ?api_key= {your_api_key}



            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            season_id          Id of a given season.

            format             xml or json.

            your_api_key       Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Players feed, use the following URL.


           https://api.sportradar.com/soccer/production/v4/openapi/swagger/index.html#/seasons/getSeasonPlayers


           Return to top



           Optional Query String Parameters

             Example including optional query string parameters:




https://perma.cc/AV94-HVKM                                                                                                                        47/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 294 of 443 PageID:
                                                                  1192
            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/seasons/sr:season:66441/players.xml?api_key={yo
            ur_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This may be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=1000


           Return to top



           Season Probabilities

           Provides 3-way win probabilities (home team win, away team win, draw) for all matches for a given season.


           TTL / Cache:                                                             60 seconds

            Update Frequency:                                                      As Necessary

            Content Type:                                                          XML or JSON

            Sport & Category Info           Category Country Code                 Category Name                     Sport Name
            Data Points:                         Category Id                          Sport Id

            Competition Info Data            Competition Gender           Competition Properties Season            Season Name
            Points:                            Competition Id                     Team Statistics              Season Start Date
                                              Competition Name                Competition Properties        Season Competition Id
                                            Competition Parent Id                    Standings                     Season Year
                                            Competition Properties         Competition Properties Team            Stage End Date
                                                   Brackets                           Squads                        Stage Order
                                       Competition Properties Missing           Group Group Name                   Stage Phase
                                                    Players                          Group Id                     Stage Start Date
                                       Competition Properties Player               Group Name                       Stage Type
                                               Transfer History           Round Competition Sport Event             Stage Year
                                            Competition Properties                    Number
                                                  Schedules                Round Cup Round Number of
                                       Competition Properties Season               Sport Events
                                               Player Statistics          Round Cup Round Sport Event
                                       Competition Properties Season                  Number
                                                 Probabilities                     Round Name
                                       Competition Properties Season              Round Number
                                                 Stats Leaders              Round Other Sport Event Id

https://perma.cc/AV94-HVKM                                                                                                                  48/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer
                                                              1-5 v4 | Filed   02/10/25
                                                                       Sportradar US API Portal Page 295 of 443 PageID:
                                                               1193 Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                      Competitor Age Group              Competitor Gender               Competitor Qualifier
                                          Competitor Country                 Competitor Id                  Competitor Virtual

            Sport Event Info Data          Channel Country             Group Properties Standings     Sport Event Properties Deeper
            Points:                     Channel Country Code                 Sport Event Id                     Team Stats
                                            Channel Name                Sport Event Replaced By           Sport Event Properties
                                             Channel URL                Sport Event Resume Time           Extended Player Stats
                                            Coverage Type                Sport Event Start Time           Sport Event Properties
                                            Ground Neutral               Sport Event Start Time            Extended Team Stats
                                       Group Properties Brackets               Confirmed                Sport Event Properties Fun
                                         Group Properties Cup            Sport Event Properties                    Facts
                                     Group Properties Group Stage             Ballspotting             Sport Event Properties Game
                                       Group Properties League        Sport Event Properties Basic                Clock
                                       Group Properties Missing               Play-by-Play              Sport Event Properties Goal
                                                Players               Sport Event Properties Basic               Scorers
                                     Group Properties Qualification           Player Stats            Sport Event Properties Lineups
                                       Group Properties Results       Sport Event Properties Basic    Sport Event Properties Lineups
                                      Group Properties Schedules               Team Stats                       Availability
                                          Lineups Confirmed              Sport Event Properties           Sport Event Properties
                                                                              Commentary                       Probabilities
                                                                      Sport Event Properties Deeper    Sport Event Properties Scores
                                                                              Play-by-Play             Sport Event Properties Venue
                                                                      Sport Event Properties Deeper     Weather Overall Conditions
                                                                              Player Stats               Weather Pitch Conditions

            Boxscore Info Data               Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                      Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                              Announced                    Normaltime Score            Sport Event Status Match Tie
                                      Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                       Period Score Away Score               Overtime Score                    Abandoned
                                       Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                         Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                           Period Score Type                      Fed
                                       Match Situation - Qualifier      Sport Event Status Home
                                        Match Situation - Status           Normaltime Score
                                                                        Sport Event Status Home
                                                                             Overtime Score

            Play by Play Info Data              Qualifier                     X Coordinate                     Y Coordinate
            Points:                              Order

            Match Probabilities      Away Team Win Probabilities      Home Team Win Probabilities            Outcome Name
            Data Points:                   Draw Probabilities                 Market Name

            Venue Info Data                    Capacity                      Country Code                         Name
            Points:                            Changed                             Id                       Reduced Capacity
                                                  City                      Map Coordinates               Reduced Capacity Max
                                                Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/probabilities.


https://perma.cc/AV94-HVKM                                                                                                              49/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                       DocumentSoccer
                                                                    1-5 v4 | Filed   02/10/25
                                                                             Sportradar US API Portal Page 296 of 443 PageID:
            xml?api_key={your_api_key}"                              1194

             The above command returns xml structured like this.

           Access the Season Probabilities feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /probabilities.
           {format} ?api_key= {your_api_key}



            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v4).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                  Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            season_id             Id of a given season.

            format                xml or json.

            your_api_key          Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Probabilities feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonProbabilities



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/probabilities.xml?api_
            key={your_api_key}&start=200'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter           Description

            start               Number to start the list of results from.
                                Example: start=0

https://perma.cc/AV94-HVKM                                                                                                                           50/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 297 of 443 PageID:
                                                                 1195
            limit            Number to limit the number of results. Minimum value is 1, maximum value is 200.
                             Example: limit=200


           Return to top



           Season Schedule

           Provides basic match information for all matches for a given season, including scoring and match coverage.



              Note: Pagination may be required to pull all data within this feed. By default, the feed will return 1000 sport
              events.



           TTL / Cache:                                                         300 seconds

            Update Frequency:                                                   As Necessary

            Content Type:                                                       XML or JSON

            Sport & Category Info        Category Country Code                 Category Name                       Sport Name
            Data Points:                       Category Id                        Sport Id

            Competition Info Data          Competition Gender          Competition Properties Season              Season Name
            Points:                          Competition Id                    Team Statistics                  Season Start Date
                                           Competition Name                Competition Properties           Season Competition Id
                                          Competition Parent Id                  Standings                         Season Year
                                         Competition Properties         Competition Properties Team              Stage End Date
                                                  Brackets                         Squads                          Stage Order
                                     Competition Properties Missing          Group Group Name                      Stage Phase
                                                  Players                         Group Id                       Stage Start Date
                                      Competition Properties Player             Group Name                         Stage Type
                                             Transfer History         Round Competition Sport Event                 Stage Year
                                         Competition Properties                   Number
                                                Schedules               Round Cup Round Number of
                                     Competition Properties Season              Sport Events
                                             Player Statistics         Round Cup Round Sport Event
                                     Competition Properties Season                Number
                                               Probabilities                    Round Name
                                     Competition Properties Season             Round Number
                                              Stats Leaders              Round Other Sport Event Id
                                                                              Season End Date
                                                                                 Season Id

            Competitor Info Data         Competitor Abbreviation          Competitor Country Code               Competitor Name
            Points:                       Competitor Age Group               Competitor Gender                Competitor Qualifier
                                           Competitor Country                  Competitor Id                    Competitor Virtual

            Sport Event Info Data             Coverage Type              Group Properties Standings      Sport Event Properties Deeper
            Points:                          Ground Neutral                    Sport Event Id                      Team Stats
                                        Group Properties Brackets         Sport Event Replaced By            Sport Event Properties
                                          Group Properties Cup            Sport Event Resume Time            Extended Player Stats
                                      Group Properties Group Stage         Sport Event Start Time            Sport Event Properties
                                         Group Properties League           Sport Event Start Time            Extended Team Stats

https://perma.cc/AV94-HVKM                                                                                                               51/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 298 of 443 PageID:

                                          Group Properties Missing 1196       Confirmed                Sport Event Properties Fun
                                                    Players                      Sport Event Properties                        Facts
                                       Group Properties Qualification                 Ballspotting                Sport Event Properties Game
                                           Group Properties Results          Sport Event Properties Basic                      Clock
                                         Group Properties Schedules                   Play-by-Play                 Sport Event Properties Goal
                                                                             Sport Event Properties Basic                     Scorers
                                                                                       Player Stats              Sport Event Properties Lineups
                                                                             Sport Event Properties Basic        Sport Event Properties Lineups
                                                                                       Team Stats                           Availability
                                                                                 Sport Event Properties              Sport Event Properties
                                                                                      Commentary                           Probabilities
                                                                            Sport Event Properties Deeper         Sport Event Properties Scores
                                                                                      Play-by-Play                Sport Event Properties Venue
                                                                            Sport Event Properties Deeper
                                                                                       Player Stats

            Boxscore Info Data                   Clock Played                Match Situation - Updated At        Sport Event Status Home Score
            Points:                          Clock Stoppage Time                Sport Event Status Away         Sport Event Status Match Status
                                                  Announced                        Normaltime Score               Sport Event Status Match Tie
                                         Clock Stoppage Time Played             Sport Event Status Away             Sport Event Status Scout
                                           Period Score Away Score                   Overtime Score                        Abandoned
                                          Period Score Home Score           Sport Event Status Away Score           Sport Event Status Status
                                            Period Score Number             Sport Event Status Decided by         Sport Event Status Winner Id
                                               Period Score Type                           Fed
                                          Match Situation - Qualifier          Sport Event Status Home
                                           Match Situation - Status                Normaltime Score
                                                                               Sport Event Status Home
                                                                                     Overtime Score

            Venue Info Data                        Capacity                          Country Code                              Name
            Points:                                Changed                                  Id                          Reduced Capacity
                                                      City                          Map Coordinates                   Reduced Capacity Max
                                                    Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/schedules.xml?
            api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Schedule feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /schedules.
           {format} ?api_key= {your_api_key}



            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),


https://perma.cc/AV94-HVKM                                                                                                                        52/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer   1-5 v4 | Filed      02/10/25
                                                                                     Sportradar US API Portal Page 299 of 443 PageID:
                                                                          1197
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            season_id            Id of a given season.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Schedule feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonSchedules



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/seasons/sr:season:66441/schedule.xml?api_key={y
            our_api_key}&start=0&limit=100'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 1000.
                              Example: limit=1000


           Return to top



           Season Standings

           Provides detailed standings info for a given season.


           TTL / Cache:                                                                10 seconds

            Update Frequency:                                                         As Necessary

            Content Type:                                                             XML or JSON

            Competition Info Data            Group - Group Name                      Stage End Date                       Stage Start Date
            Points:                                 Group Id                           Stage Order                          Stage Type

https://perma.cc/AV94-HVKM                                                                                                                          53/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 300 of 443 PageID:

                                                 Group Name       1198     Stage Phase                    Stage Year
                                          Group Parent Group Id

            Competitor Info Data         Competitor Abbreviation             Competitor Country Code                     Competitor Name
            Points:                       Competitor Age Group                    Competitor Form                       Competitor Qualifier
                                           Competitor Country                    Competitor Gender                      Competitor Virtual
                                                                                    Competitor Id

            Standings Info Data                     Change                             Group Id                           Points Per Game
            Points:                            Current Outcome                       Group Live                             Points Win
                                                    Draws                           Group Name                                 Rank
                                                Goals Against                           Losses                                Round
                                               Goals Differential                  Matches Played                          Tie Break Rule
                                                   Goals For                            Points                                 Type
                                           Group - Group Name                        Points Draw                               Wins
                                           Group Comment Text                        Points Loss


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/standings.xml?
            api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Standings feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /standings.
           {format} ?api_key= {your_api_key}



            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            season_id          Id of a given season.

            format             xml or json.

            your_api_key       Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/standings.xml?api_key=
            {your_api_key}&round=1'



https://perma.cc/AV94-HVKM                                                                                                                        54/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer   1-5 v4 | Filed    02/10/25
                                                                                  Sportradar US API Portal Page 301 of 443 PageID:
                                                                        1199
           In addition to the URL parameters listed above, you can filter the Standings information with the following optional query
           string parameter.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            Parameter                    Description

            round                        Round number expressed as: {round}.
                                         Example: round=1

            live                         Live standings expressed as a boolean value.
                                         Example: live=true


           To retrieve the OpenAPI Schema Definition for the Season Standings feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonStandings


           Return to top



           Season Summaries

           Provides information for all matches from a given season including scoring and statistics at the match level.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 100 sport
              events.



           TTL / Cache:                                                           300 seconds

            Update Frequency:                                                     As Necessary

            Content Type:                                                         XML or JSON

            Sport & Category Info         Category Country Code                  Category Name                       Sport Name
            Data Points:                        Category Id                         Sport Id

            Competition Info Data           Competition Gender          Competition Properties Season               Season Name
            Points:                           Competition Id                     Team Statistics                  Season Start Date
                                            Competition Name                Competition Properties             Season Competition Id
                                           Competition Parent Id                   Standings                         Season Year
                                          Competition Properties         Competition Properties Team               Stage End Date
                                                  Brackets                           Squads                          Stage Order
                                      Competition Properties Missing          Group Group Name                       Stage Phase
                                                  Players                           Group Id                       Stage Start Date
                                       Competition Properties Player              Group Name                         Stage Type
                                              Transfer History          Round Competition Sport Event                Stage Year
                                          Competition Properties                    Number
                                                 Schedules               Round Cup Round Number of

https://perma.cc/AV94-HVKM                                                                                                              55/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 302 of 443 PageID:

                                     Competition Properties Season 1200      Sport Events
                                            Player Statistics         Round Cup Round Sport Event
                                     Competition Properties Season              Number
                                             Probabilities                    Round Name
                                     Competition Properties Season           Round Number
                                             Stats Leaders             Round Other Sport Event Id
                                                                            Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                      Competitor Age Group              Competitor Gender               Competitor Qualifier
                                          Competitor Country                 Competitor Id                  Competitor Virtual

            Sport Event Info Data          Attendance Count                    Referee Id             Sport Event Properties Deeper
            Points:                        Channel Country                   Referee Name                      Play-by-Play
                                         Channel Country Code              Referee Nationality        Sport Event Properties Deeper
                                            Channel Name                  Referee Country Code                 Player Stats
                                             Channel URL                      Referee Type            Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                     Team Stats
                                            Ground Neutral              Sport Event Replaced By           Sport Event Properties
                                       Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                         Group Properties Cup            Sport Event Start Time           Sport Event Properties
                                     Group Properties Group Stage        Sport Event Start Time            Extended Team Stats
                                       Group Properties League                 Confirmed                Sport Event Properties Fun
                                       Group Properties Missing          Sport Event Properties                    Facts
                                                Players                       Ballspotting             Sport Event Properties Game
                                     Group Properties Qualification   Sport Event Properties Basic                Clock
                                       Group Properties Results               Play-by-Play              Sport Event Properties Goal
                                      Group Properties Schedules      Sport Event Properties Basic               Scorers
                                      Group Properties Standings              Player Stats            Sport Event Properties Lineups
                                          Lineups Confirmed           Sport Event Properties Basic    Sport Event Properties Lineups
                                                                               Team Stats                       Availability
                                                                         Sport Event Properties           Sport Event Properties
                                                                              Commentary                       Probabilities
                                                                                                       Sport Event Properties Scores
                                                                                                       Sport Event Properties Venue
                                                                                                        Weather Overall Conditions
                                                                                                         Weather Pitch Conditions

            Boxscore Info Data               Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                      Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                              Announced                    Normaltime Score            Sport Event Status Match Tie
                                      Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                        Period Score Away Score              Overtime Score                    Abandoned
                                       Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                         Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                           Period Score Type                      Fed
                                       Match Situation - Qualifier      Sport Event Status Home
                                        Match Situation - Status           Normaltime Score
                                                                        Sport Event Status Home
                                                                             Overtime Score

            Play by Play Info Data              Qualifier                     X Coordinate                     Y Coordinate
            Points:                              Order

https://perma.cc/AV94-HVKM                                                                                                              56/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 303 of 443 PageID:
                                                                  1201
            Player Match Statistics                Assists                        Penalties Missed                       Substituted In
            Data Points:                        Corner Kicks                          Red Cards                         Substituted Out
                                                Goals Scored                        Shots Blocked                         Yellow Cards
                                                  Offsides                         Shots Off Target                     Yellow/Red Cards
                                                 Own Goals                         Shots On Target

            Team Match Statistics              Ball Possession                         Injuries                         Shots On Target
            Data Points:                        Cards Given                            Offsides                           Shots Saved
                                                Corner Kicks                      Penalties Missed                         Shots Total
                                                   Fouls                              Red Cards                           Substitutions
                                                 Free Kicks                         Shots Blocked                          Throw Ins
                                                 Goal Kicks                        Shots Off Target                       Yellow Cards
                                                                                                                        Yellow/Red Cards

            Venue Info Data                       Capacity                          Country Code                             Name
            Points:                               Changed                                 Id                            Reduced Capacity
                                                    City                          Map Coordinates                   Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/summaries.xml?
            api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Season Summaries feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /summaries.
           {format} ?api_key= {your_api_key}



            Parameter          Description

            access_level       Defines the access level of your API key as Production (production) or Trial (trial).

            version            Version number of the API you are accessing (Current Version: v4).

            language_code      2 letter code for supported languages


                               Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                               French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                               Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                               Click here for a tabular list of available languages per competition.

            season_id          Id of a given season.

            format             xml or json.

            your_api_key       Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Summaries feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonSummaries




https://perma.cc/AV94-HVKM                                                                                                                        57/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                        DocumentSoccer
                                                                     1-5 v4 | Filed   02/10/25
                                                                              Sportradar US API Portal Page 304 of 443 PageID:
                                                                      1202
           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/seasons/sr:season:66441/summaries.xml?api_key=
            {your_api_key}&start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter          Description

            start              Number to start the list of results from.
                               Example: start=0

            limit              Number to limit the number of results. Minimum value is 1, maximum value is 100.
                               Example: limit=100


           Return to top



           Season Transfers

           Provides a list of all player transfers for a given season.


           TTL / Cache:                                                            300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                          XML or JSON

            Competitor Info          Competitor Abbreviation               Competitor Country Code            Competitor Name
            Data Points:              Competitor Age Group                     Competitor Gender             Competitor Qualifier
                                        Competitor Country                       Competitor Id                Competitor Virtual

            Player Info Data               Country Code                              Name                 Transfer From Competitor
            Points:                         Date of Birth                          Nationality                Transfer Role Type
                                              Gender                               Nickname                Transfer To Competitor
                                               Height                      Place of Birth Transfer Date             Type
                                                  Id                                                               Weight
                                          Jersey Number



            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:83706/transfers.xml?
            api_key={your_api_key}"



             The above command returns xml structured like this.


https://perma.cc/AV94-HVKM                                                                                                                  58/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer1-5 v4 | Filed     02/10/25
                                                                                Sportradar US API Portal Page 305 of 443 PageID:
                                                                      1203
           Access the Season Transfers feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /transfers.
           {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Summaries feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasonTransfers


           Return to top



           Seasonal Competitor Players

           Provides player roster information for every team from a given season.


           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Competitor Info               Abbreviation                               Name                                 Short Name
            Data Points:                         Id

            Player Info Data             Country Code                           Jersey Number                            Place of Birth
            Points:                       Date of Birth                              Name                                Preferred Foot
                                               Gender                             Nationality                                Type
                                               Height                              Nickname                                 Weight
                                                 Id


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:66441/competitor_pla
            yers.xml?api_key={your_api_key}"



https://perma.cc/AV94-HVKM                                                                                                                         59/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ               DocumentSoccer1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 306 of 443 PageID:

             The above command returns xml structured like this. 1204
           Access the Seasonal Competitor Players feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id}
           /competitor_players. {format} ?api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Seasonal Competitor Players feed, use the following URL.


           https://api.sportradar.com/soccer/production/v4/openapi/swagger/index.html#/seasons/getSeasonCompetitorPlayers


           Return to top



           Seasonal Competitor Statistics

           Provides team and player seasonal statistics for a given season.


           TTL / Cache:                                                               30 seconds

            Update Frequency:                                                        As Necessary

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                            Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data               Competition Id                  Season Competition Id                       Season Name
            Points:                            Competition Name                    Season End Date                        Season Start Date
                                           Competition Parent Id                       Season Id                             Season Year

            Competitor Info Data          Competitor Abbreviation             Competitor Country Code                     Competitor Name
            Points:                        Competitor Age Group                   Competitor Gender                      Competitor Qualifier
                                            Competitor Country                       Competitor Id                       Competitor Virtual

            Player Info Data                            Id                               Name                                  Starter
            Points:


https://perma.cc/AV94-HVKM                                                                                                                         60/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 307 of 443 PageID:
                                                                   1205
            Player Seasonal                         Assists                        Penalties Missed                       Substituted In
            Statistics Data Points:              Corner Kicks                          Red Cards                         Substituted Out
                                                 Goals Scored                        Shots Blocked                         Yellow Cards
                                                   Offsides                         Shots Off Target                     Yellow/Red Cards
                                                  Own Goals                         Shots On Target

            Team Seasonal                 Average Ball Possession            Goals Conceded Second Half                  Shots off Target
            Statistics Data Points:              Cards Given                         Goals Scored                          Shots on Bar
                                                 Corner Kicks                   Goals Scored First Half                   Shots on Post
                                                  Free Kicks                  Goals Scored Second Half                   Shots on Target
                                                 Goals by Foot                          Offsides                           Shots Total
                                                Goals by Head                      Penalties Missed                        Yellow Cards
                                                Goals Conceded                         Red Cards                         Yellow/Red Cards
                                         Goals Conceded First Half                   Shots Blocked


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons/sr:season:54571/competitors/s
            r:competitor:17/statistics.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Seasonal Competitor Statistics feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons/ {season_id} /competitors/ {c
           ompetitor_id} /statistics. {format} ?api_key= {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            competitor_id       Id of a given competitor.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Competitor Seasonal Statistics feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/competitors/getSeasonCompetitorStatistics


           Return to top



https://perma.cc/AV94-HVKM                                                                                                                         61/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 308 of 443 PageID:
                                                                   1206
           Seasons

           Provides a list of historical season information for all competitions. Competitions will return a maximum of three seasons of
           data, including current or newly created seasons.


           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Competition                   Season Competition Id                          Season Id                       Season Start Date
            Info Data Points:                  Season End Date                        Season Name                          Season Year


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/seasons.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Seasons feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /seasons. {format} ?api_key=
           {your_api_key}



            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Seasons feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/seasons/getSeasons


           Return to top



           Sport Event Fun Facts

           Provides noteworthy, human-readable, facts based on statistical information about a given match and its competing teams.



https://perma.cc/AV94-HVKM                                                                                                                         62/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 309 of 443 PageID:
                                                                    1207
           TTL / Cache:                                                           300 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Sport Event Info                                                       Match Facts
            Data Points:


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/sr:sport_event:18427304/f
            un_facts.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Fun Facts feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
           /fun_facts. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       Id of a given sport event.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Event Fun Facts feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventFunFacts


           Return to top



           Sport Event Lineups

           Provides detailed roster information for a given match. Starting players, substitutions, formation type, and channel availability
           are included if supported by coverage level.


           TTL / Cache:                                                                 1 second

            Update Frequency:                                                        As Necessary

https://perma.cc/AV94-HVKM                                                                                                                      63/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 310 of 443 PageID:
                                                                 1208
            Content Type:                                                     XML or JSON

            Sport & Category Info      Category Country Code                Category Name                      Sport Name
            Data Points:                     Category Id                        Sport Id

            Competition Info Data        Competition Gender          Competition Properties Season            Season Name
            Points:                        Competition Id                   Team Statistics                  Season Start Date
                                         Competition Name               Competition Properties            Season Competition Id
                                        Competition Parent Id                  Standings                       Season Year
                                       Competition Properties         Competition Properties Team             Stage End Date
                                               Brackets                         Squads                         Stage Order
                                    Competition Properties Missing        Group Group Name                     Stage Phase
                                               Players                          Group Id                     Stage Start Date
                                    Competition Properties Player             Group Name                        Stage Type
                                           Transfer History          Round Competition Sport Event              Stage Year
                                       Competition Properties                   Number
                                              Schedules               Round Cup Round Number of
                                    Competition Properties Season             Sport Events
                                           Player Statistics         Round Cup Round Sport Event
                                    Competition Properties Season               Number
                                             Probabilities                   Round Name
                                    Competition Properties Season           Round Number
                                            Stats Leaders              Round Other Sport Event Id
                                                                            Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation       Jersey Horizontal Stripes Color       Jersey Stripes Color
            Points:                     Competitor Age Group              Jersey Number Color                  Jersey Type
                                         Competitor Country                Jersey Shirt Type              Manager Country Code
                                      Competitor Country Code             Jersey Sleeve Color              Manager Date of Birth
                                         Competitor Gender                Jersey Sleeve Detail               Manager Gender
                                            Competitor Id                     Jersey Split                      Manager Id
                                          Competitor Name                  Jersey Split Color                 Manager Name
                                         Competitor Qualifier               Jersey Squares                 Manager Nationality
                                          Competitor Virtual              Jersey Squares Color              Manager Nickname
                                          Jersey Base Color                  Jersey Stripes               Manager Preferred Foot
                                       Jersey Horizontal Stripes

            Player Info Data                Country Code                    Jersey Number                         Played
            Points:                          Date of Birth                       Name                         Preferred Foot
                                               Gender                         Nationality                         Starter
                                                Height                         Nickname                            Type
                                                  Id                         Place of Birth                       Weight

            Sport Event Info Data         Attendance Count                     Referee Id              Sport Event Properties Deeper
            Points:                        Channel Country                   Referee Name                      Play-by-Play
                                        Channel Country Code              Referee Nationality          Sport Event Properties Deeper
                                            Channel Name                 Referee Country Code                  Player Stats
                                             Channel URL                      Referee Type             Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                     Team Stats
                                           Ground Neutral               Sport Event Replaced By           Sport Event Properties
                                      Group Properties Brackets        Sport Event Resume Time             Extended Player Stats
                                        Group Properties Cup             Sport Event Start Time           Sport Event Properties
                                    Group Properties Group Stage         Sport Event Start Time            Extended Team Stats


https://perma.cc/AV94-HVKM                                                                                                             64/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 311 of 443 PageID:

                                         Group Properties League 1209       Confirmed                Sport Event Properties Fun
                                         Group Properties Missing             Sport Event Properties                        Facts
                                                  Players                          Ballspotting               Sport Event Properties Game
                                      Group Properties Qualification       Sport Event Properties Basic                     Clock
                                         Group Properties Results                  Play-by-Play                Sport Event Properties Goal
                                       Group Properties Schedules          Sport Event Properties Basic                    Scorers
                                       Group Properties Standings                  Player Stats              Sport Event Properties Lineups
                                            Lineups Confirmed              Sport Event Properties Basic      Sport Event Properties Lineups
                                                                                    Team Stats                           Availability
                                                                              Sport Event Properties             Sport Event Properties
                                                                                   Commentary                            Probabilities
                                                                                                              Sport Event Properties Scores
                                                                                                              Sport Event Properties Venue
                                                                                                               Weather Overall Conditions
                                                                                                                Weather Pitch Conditions

            Boxscore Info Data                  Clock Played              Match Situation - Updated At       Sport Event Status Home Score
            Points:                        Clock Stoppage Time               Sport Event Status Away        Sport Event Status Match Status
                                                Announced                       Normaltime Score              Sport Event Status Match Tie
                                       Clock Stoppage Time Played            Sport Event Status Away            Sport Event Status Scout
                                         Period Score Away Score                 Overtime Score                          Abandoned
                                         Period Score Home Score          Sport Event Status Away Score         Sport Event Status Status
                                           Period Score Number            Sport Event Status Decided by       Sport Event Status Winner Id
                                            Period Score Type                           Fed
                                        Match Situation - Qualifier         Sport Event Status Home
                                         Match Situation - Status               Normaltime Score
                                                                            Sport Event Status Home
                                                                                 Overtime Score

            Play by Play Info Data                Qualifier                 Ball Location X Coordinate         Ball Location Y Coordinate
            Points:                                Order

            Match Lineups Data                  Player Order                    Team Designation                     Team Formation
            Points:                            Player Position

            Venue Info Data                       Capacity                        Country Code                              Name
            Points:                               Changed                                Id                         Reduced Capacity
                                                    City                         Map Coordinates                 Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/sr:sport_event:18427304/l
            ineups.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Lineups feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
           /lineups. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).


https://perma.cc/AV94-HVKM                                                                                                                    65/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 312 of 443 PageID:
                                                                  1210
            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       Id of a given sport event.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Event Lineups feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventLineups


           Return to top



           Sport Event Summary

           Provides real-time match-level statistics for a given match. Including player and team stats, scoring info, and channel
           availability. Please note that data returned is determined by coverage level.


           TTL / Cache:                                                                 1 second

            Update Frequency:                                                           Realtime

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                          Sport Name
            Data Points:                         Category Id                            Sport Id




https://perma.cc/AV94-HVKM                                                                                                                      66/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 313 of 443 PageID:
                                                                 1211
            Competition Info Data        Competition Gender          Competition Properties Season           Season Name
            Points:                        Competition Id                   Team Statistics                Season Start Date
                                         Competition Name               Competition Properties          Season Competition Id
                                        Competition Parent Id                  Standings                      Season Year
                                       Competition Properties         Competition Properties Team           Stage End Date
                                              Brackets                          Squads                        Stage Order
                                    Competition Properties Missing        Group Group Name                    Stage Phase
                                               Players                         Group Id                     Stage Start Date
                                    Competition Properties Player             Group Name                      Stage Type
                                           Transfer History          Round Competition Sport Event             Stage Year
                                       Competition Properties                   Number
                                              Schedules               Round Cup Round Number of
                                    Competition Properties Season            Sport Events
                                           Player Statistics         Round Cup Round Sport Event
                                    Competition Properties Season               Number
                                            Probabilities                    Round Name
                                    Competition Properties Season           Round Number
                                            Stats Leaders              Round Other Sport Event Id
                                                                            Season End Date
                                                                               Season Id

            Competitor Info Data       Competitor Abbreviation         Competitor Country Code             Competitor Name
            Points:                     Competitor Age Group              Competitor Gender               Competitor Qualifier
                                         Competitor Country                  Competitor Id                 Competitor Virtual

            Player Info Data                      Id                             Name                           Starter
            Points:

            Sport Event Info Data         Attendance Count                     Referee Id            Sport Event Properties Deeper
            Points:                       Channel Country                    Referee Name                    Play-by-Play
                                        Channel Country Code              Referee Nationality        Sport Event Properties Deeper
                                           Channel Name                  Referee Country Code                 Player Stats
                                            Channel URL                      Referee Type            Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                   Team Stats
                                           Ground Neutral               Sport Event Replaced By          Sport Event Properties
                                      Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                        Group Properties Cup             Sport Event Start Time          Sport Event Properties
                                    Group Properties Group Stage         Sport Event Start Time          Extended Team Stats
                                       Group Properties League                Confirmed                Sport Event Properties Fun
                                       Group Properties Missing          Sport Event Properties                  Facts
                                               Players                        Ballspotting           Sport Event Properties Game
                                    Group Properties Qualification    Sport Event Properties Basic               Clock
                                       Group Properties Results               Play-by-Play            Sport Event Properties Goal
                                     Group Properties Schedules       Sport Event Properties Basic              Scorers
                                     Group Properties Standings               Player Stats           Sport Event Properties Lineups
                                         Lineups Confirmed            Sport Event Properties Basic   Sport Event Properties Lineups
                                                                              Team Stats                      Availability
                                                                         Sport Event Properties          Sport Event Properties
                                                                             Commentary                      Probabilities
                                                                                                     Sport Event Properties Scores
                                                                                                     Sport Event Properties Venue
                                                                                                      Weather Overall Conditions
                                                                                                       Weather Pitch Conditions

https://perma.cc/AV94-HVKM                                                                                                            67/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 314 of 443 PageID:
                                                                  1212
            Boxscore Info Data                  Clock Played                Match Situation - Updated At       Sport Event Status Home Score
            Points:                        Clock Stoppage Time                Sport Event Status Away          Sport Event Status Match Status
                                                Announced                         Normaltime Score               Sport Event Status Match Tie
                                       Clock Stoppage Time Played             Sport Event Status Away              Sport Event Status Scout
                                         Period Score Away Score                   Overtime Score                         Abandoned
                                         Period Score Home Score           Sport Event Status Away Score           Sport Event Status Status
                                           Period Score Number             Sport Event Status Decided by         Sport Event Status Winner Id
                                             Period Score Type                            Fed
                                        Match Situation - Qualifier           Sport Event Status Home
                                          Match Situation - Status                Normaltime Score
                                                                              Sport Event Status Home
                                                                                   Overtime Score

            Play by Play Info Data                Qualifier                          X Coordinate                        Y Coordinate
            Points:                                 Order

            Player Match Statistics                Assists                         Penalties Missed                      Substituted In
            Data Points:                        Corner Kicks                          Red Cards                         Substituted Out
                                                Goals Scored                        Shots Blocked                        Yellow Cards
                                                  Offsides                         Shots Off Target                    Yellow/Red Cards
                                                 Own Goals                         Shots On Target

            Team Match Statistics              Ball Possession                         Injuries                         Shots On Target
            Data Points:                        Cards Given                            Offsides                           Shots Saved
                                                Corner Kicks                       Penalties Missed                       Shots Total
                                                    Fouls                             Red Cards                          Substitutions
                                                 Free Kicks                         Shots Blocked                          Throw Ins
                                                 Goal Kicks                        Shots Off Target                      Yellow Cards
                                                                                                                       Yellow/Red Cards

            Venue Info Data                       Capacity                          Country Code                             Name
            Points:                               Changed                                  Id                          Reduced Capacity
                                                     City                         Map Coordinates                   Reduced Capacity Max
                                                  Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/sr:sport_event:18427304/s
            ummary.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Summary feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
           /summary. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),

https://perma.cc/AV94-HVKM                                                                                                                       68/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer   1-5 v4 | Filed      02/10/25
                                                                                    Sportradar US API Portal Page 315 of 443 PageID:
                                                                        1213
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       Id of a given sport event.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Event Summary feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventSummary


           Return to top



           Sport Event Timeline

           Provides real-time match-level statistics and a play-by-play event timeline for a given match. This includes player and team
           stats, scoring info, channel availability, x/y event coordinates, and human-readable event descriptions. Please note that data
           returned is determined by coverage level.


           TTL / Cache:                                                                 1 second

            Update Frequency:                                                           Realtime

            Content Type:                                                            XML or JSON

            Sport & Category Info         Category Country Code                     Category Name                          Sport Name
            Data Points:                          Category Id                           Sport Id

            Competition Info Data           Competition Gender             Competition Properties Season                  Season Name
            Points:                              Competition Id                     Team Statistics                     Season Start Date
                                             Competition Name                  Competition Properties                Season Competition Id
                                           Competition Parent Id                       Standings                           Season Year
                                          Competition Properties            Competition Properties Team                   Stage End Date
                                                    Brackets                            Squads                             Stage Order
                                      Competition Properties Missing              Group Group Name                         Stage Phase
                                                    Players                             Group Id                         Stage Start Date
                                      Competition Properties Player                   Group Name                            Stage Type
                                                Transfer History           Round Competition Sport Event                    Stage Year
                                          Competition Properties                        Number
                                                   Schedules                Round Cup Round Number of
                                      Competition Properties Season                  Sport Events
                                                Player Statistics           Round Cup Round Sport Event
                                      Competition Properties Season                     Number
                                                  Probabilities                      Round Name
                                      Competition Properties Season                 Round Number
                                                 Stats Leaders               Round Other Sport Event Id
                                                                                   Season End Date
                                                                                       Season Id




https://perma.cc/AV94-HVKM                                                                                                                    69/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 316 of 443 PageID:
                                                                  1214
            Competitor Info Data       Competitor Abbreviation          Competitor Country Code             Competitor Name
            Points:                      Competitor Age Group              Competitor Gender               Competitor Qualifier
                                          Competitor Country                 Competitor Id                  Competitor Virtual

            Player Info Data                       Id                            Name                             Starter
            Points:

            Sport Event Info Data          Attendance Count                    Referee Id             Sport Event Properties Deeper
            Points:                        Channel Country                   Referee Name                      Play-by-Play
                                        Channel Country Code               Referee Nationality        Sport Event Properties Deeper
                                            Channel Name                  Referee Country Code                 Player Stats
                                             Channel URL                      Referee Type            Sport Event Properties Deeper
                                            Coverage Type                    Sport Event Id                     Team Stats
                                            Ground Neutral              Sport Event Replaced By           Sport Event Properties
                                       Group Properties Brackets        Sport Event Resume Time           Extended Player Stats
                                         Group Properties Cup            Sport Event Start Time           Sport Event Properties
                                     Group Properties Group Stage        Sport Event Start Time            Extended Team Stats
                                       Group Properties League                 Confirmed                Sport Event Properties Fun
                                       Group Properties Missing          Sport Event Properties                    Facts
                                                Players                       Ballspotting             Sport Event Properties Game
                                     Group Properties Qualification   Sport Event Properties Basic                Clock
                                       Group Properties Results               Play-by-Play              Sport Event Properties Goal
                                      Group Properties Schedules      Sport Event Properties Basic               Scorers
                                      Group Properties Standings              Player Stats            Sport Event Properties Lineups
                                          Lineups Confirmed           Sport Event Properties Basic    Sport Event Properties Lineups
                                                                               Team Stats                       Availability
                                                                         Sport Event Properties           Sport Event Properties
                                                                              Commentary                       Probabilities
                                                                                                       Sport Event Properties Scores
                                                                                                       Sport Event Properties Venue
                                                                                                        Weather Overall Conditions
                                                                                                         Weather Pitch Conditions

            Boxscore Info Data               Clock Played             Match Situation - Updated At    Sport Event Status Home Score
            Points:                      Clock Stoppage Time            Sport Event Status Away       Sport Event Status Match Status
                                              Announced                    Normaltime Score            Sport Event Status Match Tie
                                      Clock Stoppage Time Played        Sport Event Status Away          Sport Event Status Scout
                                       Period Score Away Score               Overtime Score                    Abandoned
                                       Period Score Home Score        Sport Event Status Away Score      Sport Event Status Status
                                         Period Score Number          Sport Event Status Decided by    Sport Event Status Winner Id
                                           Period Score Type                      Fed
                                       Match Situation - Qualifier      Sport Event Status Home
                                        Match Situation - Status           Normaltime Score
                                                                        Sport Event Status Home
                                                                             Overtime Score

            Play by Play Info Data         Away Team Score                 Event Coordinate Y               Event Period Name
            Points:                      Ball Location Qualifier                Event Id                    Event Period Type
                                          Ball Location Order         Event Injury Time Announced       Event Shootout Away Score
                                       Ball Location X Coordinate          Event Match Clock           Event Shootout Home Score
                                       Ball Location Y Coordinate           Event Match Time               Event Stoppage Time
                                           Event Break Name                  Event Method                       Event Type
                                        Event Card Description               Event Outcome                      Event Time
                                          Event Commentary                    Event Period                  Home Team Score

https://perma.cc/AV94-HVKM                                                                                                              70/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer
                                                               1-5 v4 | Filed   02/10/25
                                                                        Sportradar US API Portal Page 317 of 443 PageID:

                                             Event Competitor   1215
                                             Event Coordinate X

            Play Details Data                Assisting Player Id                   Goal Scorer Name                Substitution Player In Type
            Points:                       Assisting Player Method                  Goal Scorer Type                 Substitution Player Out Id
                                           Assisting Player Name               Substitution Player In Id        Substitution Player Out Method
                                           Assisting Player Type            Substitution Player In Method        Substitution Player Out Name
                                               Goal Scorer Id                Substitution Player In Name          Substitution Player Out Type
                                            Goal Scorer Method

            Player Match Statistics                Assists                         Penalties Missed                       Substituted In
            Data Points:                        Corner Kicks                           Red Cards                         Substituted Out
                                                Goals Scored                         Shots Blocked                         Yellow Cards
                                                   Offsides                         Shots Off Target                    Yellow/Red Cards
                                                 Own Goals                          Shots On Target

            Team Match Statistics              Ball Possession                          Injuries                         Shots On Target
            Data Points:                        Cards Given                             Offsides                           Shots Saved
                                                Corner Kicks                       Penalties Missed                         Shots Total
                                                    Fouls                              Red Cards                           Substitutions
                                                  Free Kicks                         Shots Blocked                              Throw Ins
                                                 Goal Kicks                         Shots Off Target                       Yellow Cards
                                                                                                                        Yellow/Red Cards

            Venue Info Data                       Capacity                           Country Code                                Name
            Points:                               Changed                                  Id                           Reduced Capacity
                                                     City                          Map Coordinates                    Reduced Capacity Max
                                                   Country


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/sr:sport_event:18427304/t
            imeline.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Access the Sport Event Timeline feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id}
           /timeline. {format} ?api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                 (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            sport_event_id       Id of a given sport event.


https://perma.cc/AV94-HVKM                                                                                                                       71/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 318 of 443 PageID:
                                                                   1216
            format                xml or json.

            your_api_key          Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Event Timeline feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventTimeline


           Return to top



           Sport Events Created

           Provides ids for sport events that have been created in the last 24 hours.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



           TTL / Cache:                                                            60 seconds

            Update                                                                As Necessary
            Frequency:

            Content Type:                                                         XML or JSON

            Sport Event Info                         Active Season Flag                              Id                   Created At
            Data Points:



            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/created.xml?api_key={your
            _api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Created feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/created. {format} ?
           api_key= {your_api_key}


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.



https://perma.cc/AV94-HVKM                                                                                                                         72/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 319 of 443 PageID:
                                                                   1217
            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Events Created feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventsCreated



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/sport_events/created.xml?api_key={your_api_key}
            &start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 200.
                              Example: limit=200


           Return to top



           Sport Events Removed

           Provides ids for sport events that have been removed from the API due to an entry error. Ids will remain in the response for 2
           weeks.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



           TTL / Cache:                                                            60 seconds

            Update                                                               As Necessary
            Frequency:

            Content Type:                                                         XML or JSON




https://perma.cc/AV94-HVKM                                                                                                                  73/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 320 of 443 PageID:
                                                                    1218
            Sport Event Info     Sport Event Removed                                 Sport Event Removed Replaced By
            Data Points:                    Id


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/removed.xml?api_key={your
            _api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Removed feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/removed. {format} ?
           api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Events Removed feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventsRemoved



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/sport_events/removed.xml?api_key={your_api_key}
            &start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:




https://perma.cc/AV94-HVKM                                                                                                                          74/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 321 of 443 PageID:
                                                                    1219
            Parameter          Description

            start              Number to start the list of results from.
                               Example: start=0

            limit              Number to limit the number of results. Minimum value is 1, maximum value is 200.
                               Example: limit=200


           Return to top



           Sport Events Updated

           Provides ids for sport events that have been updated in the last 24 hours.



              Note: Pagination will often be required to pull all data within this feed. By default, the feed will return 200 sport
              events.



           TTL / Cache:                                                             60 seconds

            Update                                                                 As Necessary
            Frequency:

            Content Type:                                                          XML or JSON

            Sport Event Info     Sport Event Updated Id                              Sport Event Updated - Updated At
            Data Points:


            curl -X GET "https://api.sportradar.com/soccer/trial/v4/en/sport_events/updated.xml?api_key={your
            _api_key}"



             The above command returns xml structured like this.

           Access the Sport Events Updated feed by replacing the parameters in the following URL:


           https://api.sportradar.us/soccer/ {access_level} / {version} / {language_code} /sport_events/updated. {format} ?
           api_key= {your_api_key}


            Parameter            Description

            access_level         Defines the access level of your API key as Production (production) or Trial (trial).

            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.



https://perma.cc/AV94-HVKM                                                                                                                          75/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 322 of 443 PageID:
                                                                   1220
            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Events Updated feed, use the following URL.


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventsUpdated



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.us/soccer/trial/v4/en/sport_events/updated.xml?api_key={your_api_key}
            &start=0&limit=75'



           In addition to the URL parameters listed above, you can paginate the response with one or more of the following optional query
           string parameters. This will often be required to access all available data in this feed.



              Note: Optional query string parameters must be added after your API key with an ampersand (&).



           Replace placeholders with the following query parameters:


            Parameter         Description

            start             Number to start the list of results from.
                              Example: start=0

            limit             Number to limit the number of results. Minimum value is 1, maximum value is 200.
                              Example: limit=200


           Return to top



           Push Feeds

             To best utilize Push feeds, we have included code samples in Ruby, Java and Python which provide an example of a way
             you can consume the feeds. Using these samples will output the feeds content to STDOUT.
             For Java, we have also provided a Stream Client to assist your integration.


             Note: In the provided Java sample, replace "URL GOES HERE" with the desired Push feed URL.

            package com.sportradar.http.stream.client;


            import org.junit.After;
            import org.junit.Before;
            import org.junit.Test;


            public class StreamClientTest {


                  private StreamClient client;



https://perma.cc/AV94-HVKM                                                                                                                  76/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ           DocumentSoccer
                                                            1-5 v4 | Filed   02/10/25
                                                                     Sportradar US API Portal Page 323 of 443 PageID:
                                                            1221
                  private static String SERVICE_URL = "<url goes="" here="">";


                  @Before
                  public void setup() {
                        client = new StreamClient();
                  }

                  @After
                  public void cleanup() {
                      client.terminate();
                  }


                  @Test
                  public void testStream() throws Exception {
                      Handler handler = new ConsoleHandler();
                      client.stream(SERVICE_URL, handler);
                        System.out.println("Connecting....");
                        Thread.sleep(1 * 60 * 1000);
                        System.out.println("Disconnecting....");
                  }


            }



           Some of our APIs include Push feeds that allow you to get updates as soon as they are available. Push API feeds automatically
           send JSON and XML payloads to you via a push service, and can dramatically reduce the number of calls you need to make to
           our RESTful API feeds. The structure of the Push feeds are similar to the structure of the corresponding RESTful API feed (i.e.
           Push Events and Push Statistics). The push service ensures reliable and efficient delivery of the most up to date information.


           Our Push services are based on a HTTP publish/subscribe model. When making a call to the Push APIs, you "subscribe" to
           various data feeds provided by our service; whenever new content is available on one of those feeds, the server pushes that
           information out to your client. When no new information is available on the feed, a heartbeat message is sent every 5 seconds
           to keep the connection active. If you want to filter the results of the feeds, there are several optional query string parameters
           that can be applied to the API call. If left unfiltered, than all data for the feed is displayed (i.e. all games, events, or statistics).


           For your applications to accept data from our Push feeds, ensure that your application can:


                Can follow a HTTP redirect or use the location provided in the feeds header within one minute of your initial request.
                Can accept HTTP data transfer encoded as chunked.


           Our Push service does not provide a "stateful session", there is no memory of what data has been sent previously. If you are
           disconnected from the Push session, you can use the RESTful API to catch up or recover from the disconnection.


           Syntax for using our Push feeds and examples of the JSON and XML payloads can be found below.



           Push Events

            curl -L GET 'api.sportradar.com/soccer/trial/v4/stream/events/subscribe?api_key={your_api_key}'



             The above command returns json like this.

           Provides real-time event updates for all live matches.


           https://api.sportradar.com/soccer/ {access_level} / {version} /stream/events/subscribe?api_key= {your_api_key}



https://perma.cc/AV94-HVKM                                                                                                                             77/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                              Sportradar US API Portal Page 324 of 443 PageID:

           Replace placeholders with the following query parameters: 1222


            Parameter              Description

            access_level           Defines the access level of your API key as Production (production) or Trial (trial).

            version                Version number of the API you are accessing (Current Version: v4).

            your_api_key           Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'https://api.sportradar.com/soccer/trial/v4/stream/events/subscribe?api_key={your_api
            _key}&amp;format=json&amp;sport_event_id=sr:match:13468929'



           In addition to the URL parameters listed above, you can filter the Events information with one or more of the following optional
           query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            URL Parameters                     Description

            competition_id                     Competition id expressed as: {competition_id}.
                                               Example: competition_id=sr:competition:204

            event_id                           Event type expressed as: {event_type}.
                                               Example: event_id=free_kick

            format                             Format type expressed as: {format}.
                                               Example: format=json

            season_id                          Season id expressed as: {season_id}.
                                               Example: season_id=sr:season:50039

            sport_event_id                     Sport event id expressed as: {sport_event_id}.
                                               Example: sport_event_id=sr:sport_event_id:13644241


           Return to top



           Push Statistics

            curl -L "https://api.sportradar.com/soccer/trial/v4/stream/statistics/subscribe?api_key={your_api
            _key}"



             The above command returns json like this.
https://perma.cc/AV94-HVKM                                                                                                                    78/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer   1-5 v4 | Filed      02/10/25
                                                                                   Sportradar US API Portal Page 325 of 443 PageID:
                                                                        1223
           Provides real-time team and player match-level statistics for all live matches.


           https://api.sportradar.us/soccer/ {access_level} / {version} /stream/statistics/subscribe?api_key= {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter               Description

            access_level            Defines the access level of your API key as Production (production) or Trial (trial).

            version                 Version number of the API you are accessing (Current Version: v4).

            your_api_key            Your API key.



           Optional Query String Parameters

             Example including optional query string parameters:

            curl -L GET 'api.sportradar.com/soccer/trial/v4/stream/statistics/subscribe?api_key={your_api_ke
            y}&amp;format=json&amp;sport_event_id=sr:match:13468929'



           In addition to the URL parameters listed above, you can filter the Statistics information with one or more of the following
           optional query string parameters.



              Note: Optional query string parameters must be added after your API key with an ampersand (&). If you are
              filtering for more than one result, separate the results with a comma (,) and no spaces.



           Replace placeholders with the following query parameters:


            Parameter                          Description

            competition_id                     Competition id expressed as: {competition_id}.
                                               Example: competition_id=sr:competition:204

            event_id                           Event type expressed as: {event_type}.
                                               Example: event_id=free_kick

            format                             Format type expressed as: {format}.
                                               Example: format=json

            season_id                          Season id expressed as: {season_id}.
                                               Example: season_id=sr:season:50039

            sport_event_id                     Sport event id expressed as: {sport_event_id}.
                                               Example: sport_event_id=sr:sport_event_id:13644241


           Return to top



           Probabilities Feeds

https://perma.cc/AV94-HVKM                                                                                                               79/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer   1-5 v4 | Filed   02/10/25
                                                                                    Sportradar US API Portal Page 326 of 443 PageID:
                                                                            1224
           This collection of probability feeds is available for licensing as an add-on feature. They are an extension of the Season
           Probabilities feed in the main package which provides pre-match probabilities for the sport event winner market.


           The main features of the Probabilities extension (where coverage applies) are:


                Live Probabilities that update throughout game
                Season Outright Probabilities for the Tournament Winner market
                Live Probabilities Coverage indicator for the next 24 hours


           For more information or to request a Trial of this feature, please contact a Sportradar Sales representative.


           The Open API specification and Syntax for using our Probabilities feeds, including examples of the payloads can be found
           below.



                                                             OpenAPI Specification



           Live Probabilities

            curl -X GET "https://api.sportradar.us/soccer-probabilities/trial/v4/en/schedules/live/probabilit
            ies.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Provides top-level information for live matches. If probabilities are available for a match, pre-match and live probabilities will
           be displayed.


           https://api.sportradar.com/soccer-
           probabilities/ {access_level} / {version} / {language_code} /schedules/live/probabilities. {format} ?api_key=
           {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            format              xml or json.

            your_api_key        Your API key.




https://perma.cc/AV94-HVKM                                                                                                                         80/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer  1-5 v4 | Filed     02/10/25
                                                                                 Sportradar US API Portal Page 327 of 443 PageID:
                                                                      1225
           To retrieve the OpenAPI Schema Definition for the Live Probabilities feed, use the following URL.


           https://api.sportradar.com/soccer-
           probabilities/trial/v4/openapi/swagger/index.html#/schedules/getScheduleLiveProbabilities



           Season Outright Probabilities

            curl -X GET "https://api.sportradar.us/soccer-probabilities/trial/v4/en/seasons/sr:season:54571/o
            utright_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Provides a list of outright probabilities for each competitor from a given season.


           https://api.sportradar.com/soccer-
           probabilities/ {access_level} / {version} / {language_code} /seasons/ {season_id} /outright_probabilities. {format} ?
           api_key= {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).

            version             Version number of the API you are accessing (Current Version: v4).

            language_code       2 letter code for supported languages


                                Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                Click here for a tabular list of available languages per competition.

            season_id           Id of a given season.

            format              xml or json.

            your_api_key        Your API key.


           To retrieve the OpenAPI Schema Definition for the Season Outright Probabilities feed, use the following URL.


           https://api.sportradar.com/soccer-
           probabilities/trial/v4/openapi/swagger/index.html#/seasons/getSeasonOutrightProbabilities



           Sport Event Probabilities

            curl -X GET "https://api.sportradar.us/soccer-probabilities/trial/v4/en/sport_events/sr:sport_eve
            nt:17693932/sport_event_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

https://perma.cc/AV94-HVKM                                                                                                                         81/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer  1-5 v4 | Filed   02/10/25
                                                                                Sportradar US API Portal Page 328 of 443 PageID:

           Provides pre-match and live probabilities for a given match. 1226

           https://api.sportradar.com/soccer-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /probabilities.
           {format} ?api_key= {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v4).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                  (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            sport_event_id        Id of a given sport event.

            format                xml or json.

            your_api_key          Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Event Probabilities feed, use the following URL.


           https://api.sportradar.com/soccer-
           probabilities/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventAdvancedProbabilities



           Sport Event Upcoming Probabilities

            curl -X GET "https://api.sportradar.us/soccer-probabilities/trial/v4/en/sport_events/upcoming_pro
            babilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Provides a list of IDs for upcoming sport events in the next 24 hours.


           https://api.sportradar.com/soccer-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/upcoming_probabilities. {format} ?api_key=
           {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter           Description

            access_level        Defines the access level of your API key as Production (production) or Trial (trial).



https://perma.cc/AV94-HVKM                                                                                                                       82/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 329 of 443 PageID:
                                                                    1227
            version              Version number of the API you are accessing (Current Version: v4).

            language_code        2 letter code for supported languages


                                 Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                 French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese (pt),
                                 Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                 Click here for a tabular list of available languages per competition.

            format               xml or json.

            your_api_key         Your API key.


           To retrieve the OpenAPI Schema Definition for the Sport Event Upcoming Probabilities feed, use the following URL.


           https://api.sportradar.com/soccer-
           probabilities/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventsUpcomingProbabilities



           Timeline Probabilities

            curl -X GET "https://api.sportradar.us/soccer-probabilities/trial/v4/en/sport_events/sr:sport_eve
            nt:17693932/timeline_probabilities.xml?api_key={your_api_key}"



             The above command returns xml structured like this.

           Provides a timeline of pre-match and live probability changes for a given match. This also provides match information
           including player stats, team stats, and scoring info.


           https://api.sportradar.com/soccer-
           probabilities/ {access_level} / {version} / {language_code} /sport_events/ {sport_event_id} /timeline_probabilities.
           {format} ?api_key= {your_api_key}


           Replace placeholders with the following query parameters:


            Parameter             Description

            access_level          Defines the access level of your API key as Production (production) or Trial (trial).

            version               Version number of the API you are accessing (Current Version: v4).

            language_code         2 letter code for supported languages


                                  Chinese - simplified (zh), Chinese - traditional (zht), Danish (da), Dutch (nl), English (en), Finnish (fi),
                                  French (fr), German (de), Greek (el), Hindi (hi), Indonesian (id), Italian (it), Japanese (ja), Portuguese
                                  (pt), Russian (ru), Serbian (sr), Serbian Latin (srl), Spanish (es), Thai (th), Turkish (tr)


                                  Click here for a tabular list of available languages per competition.

            sport_event_id        Id of a given sport event.

            format                xml or json.


https://perma.cc/AV94-HVKM                                                                                                                          83/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 330 of 443 PageID:
                                                                   1228
            your_api_key          Your API key.


           To retrieve the OpenAPI Schema Definition for the Timeline Probabilities feed, use the following URL.


           https://api.sportradar.com/soccer-
           probabilities/trial/v4/openapi/swagger/index.html#/sport_events/getSportEventTimelineProbabilities



           Frequently Asked Questions

           Q: What leagues or tournaments do you cover for soccer?


           A: You can find all the leagues we cover, as well as a breakdown of data offered, via our Coverage Matrix.


           Q: Are simulations available for Soccer v4?


           A: Simulations for Soccer v4 are not currently available.


           Q: How are friendlies handled in the Summary feeds?


           A: The Summary feeds will return all Friendlies that have been played the last two weeks and that will be played the next 4
           weeks.


           Q: What is the Date format?


           A: When we present date only values we present these in the ISO 8601 standard format.
           ex: 2013-04-03
           We use these for attributes that have date and no time (such as birthdate). For more information:
           https://en.wikipedia.org/wiki/ISO_8601


           Q: What time zone are the date time fields presented in?


           A: All of our Date/Time attributes are in UTC, presented in the ISO 8601 standard format.
           ex: 2013-04-03T18:15:00+00:00
           For more information: https://en.wikipedia.org/wiki/ISO_8601


           Q: When is coverage information added to the feeds?


           A: On the first day of the season.


           Q: How can I find the values for various enum data points within the API?


           A: Many enum values are listed in the FAQ below. For the most up-to-date values, please see the Schema section of the OpenAPI
           specification here:


           https://api.sportradar.com/soccer/trial/v4/openapi/swagger/index.html


           Q: What are the valid sport_event_status – status values?


           A: Here are the valid status values and their definitions:



https://perma.cc/AV94-HVKM                                                                                                                 84/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                 DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 331 of 443 PageID:

               not_started – The match is scheduled to be played 1229
               started - The match has begun
               live – The match is currently in progress
               postponed – The match has been postponed to a future date
               suspended - The match has been suspended
               match_about_to_start - The match is about to begin
               delayed – The match has been temporarily delayed and will be continued. Typically appears prior to match start
               interrupted - The match began, but coverage has stopped for a short time. Note that match scores may not be updated
               during this period, the last recorded match score will be displayed instead
               cancelled – The match has been cancelled and will not be played
               ended – The match is over
               closed – The match results have been confirmed


           Q: What are the valid sport_event_status – match_status values?


           A: Here are the valid match status values and their definitions:


               not_started – The match is scheduled to be played
               started - The match has begun
               1st_half – The match is in the first half
               2nd_half – The match is in the second half
               overtime – The match is in overtime
               1st_extra – The match is in the first extra period
               2nd_extra – The match is in the second extra period
               awaiting_penalties – Waiting for announcement of penalties
               penalties – Penalties are ongoing
               awaiting_extra_time – Waiting on referee to announce extra time
               interrupted – The match has been interrupted
               abandoned – The match has been abandoned
               postponed – The match has been postponed to a future date
               start_delayed – The match has been temporarily delayed and will be continued
               cancelled – The match has been cancelled and will not be played
               halftime – The match is in halftime
               extra_time_halftime – The match is in extra time halftime
               ended – The match has ended
               aet – The match has ended after extra time
               ap – The match has ended after penalties


           Q: What are the valid period type and period name values for events?


           A: Here are the valid period name and period type values:


               regular_period
               overtime
               penalties
               interrupted


https://perma.cc/AV94-HVKM                                                                                                           85/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                  DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                              Sportradar US API Portal Page 332 of 443 PageID:
                                                                     1230
           Q: What are the valid lineup types (player position) values?


           A: Here are the valid lineup type


                goalkeeper
                defender
                midfielder
                forward


           Q: What are the valid lineups descriptions (player tactical position) values?


           A: Here are the valid lineups descriptions:


                goalkeeper
                right back
                central defender
                left back
                right winger
                central midfielder
                left winger
                striker


           Q: What are the valid current outcome values?


           A: Here are the valid current outcome types


                AFC Champions League
                AFC Cup
                CAF Confederation Cup
                Champions League
                Champions League Qualification
                Champions Round
                Championship Round
                Club Championship
                Conference League Qualification
                Copa Libertadores
                Copa Libertadores Qualification
                Copa Sudamericana
                Cup Winners
                Eliminated
                European Cup
                Final Four
                Final Round
                Finals
                Group Matches
                International Competition
                Main Round

https://perma.cc/AV94-HVKM                                                                                                       86/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 333 of 443 PageID:

                Next Group Phase                                   1231
                Placement Matches
                Playoffs
                Preliminary Round
                Promotion
                Promotion Playoff
                Promotion Playoffs
                Promotion Round
                Qualification Playoffs
                Qualified
                Qualifying Round
                Relegation
                Relegation Playoff
                Relegation Playoffs
                Relegation Round
                Semifinal
                Top Six
                UEFA Conference League
                UEFA Conference League Qualification
                UEFA Cup
                UEFA Cup Qualification
                UEFA Europa League
                UEFA Europa League Qualification
                UEFA Intertoto Cup


           Q: How do I find out the coverage for a particular match?


           A: Within the Summaries, Lineups, and Timeline feeds, find the node for “coverage”. Coverage nodes have three types: season
           level, group level, and sport_event level.


                The season level describes data coverage you can expect for matches involved in that given season.
                The group level is similar because there exists competitions where coverage levels differ at different stages or in different
                groups - mostly cup competitions.
                The sport_event level, this exists to describe the data depth of a specific match within the group and season.


           Note: There are occasions when the sport_event coverage can vary from the anticipated season coverage and this node exists
           to highlight that in that event to assist in handling any discrepancies.


           Q: How is coverage for a particular match defined?


           A: The coverage nodes contain classifications of data types which are expressed as Boolean values or denoted as “live” or
           “post”, for example: ballspotting="true" commentary="true" extended_play_by_play="true" extended_player_stats="true"
           extended_team_stats="true" fun_facts="true" goal_scorers="true" scores="live" basic_play_by_play="true"
           basic_player_stats="true" basic_team_stats="true" lineups="true" deeper_player_stats="true" deeper_team_stats="true".


           Q: What are the possible pitch values?


           A: Here are the possible pitch values:

https://perma.cc/AV94-HVKM                                                                                                                      87/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer
                                                                   1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 334 of 443 PageID:

                good                                                1232
                medium
                bad


           Q: What are the possible weather conditions?


           A: Here are the possible weather conditions:


                indoor
                good
                medium
                bad
                extreme


           Q: What are the possible event types?


           A: Here are all of the possible event types we log:


                break_start
                canceled_decision_to_var
                corner_kick
                decision_to_var
                decision_to_var_over
                free_kick
                goal_kick
                injury
                injury_return
                injury_time_shown
                match_ended
                match_started
                offside
                penalty_awarded
                penalty_kick
                penalty_missed
                penalty_shootout
                period_score
                period_start
                player_back_from_injury
                possible_decision_to_var
                red_card
                save
                score_change
                shot_off_target
                shot_on_target
                shot_saved
                substitution


https://perma.cc/AV94-HVKM                                                                                                     88/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                       DocumentSoccer
                                                                    1-5 v4 | Filed   02/10/25
                                                                             Sportradar US API Portal Page 335 of 443 PageID:

                  throw_in                                           1233
                  video_assistant_referee
                  video_assistant_referee_over
                  yellow_card
                  yellow_red_card


           * Availability of Video Assistant Referee is subject to the VAR capabilities of the league.


           Q: How does the possible_goal event type work?


           A: This event will occur immediately if one team scores a goal or if they are in a very clear scoring opportunity (1on1 with the
           goalkeeper, clear shot at an empty net, etc).


           Q: What are the possible values for video assistant referee?


           A: Here are the valid values:


                  goal
                  penalty
                  red_card
                  no_red_card
                  no_penalty
                  no_goal


           Q: What are the possible values for video assistant referee over?


           A: Here are the valid values:


                  call_stands
                  call_overturned


           Q: What is the scale of the X Y coordinates?


           A: The pitch we use is 100 by 100. Here is a layout of the pitch:


            0,0                                                   X                                                  100,0




            Y                                                     50,50




            0,100                                                                                                    100,100


           X = Horizontal position on the pitch. X is a number between 0 and 100. The reference point 0 is at the home team’s goal.



https://perma.cc/AV94-HVKM                                                                                                                    89/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                      DocumentSoccer1-5 v4 | Filed   02/10/25
                                                                                 Sportradar US API Portal Page 336 of 443 PageID:
                                                                         1234
           Y = Vertical position on the pitch. Y is a number between 0 and 100. The reference point 0 is on the top of the pitch where the
           home team’s goal is on the left hand side.


           Q: What are the possible values for referee_assistant type?


           A: Here are the valid referee assistant types:


                first_assistant_referee
                second_assistant_referee
                fourth_official
                video_assistant_referee
                first_additional_assistant
                second_additional_assistant
                third_additional_assistant


           Q: How does the ball location attribute work?


           A: Our scouts mark down the x (lateral) and y (longitudinal) coordinates as observed on the pitch. The data can come in
           sporadically as events on the field play out, but new ball_location data is potentially available every 1 sec. This is only
           available for matches with ballspotting="true" . The element ball_locations stores the last four known ball locations,
           after which the data is not available unless it corresponds with another event in the timeline such as throw_in ,
           shot_on_goal etc. The ball_location order illustrates the most recent location as 4 and the oldest location as 1.


           Q: What are markets and what are the different markets?


           A: Markets is something you can bet on that we provide probabilities for. Over time we intend to provide more and more
           markets in the API. Currently the only market we provide is 3-way (will the home team win? Or the away team? Or will it be a
           draw?).


           Q: What are the possible outcomes?


           A: Different markets have different outcomes. The available markets are currently:


                home_team_winner
                away_team_winner
                draw


           Q: Why don’t I see commentary in the timeline when the coverage has the “commentary” sport_event_property as
           “true”?


           A: Commentary is only available in the feed for a fixed amount of time (14 days typically). The attribute, which denotes that
           commentary is or was available, remains even after the commentary is removed.


           Q: When are fun facts added to the Sport Event Fun Facts feed?


           A: Fun facts appear in the feed starting 7 days before a match and are available for a fixed amount of time (14 days typically).


           Q: How is the order value in the Lineups feed organized?




https://perma.cc/AV94-HVKM                                                                                                                    90/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                                Sportradar US API Portal Page 337 of 443 PageID:
                                                                       1235
           A: Order number 1 is always the goalie (star marking) and formations as well as numbering should start with the goalkeeper. In
           the example diagram the formation 4-2-3-1 is used.




           4 is the number of players in the line in front of the goalkeeper, then comes the line with 2 players and so on. Numbering in
           every line starts at the right-hand side of the goalkeeper – this causes the numbering to be mirrored for home and away team.


           Q: What are the possible reasons for a player to appear in the Missing Players feed?


           A: Listed below are the reasons why a player may appear in the missing players feed:


               injured
               ill
               other
               suspension


           Q: What are the possible values for stage – phase in the feeds?


           A: Listed below are the values for phase:


               1st_part_of_season_1st_leg
               2nd_part_of_season_2nd_leg
               3rd_round
               champions_round
               conference
               division
               final_eight
               final_four
               final_phase
               final_round
               final_stage


https://perma.cc/AV94-HVKM                                                                                                                  91/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                     DocumentSoccer
                                                                  1-5 v4 | Filed   02/10/25
                                                                           Sportradar US API Portal Page 338 of 443 PageID:

                grand_final                                        1236
                grand_finals
                group_phase_1
                group_phase_2
                knockout_stage
                main_round_1
                main_round_2
                none
                placement_matches
                placement_matches_13_to_16
                placement_matches_5_to_8
                placement_matches_9_to_12
                placement_matches_9_to_16
                playoffs
                playout
                pre-season
                preliminary_round
                president_cup
                promotion_playoffs
                promotion_round
                qualification
                qualification_playoffs
                qualification_to_allsvenskan
                regular season
                relegation_playoffs
                relegation_promotion
                relegation_promotion_round
                relegation_round
                stage_1
                stage_1 no_stats
                stage_2
                stage_2 no_stats
                stage_3
                uefa_europa_league_playoffs


           Q: How long is full match data available for matches in the API?


           A: Match data is archived after one year and you will only be able to service basic score information from the API feeds. A
           historical statistics API for Soccer is on the roadmap, but no ETA is available at this time.


           Q: What are the possible values for event – time_description in the feeds?


           A: Listed below are some of the values for time descriptions on yellow/red cards.


                pre_match
                half_time


https://perma.cc/AV94-HVKM                                                                                                               92/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                    DocumentSoccer
                                                                 1-5 v4 | Filed   02/10/25
                                                                          Sportradar US API Portal Page 339 of 443 PageID:

               post_match                                         1237

           Q: What are the possible values for list – type in the leaders feeds?


           A: Listed below are the values for list - type. Note: Not all values may be available for each season, based on the coverage
           available for that season.


               points
               goals
               assists
               red_cards
               yellow_cards
               yellow_red_cards
               own_goals
               shots_on_target
               shots_off_target
               goals_by_head
               goals_by_penalty
               clearances
               interceptions
               chances_created
               crosses_successful
               passes_successful
               long_passes_successful
               tackles_successful
               clean_sheets
               penalties_saved
               dribbles_completed
               loss_of_possession
               minutes_played


           Q: What are the possible values for event – card_description in the timeline feeds?


           A: Listed below are the values for event – card_description.


               pre_match
               half_time
               post_match
               player_on_bench
               first_half
               second_half
               during_penalty_shootout


           Q: Why does the coverage of past seasons not match the data in the feeds?


           A: Coverage properties are set at a competition level and only reflect the current or last season of that competition. Previous
           seasons may have greater or lesser coverage.

https://perma.cc/AV94-HVKM                                                                                                                   93/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 340 of 443 PageID:
                                                                    1238
           Q: When does the Lineups Availability update in the feeds?


           A: The lineups_availability data is updated 30 days before the sport event is scheduled to begin.


           Q: What are the possible values for sport_event_properties – lineups_availability in the summary and timeline feeds?


           A: Listed below are the values for sport_event_properties – lineups_availability:


                pre
                post


           Q: How do you define Team Statistics and Player Statistics as sport_event_properties in terms of coverage?


           A: We define those properties as:


           Team Statistics:


           basic_team_stats: yellow_cards, yellow_red_cards, red_cards.


           deeper_team_stats: corner_kicks, shots_total, shots_on_target, shots_off_target, shots_blocked, ball_possession, free_kicks,
           offsides, goal_kicks, throw_ins, shots_saved, fouls, and injuries.


           Player Statistics:


           basic_player_stats: goals_scored, yellow_cards, yellow_red_cards, red_cards, own_goals, assists, substituted_in, and
           substituted_out.


           deeper_player_stats: offsides, corner_kicks, shots_on_target, shots_off_target, and shots_blocked.


           Q: How do you define basic and deeper play by play in terms of coverage?


           A: Basic_play_by_play includes score_change, cards, and substitutions. Deeper_play_by_play includes all other event types.


           Q: How are replay cup matches handled in the feeds?


           A: Within the Summary, Timeline, or Lineups feeds you can locate the round data for a given match. In that round data you can
           find the number of matches in the cup round (cup_round_number_of_sport_events) and the number of the given match in the
           cup round (cup_round_sport_event_number). The values for cup_round_sport_event_number are detailed below:


                1 = Replay
                2 = 1st Replay
                3 = 2nd Replay


           Q: How are group IDs delivered in the stage array with the various types?


           A: With the type of "league" they will have a sr:league prefix. With the type of "cup" they will have a sr:cup prefix.


           Q: Which regions are covered with TV Channel data?


           A: We offer Network TV data for the United States. This will be available for MLS, World Cup, EPL, UEFA Champions League,
           Bundesliga, Liga MX, and Gold Cup.


https://perma.cc/AV94-HVKM                                                                                                                 94/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ               DocumentSoccer1-5 v4 | Filed    02/10/25
                                                                          Sportradar  US API Portal Page 341 of 443 PageID:
                                                                  1239
           Q: Why does the coverage of a cup competition not match the data in the feeds?


           A: For cup competitions, coverage levels may vary from the early rounds to latter stages. Coverage properties are set at a
           competition level and will display the best coverage we offer for a sport event in this competition.


           Q: How are the seasonal competitor statistics handled within the feed?


           A: Statistics from any qualification rounds will not be displayed. The feed will only display data from the main competition.


           Q: How do you define the key data points?


                             Type of
            Data Points      Data Point    Definition

            Goal             regular       A goal is assigned to a player of the attacking team if his shot taken by foot, head or any other
                                           part of the body leads to a score. All attempts are counted.


                                           Uncontrolled deflections resulting in a goal will be attributed to the player who kicked the ball,
                                           not the player who deflects the ball.



                             own goal      When a defender kicks or heads the ball into the defender’s goal with the intent of making a
                                           pass to a teammate or of clearing the ball and it is obvious that no other player of the attacking
                                           team tried a shot on target, a goal is recorded as an "own goal". An "own goal" counts towards
                                           the offensive team's season statistics. No assist shall be given to the attacking team.


                                           If an attacking player shots on goal and the defender deflects the ball into the net, in a
                                           controlled action it will be deemed an own goal.


                                           If two players of the defending team touched the ball, the player who last touched it is the own
                                           goal scorer.



            Assist           in general    An assist considered to be a contribution by a player which directly helps a teammate to score
                                           a goal. In order to be considered for an assist a player needs to have given the last successful
                                           pass. However, the last successful pass does not necessarily automatically constitute an assist.

                             counted            Includes corners and throw ins


                                                A cross by a team member is converted into a goal


                                                Passes/crosses, which are slightly deflected and then lead to a team member score a goal



                             not counted        Where goals resulting from penalties are concerned, the player who is fouled in the area
                                                receives no assist point


                                                shot hits the post/bar and then leads to a goal by a team member


                                                The goal scorer made considerable self-effort in order to score



            Throw-In                       If the ball crosses any of the side lines by its diameter, the game will continue with a throw-in.


https://perma.cc/AV94-HVKM                                                                                                                      95/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer
                                                                1-5 v4 | Filed   02/10/25
                                                                         Sportradar US API Portal Page 342 of 443 PageID:
                                                                 1240
            Free kicks       team         In accordance with the rules, a free kick stat counted for the team who executes a free kick.
                             statistics   Direct or indirect free kicks are all counted as free kicks.

            Goal kick        team         Total number of kicks awarded to the team as a result of the ball traveling out of bounds over
                             statistics   the goal line of the defending team

            Throw ins        team         Total number of thrown in events for a team
                             statistics

            Offsides         team         Total number of offside infringements awarded against a team.
                             statistics

            Fouls            team         Total number of fouls awarded against a team (including those which draw cards)
                             statistics

            Corner           team         Total number of corner kicks taken by a team.
            Kicks            statistics

            Shots            team         Total number of goal keeper saves attributed to a team.
            Saved            statistics

            Ball             team         Ball possession is the amount of time a team has possession of the ball. It is calculated in
            Possession       statistics   percentage, and the total amount of time the match is being played is considered 100%.

            Shots            On Target    This is an intentional shot on target by a player, trying to score a goal by foot, head or any
                                          other part of the body. The result of a shot on goal is either a goalkeeper save, a clearance by
                                          any player of the defending team, a blocked shot by a player of the attacking team (which
                                          happens very rarely) or a goal. A shot on goal is slightly deflected by a player of the attacking
                                          team into the net, a goal will be awarded to the player who initially shot the ball. The
                                          corresponding team stat for this is “shots_on_target”.

                             Off Target   A shot which was aimed towards the goal but missed. These shots do not necessarily have to
                                          cross the goal line. A ball which hits the post or the bar without touching anyone and is still in
                                          play, is considered a shot off goal. The corresponding team statistic for this data point is
                                          “shots_off_target”.

                             Blocked      A shot which was directed on target but was blocked by a player of the opposing team.


           Q: What prompts a match to appear in Sport Events Updated?


           A: Changes to score, match status, or schedule in last 24 hours would cause a match to display in this endpoint.


           Q: How will a sport event behave when it is not covered with live scores?


           A: When a sport_event is not covered live, the status and match_status will remain as not_started until results are entered post-
           match.


           Q: How is the minutes_played statistic calculated?


           A: Minutes played is calculated based on 90 minutes in the match. We do not include stoppage_time.


           Q: Do you cover VAR events?




https://perma.cc/AV94-HVKM                                                                                                                     96/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer 1-5 v4 | Filed    02/10/25
                                                                                Sportradar US API Portal Page 343 of 443 PageID:
                                                                      1241
           A: VAR events are supported with events 'video_assistant_referee' & 'video_assistant_referee_over' however we cannot
           guarantee the accuracy or frequency of these events.


           Q: How are “live” feeds handled in the API?


           A: Sport Events appear in the feed 10 minutes before the scheduled start time and are removed 10 minutes after the Sport
           Event is ended.


           Q: What is the probabilities package?


           A: The probabilities package is an add-on set of feeds that are an extension of the Season Probabilities feed in the main
           package (which already provides pre-match probabilities for the sport event winner market). The main features of the
           Probabilities extension are: Live Probabilities that update throughout game, Season Outright Probabilities for the Tournament
           Winner market, and Live Probabilities Coverage indicator for the next 24 hours.


           Q: Is there Live Probability coverage for every game you cover in the Soccer API?


           A: Live Probability coverage depends on a number of factors and we can’t guarantee that every game will be covered for any
           given league, however, Sportradar covers tens of thousands of sport events across hundreds of leagues. For individual
           competition coverage, contact sales@sportradar.com


           Q: What are the possible standings types I can observe in the Standings feed?


           A: Listed below are the values for standing – type.


               total
               home
               away
               first_half_total
               first_half_home
               first_half_away
               second_half_total
               second_half_home
               second_half_away


           Q: Why can't I find a particular match in the Daily Summaries, Live Summaries, Season Summaries or Sport Events
           Updated feeds?


           A: These endpoints support pagination and return 200 entries by default. To return more matches, an additional query string
           parameter must be used after your API key. For example, appending &start=200 will return the next 200 entries per page,
           &start=400 will return the next 200, and so on.


           Q: Do you have player transfer data available?


           A: We use roles from player profiles to create a Season Transfers endpoint. This will display any player recently assigned to a
           team in a season that is covered by our squad coverage and has player_transfer_history="true" .


           This can include youth players that have recently been added to a matchday squad. If there is no previous club within 10 days,
           then this will be understood to be a free agent and therefore no from_competitor will display. For transfer_date , we use
           multiple sources and cannot guarantee the accuracy.


https://perma.cc/AV94-HVKM                                                                                                                   97/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ               DocumentSoccer  1-5 v4 | Filed   02/10/25
                                                                            Sportradar US API Portal Page 344 of 443 PageID:
                                                                   1242
           Q: Why does the change attribute not update for Live Standings?


           A: The ‘change’ attribute is only available post-match and will display movement from the previous gameweek/round.


           Q: When will lineups confirmed show as true?


           A: Lineups information will display as they are entered. Once completed, they are then confirmed at which point the attribute
           for lineups confirmed will update to true . This will only show for matches that have lineups_availability="pre"


           Q: Are Live Standings available?


           A: Live standings are delivered by default in the Standings endpoint. Live standings use an automatic set of tiebreaker rules that
           are calculated based on the scores while matches are in progress. We recommend adding the parameter live=false to a
           Standings request to retrieve standings when matches are not in progress. This will consider any additional tie-break criteria
           that a competition may use if competitors are level.


           Q: How do I locate the TTL (Time to Live)/cache on an API endpoint?


           A: The cache (in seconds) can be accessed in the returned header information on each RESTful API call, under cache-control .
           ex. cache-control: max-age=1, public, s-maxage=1 or
           cache-control: public, must-revalidate, max-age=120




           Q: What are the possible values for cup_round – state in the Season Links feed?


           A: Listed below are the values and definitions for cup_round - state . These can be leveraged to determine the status of a cup
           round.


                 empty - A matchup has been created but neither the match details nor the competitors are known.

                 unseeded_fixture - Match details are known but competitors are unknown.

                 partial_seeded - One competitor is known.

                 partial_seeded_fixture - Match details and one competitor are known.

                 seeded - Both competitors are known.

                 seeded_fixture - Match details and both competitors are known.

                 unstarted - Match(es) have been added.

                 on_going - The first match has started.

                 decided - The last match has ended.

                 winner - The winner is known.

                 cancelled – The matchup has been cancelled.


           Q: What are the possible values for match situation status ( match_situation.status )?


           A: Listed below are the values and definitions for match_situation - status . These can be leveraged to determine the
           status of a ball in play.


                 safe - Team in possession of the ball is inside their defensive half

                 dangerous - Team in possession is in the opponent’s half but not near the penalty box

                 attack - Team in possession is in the opponent’s half, near the penalty box



https://perma.cc/AV94-HVKM                                                                                                                      98/99
           Case
2/3/25, 1:38 PM 3:25-cv-01143-GC-JTQ                   DocumentSoccer 1-5 v4 | Filed   02/10/25
                                                                               Sportradar US API Portal Page 345 of 443 PageID:
                                                                      1243
           Q: Why is goals scored the only statistic available in Season Leaders and Season Competitor Statistics for some
           competitions?


           A: This is determined by the assists="false" property in the Season Info feed which indicates that stats below goals_scored are
           not guaranteed for the competition in question.


           Return to top




         SPORTRADAR
         150 South 5th St. Suite 400
         Minneapolis, MN 55402
         USA


         us-sales@sportradar.com
         us-jobs@sportradar.com
         Main: 612-361-4100
         Sales: 612-361-4102
         Terms and Conditions

         SPORTRADAR IS SOCIAL




         Privacy Policy © Sportradar, a subsidiary of Sportradar AG




https://perma.cc/AV94-HVKM                                                                                                                   99/99
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 346 of 443 PageID:
                                     1244




                            Exhibit 58
               Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25                         Page 347 of 443 PageID:
    wy         OS MS oe                                 CSO                   a
                                                                           1245                                          XQ   $0   English (us) ~   oe


   Draftkings Help Center (US) > Sportsbook > How to Play - Sportsbook


     €


    How to Play - Sportsbook

              On cee           Peed eS                   <a OS)


         What is a bet slip? (US)


         Wee                             ECR un eu dneces ence)


         When are odds posted for a game? (US)


              On cence fa (0)


         What is Cash Out?


         What is leg tracking in My Bets? (US)


         Roe        Cru                 Na ceed Seen enue rc ea


         How will my bet be settled if a player doesn't start or is removed from a game? (US)


         Meese ku nels Rie aoe                     aT     0)


         PLCS ee                        aCe   amen)


         DraftKings Sportsbook Favorites Tab - Overview (US)


         How do | use the Dynamic Odds feature to place a Same Game Parlay? (US)


         What is a Dead Heat Reduction? (US)

                     7              7               ,                vai                            -
         Why is the live score different from what I'm seeing on official sport league source(s)?       (US)   -.-)           Pete     ey etd




Document title: How to Play - Sportsbook – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/sections/4406318527635-How-to-Play-Sportsbook
Capture timestamp (UTC): Tue, 28 Jan 2025 20:58:00 GMT                                                                                              Page 1 of 3
              Case 3:25-cv-01143-GC-JTQ                      Document 1-5 Filed 02/10/25                 Page 348 of 443 PageID:
        What is a Dead Heat Reduction? (US)                           1246


        PNAS           eet Scr ecu Maes                      Rac ie ena cit te Fa O))


        Tennis Same Game Parlays (US)


        Touchdown Draw: Free-To-Play Promotion - Overview (US)


        Full Court Draw: Free-To-Play Promotion - Overview (US)


        Can | bet on individual player awards? (US)


        Can | bet on the WWE or AEW? (US)


        Can | bet on the PWHL? (US)


        Can | bet on the Bare Knuckle Fighting Championship? (US)


        Can | bet on the Unrivaled Women's Basketball League? (US)


        Can | bet on AMA SuperCross Events? (US)


        Can | bet on Tomorrow's Golf League (TGL) Events ? (US)


        Can | bet on the Professional Fighters League (PFL)? (US)


        Can | bet on Table Tennis? (US)


        Can | bet on the Dana White Contender Series? (US)


        Can | bet on the 2025 NFL Draft? (US)


        Can | bet on E-Sports? (US)




                                                                                                  ---}           Pete ey etd




Document title: How to Play - Sportsbook – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/sections/4406318527635-How-to-Play-Sportsbook
Capture timestamp (UTC): Tue, 28 Jan 2025 20:58:00 GMT                                                                             Page 2 of 3
              Case 3:25-cv-01143-GC-JTQ                      Document 1-5 Filed 02/10/25                 Page 349 of 443 PageID:
        Can | bet on the WWE or AEW? (US)                             1247


        Can | bet on the PWHL? (US)


        Can | bet on the Bare Knuckle Fighting Championship? (US)


        Can | bet on the Unrivaled Women's Basketball League? (US)


        Can | bet on AMA SuperCross Events? (US)


        Can | bet on Tomorrow's Golf League (TGL) Events ? (US)


        Can | bet on the Professional Fighters League (PFL)? (US)


        Can | bet on Table Tennis? (US)


        Can | bet on the Dana White Contender Series? (US)


        Can | bet on the 2025 NFL Draft? (US)


        Can | bet on E-Sports? (US)




        ERNE         Rca                                                                          Sr
       Mall                                                                                       Ore EC        eee     ed
          tei
        Paros                                                                                     Coed
        Cem Ese                                                                                   een


                                                                                                  ---}           Pete ey etd




Document title: How to Play - Sportsbook – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/sections/4406318527635-How-to-Play-Sportsbook
Capture timestamp (UTC): Tue, 28 Jan 2025 20:58:00 GMT                                                                             Page 3 of 3
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 350 of 443 PageID:
                                     1248




                            Exhibit 59
                Case 3:25-cv-01143-GC-JTQ                       Document 1-5 Filed 02/10/25                  Page 351 of 443 PageID:
    os          CO                          aC                   oc 1249    eed                                     <0   0      English (US)       ~     oe


   Draftkings Help Center (US) > Casino > How to Play- Casino


     €                                                                                                                   eeu
                                                                                                                             How to Play- Casino
    How do | play DraftKings Casino games? (US)                                                                              Fair & Regulated Casino Games

                                                                                                                             Peo Nike neste
    PLC Reece Rute Soke Secu ca                                  hg rancor aR ear re heuer
    NaC MN eC R eC URN  acm ores                                                                                             Pes        adc

    Check our DraftKings Casino Education Hub for rules, tips, and strategies.

    DraftKings Casino 101
     Per RON ENA ICerTE
         Pea RONEVasIeCeraria4
     Per URCONEN ACI
         How to play Video Poker                                                          ih


                 ee
     How to play Roulette


                                                                                 a L
                                                                                 VN


     How to play Spanish 21                                                      n PA
         FaeTTA
            COM VARI Z-APYY-Mee TTY
     How to play Keno

     How to play Cleopatra
         How
          to play Hippie Chicks
         PatoM
           COM AVA attra zon UT
         Pero ENaC id




     Was this article helpful?     di Yes        No




                                                                                                                         DR URC id
          Ce             Cucc ae



Document title: How do I play DraftKings Casino games? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405146626963-How-do-I-play-DraftKings-Casino-games-US
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:57 GMT                                                                                                   Page 1 of 2
    your hand. Not sure which game is right for you?                                                                    Derr ee eeu ce
               Case 3:25-cv-01143-GC-JTQ Document 1-5 Filed 02/10/25                                            Page 352 of 443 PageID:
    Check our DraftKings Casino Education Hub for rules, tips, and strategies.1250

    DraftKings Casino 101
     Per RON ENA ICerTE
       Pea RONEVasIeCeraria4
     Per URCONEN ACI
       How to play Video Poker                                                           pn
      Prater                                                                    lean
       How to play Spanish 21                                                     we
       How to play Live Dealer Games
                                                                                        [es
       Per RCoM Nae
       PeaaoNEY Reet)


       How to play Wheel of Fortune
       Pero ENaC id




     Was this article helpful?   di Yes         No




        ERNE          Rca                                                                                 Sr
       Mall                                                                                               Ore EC       eee     ed
          tei
        Paros                                                                                             Cae
        Cem Ese                                                                                           Peery


                                                                                                         ---}           Pete ey etd




Document title: How do I play DraftKings Casino games? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405146626963-How-do-I-play-DraftKings-Casino-games-US
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:57 GMT                                                                                    Page 2 of 2
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 353 of 443 PageID:
                                     1251




                            Exhibit 60
  Be         aa                   eed                                                                                                    Dm                      and          Subscribe Now   |(Reine
                   Case 3:25-cv-01143-GC-JTQ                                Document 1-5 Filed 02/10/25                                         Page 354 of 443 PageID:
                                                                             uPen govt 1252| SUN 13004                                        14-3           PHI
                                                                                                      |
           WATCH        GAMES ~   NEWS~       TEAMS ~   STATS ~            SUPER BOWL LIX                                                      NFL Pro”   Tickets7 OnLocation *       Shop*                 Sign in



                                                                                                                                         reletd Nol ied



                                                                                                                                                                   Team Schedule
    YOUR GAME GUIDE

     WAYS TO WATCH                                                                 WILD CARD
                                                                                    WEEKEND
                                                                                                               DIVISIONAL
                                                                                                               PLAYOFFS
                                                                                                                                                CONFERENCE
                                                                                                                                              CHAMPIONSHIPS             SUPER       BOWL                         >
    Get a personalized view of the NFL schedule based                              JAN. 8 - JAN. 15           JAN. 15 - JAN. 22                JAN. 22
                                                                                                                                                     - JAN. 28            JAN. 28 - JUL. 30
    on your location and services so you never miss a
    game this season.
    Where do you live?                                            NATIONAL AND LOCAL GAMES
       @ 20187 (Warrenton, VA)

    How do you watch?
                                       =                                  games are available tionally or within your local market. TI er are a varlety of ways to ace:
                                                                     u bject to change.
                                                                                                                                                                                                Gar



     sl all serv      f                                           MATCHUP                                                         DATE                           TIME                         NETWORK
    TV/ CABLE
                                                                   (® CHIEFS               vs @@ EAGLES                           SUN FEB. 9                     11:30 PM UTC                         Fox

                          © Provider
          ecs mn           OK     Qe

     STREAMING SERVICES                                             CONNECT TV & STREAMING ACCOUNTS
                                                                     Log     in to your TV and streaming providers for more detaile           me access and to stream games
             ws                           a                                                                                Perea eC

             peacock!                     Ponese?

                                                                  © TV/CABLE
            esrne                         rime video
                                                                    TV providers include over the alr broadcasts, YouTube TV, DirectTV,           XFinity, Spectrum, Hulu, Dish, Sling, Fios, Fubo,
                                                                    Optimum etc. Selecting "TV Provider" assumes access to Fox, CBS, NBC, ABC, ESPN and NFL Network. Connect your
                                                                    account for game      availability based on your specific tv provider subscription
              NETFLIX

                                                                  © FLEXIBLE SCHEDULING
                                                                    During the NFL's Flex Scheduling Windows, games initially scheduled for Sunday Night Football (on NBC), Monday Night
                                                                    Football (ESPN or ABC), and Thursday Night Football (on Amazon Prime) are tentatively scheduled and subject to change.


                                                                  © TBD GAMES
                                                                                                                                                y. Specific dates and start times for the
                                                                                                                     mined and announced at a later date during the season. For Week 18, the final
                                                                                                       cheduling
                                                                                                               of the Saturday, Sunday afternoon, and the Sunday night games Is not assigned
                                                                      The            e for Week 18 will be announced at the conclusionc         17.




Document title: Ways to Watch post-4 | NFL.com
Capture URL: https://www.nfl.com/ways-to-watch/by-week/post-4
Capture timestamp (UTC): Mon, 03 Feb 2025 21:44:35 GMT                                                                                                                                           Page 1 of 2
  Bee ee                                                                                                                     NFL+         NFLREDZONE     NFLNETWoRK = (EXISNTINTNY
                  Case 3:25-cv-01143-GC-JTQ                            Document 1-5 Filed 02/10/25                                             Page 355 of 443 PageID:
   lif) © WATCH         GAMES ~ NEWS        TEAMS v   STATS v          SUPER BOWL LIX 1253                                                   NFL Pro”   Tickets 7   OnLocation *   Shop            gn in

                                                                                                                             Perea eC




                                                                 TV/ CABLE
                                                                 TV providers include over the alr broadcasts,          YouTube TV, Direct                 ectrum, Hulu, Dish, Sling, Fios, Fut
                                                                 Optimum etc. Selecting "TV                          sumes access to FC                       ESPN and NFL Network. Connect your
                                                                account for       game availability                  sur specifictv provider
              NETFLIX

                                                                © FLEXIBLE SCHEDULING
                                                                  During  the NFL's Flex Scheduling Windows, games         initially scheduled for Sunday Night Football (on NBC), Mor
                                                                  Football       (ESPN or ABC), and Thursday Night Football (or           n Prime) are tentatively scheduled and subje


                                                                 TBD GAMES
                                                                  In Week 17, three of five designated matchups will be played on       Saturday.   Specific dates     andstart times for the
                                                                    designated Week 17 matchups will be determined and announced at a later date during            the season. For Week 18,tl
                                                                   weekend   of the season, the scheduling of the    Saturday, Sunday afternoon, and the Sunday       night games Is not a:
                                                                       e schedule
                                                                             for Week 18 will be announced at the                conclu




                          B
                          on”

  Ue         ac                  Pram rey                        a                                           IIE                                    Ce                              Una
  Ta                             eran)                           Name                                        Dime)                                  Nm         ac
                                                                 eee
  Daag                           In the Community                                                       ICs eReny                                        eae   ua
                                                                 NS
  Terms & Conditions             Inspire Change                                                          Record & Fact Book                        Nm
                                                                 NSM                                                                               eo to
  Set aT S                       NFL HBCU                                                                    Tat
   er ors                                                        Coe                                                                                NEMS Re
                                       ge LonvTy                                                             Pi)
  Perey                                                             reese
                                 Comet                           eu
     Tele}
                                 oe                                     rte
  Sayeed
                                 Name)                           Ngee Lecy
        eS                                                       onsen)
  Sra                                                            Dea
                                                                 Deca
                                                                 Dee
                                                                 Cnet
                                                                 Activate - CTV




   ra                                                                                              © 2025        NFL Enterprises LLC. NFL and the NFL shield design are registered trademarks of the
                                                                                                   National Football League. The team names, logos and uniform designs are registered trademarks
                                                                                                   of the teams indicated. All other NFL-telated trademarks are trademarks of the National Football
   fegdexo                                                                                         League.       NFL footage © NFL Productions LLC.




Document title: Ways to Watch post-4 | NFL.com
Capture URL: https://www.nfl.com/ways-to-watch/by-week/post-4
Capture timestamp (UTC): Mon, 03 Feb 2025 21:44:35 GMT                                                                                                                                       Page 2 of 2
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 356 of 443 PageID:
                                     1254




                            Exhibit 61
                             Bnaz
        Ga
         Case 3:25-cv-01143-GC-JTQ                                      Document 1-5 Filed 02/10/25                                   Page 357 of 443 PageID:
  oD            Pa     A    Scr                                                  1255 LS
                     HOWTO BET        POOLS           Bol aea aR}                       Ce         Uatciee)s           GENERAL BETTING RULES        Rel aa Un)

                                              General
                                               . Introduction
             General Rules
                                                  These Draftkings Sportsbook House Rules (the "Rules”), as well as the DraftKings Sportsbook Terms of Use located at
             Market Rules                     www. sportsbook. draftkings.com/legal/va-terms-of-use (the Terms") govern your use of the DraftKings Sportsbook while you
                                               are physically located in the Commonwealth of Virginia. When placinga bet on the DraftKings Sportsbook, the Authorized
                                               Account Holder agrees that the Authorized Account Holder has read, understands, and will adhere to these Rules, as well as,
             Sport Specific Limits                the Terms at the time of the bet placement.
                                          N       The use of this Sportsbook is subject to the regulations imposed by the Virginia Lottery.
                                                  Draftkings reserves the rightto make changes to the site, betting limits, payout limits and market offerings at any time, in its
                                                  sole and absolute discretion.
                                                  Draftkings may update, amend, edit, and supplement these Rules and the Terms at any time, in its sole and absolute
                                          *




                                                  discretion.
                                                  Any reference in these Rules to words/objects that appear in singular also applies to plural. References to gender are non-
                                                  binding and to be treated for information purposes only.
                                                  Definitions
                                              x




                                                  “Error” Is a mistake, misprint, misinterpretation, mishearing, misreading, mistranslation, spelling mistake, technical hazard,
                                                  registration error, transaction error, manifest error, force majeure and/or similar. Examples of errors include, but are not
                                                  limited to:

                                                  1 . bets accepted during technical problems that would otherwise not have been accepted;
                                                  2. bets placed on events/offers that have already been decided;
                                                  3. bets on odds containing incorrect participants;
                                                  4. bets placed at odds that are materially different from those available in the general market at the time the bet was
                                                    placed;
                                                  5. bets offered at odds which reflect an incorrect score and/or situation; or
                                                  6. odds being clearly incorrect given the chance of the event occurring at the time the bet was placed.
                                                  "Pushes are when wagers are refunded due to a tied outcome. Referencesto “Push Rules" indicate that, for the associated
                                          N




                                                  market, ties will result in a refund of the wager amount as opposed to a win or loss.
                                                  “Influence Betting” is an act, prohibited by DraftKings, where an Authorized Account Holder, or parties acting in association
                                                  with an Authorized Account Holder, can influence the outcome ofa game or an event- directly or indirectly.
                                                  "syndicate Betting" Is an act, prohibited by Draftkings where Authorized Account Holders act together to place a series of
                                          *




                                                  bets on the same event or competition
                                                  Where there is evidence of Authorized Account Holders acting together in this manner Draftkings reserves the rightto make
                                                  the relevant bets void and/or withhold payment of returns pending the outcome of subsequent investigations.
                                               . Bet Acceptance
                                          »




                                                  A bet is not valid unti it is validated and shows in the Authorized Account Holder's bet history. In cases of uncertainty about
                                                  the validity of a bet, the Authorized Account Holder is requested to check his/her open (pending) bets, or contact Customer
                                                  Service.

                                                  Unless accepted in Error, once accepted, a bet will remain valid and cannot be withdrawn by you. It is the responsibility of
                                          N




                                                  the Authorized Account Holder to ensure details of the bets placed are correct.    Under no circumstance will DraftKings
                                                  accept any responsibility for any mistakes (perceived and actual), deriving from either Errors or any other reason, such as,
                                                  but not limited to, incorrect listing of the odds/betting objects.
                                                  Should a dispute arise about the acceptance (or lack thereof) of any transaction in the Authorized Account Holder's account,
                                                  the transaction log database will be the ultimate authority in deciding such matters.
                                               . Betting and Payout Limitations
                                                  The minimum bet amount is ten cents ($.10). Draftkings reserves the right to limit the maximum bet amount such that the
                                                  net payout (the payout after the wager amount has been deducted) on any bet or combination of bets by one Authorized
                                                  ‘Account Holder does not exceed {$500,000}. This limit may be lowered by Draftkings in Draftkings’ sole discretion. For
                                                  further information it is recommended to consult the Sport Specific Limits.                                                             ?




Document title: General Rules | DraftKings Sportsbook
Capture URL: https://sportsbook.draftkings.com/help/general-betting-rules/general-rules
Capture timestamp (UTC): Mon, 03 Feb 2025 21:49:08 GMT                                                                                                                               Page 1 of 6
                                            1. The minimum bet amount is ten cents ($.10). Draftkings reserves the right to limit the maximum bet amount such that the
               Case 3:25-cv-01143-GC-JTQ
                                  net payout (the payoutDocument         1-5 has Filed
                                                         after the wager amount               02/10/25
                                                                                      been deducted)  on any bet or Page     358
                                                                                                                    combination       of by443
                                                                                                                                  of bets          PageID:
                                                                                                                                            one Authorized
                                                                          1256
                                  ‘Account Holder does not exceed {$500,000}. This limit may be lowered by Draftkings in Draftkings’ sole discretion. For
                                                further information it is recommended to consult the Sport Specific Limits.
                                            2. All bet selections are subject to pre-imposed limits set solely at Draftkings' discretion which may be lower than the limits
                                               mentioned in the Sport Specific Limits and/or mentioned elsewhere on Draftkings’ platform. Should this limit be reached,
                                               the Authorized Account Holder has the rightto ask for it to be exceeded by means of a request effected through Draftkings’
                                                platform. DraftKings reserves the right to accept (fully or partially) or reject the said request without any prior notice and
                                               further explanation,
                                            3. Draftkings reserves the right to decline or void, in its sole discretion, all, or part of, any bet requested. This includes the
                                               possibilitythat a "System bet" Is not accepted in full, either in terms of wagers or combinations included in said "System
                                                bet".

                                            4. Draftkings reserves the right to restrict or deny access, in whole or in part, to your user account, at Draftkings’ own
                                               discretion.
                                            5. All bets placed through any Draftkings platform, including but not limited to bets requesting manual approval, may be
                                               subject to a time delay prior to acceptance, the length of which may vary. Such delay is to be determined by Draftkings in its
                                                sole discretion.

                                            6. Draftkings reserves the right to withhold payment and/or to declare bets void on an event (or series of events), if Draftkings
                                               determines, in its sole discretion, that any of the following has occurred:
                                               1. the integrity of the event has been called into question;
                                               2. the price(s) or pool has been manipulated;
                                               3, Game-rigging has taken place, or the game is under investigation for such; or
                                               4, Any other occurrence that, in the reasonable discretion of DraftKings, would tend to show that the event (or series of
                                                  events) was unduly influenced by factors outside of the event (or series of events) itself; or
                                               5, Results/outcomes need to be further ascertained with a third-party organization, including but not limited to the
                                                   organizing association and/or the relevant Regulatory body.

                                                    Evidence of the above may be based on the size, volume or pattern of bets placed with Draftkings across any or all of
                                                    its betting channels, as well as information received from other betting providers or officially recognized organizations
                                                All odds offered are subject to variation. Such fluctuation is determined by Draftkings in its sole discretion. Bets are
                                          x




                                                accepted only at the odds available in the betting grid at the time the bet offer is accepted by DraftKings, without regard to
                                                any other claim or previous publication present on the website or any other media detailing otherwise.
                                                All payout calculations when settling bets will be done based on American odds, irrespective of any other format
                                          %




                                                displayed/chosen at the time of bet placement.
                                                The official result is final for settlement purposes except where specific rules state the contrary. The podium position ina
                                          ro




                                                motor race, the medal ceremony in athletics and any similar official ceremony or presentation in other sports are to be
                                                treated as the official result.
                                           10. You may withdraw payments as well as cash deposits by using the "withdrawal” option on the website.
                                                Cancellation (Voiding) of Bets
                                                When an event Is cancelled prior to starting, all related bets will be void and accounts refunded.
                                               If any game is abandoned due to injury, bad weather, crowd trouble etc. all bets that have already been settled up until the
                                          N




                                                time of abandonment     will stand. For example: If a football game is abandoned in the second half, all bets involving the 1st
                                               half will stand. What's more, if a touchdown has been scored, the first touchdown scorer market will stand, but the last
                                                touchdown scorer bets will be void. For tennis: ifa player retires injured in the 3rd set, all bets to win the 1st and 2nd sets
                                                will stand,
                                                A bet made as a parlay, except made as a Same Game Parlay, shall remain valid notwithstandinga game or an event which
                                                Is part of the parlay bet being void
                                                Draftkings reserves the right, at its own discretion, to declare a bet void, totally or partly, irrespective if the bet is settled, if it
                                          s




                                                is obvious that any of the following circumstances have occurred:
                                                 1. Bets have been offered, placed and/or accepted due to an Error;
                                                2. Bets placed while the website was encountering technical problems, that would otherwise not have been accepted;
                                                3. Influence Betting;
                                                4, Syndicate Betting;
                                                5. A result has been affected by illegal activity- directly or indirectly;
                                                6. An announcement has occurred in relation to the bet which alters the odds, such announcement occurring after the
                                                                                                                                                                                                _




Document title: General Rules | DraftKings Sportsbook
Capture URL: https://sportsbook.draftkings.com/help/general-betting-rules/general-rules
Capture timestamp (UTC): Mon, 03 Feb 2025 21:49:08 GMT                                                                                                                                      Page 2 of 6
                                  4, Syndicate Betting; Document 1-5
               Case 3:25-cv-01143-GC-JTQ                                                 Filed 02/10/25                            Page 359 of 443 PageID:
                                  5. Aresult has been affected by illegal activity-
                                                                            1257    directly or indirectly;
                                               6. An announcement has occurred in relation to the bet which alters the odds, such announcement occurring after the
                                                  posting of the affected betting market and bets being placed on the affected event in a manner that would tend to.
                                                  show that the announcement affected the way that end users chose to bet.
                                               7.When a Customer places multiple copies of the same bet or places a number of bets that contain the same single
                                                  selection, When this occurs, all bets may be voided apart from the first bet struck. An example would be where one
                                                  particular selection is repeatedly included in multiple bets involving other short-priced selections; or
                                               8, Where there Is evidence of a series of bets each containing the same (or very similar) selection(s) having been placed by
                                                  the same individual or syndicate of individuals.
                                               Draftkings reserves the right to void any bet that may have been accepted when the account did not have sufficient funds to
                                               cover the bet. if an account has insufficient funds as a result ofa deposit that has been cancelled by the payment processing
                                               party, Draftkings reserves the right to vold any bet that may have been accepted retroactively.
                                               A bet made as a parlay, except made as a Same Game Parlay, shall never include two or more offers where the outcomes of
                                               which might turn out to be related (e.g. Team X to become champions and PlayerY to be Top Goal Scorer in the same
                                               league). Although Draftkings takes reasonable steps to prevent such possibilities, in the eventuality    that this would happen,
                                               Draftkings reserves the right, solely at its own discretion, to declare void all parts of the accumulative/parlay bet which
                                               include the correlated outcomes.
                                               Bets can be voided regardless of whether the event has been settled or not.
                                          x




                                               Furthermore, all bets placed (and/or accepted) in the following circumstances will be declared void:
                                          %




                                               1. Pre-game betting
                                                  1, Betting effected after the event has started; or
                                                 2, Betting effected aftera related event was underway and where conditions could have been altered in a direct and
                                                    indisputable way.
                                               2. Live betting
                                                 1. Betting effected at incorrect price due to delayed or failing ‘Live’ coverage;
                                                 2. Betting effected on particular offers after these have occurred, or else after an event which could normally be
                                                    deemed as leading to the outcome has happened or is happening (e.g, bets placed on offers such as Total Goals
                                                    Scored or Next Goal while a penalty Is being taken, or has been awarded); or
                                                  3. Betting effected on odds which represented a different score than the actual score
                                             Disclaimer and Priority
                                           2




                                               Draftkings reserves the right, at its own discretion, to adjust a payout credited to an Authorized Account Holder's balance if
                                               it is obvious that the payout has been credited to the Account due to an Error.
                                               In order to adjust any inaccuracy in the Authorized Account Holder's balance following amounts credited due to an Error,
                                          N




                                               DraftKings reserves the right to take any necessary action, without prior notice and within reasonable limits, to adjust the
                                               Authorized Account Holder's balance through the reversal, amendment or cancellation, of any subsequent transaction on
                                               the Authorized Account Holder's account.

                                               Ifyou have a complaint regarding the Draftkings Sportsbook, please contact us directly at sportsbook@draftkings.com, and
                                               we will notify you of the disposition of any complaint within ten (10) calendar days of Draftkings receipt of your complaint.
                                               To the extent that any complaints you submit are not resolved to your satisfaction, you may submit the complaintto the
                                               Virginia Lottery in accordance with the Virginia Lottery’s Sports Rules and Regulations. You consentto have Draftkings
                                               monitor and record any communications you have with Draftkings.
                                            4, DraftKings reserves the right to suspend access to your account while any complaints are being resolved.
                                               These Rules are applicable to all transactions with DraftKings Sportsbook and may be supplemented at any time in
                                               Draftkings' sole discretion. In the event that any of these Rules conflict with the Terms, the Terms shall govern.
                                               In cases where it deems that these Rules are inconclusive, DraftKings reserves the right, according to its own discretion, to
                                               settle offers on an individual basis on the basis of equity, attaining itself to generally accepted betting norms, customs, and
                                               definitions.

                                               Any data provided or accessible in, from or related to the Sportsbook may be used by the Authorized Account Holder for
                                          x




                                               private, non-commercial use only and any use or attempted use of such data for commercial purposes Is strictly prohibited.
                                            8. Draftkings has the rightto enforce any of these Rules against any Authorized Account Holder in Draftkings sole and absolute
                                               discretion.
                                            9, Any winnings are automatically credited to the patron's account after the wager Is settled.
                                            7. Common Terms of Reference
                                                                                                                                                                                      _




Document title: General Rules | DraftKings Sportsbook
Capture URL: https://sportsbook.draftkings.com/help/general-betting-rules/general-rules
Capture timestamp (UTC): Mon, 03 Feb 2025 21:49:08 GMT                                                                                                                            Page 3 of 6
                                            8. DraTtKings nas the rignt to enrorce any or these Kules against any Autnorizea ACcoUNt Holder In Lrartkings sole ang apsoiute
                                               discretion.
               Case 3:25-cv-01143-GC-JTQ                            Document 1-5                    Filed 02/10/25                  Page 360 of 443 PageID:
                                            9, Any winnings are automatically credited 1258
                                                                                       to the patron's account after the wager Is settled.
                                            7. Common Terms of Reference
                                            1. Unless listed either in conjunction with the odds, the sport-specific rules, the Market Rules or the specific bet terms, all bets
                                               should be considered valid for the result at the end of the "Regular Time" or "Full Time” only. "Regular Time" or "Full time" Is
                                               defined as interpreted by the official rules published by the respective governing association. For example, in soccer, full
                                               time is stipulated to be 90 minutes including injury time, and in hockey it is stipulated as the three 20-minute periods,
                                               Should the governing association decide to stipulate, before the start of the event, that the sald event is to be played over a
                                               different duration, this will be treated as being the official rules for the event (for example, Under 17 football played with two
                                               40-minute halves). Nonetheless, such occurrence is limited to the “regular” playing time and does not include any
                                               prolongation such as extra time or overtime, unless explicitly stated.
                                               "Live betting” is where it Is possible to bet during an ongoing game or event. Draftkings does not acknowledge or accept any
                                          N    liability whatsoever if it not possible to place a bet or the live score update Is not correct. At all times it Isthe Authorized
                                               Account Holder's responsibility to be aware of the game and the events surrounding it such as the current score, its
                                               progression and how much time remains before the game is completed. Draftkings does not accept any liability for changes
                                               to the Live betting schedule or interruption of the Live betting service.
                                               The ‘Cash Out' function allows the Authorized Account Holder the possibility to redeem a bet, which status has not been
                                               settled yet, ata value specified by Draftkings at the time the Cash Out is offered. It is available on selected events both in
                                               pre-game and live, as well as on both single and parlay bets. Cash Out functionality cannot be used on free or bonus bets.
                                               Cash Out requests might be subject to an imposed delay. Should it happen that during this delay, for whatever reason,
                                               either the offer is removed or odds fluctuate, the Cash Out request will not be accepted and the Authorized Account Holder
                                               will be notified with an on-screen message. DraftKings reserves the right to offer such functionality solely at its own.
                                               discretion and does not acknowledge or accept any liability whatsoever if the Cash Out functionality is not available. Should
                                               a Cash Out request be successful, the bet will be settled immediately and any subsequent events which occur in relation
                                               with the bet will not be taken into account. In the instance of a cashed-out bet having suffered from a technical, pricing or
                                               settlement error at any time between the time of original placement and the cash out, DraftKings reserves the right rectify
                                               such inaccuracy in DraftKings’ sole discretion.
                                            4. The "Participant" is an object constituting part of an event. In "Head-to-Head" and "Triple-Head” the Participant only refers to
                                               objects that are subject to the "Head-to-Head" or "Triple-Head” event in question.
                                            5. The deadline (cut-off time) shown on the website Is to be treated for information purposes only. DraftKings reserves the
                                               right, at its own discretion, to suspend, partially or completely, the betting activity at any time DraftKings deems necessary.
                                            6. Statistics or editorial text published on DraftKings' site are to be considered as added information but Draftkings does not
                                               acknowledge or accept any liability whatsoever if the information Is not correct. At all times it is the Authorized Account
                                               Holder's responsibilityto be aware of all relevant circumstances relating to an event.
                                            7. In case of any conflict between these Rules and language in a bet slip, the language in a bet slip will prevail. in the event of a
                                              conflict within these Rules, the conflict shall be resolved by giving precedent in the following order, from highest precedent
                                               to lowest: () the Sport Rules; (i) the Market Rules; and (I) the General Rules. In the event any language within the Olympics
                                               section of the Sport Rules conflicts with any other language within the Sport Rules, the language within the Olympics section
                                              of the Sport Rules shall take precedent.
                                            8, Prohibited Sports Wagering Participant
                                            In addition to how “prohibited sports bettor” Is defined in the Terms of Use, a “prohibited sports bettor” shall also include any
                                            excluded or voluntarily-excluded person and any of the following individuals
                                               An individual who is under the age of 21;
                                               Any employee of, or appointee to, the Virginia Lottery or the Virginia Lottery Board;
                                          N




                                               Employees of a sports betting operator are prohibited from creating an internet sports betting account and placing an
                                               Internet sports betting wager with the sports betting operator for which he or she is employed unless using test account;
                                               Employees of an internet sports betting platform provider are prohibited from creating an internet sports betting account
                                          s




                                               and placing an internet sports betting wager with the sports betting operator for which the internet sports betting platform
                                               provider supplies the internet sports betting platform unless using test account;
                                              Licensees and   applicants are prohibited from placing wagers with the sports betting operator or internet sports betting
                                               platform provider for which they are employed or for which they had to qualify;
                                               Individuals not located in the Commonwealth of Virginia;
                                               An individual with access to non-public/exclusive information related to an event or an individual who may impact the
                                          x




                                               outcome of an event or wager type Is prohibited from wagering on any event overseen by the relevant sports governing
                                               body;
                                               Athletes, coaches, managers, owners and anyone with sufficient authority to influence the outcome of an event are
                                          %




                                               prohibited from wagering on events overseen by the relevant sports governing body;
                                                                                                                                                                                        _




Document title: General Rules | DraftKings Sportsbook
Capture URL: https://sportsbook.draftkings.com/help/general-betting-rules/general-rules
Capture timestamp (UTC): Mon, 03 Feb 2025 21:49:08 GMT                                                                                                                              Page 4 of 6
                                              outcome of an event or wager type Is prohibited from wagering on any event overseen by the relevant sports governing
               Case 3:25-cv-01143-GC-JTQ
                                  body;                            Document 1-5 Filed 02/10/25 Page 361 of 443 PageID:
                                                                                     1259
                                              Athletes, coaches, managers, owners and anyone with sufficient authority to influence the outcome of an event are




                                          %
                                              prohibited from wagering on events overseen by the relevant sports governing body;
                                              Employees of a sports governing body or its members teams are prohibited from wagering on any event overseen by the
                                              relevant sports governing body;
                                           10. Owners of a sports governing body or member team are prohibited from wagering on any event overseen by the sports
                                               governing body or any event in which a member team of that sports governing body participates;
                                           11. An individual on a list provided by a team or sports governing body may be prohibited from wagering on any event overseen
                                               by the relevant sports governing body;
                                           12. Individuals wagering in violation of state or federal law;
                                           13. An individual that has signed up for statewide self-exclusion; and
                                           14, An individual whose participation may undermine the integrity of the wagering or the sports event or who Is excluded from
                                               wagering for other good cause, including but not limited to, an attemptto place a wageras an agent or a proxy.
                                           If any bets are placed by any prohibited sports wagering participants, such bets shall be cancelled and refunded.
                                            9. Prohibited Sports Wagering Events And Wagers

                                            Prohibited sports wagering events and wagers include:
                                              Wagering on horse racing authorized by Chapter 29 (§ 59.1-364 et seq.) of Title 59.1
                                               Any event played by individuals  that are at the high school level or below unless the majority of participants in the event are
                                          N




                                               18 years of age or older.
                                            3, Roulette, poker, blackjack, a card game, a dice game, or any other game or contest typically offered in a casino other than
                                              sports betting.
                                            4. A fantasy contest.
                                            5. Any proposition wager placed on any type of possible injury, unsportsmanlike conduct, or any other officiating call
                                              Any proposition bet on college sports.
                                              Any bet on college sports for colleges/universities located in the Commonwealth of Virginia.
                                          x




                                              Any event category, event, or wager type prohibited by the Lottery or by state or federal law.
                                          %




                                            10. Methods of funding a wager
                                            Sports Wagers may be funded through multiple options, including, without limitation, customer deposits and site/promotional
                                            credits. Deposits can be made through Debit Cards, Online Banking, PayPal, Play+ Cards, Bank Wire Transfers, Cash at Retall, and
                                            approved Gift Cards, and may include any other method approved by the Virginia Lottery.
                                            11. Dead Heat Reduction
                                            1. In the event a bet sees two or more competitors tied for the same winning position (accordingto the terms of the bet), the
                                               "Dead Heat Reduction ("DHR") rules” apply.
                                              A"Dead Heat Reduction" Is calculated by dividing the odds proportionally among the number of winners fora particular
                                          N




                                              position (i.e. finishing place) in the event. For example, in a two-way tle aka ‘Dead Heat’, your return would be half of what
                                              was originally projected in the bet slip at the time of bet placement
                                              1. Example (all calculations should use decimal odds):
                                                 1. You bet $50 wager on a golfer to have the best score among a group of 3 at +150 (2.5) odds.
                                                 2. The event ends with two golfers tying for the best score in the group.
                                                 3. 2.5 (original odds)+ 2 (number of participants who tied) = 1.25 (DHR odds)
                                                 4, $50 x 1.25 = $62.50 payout
                                              "Dead Heat Reduction” involvinga bet with more than one finishing position (e.g. Top 10) is calculated as follows:
                                              1, Divide the number of participants who tled by the number of remaining finishing positions.
                                              2, Divide your original odds by the result of the calculation immediately above to find the new odds.
                                              3. Example (all calculations should use decimal odds):
                                                 1. You bet $50 wager on a golfer to place in the Top 10 at +200 (3.0) odds.
                                                 2. The event ends with the golfer tying for 8th place with 5 other golfers.
                                                 3. 6 (tied participants) + 3 (8th, 9th & 10th) = 2.0,
                                                                                                                                                                                      _




Document title: General Rules | DraftKings Sportsbook
Capture URL: https://sportsbook.draftkings.com/help/general-betting-rules/general-rules
Capture timestamp (UTC): Mon, 03 Feb 2025 21:49:08 GMT                                                                                                                            Page 5 of 6
                                                 18 years ot age or older.
                                  Roulette, poker, blackjack,
               Case 3:25-cv-01143-GC-JTQ                      a card game, 1-5
                                                        Document           a dice game,Filed
                                                                                        or any other game or contestPage
                                                                                               02/10/25              typically 362
                                                                                                                               offered of
                                                                                                                                       in a 443
                                                                                                                                            casino PageID:
                                                                                                                                                   other than
                                  sports betting.                          1260
                                                 A fantasy contest.




                                           *
                                                 Any proposition wager placed on any type of possible injury, unsportsmanlike conduct, or any other officiating call
                                                 Any proposition bet on college sports.
                                                 Any bet on college sports for colleges/universities located in the Commonwealth of Virginia.




                                           x
                                                 Any event category, event, or wager type prohibited by the Lottery or by state or federal law.




                                           %
                                            10. Methods of funding a wager
                                            Sports Wagers may be funded through multiple options, including, without limitation, customer deposits and site/promotional
                                            credits. Deposits can be made through Debit Cards, Online Banking, PayPal, Play+ Cards, Bank Wire Transfers, Cash at Retall, and
                                            approved Gift Cards, and may include any other method approved by the Virginia Lottery.
                                            11. Dead Heat Reduction
                                            1. In the event a bet sees two or more competitors tied for the same winning position (accordingto the terms of the bet), the
                                               "Dead Heat Reduction ("DHR") rules” apply.
                                            2. A"Dead Heat Reduction" Is calculated by dividing the odds proportionally among the number of winners fora particular
                                                 position (i.e. finishing place) in the event. For example, in a two-way tle aka ‘Dead Heat’, your return would be half of what
                                                 was originally projected in the bet slip at the time of bet placement
                                                 1. Example (all calculations should use decimal odds):
                                                   1. You bet $50 wager on a golfer to have the best score among a group of 3 at +150 (2.5) odds.
                                                   2. The event ends with two golfers tying for the best score in the group.
                                                   3. 2.5 (original odds)+ 2 (number of participants
                                                                                                 who tied) = 1.25 (DHR odds)
                                                   4, $50 x 1.25 = $62.50 payout
                                            3. A"Dead Heat Reduction” involvinga bet with more than one finishing position (e.g.          Top 10) Is calculated as follows:
                                                 1. Divide the number of participants
                                                                                  who tied by the number of remaining finishing positions.
                                                 2. Divide your original odds by the result of the calculation immediately above to find the new odds.
                                                 3. Example (all calculations should use decimal odds):
                                                   1. You bet $50 wager on a golfer to place in the Top 10 at +200 (3.0) odds.
                                                   2. The event ends with the golfer tying for 8th place with 5 other golfers.
                                                   3. 6 (tied participants) + 3 (8th, 9th & 10th)) = 2.0
                                                   4, 3.0 (original odds)+ 2.0 (new odds) = 1.5 (DHR odds)
                                                   5, $50 x   1.5 = $75 payout



  Peete                      og                                 Rel
                                                                 aes Lledo                         BETTING GUIDES                 Tete
   Ceca                      Pei                                DM                                         To Be                  Tere
                             eT                                                                            Ree                    PoP rac
    id                       Mobile Apps                        TIL                                         Bec)                  Eee
                             Affiliates                         rete                                    eee                       02116
                             CeCe)                              Omer                               CeCe
                             Cea                                      rE                           Dee ea                        New Jersey Office
                                                                       rrr                              eas                       Toy
                                                                Stel                               Ce asc                         oom)
                                                                 ollege    Basketbal Odds          Coke ee                        0703
                             Deena ea       ee                   Te ern                           How to Bet on NASCA\
                              eres]                             PELL Ey                                                           rae
                             PrN                                  eer
                             Dee een                            DME
                             Pernod                                                                                               Emer cy
                                                                                                                                  a




Document title: General Rules | DraftKings Sportsbook
Capture URL: https://sportsbook.draftkings.com/help/general-betting-rules/general-rules
Capture timestamp (UTC): Mon, 03 Feb 2025 21:49:08 GMT                                                                                                                            Page 6 of 6
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 363 of 443 PageID:
                                     1261




                            Exhibit 62
              seach
          = 3:25-cv-01143-GC-JTQ
   MediumCase                                                     Document 1-5 Filed 02/10/25                   Page 364  wie443ERED
                                                                                                                       ZG of           sonin
                                                                                                                                 PageID:
                                                                           1262


                                       Intro — Sports Intelligence @
                                       DraftKings
                                                Robin Mohseni -    Follow
                                            “B.Published
                                                 in Draftkings Engineering - 7minread - Jul14, 2028




                                       Co-written by Ian Dorward, Prashant Singh and Robin Mohseni


                                       At DraftKings, we have a proven track record of providing our customers
                                       with a world-class sports betting experience. We are proud to present our
                                       newly established Sports Intelligence team, aimed at redefining the sports
                                       betting landscape through innovation, expertise and cutting-edge
                                       technology. With a focus on delivering the best sports betting content in the
                                       industry, our dynamic team comprises two major units: Sports Data
                                       Engineering and Sports Data Science.


                                       Sports Data Engineering: Laying the Foundation for Success
                                       The Sports Data Engineering team plays a pivotal role within DraftKings’
                                       Sports Intelligence division. This highly skilled team is responsible for
                                       creating and curating best-in-class data assets that serve as the building
                                       blocks for the advanced modelling capabilities of the Sports Data Science
                                       team.


                                       Additionally, the Sports Data Engineering team excels in developing robust
                                       model replay features. This powerful tool enables the evaluation and
                                       optimization of sports models by simulating past events, thus assessing
                                       algorithm efficiency under varying conditions. By continuously improving
                                       DraftKings’ sports betting content, these endeavours enhance the overall
                                       customer experience.


                                       Sports Data Science: Driving Innovation in Sports Modelling
                                       The creation of the Sports Data Science team at DraftKings can be traced
                                       back to 2019, when it was originally formed by SBTech before the acquisition
                                       by DraftKings Inc. From the beginning, the team recognized the immense
                                       opportunities to revolutionise sports modelling capabilities across various
                                       sports, starting with the fundamentals. Initially focused on the US betting
                                       market, the team quickly embarked on rebuilding major sports, particularly
                                       football and basketball, and expanded to cover all major sports.




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                         Page 1 of 10
                              sports, starting with the fundamentals. Initially focused on the US betting
               Case 3:25-cv-01143-GC-JTQ            Document 1-5 Filed 02/10/25 Page 365 of 443 PageID:
                              market, the team quickly embarked 1263on rebuilding major sports, particularly
                                       football and basketball, and expanded to cover all major sports.


                                       To provide a behind-the-scenes look at how sports data science is conducted
                                       at DraftKings, our team has been working on a series of articles. We will start
                                       with a short introduction discussing common techniques used and what we
                                       believe sets us apart from the competition.


                                       Understanding “Sports Data Science”
                                       Traditionally, teams like ours in the industry were referred to as ‘Quantitative
                                       Analysis’, ‘Quantitative Development’ or simply ‘Quants’, while ‘Data Science’
                                       was focused on customer intelligence (recommender systems, customer
                                       segmentation and experimentation). The majority of Quants come from a
                                       very strong maths background, working with Trading desks on pricing
                                       models and various trading tools. In our experience, these teams used to
                                       build models in Excel, VBA, R and handover these to other engineering
                                       teams to run the models at scale. Often some of these legacy models had an
                                       Excel front-end (commonly referred to as RoboTraders). More recently,
                                       Quant teams have adopted more common object-oriented programming
                                       languages such as C# or Java to deliver more end-to-end but this Modelling-
                                       to-Engineering hand off for model productionisation still exists to a high
                                       degree.


                                       At DraftKings, we consider ourselves to be a Data Science function. While we
                                       possess strong mathematical skills and collaborate closely with trading
                                       stakeholders, we have made a conscious effort to prioritise being a data-
                                       centric engineering team leveraging the latest machine learning techniques
                                       for sports modelling, capable of shipping machine learning products to
                                       Production.


                                       The UK and Ireland are hotbeds for talent given the mature nature of the
                                       sports betting industry in Europe compared to the US, so the Sports Data
                                       Science team is based in London and Dublin. We have hired team members
                                       from a wide variety of backgrounds whilst also understanding the
                                       importance of domain expertise in this area, amassing decades of sports
                                       modelling experience within the group.




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                    Page 2 of 10
               Case 3:25-cv-01143-GC-JTQ                             Document 1-5 Filed 02/10/25                Page 366 of 443 PageID:
                                                                              1264




                                                                           Photo from a team Golf Day in 2022


                                       Engineering Technology Stack: Powering Innovation through
                                       C#, SQL, Kafka, AWS and Snowflake
                                       Our Engineering team works with a wide ranging technology stack. We
                                       leverage programming languages such as C# and SQL to ingest and
                                       transform raw data and we use the open-source data streaming tool Kafka
                                       for ingesting real-time data feeds. Our cloud infrastructure is deployed on
                                       AWS with robust security measures in place and we persist the data in the
                                        Snowflake Data Warehouse.




                                    Boe
                           Sports
                            ata
                                               optcaton       ‘sa Bociet        aaa         ns




                                     or              abtegs                                                                      Bown
                           oss
                           Data       &
                                               pptcaion       9 Boeke       una           ‘ss                                    ata Science
                                                                                                                        ‘ata
                                                                                                                     Warehouse




                                      cp            ratings
                            Model
                          Replay                              =
                             oe.     @                        a             4
                                     Cloud




                                                                                      Data Architecture




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                         Page 3 of 10
               Case 3:25-cv-01143-GC-JTQ                        Document 1-5 Filed 02/10/25                      Page 367 of 443 PageID:
                                                                         1265
                                                                             Data Architecture



                                       Data Science Technology Stack: Powering Innovation through
                                       Python and Kubernetes
                                       In terms of our technology, the data science team works almost exclusively
                                       in Python. While we conduct extensive research and development in
                                       notebooks, both locally and on Databricks, our models are deployed as
                                       containerized microservices on Kubernetes. This approach ensures stability
                                       and resilience, which are crucial for high-frequency, real-time solutions like
                                       ours. Despite Python's reputation for slower execution, we have worked on
                                       solutions over the years to meet SLAs for calculation speed.


                                       Building Sports Models at DraftKings: The Monte-Carlo
                                       Approach
                                       At DraftKings, the majority of our core models rely on Monte-Carlo
                                       simulation engines. These engines simulate entire games as stochastic
                                       processes, where each state transition is predicted using various machine
                                       learning models. The chosen unit for each state transition varies based on
                                       the sport, aiming to provide the most accurate and extensible products for
                                       our customers, whilst minimising computational latency and complexity.
                                       Our stateless calculations enable easy debugging and historical game
                                       replays.


                                       Embracing MLOps: Achieving Best Practices
                                       We follow MLOps best practices and leverage our ML Platform to facilitate
                                       seamless model deployment. Our ML models reside in a cloud-based ML
                                       model registry, exposed to calculation engines via APIs. During the inference
                                       stage, real-time data feeds and trader inputs are integrated into the
                                       calculation engines to generate the odds that our customers see. We
                                       constantly iterate on the ML models and simulation engines, leveraging new
                                       data sources and new modelling techniques.


                                       Sports Data Science SDLC: Constant Improvement




                                                                   a
                                                                Le) (a)
                                                                pri i aya)                       ETtay 4




                                                  mn                                                            ol
                                           AV Ceti ced etal 4                                              eee
                                                                                                             Te Cla)




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                     Page 4 of 10
               Case 3:25-cv-01143-GC-JTQ                              Document 1-5 Filed 02/10/25                                 Page 368 of 443 PageID:
                                                                               1266
                                            Monitoring                                                                    eee
                                                                                                                            Te Cla)




                                            prt        ul ls                                                              Preparation
                                                                                                                            ro,




                                                                     Evaluation                       Yo) IVES Coda)

                                                                                                          @
                                                                     Sports Data Science Software Development Lifecycle

                                       The high-level calculation engine lifecycle is as follows, and includes
                                       iterative loops at many levels. It combines many of the traditional aspects of
                                       a data science SDLC, whilst also building in domain-specific steps.


                                        1. Work closely with Product and other stakeholders to clearly define the
                                             problem statement and requirements

                                            . Carry out exploratory data analysis and ideation using data curated by
                                       NN




                                             the Sports Data Engineering team in our best-in-class Sports Data
                                             Warehouse

                                            . Perform feature engineering, set up training pipelines and validate
                                       w




                                             results

                                            . Encode sport logic into play-by-play or time based simulations
                                      -




                                            . Integrate into our real-time streaming architecture
                                       ow




                                            . Use simulation results to calculate probability distributions and markets
                                       a




                                            . Add margin to markets based upon configuration and margination
                                       “I




                                             algorithms

                                            . Propagate markets to trading tools for manual inputs or odds
                                       co




                                             adjustments and risk management


                                       The diagram below broadly illustrates the general flow for calculation
                                       inference for our models. In reality, the feedback loops between our Traders
                                       and the models are more complex.




                                                          Fraining




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                                      Page 5 of 10
                                       and the models are more complex.
               Case 3:25-cv-01143-GC-JTQ                           Document 1-5 Filed 02/10/25                                           Page 369 of 443 PageID:
                                                                            1267



                                                        Daa Warehouse          Model    Nembooks   ML Modo
                                                                        Expeamertaton               Regsty
                                                                            ‘a aceng
                                                                               Sener


                                                                                                             :
                                                                                                                           Tracing Tots       O08
                                                                                                                                   (tana |+     67520
                                                                                                                 \                rome)       a
                                                         fen=()
                                                       Fria ‘                      cm -                                     Magination
                                                                                                                          odds = s09")


                                                        ($3 katka |
                                                                                                                     | +86 kata


                                                                                         Simulation Flow


                                       Integration with the Sportsbook: Real-Time Streaming
                                       Architecture
                                       Our sports models, deployed on Kubernetes, offer HTTP endpoints for
                                       calculation execution. Simulation results are produced to Kafka topics,
                                       supporting calculations for both single markets and Same Game Parlays
                                       (SGPs). In future articles, we will delve into the intricacies of this
                                       architecture, including challenges such as odds jumping as a function of
                                       simulation variance.


                                       Collaboration and Innovation: Delivering Exceptional Products
                                       To bring our complex products to Production, our team collaborates with
                                       other talented engineering teams at DraftKings, including Sports Data,
                                       Markets and Sports Platform. Recently, we introduced live SGPs for NFL and
                                       NBA, showing our commitment to innovation and customer satisfaction.


                                       Furthermore, our team supports algorithms for features such as margination
                                       and cashout. As there is a limited need for training data and machine
                                       learning in these cases, and the implementations of these calls hit the
                                       millions — the algorithms are provided to other engineering teams in the
                                       form of Nuget packages that were converted from Python to C#. These have
                                       recently been updated and we are now using C bindings via Python across
                                       the business.


                                       Sports Intelligence Series: Sharing Deeper Insights
                                       In the forthcoming Sports Intelligence series, our representatives will




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                                             Page 6 of 10
                              the business.
               Case 3:25-cv-01143-GC-JTQ                       Document 1-5 Filed 02/10/25                               Page 370 of 443 PageID:
                                                                        1268
                                       Sports Intelligence Series: Sharing Deeper Insights
                                       In the forthcoming Sports Intelligence series, our representatives will
                                       provide in-depth insights into the investments that we have made over the
                                       past year and what we are hoping to deliver in the future.


                                       Sports Data Science will delve into the inner workings of our simulation
                                       engines, showcasing the fusion of traditional modelling techniques with
                                       modern machine learning and explaining how we leverage data assets to
                                       drive continuous improvements.


                                       Sports Engineering will share insights into the creation of the best-in-class
                                       data assets that enhance the modelling capabilities of the Sports Data
                                       Science team and will explore the challenges of building a model replay
                                       system to enable robust testing of the sports engines.


                                       Sports Intelligence: Revolutionising the Future of Sports Betting
                                       DraftKings’ Sports Intelligence team is revolutionising the sports betting
                                       industry by blending expertise, cutting-edge technology and data-centric
                                       engineering. Through our Sports Data Science and Sports Data Engineering
                                       units, we deliver world-class sports betting content. By employing innovative
                                       techniques, such as Monte-Carlo simulations and MLOps best practices, we
                                       ensure accurate and extensible models. Our collaboration with other
                                       engineering teams and continuous drive for improvement enables us to
                                       deliver exceptional products and experiences to our valued customers.


                                       We look forward to sharing deeper insights and exploring various aspects of
                                       our sports modelling journey shining a light on the innovation happening
                                       behind the scenes at DraftKings.


                                       Stay tuned for future articles that will uncover the magic of our Monte-
                                       Carlo simulation engines, the intricacies of our machine learning platform,
                                       deep dives into the creation of our data assets, leveraging historical data for
                                       model verification and much more.


                                       Want to learn more about DraftKings’ global Engineering team and culture?
                                       Check out our Engineer Spotlights and current openings!




                                         DataScience     DataEngineering     Sports Betting   Modelling And Simulation

                                       S28      Qi                                                                        ot



                                       a        Published in DraftKings Engineering




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                             Page 7 of 10
               Case 3:25-cv-01143-GC-JTQ                               Document 1-5 Filed 02/10/25                                  Page 371 of 443 PageID:
                                                                                1269

                                          ,         Published in DraftKings Engineering
                                          vy        285 Followers    Last published Oct2, 2024
                                                    Draftkings Engineering


                                       &            Written by Robin Mohseni
                                                    30 Followers - 6 Following
                                                    Senior Director, Data Science




                                       Responses (1)


                                         What are your thoughts?



                                                 Hugo Lu
                                                Oct 2,2023
                                       Bravo!

                                                 Reply




                                       More from Robin Mohseni and DraftKings Engineering




                                       “Bn Dratkings Engineering by Mehrad Kavian                    In Drattkings Engineering by Mke DeMaso
                                       Signature Malleability                                    Android, MVVM, and Repositories
                                       Many smart contracts rely on the validity of a            in the Real World
                                       signature or whether it has been used befor...            Itisa tale as old as Android Development
                                                                                                 itself. How do we achieve a responsive user...
                                      Jun 20,2023            30                        ne        Nov2,2020    @)21
                                                                                                                                               n




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                                        Page 8 of 10
               Case 3:25-cv-01143-GC-JTQ                                Document 1-5 Nov Filed wai
                                                                                               02/10/25                           Page 372
                                                                                                                                       Ww  of 443 PageID:
                                                                                 1270




                                       Bn Dratkings Engineering by Martin Chao                  “Bn Dratkings Engineering by lan Dorward
                                       Lessons Learned: WebSocketAPI                            Building a Tennis          Simulation
                                       atscale                                                  Tennis has become one of the most popular
                                       Here at Draftkings Inc. we utilize the                   sports at Draftkings, ranking
                                                                                                                            as the fourth...
                                       WebSocket API for a variety of use-cases...

                                       May5,2023 W942 @1                              a        Aug 17,2023 W137                              a



                                           See all from Robin Mohseni        See all from Draftkings Engineering




                                       Recommended from Medium




                                       Bin DataDriveninvestor by Austin Starks                   @ Acai ai
                                       lused OpenAl’s 01 model to                               Day-1, Day-2 LeetCode Challenge-
                                       develop a trading strategy. Itis...                      365-Days.
                                      It literally took one try. | was shocked.                 Ihave started my journey to prepare for
                                                                                                Google interviews and set a complete year-
                                       +       sep15,2024    Wack       @             a         Jan                                          it




                                       Lists


                                                            Predictive Modeling w/                                 Practical Guides to Machine
                                                            Python                                                 Learning
                                                            20                                                     1Ostories
                                                            Coding & Development                                   ChatGPT prompts



Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                                      Page 9 of 10
                              + Sep1s,2024 Ws6eKk @Document
               Case 3:25-cv-01143-GC-JTQ            217   it 1-5 Jan Filed 02/10/25                                                             Page 373 of 443 PageID:




                                                                                                                                                           n
                                                             1271


                                       Lists


                                                            Predictive Modeling w/                                          Practical Guides to Machine
                                                            Python                                                          Learning
                                                            20stories - 1812 saves                                          Ostories - 2185 saves
                                                            Coding & Development                                            ChatGPT prompts
                                                            Mistories - 991saves                                            Sistories . 2531 saves




                                       @ Aborto Romero                                                 GB in Level up coaing by Jacob Bennett
                                       DeepSeek Is Chinese But Its Al                                  The 5 paid subscriptions | actually
                                       Models Are From Another Planet                                  use in 2025 as a Staff Software...
                                       OpenAl and the US are in deep trouble                           Tools | use that are cheaper than         Netflix

                                       +       Jan22     W58k     @ 182                     ne         +       Jan?   WK         @m                        Ww




                                       @ sotiane Tabais                                                € essa stiiman
                                       How Chess Shaped My Journey as                                  Jeff Bezos Says the 1-Hour Rule
                                       a Software Engineer                                             Makes Him Smarter. New..
                                       Growing up, Inever imagined how much a                          Jeff Bezos's morning routine has long
                                       board game could influence my career.                           included the one-hour rule. New...
                                       +       Jani2     W557     @3                        ne         +       Oct30,2024     W2IK      @ 603
                                                                                                                                                           n




                                           ‘See more recommendations




                                       Help     Status    About   Careers    Press   Blog    Privacy   Terms      Texttospeech       Teams




Document title: Intro — Sports Intelligence @ DraftKings | by Robin Mohseni | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/intro-sports-intelligence-draftkings-51c285bb3737
Capture timestamp (UTC): Mon, 03 Feb 2025 21:55:45 GMT                                                                                                                    Page 10 of 10
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 374 of 443 PageID:
                                     1272




                            Exhibit 63
   MediumCaseQ 3:25-cv-01143-GC-JTQ
                Search                                            Document 1-5 Filed 02/10/25                             [A of
                                                                                                                   Page 375  write443 PageID:
                                                                                                                                            Signin
                                                                           1273


                                      Apache Kafka as a centralized state
                                      management platform — Part 2
                                      @:          Nicola Atorino - Follow
                                             os    Published
                                                      in DraftKings Engineering - 13 minread - Jul 7,2023



                                        Ss          Q                                                          a     ©         8


                                      Kafka for centralized storage and state sharding
                                      Apache Kafka, an open-source distributed streaming platform, is used by
                                      DraftKings (DK) for data management and streaming applications due to its high
                                      scalability, low latency, and fault-tolerant storage. Kafka allows for various use
                                      cases such as data streaming, and state management. DraftKings employs Kafka as
                                      a push-based mechanism to distribute data from a database to multiple services,
                                      reducing strain on the database and internal traffic, following several architectural
                                      patterns that can cover different use cases. In the previous article, we explored the
                                      capabilities of Apache Kafka for state management and described a pattern to
                                      leverage its use to offload database traffic. In this article, we're going to describe
                                      two additionally useful patterns that will solve some of the problems outlined in
                                      the previous cases and will extend our possibilities in terms of distributed
                                      processing.


                                      The first part of this article can be found here : https://medium.com/draftkings-
                                      engineering/apache-kafka-as-a-centralized-state-management-platform-
                                      part-l-aa6d3fe4024b


                                      Use Kafka as Centralized Store for Distributed Applications
                                      This pattern is useful to distribute a stateful application. In these cases, a
                                      microservice would need to consume a stream of messages that sends
                                      updates for particular events, then maintain an aggregate of information for
                                      each event, in order to handle further processing. It’s not unusual for this
                                      kind of stream to produce thousands of messages per second, so the
                                      partitioning capabilities of Kafka are extremely valuable to orchestrate the
                                      consumption. By implementing a set of consumers in the same consumer
                                      group, processing will be distributed correctly between the many instances
                                      of the application, and rebalancing in case of crashes, deployments, or
                                      change in the number of instances will be correctly handled by the broker
                                      and the consumer group coordinator out of the box.


                                      Use cases example:




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                               Page 1 of 13
                                      change in the number of instances will be correctly handled by the broker
               Case 3:25-cv-01143-GC-JTQ         Document 1-5 Filed 02/10/25
                              and the consumer group coordinator out of the box.
                                                                                                                   Page 376 of 443 PageID:
                                                               1274

                                      Use cases example:


                                        * updates of probabilities for sport events that need to be compared to the
                                          previous values

                                        « stock exchange price fluctuation — to generate an analysis of changes
                                          overtime or produce an average per day

                                        ¢ wallet management — maintain a log of transactions together with a real-
                                          time snapshot of the balance in order to accept/refuse new transactions
                                          processing

                                        ¢ fraud detection — keep track of behavioral patterns and detect anomalies
                                          over an established flow

                                        « shared sessions in multiplayer games — keep a centralized leaderboard
                                          up to date by events coming from different producers


                                      To handle state management, it is possible to implement a dedicated ledger
                                      topic where each instance of the service can read from and write to. The
                                      ledger topic will then act as a centralized, persistent store for the system,
                                      surviving service crashes and redeployments. To allow this, a ledger
                                      consumer can be implemented in the service, this time with a different
                                      consumer group per instance, to ensure that each instance has the entire
                                      state at its disposal, including everything that was published by any other
                                      replica. The service can then maintain the ledger in its own memory,
                                      populate it in full form at the startup, and receive updates when they are
                                      produced, this way achieving almost real-time synchronization between the
                                      various components.


                                      In case of rebalancing, the stream topic will be evenly distributed following
                                      the new topology, and every consumer can then resume from the last
                                      committed offset for its own consumer group, with the guarantee that the
                                      ledger already contains all necessary information processed up until this
                                      point.


                                      There is a short-circuit mechanism in place to avoid concurrency issues due
                                      to the fact that a published message has to be consumed by the instance that
                                      published it. This allows every instance, upon publishing the state update to
                                      the ledger, to populate its own internal memory. This means the published
                                      message does not have to wait the round-trip to the Kafka broker between
                                      publishing and re-consuming the same message that it produced in order to
                                      populate its own state. This guarantees protection against race conditions.



                                                                                                              Ale consumers
                                                                                                             stag the consumer
                                                                                                               ‘goup tore
                                                                                                         __eventSouce toe wit




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                       Page 2 of 13
                                      publishing and re-consuming the same message that it produced in order to
               Case 3:25-cv-01143-GC-JTQ
                              populate its own state.Document     1-5 protection
                                                      This guarantees     Filed 02/10/25         Page 377 of 443 PageID:
                                                                                 against race conditions.
                                                                   1275

                                                                                                                         Ale consumers
                                                                                                                       stag the consumer
                                                                                                                          ‘goup tore
                                                                                                                   _ — eventsotce tpt i




                                                                                                                             Soae3S
                                                                                                                            cere need




                                         Non Compacted Topic —
                                          MutiplePartions —




                                                                   Design Pattern for a centralized ledger

                                      Considerations
                                      One thing to take into consideration when planning a solution like this is the
                                      actual coordination between stream processing and ledger processing. To
                                      achieve 100% data consistency, the offsets of the processing topic must be
                                      committed only after there is a guarantee from the broker that the ledger
                                      has been correctly updated. Otherwise, in case of crashes or ungraceful
                                      shutdown there is the risk of committing an offset — thus marking a stream
                                      message as consumed — before the ledger is updated with the result of the
                                      processing. This kind of synchronization, however, can be costly in terms of
                                      performance, so the decision to handle these edge cases explicitly instead of
                                      relying on a simpler solution has to be taken based on the criticality of the
                                      business case, the impact of potential data loss, and the possibility of this
                                      happening in a given infrastructure.


                                      One other consideration to take is data retention. The TTL of the items in
                                      wanna An ant nanannnetler      hare ta math tha                        wn nf tha lndane




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                     Page 3 of 13
                                      relying on a simpler solution has to be taken based on the criticality of the
               Case 3:25-cv-01143-GC-JTQ           Document
                              business case, the impact           1-5data loss,
                                                        of potential      Filed and02/10/25
                                                                                    the possibilityPage
                                                                                                    of this 378 of 443 PageID:
                                                                   1276
                                      happening in a given infrastructure.


                                      One other consideration to take is data retention. The TTL of the items in
                                      memory do not necessarily have to match the retention of the ledger topic,
                                      however, is usually advised to do so in to have consistency between the two
                                      layers. An example of this is to set the same retention period between the
                                      items in memory and the Kafka ledger. Alternatively, the topic can be set to
                                      have no retention at all. This is useful in cases when the decision to remove
                                      an item from the ledger is taken explicitly by the application, that can senda
                                      deletion request when it deems a specific item not necessary anymore. In
                                      this case, the ledger will receive what it’s called a ‘tombstone’ message, that
                                      will trigger removal of all messages with the same key upon compaction.
                                      Tombstone messages are consumed like any other message, and the service
                                      can react to this particular message type by removing the item from the
                                      memory state, thus keeping synchronization with the state of the ledger. It is
                                      important to make sure that memory purging is properly handled in the
                                      application, time-based or explicitly, otherwise memory leaks are
                                      guaranteed in the long run.

                                      Use Cases
                                      A pattern like this is very useful when the partitioning logic of the stream
                                      topic does not match the partitioning logic of the ledger. If this is the case,
                                      there is no guarantee that an instance processing a message from a specific
                                      partition may never require data that was retrieved and published by
                                      another instance. Another use case is when the complete state is needed for
                                      overall processing, like notifying the system with an atomic update that any
                                      of the events is in a particular state.


                                      An example for the first case described above may be an application that
                                      maps external data to internal entities. In this case, the input topic may be
                                      partitioned based on the 3rd party event Id, while the output topic will need
                                      to be partitioned by the internal event Id. Of course, the Ids won't match in
                                      this case, so there is no way of knowing in which partition the published
                                      internal event will end up. When, instead, the state of an instance can be
                                      properly isolated from the state of the others, we could spice this pattern up
                                      a notch and introduce state sharding.


                                      Use Kafka to Handle State Sharding
                                      Let’s now consider a slightly different use case when each instance of a
                                      distributed system does NOT need to handle state management outside of
                                      the partitions that have been assigned to it. In this situation, it is not
                                      necessary for each replica to consume the entire ledger topic, but instead, it
                                      will be enough to consume only the part of it that is usually tied to the
                                      partition that has been assigned to it for the stream.




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                   Page 4 of 13
                              the partitions that have been assigned to it. In this situation, it is not
               Case 3:25-cv-01143-GC-JTQ             Document 1-5 Filed 02/10/25 Page 379 of 443 PageID:
                              necessary for each replica to consume
                                                                  1277the entire ledger topic, but instead, it
                                      will be enough to consume only the part of it that is usually tied to the
                                      partition that has been assigned to it for the stream.


                                      In this case, the configuration of the ledger topic must match the
                                      configuration of the stream topic, in terms of number of partitions and
                                      partitioning key. This way, every event that is streamed from partition 1 will
                                      store its current state in partition 1 of the ledger, and so forth. With this
                                      approach, each instance does not have to maintain the entire ledger in
                                      memory, only the shard related to the partitions it has been assigned to. This
                                      has obvious advantages in terms of scalability and resource management
                                      when it comes to high volume of items to track.


                                      However, there is a complication. When rebalancing, partition reassignment
                                      is automatic and the default mechanism of the broker is to assign them
                                      based on load. Therefore, predicting what partitions would be assigned to a
                                      specific consumer can be complicated. The consumption of the ledger must
                                      follow the assignment of the stream topic partitions, with the instance
                                      explicitly consuming a specific set of ledger partitions, based on the stream
                                      partitions that were assigned to it by the consumer group coordinator for the
                                      stream topic.


                                      When a group rebalancing for the stream topic is triggered:


                                          The consumer will stop consumption from the currently assigned
                                          partitions. This ensures no concurrency issues can happen during the
                                          rebalancing process

                                          The consumer will receive a notification that the currently assigned
                                          partitions have been removed. This can be used as a trigger to stop
                                          consumption of the ledger partitions that have been removed and
                                          remove every item in the state coming from the removed partitions

                                          Once all consumers have confirmed that they have handled the
                                          PartitionRemoved event correctly, the consumer will receive a
                                          notification that a new set of partitions have been assigned. When this
                                          happens, the consumer needs to react by requesting consumption of the
                                          same partitions that were assigned to it

                                        * Once the ledger partitions have been consumed and the state is
                                          populated in memory, consumption of the stream topic can resume.

                                        ¢ There is no possibility of race conditions here as the instance that was
                                          responsible to populate the state in those particular ledger partitions had
                                          their stream partitions removed already as part of the second step, so
                                          consumption and processing have been stopped already


                                      This diagram shows a potential initial state of an application exploiting this




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                   Page 5 of 13
                                          responsible to populate the state in those particular ledger partitions had
               Case 3:25-cv-01143-GC-JTQ                        Document 1-5 Filed 02/10/25                                               Page 380 of 443 PageID:
                                          their stream partitions removed already as part of the second step, so
                                                                         1278
                                          consumption and processing have been stopped already


                                      This diagram shows a potential initial state of an application exploiting this
                                      pattern:




                                                                                                                           btners dom need ay spec:
                                                                                                                            ‘niurason   as Tong a parton
                                                                                                                          umber   ans patton age o
                                                                                                                         ‘we topes isthe same and te same
                                                                                                                                      say's used)




                                                                                   eEia

                                                                                =.
                                                             Design Diagram for state sharding in Kafka — initial state

                                      While this one shows the state of the system after a rebalancing caused by
                                      the removal of one of the instances :



                                                                                              ern




                                                                                                            ‘Ts stance has noted tat sveam
                                                                                                            Consumer roup assigned partons 2
                                                                                                           ‘and 3t0 be consumer and ese
                                                                                                            requested consumpdon of partons 2
                                                                                                                     ‘and 3 be edger

                                                  Design Diagram for state sharding in Kafka — state after removal of a consumer



Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                                              Page 6 of 13
                                                                                                                            ew                  |
               Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25    a                Page 381 of 443 PageID:
                                                                           1279       ‘Ts stance has noted tat sveam
                                                                                    Consumer roup assigned partons 2
                                                                                                            ‘and 3t0 be consumer   and ese
                                                                                                             requested consumpdon of partons2


                                                    Design Diagram for state sharding in Kafka — state after removal of a consumer


                                      Adeeper look on various concerns

                                      Performance
                                        ¢ In Kafka there is usually a tradeoff between throughput and latency. For
                                          moderate traffic there is usually no need to delve deep into this, but
                                          when the amount of data to process becomes very high it is important to
                                          properly configure the system to behave exactly as expected

                                          Producer Configuration — Every producer can have a batch size defined
                                          that can be configured, and that would allow the client to ‘batch’ multiple
                                          messages into a single request to the server. The higher the batch size,
                                          the higher the potential throughput of the application, since there will be
                                          fewer trips to the server. However, a batch size too large could impact the
                                          memory consumption of the application and could even increase latency,
                                          since the client will linger for a certain period of time waiting for
                                          messages to accumulate. properties : batch.size — linger.ms —
                                          max.request.size

                                          Consumer Configuration — Consumers can define different
                                          configurations based on the use case. For example, it is possible to
                                          configure a minimum amount of data to be returned from the server to
                                          allow accumulation of more messages before returning to the client. This
                                          could increase throughput, at the cost of additional latency. properties :
                                          fetch.min. bytes — fetch.max.bytes — max.partition.fetch.bytes —
                                          fetch.max.wait.ms

                                          Timeouts and heartbeats — How long the broker should wait for
                                          confirmation before starting the rebalancing process, in the case of a
                                          consumer losing connection (or crashing). We want to be reactive in
                                          these cases to quickly recover proper state of processing, however we do
                                          not want to cause unnecessary rebalancing in case of a network blip that
                                          would be solved quickly. properties : session.timeout.ms —
                                          heartbeat.interval.ms

                                          Compression — Kafka allows messages to be compressed in several
                                          codecs, to reduce both the storage needed and the network bandwidth, at
                                          the cost of more CPU cycles and a slight delay in message dispatch. There
                                          are several codecs to choose from that all define different balances
                                          between gains and tradeoffs. Compression effectiveness also depends on
                                          producer batching configuration (the higher the batch size, the more
                                          effective compression will result, especially if the data is fairly repetitive,
                                          like XML or JSON data). properties : compression.type

                                       He nen wen dance Leinn aeveT abd




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                              Page 7 of 13
                                          between gains and tradeoffs. Compression effectiveness also depends on
               Case 3:25-cv-01143-GC-JTQ         Document 1-5 Filed 02/10/25 Page 382 of 443 PageID:
                                producer batching configuration (the higher the batch size, the more
                                                               1280
                                          effective compression will result, especially if the data is fairly repetitive,
                                          like XML or JSON data). properties : compression.type


                                       there are deep dives available online, one example is this : Message compression in
                                      Apache Kafka — IBM Developer .


                                      There are several other considerations to make in regard to performance
                                      tuning that would deal with:


                                          proper number of partitions based on the use case — usually a higher
                                          number of partitions would ensure a higher potential throughput, but too
                                          many partitions may have significant tradeoffs in term or rebalancing
                                          speed or cluster performances.

                                          partition replication and producer acknowledgment — partition replica
                                          would ensure better availability in case of broker failures, but
                                          acknowledgment of confirmation for all replica can be costly in terms of
                                          producers’ throughput.

                                          producer and consumer buffer size — a higher buffer size for clients
                                          would allow for a potential higher throughput and diminished latency, or
                                          even better resiliency in case of unexpected spikes of messages to be
                                          produced/consumed, but at cost of more resources necessary for the
                                          clients.

                                          data retention policies, segment size, and cleanable dirty ratio — smaller
                                          segment sizes and highest dirty ratio would ensure that topics are better
                                          maintained and unneeded data is removed quickly, but this could be
                                          costly for the broker to maintain since it increases the amount of work in
                                          the background.


                                      A good starting point for some of these configurations can be this article : Deep
                                       dive into Apache Kafka storage internals: segments, rolling and retention
                                       (strimzi.io)


                                      All the configuration details for the broker, the topics, the producers and the
                                       consumers can be found here: Apache Kafka Configuration

                                      Fault tolerance
                                      Given the rebalancing system that the broker has in place, with multiple
                                      services deployed, the solution is able to withstand failures of one or more
                                      consumers automatically. The result of rebalancing is a short interruption of
                                      processing of the partitions that are being rebalanced. There are different
                                      ways to manage these cases, and they depend on how we have configured
                                      the consumer to ‘confirm’ to the broker that a message has been processed.
                                      Kafka can be configured to confirm the consumption of a message to the
                                      broker explicitly for each message, or instead have a asynchronous




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                   Page 8 of 13
                              processing of the partitions that are being rebalanced. There are different
               Case 3:25-cv-01143-GC-JTQ            Document 1-5 Filed 02/10/25 Page 383 of 443 PageID:
                              ways to manage these cases, and they    depend on how we have configured
                                                                   1281
                                      the consumer to ‘confirm’ to the broker that a message has been processed.
                                      Kafka can be configured to confirm the consumption of a message to the
                                      broker explicitly for each message, or instead have a asynchronous
                                      automatic commit system that sends the confirmation in bulk at an interval.
                                      If the consumer does not have a chance of gracefully shut down, there is the
                                      possibility that some of the processed messages could be consumed again
                                      after rebalancing has completed. The consumers need to take this into
                                      account and define an AtLeastOnce consuming approach to be able to deal
                                      with potential duplicates correctly. properties : enable.auto.commit —




                                      As in every microservice architecture, the overall health of the system
                                      depends on the health of the individual services and being capable of
                                      handling failures is an integral part of every solution design. When dealing
                                      with Kafka applications, there are other things to take into consideration
                                      apart from the consumer health that we just discussed. A consumer service
                                      may need to confirm that the producer of the messages it expects is healthy.
                                      This is often done by implementing a ‘heartbeat’ kind of message in the
                                      stream, that the consumer expects at regular intervals even if there are no
                                      other messages generated as part of the normal flow. Failure to receive this
                                      heartbeat message may mean that the producer is unavailable and thus the
                                      system may not be healthy as a whole. Usually, a heartbeat message is
                                      expected every few seconds, and the consumer defines a grace period after
                                      which it needs to react based on the use cases, by sending an alert toa
                                      monitoring system, or by stopping processing any internal work that relies
                                      on data being correctly up to date. For example, a processing stream that
                                      relies on real-time information for a sport event may react to this by
                                      stopping accepting bets in case the heartbeat message is not received, since
                                      there is a reasonable suspicion that we are failing to get the latest
                                      information about the event.


                                       There is a dedicated DK article that explains in detail how components manage
                                       resiliency in case of failures of external dependencies: Resiliency in Feeds
                                       Integration | DraftKings Engineering | Medium


                                      Even tough Kafka ensures data retention via partition replica, at DraftKings
                                      there is an additional layer of resiliency. Compacted topics that are expected
                                      to be the single source of truth are also backed up at regular intervals
                                      (usually once per day). This is done in order to ensure disaster recovery
                                      capabilities if for any reason the production cluster gets corrupted or is
                                      completely unavailable and data cannot be recovered easily. Not every topic
                                      has a backup. Most of the data does not need to be recovered this way as it
                                      can always be retrieved from other sources. This backup is more of an
                                      exception than a norm.




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                   Page 9 of 13
                              completely unavailable and data cannot be recovered easily. Not every topic
               Case 3:25-cv-01143-GC-JTQ            Document 1-5 Filed 02/10/25 Page 384 of 443 PageID:
                              has a backup. Most of the data does 1282
                                                                  not need to be recovered this way as it
                                      can always be retrieved from other sources. This backup is more of an
                                      exception than a norm.


                                      Monitoring and alerting
                                      Kafka exposes a good number of metrics to be monitored to ensure the
                                      system is healthy. It exposes commit latency, used buffer size, rebalancing
                                      latency, throughput of producers, and much more. A complete list of metrics
                                      is available at Apache Kafka / Monitoring . The client libraries expose a way
                                      to retrieve these metrics to be sent to any monitoring solution. At
                                      DraftKings, App Metrics backed up by Grafana or Datadog is the most
                                      commonly used framework.


                                      However, one of the main metrics used is simply the latency of processing.
                                      Each Kafka message has a timestamp that defines the moment in which the
                                      producer has produced the message. By comparing this timestamp against
                                      the one recorded when the consumer has received the message, and then
                                      again once the message has been processed, we can have a clear number
                                      explaining the consumer delay and the processing time for each message.
                                      With this minimal setup, is pretty simple to understand if the consumer is
                                      ‘falling behind’ and is not able to catch up with the rate of messages being
                                      produced upstream.


                                      Another valid way of measuring consumption delay is comparing the latest
                                      committed offset of a consumer group on each partition against the latest
                                      produced offset: also in this case, if the gap between the two values increases
                                      too much, an automatic alert can be implemented in order to notify the
                                      possibility of data being delayed over an accepted threshold.


                                      These alerts could be then used to evaluate how to improve the system — for
                                      example, scaling up or scaling down the consumer, change the configuration
                                      at cluster, topic, producer or consumer level, increase or decrease the
                                      resources dedicated to each instance of the service, and so on.


                                      Want to learn more about DraftKings’ global Engineering team and culture?
                                      Check out our Engineer Spotlights and current openings!




                                       Kafka       State Management      Software Architecture


                                       Hs      Q                                                                  wa



                                        ,      Published in DraftKings Engineering
                                        DP     205 Folowers Last published Oct 2,2024
                                               DraftKinas Fnaineerina




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                   Page 10 of 13
                                       Sew         Q
               Case 3:25-cv-01143-GC-JTQ                              Document 1-5 Filed 02/10/25                             Page 385 of 443 PageID:
                                                                               1283
                                         ,         Published in DraftKings Engineering
                                         DP        205 Folowers Last published Oct 2,2024
                                                   Draftkings Engineering


                                    Oe ]           Written by Nicola Atorino
                                                   21 Followers - 7 Following




                                      No responses yet


                                        What are your thoughts?




                                      More from Nicola Atorino and DraftKings Engineering




                                      Bn Dratkings Engineering by Nicola Atorino             “Bn Dratkings Engineering by Mehrad Kavian
                                      Apache Kafka as a centralized                          Signature Malleability
                                      state management platform—Pa.                          Many smart contracts rely on the validity of a
                                      Introduction                                           signature or whether it has been used befor...

                                      Jul7,2023        Wis   @1                         ne   Jun 20,2023   &)30                           ne




                                             In Drattkings Engineering by Mike DeMaso        Bn Dratkings Engineering by Nicola Atorino
                                      Android, MVVM, and Repositories                        Resiliency in Feeds Integration
                                      in the Real World                                      Learn how the Feeds Integration team in
                                      It is a tale as old as Android Development             DraftKings handles unexpected situations...
                                      iteelf Haw da we achieve a resnancive ticer




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                                  Page 11 of 13
               Case 3:25-cv-01143-GC-JTQ                                Document 1-5 Filed 02/10/25 Page 386 of 443 PageID:
                                      “Bn Dratkings Engineering by Mike DeMaso   1284Bn Dratkings Engineering by Nicola Atorino
                                      Android, MVVM, and Repositories                            Resiliency in Feeds Integration
                                      in the Real World                                          Learn how the Feeds Integration team in
                                      It isa tale as old as Android Development                  DraftKings handles unexpected situations...
                                      itself. How do we achieve a responsive user.
                                      Nov2,2020          21                             ne     Jan 6,2023     Q)61                             ne




                                          See all from Nicola Atorino        See all from DraftKings Engineering




                                      Recommended from Medium




                                      GB in Level up coaing by Jacob Bennett                     @ Luis soares @

                                      The 5 paid subscriptions | actually                        The Change Data Capture (CDC)
                                      use in 2025 as a Staff Software...                         Design Pattern
                                      Tools | use that are cheaper than       Netflix            Change Data Capture (CDC) isa design
                                                                                                 pattern that identifies and tracks changes in..
                                      +       Jan7   Wook      @ 146                             +    Jan16,2024      W707      @6             it
                                                                                        n




                                      Lists



                                       Hl                Stories to Help You Grow asa
                                                         Software Developer
                                                         19stories . 1572 saves
                                                         Staff picks
                                                                                                                     General Coding Knowledge
                                                                                                                     20 stories - 1886 saves



                                                         805 ries - 1590 saves




                                                                                                     sacrament




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                              Page 12 of 13
                                      +       Jan?       Wook       @146                        oy         +     Jani6,2024      W797      @
               Case 3:25-cv-01143-GC-JTQ                                    Document 1-5 Filed 02/10/25                                           Page 387 of 443 PageID:
                                                                                     1285


                                      Lists


                                                              Stories to Help You Grow asa
                                      on
                                                                                                                        ¢..     General Coding Knowledge
                                                              Software Developer                                GoBAe           2Dstorles - 1886 saves
                                                              19stories - 1872saves
                                                              Staff picks
                                     |heh                     805 stories - 1590 saves




                                      [Bi is Dev Genius by Laksh Chauhan                                   {9    In ByteByteGo System Design All. by Love Shar...
                                      Distributed Transaction Patterns in                                  System Design Blueprint:                 The
                                      Event-Driven Microservices                                           Ultimate Guide
                                      Design patterns to maintain consistency for                          Developing a robust, scalable, and efficient
                                      an event spanning across services in a...                            system can be daunting. However...
                                      +       Jans       Wi        @3s                          ne         +     Sep17,2023      Wok      @57                it




                                      © 1 Coding Beauty by Tari baba                                       @ in Stackademic by Sano}
                                      This new IDE just destroyed VS.                                      Distributed Systems Design
                                      Code and Copilot without even...                                     Pattern: Lease-Based Coordinat
                                      Wow I never thought the day I stop using VS                          The Lease-Based Coordination pattern offers
                                      Code would come so soon...                                           an efficient mechanismto assign temporary...
                                      +       Jani?      Wisk       @73                         ne         +       Dect7,2024    Q28                         ne




                                          ‘See more recommendations




                                      Help      Status     About     Careers   Press     Blog    Privacy   Terms      Texttospeech      Teams




Document title: Apache Kafka as a centralized state management platform — Part 2 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-2-980631412a5a
Capture timestamp (UTC): Tue, 28 Jan 2025 20:56:51 GMT                                                                                                                      Page 13 of 13
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 388 of 443 PageID:
                                     1286




                            Exhibit 64
   MediumCaseQ 3:25-cv-01143-GC-JTQ
                Search                                            Document 1-5 Filed 02/10/25                           [A of
                                                                                                                 Page 389  write443 PageID:
                                                                                                                                          Signin
                                                                           1287


                                      Apache Kafka as a centralized state
                                      management platform — Part1
                                       @:         Nicola Atorino - Follow
                                             os    Published
                                                      in DraftKings Engineering - 8minread - Jul 7, 2023



                                        Hs          Qi                                                       i     ©      o



                                      Introduction

                                      Overview & Capabilities of Apache Kafka
                                      The main mission of the Sportsbook domain in DraftKings (DK) is to provide
                                      a comprehensive sport offering, near real-time, to allow customers to enjoy
                                      their experience with a constant growing set of products, events, and
                                      capabilities. To handle this, the underlying infrastructure that powers the
                                      entire sportsbook system must adhere to strict criteria in terms of
                                      performance, stability, and fault-tolerance. Most of DK’s infrastructure is
                                      designed to be horizontally scalable, in order to accommodate for high
                                      volumes and to leave room for further growth, when necessary.


                                      In order to reach the desired state, the DK architecture team needed a way to
                                      manage the data flow that would allow for high flexibility, low latency, and
                                      high stability. While the entire infrastructure uses several different
                                      technologies in different contexts, the focus of this article will be on one of
                                      the most used tools, Kafka.


                                      Apache Kafka is an open source, distributed streaming platform that is used
                                      for building real-time data pipelines and streaming applications. It is
                                      designed for high scalability and high throughput, and can handle millions
                                      of events per second. Kafka is used for various use cases such as logging,
                                      data streaming, event sourcing, and more. It also provides durable, fault-
                                      tolerant storage and can be integrated with other systems and tools.


                                      Kafka leverages a wide variety of patterns. The first one that usually comes
                                      into mind is data streaming, for communication between two different
                                      services, and that is one of the patterns that is widely used at DK. However,
                                      Kafka also has high potential as a platform for caching and state
                                      management. We're going to explore 3 different patterns:


                                        ¢ distributor of data stored in a SQL database for read-only purposes

                                        * centralized persistent layer for distributed applications




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                             Page 1 of 10
                              management. We're going to explore 3 different patterns:
               Case 3:25-cv-01143-GC-JTQ         Document 1-5 Filed 02/10/25                                     Page 390 of 443 PageID:
                                                                1288
                                        ¢ distributor of data stored in a SQL database for read-only purposes

                                        * centralized persistent layer for distributed applications

                                        ¢ data sharding in order to allow for distributed processing


                                      Before diving into these use cases, let’s have a small recap of some of the
                                      concepts leveraged by the architecture team when designing systems around
                                      Kafka.

                                      Partitioning and Consumer Groups
                                      Kafka works by allowing producers to publish a stream of messages in a
                                      topic, that is a logical grouping of different files (called ‘partitions’) where
                                      the actual messages are stored. It is essentially an append-only log where
                                      each message contains a key, a value, and optionally some headers. When a
                                      publisher pushes a message to a topic, the actual partition to which the
                                      message is pushed is defined by a partitioning mechanism usually based on
                                      the message key, although it may be possible to implement different
                                      partitioning logics. Typically, in our domain, partitioning is done based on
                                      the key, so messages with the same key will be stored in the same partition.


                                      The concept of partitioning is important when it comes to consumption
                                      distribution: a set of consumers can leverage partitioning to evenly
                                      distribute the load. When a consumer registers to a topic, it provides the
                                      Kafka broker with a key called ‘consumer group’ that will identify the group
                                      this specific consumer is part of. Multiple consumers sharing the same
                                      group will distribute the consumption of the topic, sharing the partitions
                                      between them. This way, a topic that contains multiple partitions can be split
                                      between multiple consumers, with the upper limit being the total number of
                                      partitions the topic is composed of. Since a partition can only be consumed
                                      by a single consumer at a time for each consumer group, this guarantees
                                      ordering in the consumption of the messaging while allowing horizontal
                                      scalability.


                                      Each consumer group can optionally register an offset, or “pointer,” in the
                                      partition, indicating the last message that was correctly consumed by any
                                      consumer of the consumer group. When a partition switches consumers
                                      within the group (as a result of changes in the topology of the system,
                                      redeployment, or scaling) the new instance will resume consumption
                                      starting from the last committed offset left from the previous consumer in
                                      the consumer group. This is made possible by a special node in the cluster
                                      that takes care of coordinating the consumer groups. If the offset is missing,
                                      the consumer can be configured to read the topic from the beginning or
                                      from the end, based on the use case that makes sense for that application.


                                      More information can be found in the official Kafka documentation :




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                     Page 2 of 10
                                      that takes care of coordinating the consumer groups. If the offset is missing,
               Case 3:25-cv-01143-GC-JTQ                      Document 1-5 Filed 02/10/25                                        Page 391 of 443 PageID:
                                      the consumer can be configured to read the topic from the beginning or
                                                                       1289
                                      from the end, based on the use case that makes sense for that application.


                                      More information can be found in the official Kafka documentation :
                                      https://kafka.apache.org/documentation/#impl_offsettracking




                                                                                                                     i
                                                                                                                                   goupscan conse




                                                                                                          Hoo.
                                                                                                                                  the same top.
                                                                                                                                cash parton canbe
                                                                     ‘Te ures ot                                                 ‘stoned oniyto a
                                        Proce wt pubis             partonstora
                                                                     ores        topes                                           Seg concurerper
                                         To atop. whe the         ‘ne defined upper nt.                                                   ‘ine




                                                                                                                                a
                                                                                                                                   i
                                                                                                                                         i
                                                   i

                                                              Eo
                                                                                                          J

                                                              -ea                 ee              Z
                                                                                              S               Consume Group 8

                                                             -@eaae                                                  a                        P
                                                                                          \                                       However a single
                                                                                                                                  caneame maeple




                                                                                                              oo
                                                                                                                                  ‘une ope




                                                                                                               |
                                                                           Partition Balancing in Kafka

                                      Retention Policies
                                      Storage space is not infinite. One of the key features of Kafka is its ability to
                                      retain data for a specified period of time. This is known as the retention
                                      policy. Retention policies are used to control how long data is kept in a topic
                                      before it is deleted. It can be set on a per-topic basis, and defined using
                                      either time or size-based criteria. This way, our topics used for streaming
                                      data will keep messages only for a certain period of time. This is known as
                                      the ‘delete’ retention policy.
                                      The most interesting policy for our use cases, though, is the ‘compact’ policy.
                                      When setting this policy on a topic, the cluster will delete duplicate
                                      messages, while keeping the latest or most recent version of each message. It
                                      is also incredibly useful to handle state management of an application,
                                      because there are several cases where we are interested only in the most
                                      recent version of the data, like when implementing a caching mechanism.


                                      The two policies can be combined. A message can have all its duplicates
                                      removed and the most recent version can then be deleted from the topic
                                      following the delete retention policy.




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                                     Page 3 of 10
                                      LULUWILY Ue UELeELe FELENLUUL puucy.
               Case 3:25-cv-01143-GC-JTQ                      Document 1-5 Filed 02/10/25                        Page 392 of 443 PageID:
                                                                       1290



                                                      a
                                      cea                                                                        Ea
                                                                     Compact retention policy in Katka

                                      Although there are multiple other configurations and concepts to explore
                                      that would take a lot of time to cover properly, and several considerations to
                                      make when choosing the proper strategy in terms of partitioning and data
                                      retention, these are some of the concerns to have when planning an
                                      architecture using this technology:


                                          cluster performances

                                        * storage

                                        * producers’ speed

                                          serialization

                                        * consumption strategies


                                      More information about log compaction can be found in the official Kafka
                                      documentation:
                                      https://kafka.apache.org/documentation/#design_compactionbasics


                                      Use of Kafka as a DB Cache Distributor
                                      Several services in DK need to constantly evaluate incoming messages
                                      against the most recent version of data stored in the database. Given the
                                      number of services that require this info, a direct connection to the database
                                      for each one of these components would put too much strain on the database
                                      instance. Also, the amount of data that need to be retrieved by the
                                      application would generate too much internal traffic. To solve this situation,
                                      Kafka is used as a push-based mechanism to allow applications to store the
                                      data they need in memory, be notified when data changes, and be able to
                                      handle all their processing internally.

                                      The distributor
                                      A Cache Distributor is a microservice whose only responsibility is to
                                      interrogate the database at regular intervals using predefined queries. When
                                      the application starts, the entire dataset is retrieved and pushed into a
                                      dedicated Kafka topic. After initial load, only updates are retrieved and
                                      published, using the datetime of the last request that was successfully
                                      processed. The queries could involve complex joins of different tables, thus
                                      effectively generating a view that will be then exposed to every consumer,
                                      which won't need to connect directly into the database (or handle their own




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                     Page 4 of 10
                                      dedicated Kafka topic. After initial load, only updates are retrieved and
               Case 3:25-cv-01143-GC-JTQ                             Document 1-5                            Filed 02/10/25         Page 393 of 443 PageID:
                                      published, using the datetime of the 1291
                                                                            last request that was successfully
                                      processed. The queries could involve complex joins of different tables, thus
                                      effectively generating a view that will be then exposed to every consumer,
                                      which won't need to connect directly into the database (or handle their own
                                      caching system) as long as the staleness of the data is acceptable for their
                                      purpose. On less frequent intervals, the entire dataset is fetched and
                                      republished in order for the older data to not be removed from the topic due
                                      to retention. The interval for re-fetching the entire dataset must be shorter
                                      than the topic’s retention period to ensure that consumers do not miss
                                      infrequently updated data.

                                      Topic configuration
                                      The data is pushed to a compacted topic, with the key being the primary key
                                      of the main entity that was retrieved. This way, when compaction is
                                      executed, only the most recent version of the item will be kept in the topic.
                                      When a consumer needs to read the entire topic in order to populate its own
                                      internal state on startup, they will avoid consuming a huge number of
                                      messages while ignoring everything apart the last one, speeding up the
                                      startup time.


                                      The topic also contains a delete policy retention, that will remove data after
                                      a certain amount of time. This is necessary to clean the topic from entities
                                      that have been deleted from the database.


                                      The cache topic has a single partition. This is done because, in this
                                      particular use case, every consumer should consume the topic in full to
                                      maintain the entire cache in memory. By having a single partition, the
                                      broker performances improve. since it has to deal with less communication
                                      overhead.

                                      The consumer
                                      On the consumer side, the data is stored in memory. At startup, the topic is
                                      read from the beginning, and the messages are used to create an internal
                                      memory dictionary. If necessary, each application can create additional
                                      custom indexes to query the data based on their own needs. After the initial
                                      startup, the consumer keeps listening to the topic to receive regular updates,
                                      as they are going to be published by the producer.
                                                                                                                                \




                                                                                          Scewistpetan   -     eoa
                                                       aaronwee aa
                                                      ‘Step
                                                                                                                                :




                                                                      Tre cans uses                           Compact Tope we
                                                                     waecaersueeon
                                                                                ony one                          “on tenon      \




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                                        Page 5 of 10
               Case 3:25-cv-01143-GC-JTQ          Document‘Scevintpttan eoE 02/10/25
                                                               1-5 - Filed         L                                                 |
                                                                                                                                     Page 394 of 443 PageID:
                                       Srp nae aa
                                      ‘aaron                   1292
                                                                The distdir uses                ‘compacted Tope with
                                                                  Trader eectonto                ‘hom ete |                     \
                                                                make iestance
                                                                        sure ony one                                                \ _
                                                                 ‘Processing he data
                                                                     ‘any ie.
                                                                                                                            ‘Al consumers have hel ox
                                                                                                                       consumer group and do nt sor any
                                                                                                                                        tset
                                                                                                                          ‘This ows fr he appcation to
                                                                                                                         consume heen ope rom he
                                                                                                                       begining at startup and load the
                                                                                                                                conten memory fu

                                                                 Design Pattern of the DB Cache Distributors


                                      Considerations
                                      This system has several advantages, but also some drawbacks that need to be
                                      pointed out. First of all, it is memory intensive for the consumers, but this is
                                      true for every state management system that involves the use of Kafka,
                                      including the ones being discussed next. The full reload that happens on
                                      regular intervals can cause memory spikes while the application processes
                                      the set and discards the old values for the updated ones. This can be
                                      mitigated by reducing the amount of data the service stores from the topic to
                                      the minimum. If the cache contains an object with a lot of properties, but
                                      not all of them   are necessary, it is better to define a lightweight object on the
                                      consumer side and store only what is needed.


                                      Secondly, the staleness of the data cannot be configured at the consumer
                                      side, only at the distributor side. If a consumer requires data that is more up
                                      to date than what the cache provides, it will have to handle this in different
                                      ways. One of the classical problems found with this approach is the retrieval
                                      of information from the database that was changed as a result of the
                                      processing of the microservice itself. A possible workaround for this would
                                      be to update the internal dictionary (if all the data is known) before
                                      submitting the database change, but this can lead to data inconsistencies
                                      (especially if the update needs to be validated downstream) and is generally
                                      regarded as a sub-optimal solution.


                                      In short, this system is not suitable to be used with components that are
                                      expected to update into the database (directly or indirectly) the same set of
                                      data they are going to retrieve from the cache.

                                      Next
                                      In the next article, we’re going to explore two other patterns for state
                                      management that will overcome some of the downsides that we encountered
                                      till now:


                                        ¢ Kafka as a centralized store for distributed applications

                                        ¢ Kafka used to handle state sharding


                                      The second part can be found here : https://medium.com/draftkings-




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                                         Page 6 of 10
               Case 3:25-cv-01143-GC-JTQ          Document
                              ¢ Kafka as a centralized           1-5 Filed
                                                       store for distributed     02/10/25
                                                                             applications                        Page 395 of 443 PageID:
                                                                  1293
                                        ¢ Kafka used to handle state sharding


                                      The second part can be found here : https://medium.com/draftkings-
                                      engineering/apache-kafka-as-a-centralized-state-management-platform-
                                      part-2-980631412a5a


                                      Want to learn more about DraftKings’ global Engineering team and culture?
                                      Check out our Engineer Spotlights and current openings!




                                        Kafka            State Management           Software Architecture


                                       ss           Qi                                                             ne



                                            ,       Published in DraftKings Engineering
                                            DP      sesraliowers       «Last published Oct2, 2024
                                                    Draftkings Engineering


                                            oe      Written by Nicola Atorino
                                                    21 Followers - 7 Following




                                       Responses (1)                                                                       @



                                            What are your thoughts?



                                                 Dima Paikin
                                                 Jul18, 2023
                                      Why not use Kafka Connect instead of a Cache Distribution service?

                                       S)          Qireply     Reply




                                       More from Nicola Atorino and DraftKings Engineering




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                     Page 7 of 10
               Case 3:25-cv-01143-GC-JTQ               Document 1-5 Filed 02/10/25                                             Page 396 of 443 PageID:
                                                                   1294
                                      More from Nicola Atorino and DraftKings Engineering




                                       Bn Dratkings Engineering by Nicola Atorino             “Bn Dratkings Engineering by Mehrad Kavian
                                      Apache Kafka as a centralized                           Signature Malleability
                                      state management platform—Pa...                         Many smart contracts rely on the validity of a
                                      Kafka for centralized storage and state                 signature or whether it has been used befor...
                                      sharding
                                      Jul7,2023       13                                      Jun 20,2023       &)30                       ne




                                                                                    n




                                       “Bn Dratkings Engineering by Mike DeMaso               Bn Dratkings Engineering by Nicola Atorino
                                      Android, MVVM, and Repositories                         Resiliency in Feeds Integration
                                      in the Real World                                       Learn how the Feeds Integration team in
                                      It isa tale as old as Android Development               DraftKings handles unexpected situations...
                                      itself. How do we achieve a responsive user...
                                      Nov2,2020            21                       ne        Jan6,2023     Q)61                           ne




                                         See all from Nicola Atorino      See all from DraftKings Engineering




                                      Recommended from Medium
                                     i




                                                                '
                                                                :




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                                   Page 8 of 10
               Case 3:25-cv-01143-GC-JTQ                                Document 1-5 Filed 02/10/25                                 Page 397 of 443 PageID:
                                                                                 1295



                                      Bd bn Arttciatintetigencein Pain Eng.. by Amit Sin       [Bi is Dev cenius by Laksh Chauhan
                                      Service-Oriented Architecture                            Distributed Transaction Patterns in
                                      (SOA) vs. Microservices                                  Event-Driven Microservices
                                      In today’s fast-evolving tech landscape,                 Design patternsto maintain consistency for
                                      building scalable, maintainable, and flexible...         an event spanning across services in a...
                                       +   Sep26,202        Wis         @1               it    +    Jans   Wi       @3s                       ne




                                                          Stories to Help You Grow asa                           General Coding Knowledge
                                                          Software Developer                                     20 stories - 1886 saves
                                                          19stories . 1572 saves
                                                          Staff picks
                                                          805 stories . 1590 saves




                                           in ByteByteGo System Design Alli... by Love Shar.   @ Luis soares @

                                      System Design Blueprint: The                             The Change Data Capture (CDC)
                                      Ultimate Guide                                           Design Pattern
                                      Developing a robust, scalable, and efficient             Change Data Capture (CDC) is a design
                                      system can be daunting. However.                         pattern that identifies and tracks changes in..
                                       +   Sep17,2023       Wok      @57                 it    +    Jan16,2024    W707      @6                it




                                      @® Aizeynan                                              ® sousw.awaa
                                      How to Become a Strong Software                          Microservices Pattern: Distributed
                                      Architect                                                Transactions (SAGA)
                                      Roadmap of a Software Architect                          Explore the SAGA Pattern: Ensuring Data
                                                                                               Integrity in Microservices. Dive into its...

                                       A    one    Shen       mis                        rt    A    tmte anna     shia       Mo               aa




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                                        Page 9 of 10
                                                                                           ai             +       Jans    W101      @3                   Ww
               Case 3:25-cv-01143-GC-JTQ                              Document 1-5 Filed 02/10/25                                                Page 398 of 443 PageID:
                                                                               1296




                                                         Stories to Help You Grow asa                         2                  General Coding Knowledge
                                                         Software Developer                                                                1886 saves
                                                         WWstories - 1572 saves
                                                         Staff picks
                                                         80 ries - 1590 saves




                                       {Bin ByteByteGo System Design Alli... by Love Shar.                @ Luis soares @

                                      System Design Blueprint:                    The                     The Change Data Capture (CDC)
                                      Ultimate Guide                                                      Design Pattern
                                      Developing a robust, scalable, and efficient                        Change Data Capture (CDC) is a design
                                      system can be daunting. However.                                    pattern that identifies and tracks changes in..
                                                          WOK       @57                    Ww             +       Jan16,2024      W797      @6           Ww




                                                                                                          ® sousw.awaa
                                      How to Become a Strong Software                                     Microservices Pattern: Distributed
                                                                                                          Transactions (SAGA)
                                      Roadmap of a Software Architect                                     Explore the SAGA Pattern: Ensuring Data
                                                                                                          Integrity in Microservices. Dive into its...
                                                   wen        @13                          ne             +       Jun 16,2024     Wisk      @            a



                                         ‘See more recommendations




                                                      About     Careers   Press     Blog        Privacy   Terms      Texttospeech        Teams




Document title: Apache Kafka as a centralized state management platform — Part 1 | by Nicola Atorino | DraftKings Engineering | Medium
Capture URL: https://medium.com/draftkings-engineering/apache-kafka-as-a-centralized-state-management-platform-part-1-aa6d3fe4024b
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:31 GMT                                                                                                                     Page 10 of 10
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 399 of 443 PageID:
                                     1297




                            Exhibit 65
               Case 3:25-cv-01143-GC-JTQ                                    Document 1-5 Filed 02/10/25                                  Page 400 of 443 PageID:
                                                                                     1298




             Ce                                                 CT          Ces                eC                   CC
            Vol. 23 + No. 03 + January 32, 2025                                                                 Print the Curent issue
            April 8, 2024 , SPORTS BETTING, Featured Stories

            Wizards of Odds: The Science and Hard Work of Trading Teams
            By Cole Rush        Mon, Apr 8, 2024

            In order for sportsbook:   function prope       ney require    dedicated teams of traders to
            analyze and produce the best possible odds. It’s a tough      job, one that requires critical thi
            numbers and most of all, a love for the game.


                                                  The sports betting whirlwind spirals inevitably to new and
                                                  established markets alike, bringing with it a storm of wagering
                                                  activity. In the eye of the cyclone sit trading teams—dedicated
                                                  groups of professionals pulling the strings to keep sportsbook
                                                  operations afloat amidst the high winds of tentpole events and
            niche competitions alike.
            Behind the Curtain
            Pull back the veil on a trading team, and you're likely to see a metaphorical array of bells
            and whistles, buttons and levers, all being pulled, pushed and triggered at various intervals.
            It's a complex orchestra with numerous conductors waving their batons in rhythmic
            synchronization.
            Any given sports bettor won't notice much of a trader's work, and that’s by design. Traders                                                   \     Peay
            are the wizards working their magic—which, in fact, is just technology and applied
            knowledge—to make betting possible.                                                                                                      DISCOVER
            Georgios loakeimidis, senior trading operations manager at OpenBet, says: "We have traders
            with various focuses. Some handle our Managed Trading Services (MTS) customers, while
            others perform in-play duties or risk management. There isn’t one specific role; rather, there
            are different aspects across different departments.”
            Atypical day for a trader, loakeimidis continues, involves “checking prices, events, and
            markets. We closely monitor information that may affect these aspects and adjust
            accordingly. Utilizing tools to monitor risk is crucial as each event is unique, with every day                               PODCAST
            presenting new challenges.”                                                                                                  LISTEN IN APPLE PODCASTS
            Chase Thomson, account executive at Simplebet, says minor adjustments and quick tweaks                                       LISTEN ON 6 Spotify
            keep most of the secret sauce of trading invisible to bettors, and that’s a good thing.                                      © wares w vouruse
            “In an ideal world, [trading] is very under the radar,” he says. “There will be the occasional
            price adjustment, but we don’t have to adjust too frequently because our modeling is very
            accurate, and ultimately, we want to allow as much time as possible for the players to place                                           Ensue a)
            bets without getting rejected.”                                                                                              January 27-29: AML Fundamentals +
            Simplebet traders begin their day by looking over the results of the previous day, logging                                   AML for Casinos, Hilton San Diego
                                                                                                                                         Airport/Harbor Island. Gain insights into latest
            any discrepancies and noting observations to apply in the future.                                                            AML practices, regulations, and challenges for
                                                                                                                                         casinos. Produced by Skilld, For more
            “Following this,” Thomson says, “the team goes straight into researching the upcoming                                        information visit skilld.com/aml-event-2025 or
            fixtures for that day or evening. For Simplebet, that means looking at team tendencies, as                                   contact events@skiild.com/888,333.3039.




Document title: Wizards of Odds: The Science and Hard Work of Trading Teams - GGB News
Capture URL: https://ggbnews.com/article/wizards-of-odds-the-science-and-hard-work-of-trading-teams/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:07:52 GMT                                                                                                                                      Page 1 of 3
                                                                                                               January 27-29: AML Fundamentals +
            Simplebet
               Case traders   begin their day by looking over the
                       3:25-cv-01143-GC-JTQ                       results of the 1-5
                                                              Document            previous Filed
                                                                                            day, logging
                                                                                                   02/10/25   AML for 401
                                                                                                              Page       Casinos,ofHilton
                                                                                                                                      443 San PageID:
                                                                                                                                               Diego
                                                                                                              Airport/Harbor Island. Gain insights into latest
            any discrepancies and noting observations to apply in the future. 1299                             AML practices, regulations, and challenges for
                                                                                                               casinos. Produced by Skilld, For more
            “Following this,” Thomson says, “the team goes straight into researching the upcoming              information visit skilld.com/aml-event-2025 or
            fixtures for that day or evening. For Simplebet, that means looking at team tendencies, as         contact events@skiild.com/888.333.3039.
            well as bettor trends for the teams that are playing that day. This includes looking into if       February 23-25: SIGMA Eurasia, Dubai
            bettors bet on positive outcomes or negative outcomes for those teams and reviewing                Festival City, Dubai, United Arab Emirates.
                                                                                                               Produced by SiGMA Group. For more
            team’s general trends and approaches, such as 4th down aggression, run vs pass                     information visit sigma.world/eurasia.
            tendencies, and more.”
                                                                                                               February 25-27: SBC Summit Rio,
            While games are in progress, traders then monitor the action and check all the data for            Riocentro, Rio de Janeiro, Brazil. Produced by
                                                                                                               SBC Events. For more information visit
            accuracy throughout the day. They can also move or suspend lines if needed.                        sbcevents.com/sbc-summit-rio,
            All of this behind-the-scenes work translates to a seamless and simple experience for the          February 25-27: Africa Gaming Expo, Eko
            user. Malte Hegelr, VP of product at BtoBet, says: "Bettors, through our customers, have           Hotels and Suites, Victoria Island, Lagos,
                                                                                                               Nigeria. Produced by Africa Gaming Expo Ltd.
            access to over 75 sports selections, including a wide range of niche sports and 2,000 unique       For more information visit AGELagos.com.
            betting markets. Our work ensures a wide spectrum of choices.”
                                                                                                               March 10-12: SIGMA Africa, GrandWest
                                                                                                               Casino and Entertainment World, Cape Town,
            No Place       Like Home                                                                           South Africa. Produced by SIGMA Group. For
            Trading is a high-octane and high-pressure
                                                    job. It’s no surprise, then, that most traders are         more information visit sigma.world/africa.
            passionate about their work.
            “Traders possess an in-depth knowledge of the leagues, teams, players, and market
            dynamics,” says OpenBet's loakeimidis. “They can make informed decisions about adjusting               toga als
            odds.”                                                                                                   y

            In other words, traders are fans. They like sports, and they have a deep wealth of expertise
            to draw from. Market analysis tools and monitoring software help fill the gaps.
            The passion and knowledge required is a good foundation, but traders need more to
            succeed. Their job blends heart, brains and courage to make quick decisions. Communication
            is key.
            “Our team of traders maintains constant communication with each other through various
            channels,” says BtoBet’s Hegelr. They also communicate with our clients through various
            channels to maintain transparency and address their needs promptly.”
            Careful planning can also prepare traders for chaotic days or particular events. Thomson of
            Simplebet says: “Most communication actually happens before the event starts. Traders are         FEATURED STORIES
            well-trained and are directed on what to do in every situation before the games commence.         ‘CEDAR RAPIDS
                                                                                                              CASINO HOPES
            Once things start moving, everyone on the trading floor is in constant communication.”            DWINDLING AS
                                                                                                              MORATORIUM
                                                                                                              ADVANCES.
            Not in Kansas Anymore                                                                             WEEKLY FEATURE:
            With the building blocks of a solid trading team in place, the challenge then becomes             OPTIMISM FOR
                                                                                                              BRAZIL CASINO
            bringing trading services into legal markets. It’s hard enough to manage one market, let          LEGALIZATION IN H2.
                                                                                                              2025
            alone a smattering of global markets with distinct regulations and policies.                      U.S. IN FOCUS
            “The main focus around regulation is to not offer a market with the outcome already               SPORTS BETTING IN
                                                                                                              Focus
            determined,” says Thomson. “We offer over 1,000 markets in most of our games, and                 ‘TRIBAL GAMING IN
            making sure that none of those markets are up with a determined outcome is extremely              Focus
            important.”                                                                                       ASIA IN FOCUS
                                                                                                              LATIN AMERICA IN
            Geography obviously comes into play for traders, such as in the U.S. market, where college        Focus
            sports are both highly popular and highly regulated. College sports regulations vary widely.      SUPPLIERS IN FOCUS
                                                                                                              FANTINI’S FINANCI
            As of writing, Ohio prohibits player props on NCAA sports, Illinois bars any bets on in-state     BACK AGAINST THE
            schools and other states have their own minutiae for traders to parse.                            WALL
                                                                                                              GGB PODCAST: DEREK
            “In the U.S., this is further compounded by ensuring that no markets are offered on certain       WEBB, TABLE GAME
                                                                                                              INVENTOR; FOUNDER,
            college teams and jurisdictions, so we need to be extremely vigilant with what we do,” says       ‘THE CAMPAIGN FOR
                                                                                                              FAIRER GAMBLING
            Thomson.”                                                                                         ‘TABCORP CONFIRMS
                                                                                                              CEO ARRIVAL,
            Regulations also encompass external factors. loakeimidis says: “Age limits, permissible           ATLANTIC LOTTERY
            sports and markets, responsible gambling practices, and consumer protection” are all top          APPOINTS MCCREADY
                                                                                                              AS NEW CEO
            considerations for a trading team.                                                                GROUPE PARTOUCHE
                                                                                                              OPENS BENIN CASINO




Document title: Wizards of Odds: The Science and Hard Work of Trading Teams - GGB News
Capture URL: https://ggbnews.com/article/wizards-of-odds-the-science-and-hard-work-of-trading-teams/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:07:52 GMT                                                                                                           Page 2 of 3
            “The main focus around regulation is to not offer a market with the outcome already                    SPORTS BETTING IN
               Case 3:25-cv-01143-GC-JTQ Document 1-5 Filed 02/10/25                                              Focus
                                                                                                                  Page  402 of 443 PageID:
            determined,” says Thomson. “We offer over 1,000 markets in most of our games, and                      ‘TRIBAL GAMING IN
                                                                               1300                                Focus
            making sure that none of those markets are up with a determined outcome is extremely
            important.”                                                                                            ASIA IN FOCUS
                                                                                                                   LATIN AMERICA IN
            Geography obviously comes into play for traders, such as in the U.S. market, where college             Focus
            sports are both highly popular and highly regulated. College sports regulations vary widely.           SUPPLIERS IN FOCUS
                                                                                                                   FANTINI’S FINANCE:
            As of writing, Ohio prohibits player props on NCAA sports, Illinois bars any bets on in-state          BACK AGAINST THE
            schools and other states have their own minutiae for traders to parse.                                 WALL
                                                                                                                   GGB PODCAST: DEREK
            “In the U.S., this is further compounded by ensuring that no markets are offered on certain            WEBB, TABLE GAME
                                                                                                                   INVENTOR; FOUNDER,
            college teams and jurisdictions, so we need to be extremely vigilant with what we do,” says            ‘THE CAMPAIGN FOR
                                                                                                                   FAIRER GAMBLING
            Thomson.”                                                                                              ‘TABCORP CONFIRMS
                                                                                                                   CEO ARRIVAL,
            Regulations also encompass external factors. loakeimidis says: “Age limits, permissible                ATLANTIC LOTTERY
            sports and markets, responsible gambling practices, and consumer protection” are all top               APPOINTS MCCREADY
                                                                                                                   AS NEW CEO
            considerations for a trading team.                                                                     GROUPE PARTOUCHE
                                                                                                                   OPENS BENIN CASINO
            Collaboration, too, is a defining factor in trading success. “We work closely with our legal and       TROUBLED STAR
            compliance teams to ensure full adherence to regulatory requirements while optimizing our              ENTERTAINMENT
                                                                                                                   AGREES A$60M DEAL
            offerings to meet customer demand,” says Hegelr.                                                       TO SELL STAR
                                                                                                                   SYDNEY EVENTS
                                                                                                                   CENTRE
            The Yellow Brick Road
                                                                                                                   DOUBTS REMAIN
            Communication? Check. Passion and expertise? Check. Regulations and compliance? Check.                 OVER CASINO SPACE
                                                                                                                   ALLOCATION IN THAI
            What's next?                                                                                           BILL

            This is where the trading journey begins. Games start, whistles are blown, and step-by-step            ‘COLUMNS
            (or brick-by-brick) trading kicks off in earnest—it really is step-by-step, as the experts             ASIAN GAMING
            interviewed noted that movements in odds are usually gradual                                           CASINO-OLOGY
                                                                                                                   EUROPEAN GAMING
            “Common types of odds movements occur regularly in response to global betting markets,                 GLOBAL GAMING
            with gradual adjustments being the norm,” says Hegelr.                                                 Goods & SERVICES
                                                                                                                   LATIN AMERICA
            Challenges can arise along the way, but they're horses ofa different color.                            NUTSHELL
            Hegelr continues: “Drastic movements are rare but can occur due to factors such as injury              ONLINE GAMING
            reports, unexpected weather conditions, or significant changes in team dynamics, such as a             PEOPLE
            new coach.”                                                                                            PRESS RELEASES
                                                                                                                   SPORTS BETTING
            Gradual movements can be handled by computers, provided the right data is input ahead of               TRIBAL GAMING
            time. But traders still must maintain a steady hand. Simplebet's microbetting odds markets             UNITED STATES.
                                                                                                                   GAMING
            are particularly dynamic, requiring a combination of man and machine to manage.
                                                                                                                   GGB PUBLICATIONS
            “Most odds that are changed directly by the trader are relatively small,” Thomson says                “GGB Magazine
            “Odds changes are determined by action on the market and research done before the game.                 GGB News
            If unbalanced action is coming in on a market, then odds are adjusted towards that action.”             Casino Style
            loakeimidis says: “Odds movements are an inherent aspect of the trading process. While                  Tribal Government
            significant fluctuations in odds are less common in prominent leagues like the Premier                  Gaming
            League, they can be more prevalent in lower-profile events or niche markets.
            “Ultimately, the acceptability of odds changes is determined by a combination of factors,
            including market demand, risk exposure, and maintaining competitive pricing. Striking the
            right balance between responsive pricing adjustments and preserving profit margins is a
            delicate yet essential aspect of effective sportsbook trading.”


                      Did you enjoy this article? Opt in for all the latest from GGB News!




                                              GGB Magazine     | GGB News    | Casino Style   | Tribal Government Gaming

                                                                   © 2025 GGB News.       Privacy Policy




Document title: Wizards of Odds: The Science and Hard Work of Trading Teams - GGB News
Capture URL: https://ggbnews.com/article/wizards-of-odds-the-science-and-hard-work-of-trading-teams/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:07:52 GMT                                                                                       Page 3 of 3
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 403 of 443 PageID:
                                     1301




                            Exhibit 66
               Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25                                  Page 404 of 443 PageID:
              US                   To) a                 CCC               1302Co                                                             {English (US) »               Senn


     Draftkings Help Center (US) > Fantasy Sports > Game Styles & Contest Types

      €                                                                                                                                       ceca
                                                                                                                                               Fantasy Sports Basics
     Contest Type: Beginner - Overview (US)                                                                                                    Da a COS ac)
                                                                                                                                               Ceres oe Aen ad
                                                                                                                                               Conca ee eect)
       Eee een CaN Ce CeO                         eee         Cs            ee cae Unt eae             Ere                           Rt ioi    Resolving Fantasy Sports Issues
       Bere ence
                                                                                                                                               ares
       Pee          a lerelela
                                                                                                                                               et
       Pee          a lerelela

                                                    View this visual example below.

                                                                                                                          ba
                                       aT               RSE ETE (a)
                                           Cae)              Prizes: $500         Pn                  120:11:02
                                           eee               tne)                 Pet                 12/17 1:00 PM EST
                                                  CU nee aoc}                                         Coe TOxT)

                                                                                      PRIZE PAYOUTS
                                                                                        st




     Frequently asked questions

          Can | enter a Beginner Contest if | have an experience
          badge?
          No, players with experience badges or who have entered more than 50 contests are not eligible to participate in
          eens


          How can | find Beginner Contests?                                                                                    ..}               How can we help?




Document title: Contest Type: Beginner - Overview (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/24823571928211-Contest-Type-Beginner-Overview-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:16:27 GMT                                                                                                                       Page 1 of 2
                Case 3:25-cv-01143-GC-JTQ                      Document 1-5 Filed 02/10/25                          Page 405 of 443 PageID:
                                                                        1303




                                                                                                      DRAFT TEAM



     Frequently asked questions

         Can | enter a Beginner Contest if | have an experience
         badge?
         No, players with experience badges or who have entered more than 50 contests are not eligible to participate in
         eens


         How can | find Beginner Contests?
         1. Filter or select your preferred sport.
         Pee emule            ml

             See              ues            OMe SN      men keen i                      Ren ee eres



         What if | earn an experience badge while | am in a beginner
         contest?
         SO    Re MNase een cee Rm                                       Ren cee               RAN       ae TAR)
         sae retraite meoramri                                            lel




      MTS ae late              a        Cd      La)




        REE                Rc ctaa td                                                                              Sees
        cr                                                                                                         Cre CIEE   PCa   ee
        Perry                                                                                                            i
        222 Berkeley St                                                                                            DOM Cay
        Cenc        esen                                                                                           Peony


                                                                                                                   ---}       Perec td




Document title: Contest Type: Beginner - Overview (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/24823571928211-Contest-Type-Beginner-Overview-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:16:27 GMT                                                                                        Page 2 of 2
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 406 of 443 PageID:
                                     1304




                            Exhibit 67
                  Case 3:25-cv-01143-GC-JTQ                        Document 1-5 Filed 02/10/25                          Page 407 of 443 PageID:
    wy         COM          CL         a                  CC            Cc CT  aC
                                                                            1305                                                   |   §O      English (US) »   ee


     Draftkings
          Help Center (US) > Fantasy Sports > Fantasy          Sports Basics


      ©                                                                                                                                eRe
                                                                                                                                        Fantasy Sports Basics
     Who is eligible for beginner and casual Fantasy Sports                                                                             PRO Va TCSeS Tcd
     contests? (US)                                                                                                                     CEES ee Ae cea eed

                                                                                                                                        ence Meee eel)
     DraftKings is committed to maintaining a fair and level playing field to preserve the competitiveness of the game, which is
     why we offer different types of contests for players with different experience levels.                                             CEM neo tees
                                                                                                                                        alec

          Beginner Contests                                                                                                             et
          Beginner contests allow players new to DraftKings to start their career against other rookies.   Beginner contests
          are open to less experienced players who haven't earned an experience badge and have played under 50
          noes

                                                     View the visual example below.




          Casual Contests
          Casual contests are open to players who have played in more than 50 contests but haven't earned an experience
          Reece


          Experience Badges
          faeieee Eee ie              Cot nan SCC               OEe nei eh ENCSenC eo kogca eer                       ees
          their opponents' experience. Anyone with an experience badge is ineligible to enter beginner and casual contests.

                                                     View the visual example below.




                                                                                                                                            How can we help?




Document title: Who is eligible for beginner and casual Fantasy Sports contests? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405224001811-Who-is-eligible-for-beginner-and-casual-Fantasy-Sports-contests-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:21:13 GMT                                                                                                          Page 1 of 3
               Case 3:25-cv-01143-GC-JTQ                             Document 1-5 Filed 02/10/25                Page 408 of 443 PageID:
                                                                              1306




         How to join either Beginner or Casual contests
          1. Sign into your account and visit the Lobby.
         Pe en tm Cae aR                           ae
         3. Use the Contest Types filter in the Lobby to display Beginner or Casual contests only.

                                                         View the visual example below.


                Pate                                                       =
                CS            eee                        ee     eee
                Co      a     a                      a                          =)




                                  ered




       MTS ae late           a         Cd      La)




                                                                                                                                 How can we help?




Document title: Who is eligible for beginner and casual Fantasy Sports contests? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405224001811-Who-is-eligible-for-beginner-and-casual-Fantasy-Sports-contests-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:21:13 GMT                                                                                              Page 2 of 3
               Case 3:25-cv-01143-GC-JTQ                              Document 1-5 Filed 02/10/25               Page 409 of 443 PageID:
                                                                               1307




         How to join either Beginner or Casual contests
          1. Sign into your account and visit the Lobby.
         Pe en tm Cae aR                             ae
         3. Use the Contest Types filter in the Lobby to display Beginner or Casual contests only.

                                                          View the visual example below.

                              ra              ai            7              Ics
                OS            a                    Cd
                    a         a                      Te             Cra)

                              Game style ©


                                                                                             Ceara
                                                                                                     coy




                                  ered




       MTS ae late           a           Cd        La)




        REE Rc ctaa td                                                                                          Sees
        cr                                                                                                     Cre CIEE          PCa     ee
        Texte
        Pees                                                                                                    em     ted
        Cee PSEL)                                                                                               Peony


                                                                                                               ---}              Perec td




Document title: Who is eligible for beginner and casual Fantasy Sports contests? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4405224001811-Who-is-eligible-for-beginner-and-casual-Fantasy-Sports-contests-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:21:13 GMT                                                                                        Page 3 of 3
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 410 of 443 PageID:
                                     1308




                            Exhibit 68
                  Case 3:25-cv-01143-GC-JTQ                       Document 1-5 Filed 02/10/25                       Page 411 of 443 PageID:
    oy            Og                                       ae)     Pec Can    a crt
                                                                           1309                                              ;     $0 English (US) ~          Giga



     DraftKings Help Center (US) > Daily Fantasy > econ tee ee

     Ca
                                                                 What        is the Player First Initiative?                                     art id:
     Video guides
         Video guides
          EVLA         ita ee era)
                                                                    OPP Aco
                                                                          P sei loe/
          EC MK OR                        DCCC)
           Peete Ua                  naar oasa(0))
     MONEE Ree tas eC                                             Pr Cm            ACO me ee ied ea ee Un ue  ene ne                                     RRs
                                                                  NR Ne Eee                         Re Ce eater el                                       Coney
      Cee ae Ey
                                                                  Ee gee a        Re ieee nee Ce Cte
          SRR Rec ee cine ket                                     aaa    eNey ech
           Ted
          EM Rene ca Pee kt                         og            Pek
             CT eee en Re                           ede a)
             ad
                                                                    TEs Reuter        eee        eC Tn  ee eee Sa
          B Can | requesta callback?                                Sea Caen me eae       aCe eeu eS Meese Cola
         Bs                ier)                                     Dee eee       Riles me     ee      nae      ra)
                                                                    Be Cee re  ona SRO R neh
               oe Ce
                                                                    Deca se     Se RU  U eee cee te Una Co   SEC wo
     My Account
                                                                    Seay ane       Ree Rm Ce eR Cut ee -V ae een ee
         ped                                                        EEN Ret aaa eae el nee nem        Rm ea ERT
          B Can I play Draftkings in Puerto Rico?                   Cen ee mea RUC
         Led                                                        CRNA a eee                       RU         RC RC ROO [RA soe
                                                                    Peete               Rn                    es eR     Uke  eS eee
          SR           Rn       cad                                 $5, or $10 amounts.
          SRS un                    Rg
           EWI aoe                                                  eee                    ena eee Ue eR                                     meer coe
                                                                    Eee Cee                          Rn ea ne                                RCE)
          CS                   en                   et              contests. Find Beginner Contests
          ECC       CNET       Nae M tetrad
                                                                    (EREEUENEEEEREES: Experience Badges are available to help all players easily identify
          Seeman                                                    Nee Co           eR           mat uCues LCC ont Re kon a
               esa tersied
                                                                    eee ce
     DENA
                                                                    Pee                          eee CRUE mk: tee                                 Rec nas
       DORR                                                         send you notifications to join a contest or enter a league. When a user is added to this
          Se      ee    ue     Race           TL)
                                                                    Tae escort ecm CORT Se Meteo                                    Ra ee             RCN
               Por eect                   CS)                       FN MaRS ieee                       ee tery 21 |
          TEAC                 Oo                   send            CeO ROCCE Em Ceduna ey        Sue      mere at aOR CUn Eider
               Meters RY icd
                                                                    Oe ee ee   eC Rec Reet on     Rec Ree cee ae tear)
          IE NATROL               MLNaero otetgt ad                 eS        MOC RET CEC Mae       meus          Cota       are
                    ea curd                                         PENRO CR eRe a            CRM     eRe eae Rte ae
          Seo      Re ep                              eo            en ROC RAC RM Ren Cem Cen CERRO ase R ORO Ree ter
           Sere Ca ae
          ERO om  AC
            RS eat                                               oa                                                                                           iisees
         fea         oe        elas)                             Meee         ree        keen og                                 Are there restricted locations for
                                                                 fermented                                                                    Flashdraft contests?
          SCA CO               enced
           ecg
          SRV cee ee                           ke TY
           Comers
               MVC                                  eld          WER
                                                                  Tee vaclel tell ed a                   No
               Are there restricted locations for




Document title: What is the Player First Initiative? – DraftKings Help Center (US)
Capture URL: https://draftkings1452613992.zendesk.com/hc/en-us/articles/4402266323987-What-is-the-Player-First-Initiative
Capture timestamp (UTC): Mon, 03 Feb 2025 22:29:42 GMT                                                                                                           Page 1 of 3
              Commitment
                   Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25               Page 412 of 443 PageID:
         SRV cee ee                       ke TY                                1310
          Comers
         CRO         eta      C aa              CL                   Meee   Tecra MittonEd
              Are there restricted locations for
              Eee aescceed
         EA        Raa                Reel Re
              Ceuemecacetd
         CSR Rac     au ee
          ila met Ieee Res ord
         fees      eee)
          PE Omen    er ces
          ee Cun sid
              Mai cnn   ee
              PEI oe ee ea                            A
              a ea tad
              PENA           ec a oe             tec
              OCT
              DPA            hc                       ees
              Pte    tuo
              Pure a   OR Ee
              Ce sed
         eRe eee                                      a
           Pier
         SRV ao                   A Rea)
          a Daily Fantasy Sports contest?
       Contest Entry
         Ea kOe ee eC
          Pees
         EM             CR     Re           aa                  Ld
         RES            nee
         SCR            AeA                       od
          (Oy
         RRO          ara                   een
          ld
         SR           ao Ree EER Ra eo)
              eco
         SRN                        UR as
         ORs       Ce                     Rae
              teas
       BCs oc

         OREN            aeRO
                            el oe
              et ae             Na
       TT
         (Orie          Bese        eee   ial    ne       aie

                        Cet oCer
         ECM               CoM ees crea Sic)
              rete           ceus Cann cet
         Eee             Rett sed

     leet d
       DORR
         B How do | register my Sportsbook
           Eee                  aid
         fe Reta enim                Coe eRe              ao
              NC      MLR            ai ear
              Me ae                             eC
              Parlay?



Document title: What is the Player First Initiative? – DraftKings Help Center (US)
Capture URL: https://draftkings1452613992.zendesk.com/hc/en-us/articles/4402266323987-What-is-the-Player-First-Initiative
Capture timestamp (UTC): Mon, 03 Feb 2025 22:29:42 GMT                                                                                    Page 2 of 3
         EMCase
              CR 3:25-cv-01143-GC-JTQ
                   Re    aa    Ld                                     Document 1-5 Filed 02/10/25               Page 413 of 443 PageID:
         RES               nee                                                 1311
         SCR              AeA                          od
          (Oy
         RRO              ara                   een
          ld
         SR               ao Ree EER Ra eo)
                eco
         SRN                         UR as
         ORs          Ce                   Rae
                teas
       BCs oc

         OREN               aeRO
                               el oe
                et ae               Na
       TT
         (Orie             Bese      eee   ial      ne    aie

                          Cet oCer
         ECM                 CoM ees crea Sic)
                rete            ceus Cann cet
         RVG               eer
     leet d
       DORR
         B How do | register my Sportsbook
           Eee                  aid
         &      General   Betting   Rules and    House    Rules

         ERR                        OMe         aces
         eR                                a             RC)
                CU NEs
         SR a ee eed
          Perr: AU Sd
         eeu               Cag
         SRA          Meee                         ats
         SRV              R UCase

         ER                         e RR          ORS           aed
         Sree             Melek            Lad

                 oe                 Cu
         (SME     ee Leas)
         SS ae ea                    od




            REE Rc ctaa td                                                                                      Sees
        cr                                                                                                     Cre CIEE     PCa   ee
        Texte
        Pees                                                                                                    Pee ony
        Cee PSEL)




Document title: What is the Player First Initiative? – DraftKings Help Center (US)
Capture URL: https://draftkings1452613992.zendesk.com/hc/en-us/articles/4402266323987-What-is-the-Player-First-Initiative
Capture timestamp (UTC): Mon, 03 Feb 2025 22:29:42 GMT                                                                                    Page 3 of 3
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 414 of 443 PageID:
                                     1312




                            Exhibit 69
               Case 3:25-cv-01143-GC-JTQ                        Document 1-5 Filed 02/10/25                       Page 415 of 443 PageID:
                                                                         1313




                                WHERE CAN YOU PLAY DRAFTKINGS
                                            PICK6?




                                        Start making player stat picks on DraftKings Pick6 today




                                                         What is DraftKings Pick6?

                              Pick6 is a peer-to-peer fantasy game where you build a lineup (your “Pick Set’) of 2 or more athletes and
                              select whether or not you believe each will outperform their listed stat projection. Enter your Pick Set in
                             Pick6 contests to compete against other players. Get enough picks correct and win a share of cash prizes.
                              You must be at least eighteen (18) years of age to open an account, participate in contests, or win prizes
                            offered on Pick6. You must be at least nineteen (19) years of age at the time of account creation if you are a
                            legal resident of Alabama or Nebraska, or at least twenty-one (21) years of age if you are a legal resident of
                                                              Arizona, lowa, Louisiana, or Massachusetts.




Document title: Where is Pick6 Available? | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/where-is-pick6-available
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:59 GMT                                                                                       Page 1 of 3
            DAILY    FANTAS   0                   Sem          Dare   a    ed

            eS                                 ee                         ee
                Case 3:25-cv-01143-GC-JTQ                             Document 1-5 Filed 02/10/25              Page 416 of 443 PageID:
                                                                               1314



                                                eGR              EEE NRC                  TL
                                               US states and Canadian provinces / territories:
                                                                           Ear) elec   PAI ee

                              Alabama                                                  South Carolina
                                  Alaska                                               South Dakota
                                  Arizona                                              Tennessee
                              Arkansas                                                 Texas
                                  California                                           Utah
                                  Colorado                                             Vermont
                                   Connecticut                                         Virginia
                                  Delaware                                             West Virginia
                                   District of Columbia                                Wisconsin
                              Georgia                                                  Alberta
                                   Illinois                                            British Columbia
                                   Indiana                                             Manitoba
                                  Massachusetts                                        New Brunswick
                                  Minnesota                                            Newfoundland and Labrador
                                  Missouri                                             Northwest Territories
                                   Nebraska                                            Nova Scotia
                                   New Hampshire                                       Nunavut
                                   New Mexico                                          Prince Edward Island
                                   North Carolina                                      Quebec
                                   North Dakota                                        Saskatchewan
                              Oklahoma                                                 Yukon
                                   Rhode Island




                                                        Looking for where sports betting is legal?
                                         Sere         aoe Cee cea me ee oe eee                               oe Ree
                    Check out our page on where sports betting is legal to find the most up to date information on where you can bet on sports.


Document title: Where is Pick6 Available? | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/where-is-pick6-available
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:59 GMT                                                                                            Page 2 of 3
               Case 3:25-cv-01143-GC-JTQ            Looking forDocument
                                                                 where 1-5
                                                                        sportsFiled
                                                                        1315
                                                                                 betting  is legal?
                                                                                    02/10/25    Page 417 of 443 PageID:

                                             Sere              aoe Cee               cea me ee oe eee    oe Ree
                  lana       eeig       ae                                           rT RUC a esa Sek CMON    tS tenner




                                               Looking for where online gambling is legal?
              Online Gambling is available in a growing number of places across the United States. Check out our page on where Online Gambling
                                               s legal to find the most up-to-date information on where you can play.



                                                                                      We’re bringing you action on all your
                                                                                      devices
                                                                                      Download the DraftKings Pick6 app or play from your computer




                               eee                   eon                                                        cere)                         FReronuy
                               co aaN                Peete                                                      oN as                         ve
                                                     Terms of Use                                               Pick6 NBA
                                                          ne                                                    con
                                                     Privacy Policy                                             Pick6 PGA TOUR
                                Gea                  Teesea eteeigt]                                            Pick6 UFC.
                                                     Average Results                                            Sere
                                                     Pree eee                                                   Pick6 College Basketball
                                                     Rae ees                                                    Pick6 Soccer
                                                     Ree Seeger                                                 Sey
                                                     Deny                                                       Pick6 Help Center (FAQs)
                                                     Pee ee ey                                                  Reco                 sa
                                                     Dees
                                                     Draftkings Mobile Apps
                                                     Do Not Sell or Share My Personal Information



                                                                                  ambling Problem? Call 1-800

                                            Higher age limits may apply in some states. Eligibility restric                                re Draftkings Pick6 of
                                        Meee ceo                 ane
                                      AN       eC eoc)




Document title: Where is Pick6 Available? | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/where-is-pick6-available
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:59 GMT                                                                                                              Page 3 of 3
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 418 of 443 PageID:
                                     1316




                            Exhibit 70
          DAILY FANTA     SPO          Cee OM CMD             de a       esol
               Case 3:25-cv-01143-GC-JTQ                         Document 1-5 Filed 02/10/25                     Page 419 of 443 PageID:
            Claas               eat}     Leeds eld            Get $50 Credit 1317
                                                                              PETS




                                                     DRAFTKINGS

                                                     PICK:6



               Pick “more or less” on player projections. Compete for cash prizes. It’s that simple.

                                                   Start Making Picks




                                               Make your Picks
                                               Build your entry of 2+ picks (3+ picks in Colorado). Your picks must contain athletes from
                                               the same sport and pick group (a set of picks available from a group of
                                               games/competitions). For each player, simply select if you think they'll have more or less
                                               than their listed stat projection. Please note: you can not pick the same player twice and
                                               you must pick players from at least two different teams.




                                               Choose your Entry Fee
                                               Once you finalize your picks, choose your entry fee amount. Your entries will be
                                               automatically distributed into available contests, subject to your confirmation. Get your


Document title: How to Play Pick6 | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/how-to-play-pick6
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:45 GMT                                                                                      Page 1 of 4
               Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25                    Page 420 of 443 PageID:
                                                                           1318

                                               Choose your Entry Fee
                                               Once you finalize your picks, choose your entry fee amount. Your entries will be
                                               automatically distributed into available contests, subject to your confirmation. Get your
                                               picks in today for as little as $1!




                                               Sweat your Picks
                                               When the games go live, use the My Picks tab to follow your picks in real time to track how
                                               your players are performing against their projections and how they stack up against other
                                               users. View your estimated prizing update in real time as picks in your contests are graded
                                               as wins or losses!




                                               Compete for Prizes
                                               Get enough correct picks and win a share of the contests’ guaranteed prizes. Any prizes
                                               won will be credited to your DraftKings account after contests are finalized. View our Pick6
                                                Prizes page to see what customers have won in recent days!




                                                                     Sports you can play

                   F.                      a
                   bs                    COLLEGE
                                            BASKETBALL
                                                                               ie
                                                                                                         Submit your CFB                   New sport! Make
             Make your NBA                  College Hoops is             NEL picks are back!               picks today!                     your picks for
             picks on points,              now live on Pick6!            Compete for huge              Location restrictions           projections on the     36
          assists, and more to            Location restrictions          cash prizes on the                  apply.                             pitch!
            score cash prizes!                  apply.                        gridiron.
                                                                                                             Play Now                         Play Now
                Play Now                       Play Now                      Play Now




                                                                          See Promotions




Document title: How to Play Pick6 | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/how-to-play-pick6
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:45 GMT                                                                                                       Page 2 of 4
               Case 3:25-cv-01143-GC-JTQ                      Document 1-5 Filed 02/10/25             Page 421 of 443 PageID:
                                                                       1319

                                                                    See Promotions




                                                                   We’re bringing you action on all your
                                BIPICK:6                           devices
                 tte exe}                                          Download the DraftKings Pick6 app or play from your computer

                                                                    Ce   fe


                                                                    Pick6 FAQs

                How do | access Pick6?                                                                                            .



                Where is Pick6 available?                                                                                         .



                Which stat projections are available in Pick6?                                                                    b



                Where can I learn more about how Pick6 works?                                                                     .




                               Dery              Ug                                                         FReronuy
                                    vl              Teed                                                    TLC




Document title: How to Play Pick6 | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/how-to-play-pick6
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:45 GMT                                                                                Page 3 of 4
               Case 3:25-cv-01143-GC-JTQ                           Document 1-5 Filed 02/10/25               Page 422 of 443 PageID:
                                                                            1320
                                                                              Pick6 FAQs

                How do | access Pick6?



                Where is Pick6 available?



                Which stat projections are available in Pick6?



                Where can | learn more about how Pick6 works?




                               Dada Ty            el                                                                  eC
                               Ee                     Mee                                                             Uti
                                                      Teas
                                    oy           Fair Play Commitment
                                    Oe


                                                 Dey
                                                 Pare:                                          w to Pl
                                                 aE                                                 CCE
                                                 Pred
                                                 Prey
                                                 Pare
                                                 Done  See                   I



                                                                         ymbling Pr   HN   en

                                          Cee                a              cee ema          me      cece        Eas
                      eee                 Me cena                       Toad               Ce           re   -pick6-avallable}
                     Tea                  nig a contest
                                                    on DraftKing         rt ft                i. S eeu          Tenn          oy




Document title: How to Play Pick6 | DraftKings Pick6
Capture URL: https://pick6.draftkings.com/how-to-play-pick6
Capture timestamp (UTC): Tue, 28 Jan 2025 20:55:45 GMT                                                                                 Page 4 of 4
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 423 of 443 PageID:
                                     1321




                            Exhibit 71
    |           i BS)
         = yAN Case    |S    OO)
                    3:25-cv-01143-GC-JTQ                                      Document 1-5 Filed 02/10/25 eto
                                                                                                            Page 424 of 443 PageID:
                                                                                       1322
  BETTING       | BASKETBALL        | BETTING GUIDES             | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES |                SOCIAL BETTING | BALLISLIFE BETS                  Q




        DRAFTKINGS PICK6 REVIEW: WHERE IS DRAFTKINGS                                                                          PICK 6 LEGAL + AGE TO
        WAGER ON THE DRAFTKINGS PICK6 APP
        WHAT IS DRAFTKINGS PICK 6?

         bo        fel @x-)

                                                                                                                                    Play $5, Get $59 in
                                                                                                                                  Pick6 Credits Instantly

                                              E>lolol
                                                  Find out how to get
                                                                                                                                                 Play now

                                                                                                                                       =o    Players from the US accepted




                              PNM        asoDr}              Res aad             ANTAL




         Prom     Play?              +        =         Show States ¥     $   1-5 Days      Draftkings Ltd




        pick6draftkings.com              EN                        Phone, Email Support        support@draftkings.com



          877-659-6066




                          Astramskas (Redapples) X @ S ¢                             Fact checked
                                                                                             by Sara Jane 6 amelli      of2
                                on 02/03/2025

         Table of Contents

             1. Your Pick6 Draftkings guide
            2. Pick6 DraftKings FAQs answered
            3. Our final say on the Pick6 fantasy system from Draftkings
            4. Draftkings Pick6 FAQs


        YOUR       PICK6         DRAFTKINGS                 GUIDE
        WHAT       IS DRAFTKINGS                   PICK6?
        Pick6 is an innovative new fantasy pick-and-play system that lets you compete with real opponents in
        a peer-to-peer gaming environment. Participants must pick 2-6 players to create a “Pick Set”, with the
        goal being to outperform their opponents based on the stat projections of their selections.




Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                                      Page 1 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES
                 Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25| SOCIAL
                                                                                                    PageBETTING | BALLISLIFE BETS
                                                                                                            425 of 443 PageID:
                                                                             1323
       Pick6 is an innovative new fantasy pick-and-play system that lets you compete with real opponents in
       a peer-to-peer gaming environment. Participants must pick 2-6 players to create a “Pick Set”, with the        co
       goal being to outperform their opponents based on the stat projections of their selections.
                                                                                                                     DRAFTKINGS PICK6 DFS BONUS
       We'll cover the ins and outs of how to play Draftkings Pick6 later in the guide, but suffice it to say that
       this is a truly unique sports betting experience. Currently, you can make Pick6 selections on the NFL,             Play $5, Get $59 in
       NHL and NBA with more sports set to be integrated into future iterations of the game. DK Pick6 is              Pick6 Credits               Instantly
       available on desktop and mobile devices, with an intuitive smartphone app facilitating convenient on-              PROMO cove
       the-go play.                                                                                                                     weeeee


                                                                                               etsonus                             Pyro
             whce          Play $5, Get $59 in Pick6 Credits
                           Instantly                                                                                        =      prayer   s US accepted
                                                                                                                                       trom the


       HOW       TO PLAY DRAFTKINGS              PICK6
       It’s time to take you step-by-step through the process of playing Pické at Draftkings. If you've
       previously competed in online fantasy leagues some elements of Pick6 DK should be pretty familiar,
       although there are certain to be some unique features and additions that you may never have
       encountered before. After all, this is a totally unique fantasy variant that has brought some pioneering
       new features to the fore.


       With all that said, let's take a closer look at how the DK Pick6 system works.


         Step 1: Register for a new DraftKings Pické account                                                   a
         Since Pick6 is a DraftKings product, you can use your existing DK login credentials to get started
         with the brand's new pick-and-play fantasy system. If that applies to you, jump ahead to the next
         step.

          Not yet registered with DraftKings? No sweat. As covered in our full DraftKings review, getting
         started with this awesome US sports betting specialist couldn't be simpler and you can join
        directly from the Pick6 portal.
         To register with DraftKings, simply:
              1. Tap the green “Log in/Sign Up” button in the top right of the main DK Pické play screen
                 Note that you can also create a new DK account directly in the Pick6 app.
             2. Enter the required details including your preferred email, username, and password, before
                 adding your phone number. There's also the option to add promo codes at this stage, so be
                 sure to check out our guide to the best DraftKings Pick6 promos before you start.
             3. The final registration step is to read the T&Cs and agree to the DK terms of use. Note that
                 players must be 18+ to access all DK Fantasy products, rising to 19+ and 21+ in selected
                 jurisdictions (see my list of DK Pick6 legal states below for more information).
         All registered? Great - then it's time to play Pick6 using the Draftkings Bonus.


         ‘Step 2: Create a pick set                                                                            a
         When you land in your shiny new Draftkings Pick6 account, your first order of business will be to
         create your first “Pick Set” - the team of players from the NBA, NEL, or NHL that you want to make
         a part of your first fantasy contest.

         A Pick Set at Pick6 DK consists of 2-6 players from the same sport. For each player you choose,
         you'll need to predict whether they have more or less than their stat projection. Players can’t be
         chosen twice on any Pick Set and you must choose players from two teams as a minimum.
         Remember: since Dk Pick6 is a peer-to-peer fantasy league, your Pick Sets will be pitted against
         other participants within contests. As well as being super fun and competitive, this also brings
         peace of mind that the game environment is fair and unbiased.




Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                        Page 2 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES
                    Case 3:25-cv-01143-GC-JTQ                   Document 1-5 Filed 02/10/25| SOCIAL          BETTING | BALLISLIFE BETS
                                                                                                           Page  426 of 443 PageID:
          Remember: since DK Pick6 is a peer-to-peer fantasy league, your Pick Sets1324
                                                                                    will be pitted against
          other participants within contests. As well as being super fun and competitive, this also brings
          peace of mind that the game environment is fair and unbiased.                                                  a
                                                                                                                         DRAFTKINGS PICKS DFS BONUS

          Step 3: Choose your bet amount                                                                          A           Play $5, Get $59 in
         Once you've tweaked your Pick Set to the nth degree, the next step is to choose the entry bet                    Pick6 Credits Instantly
        arnount you want to play with. Note that however much you choose to play with, the amount will                     PROMO CODE
                                                                                                                                            wee
         be spread proportionately across all available contests; you can customize this spread manually
          before confirming your final bet amounts.                                                                                        layne


          ‘Step 4: Monitor your Pick Set to gauge how it’s performing                                             A             B=9 prayers trom the US accepted
          When games get underway, both the DraftKings Pick6 app and the desktop site allow you to
          monitor the progress of your selections to see how they're performing against other participants
          ina given contest prize pool. To see a live view of your Pick Set based on current gameplay, simply
          visit the My Picks tab on the Draftkings Pick6 site or in the app.


          Step 5: Pick up your winnings                                                                           a
          If it turns out that you have a natural aptitude for DK Pick6 and manage to place enough correct
          picks to earn a share of a contest's prize pot, your prize will be automatically credited to your
          DraftKings account once all live games and contests are finalized
          Typically, Draftkings Pick6 payout amounts are based on the following criteria
             * The number of correct picks made in a qualifying Pick Set
             * The number of “shares” you had in a given contest
          Asan example, let's say a S-Pick NBA contest has a $10,000 prize pool. Pick Sets with 5/5 correct
          selections would take home $8,000, while those with 4/5 would bank $2,000.
          All Draftkings Pick6 contests feature an estimated prize pot based on individual wagering
          amounts, which you can review prior to entry.


       And that's basically the long and short of how Pick6 by Draftkings works. In my experience, the more
       you experiment, tweak, and play around with this awesome sports selector game, the more you'll
       ultimately glean the best strategies and tactics to use. So, don't be afraid to get creative while
       keeping those early bets small, manageable, and in line with your regular gambling habits.

                            Co
                                           Sear
                             DRAFTKINGS      Betyg
                             ‘SPORTSBOOK

                    eo@manca



                            Pree etal
       DraftKings   Pick6    offer

       PICK6          DRAFTKINGS           FAQS ANSWERED
       | know there's a lot to get your head around when starting out with DK Pick6 as a complete beginner,
       but | promise it will be totally worth the effort. After all, this is a thrill-a-minute sports garning platform
       that takes fantasy league play to a whole new level.
       So, aside from the specific gameplay rules associated with Pick6, what else do you need to know? To
      answer that, we've handpicked a bunch of Pické-related FAQs that we'll be answering in detail below.



Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                             Page 3 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES
                     Case 3:25-cv-01143-GC-JTQ                    Document 1-5 Filed 02/10/25| SOCIAL
                                                                                                  PageBETTING | BALLISLIFE BETS
                                                                                                          427 of 443 PageID:
       that takes fantasy league play to a whole new level.                1325
       So, aside from the specific gameplay rules associated with Pick6, what else do you need to know? To        oo
      answer that, we've handpicked a bunch of Pick6-related FAQs that we'll be answering in detail below.
                                                                                                                  DRAFTKINGS PICK6 DFS BONUS
       WHAT          STATES IS DRAFTKINGS           PICK6 LEGAL IN?
                                                                                                                     Play $5, Get $59 in
       | promised to cover the full list of DraftKings Pické legal states so here you go. The table below shows
       alist of all the places where you can legally use Pick6 in the US, along with their required age limits.    Pick6 Credits Instantly
                                                                                                                       PROMO CODE
                                                                                                                                     Heres
           Dk legal state                                Dk Pick6 age limit

       Alaska                                            19+                                                                     Rayo

       Arizona                                           2                                                                      Players from the US accepted

       California                                        1+

           Georgia                                       1+

           lowa                                          2

        Louisiana                                        2

       Massachusetts                                     2

       Minnesota                                         1+

        Missouri                                         1+

       Nebraska                                          q9+

           New Mexico                                    1+

           North Dakota                                  1+

           Oklahoma                                      1+

           South Carolina                                1+

           South Dakota                                  1+

       Tennessee                                         1+

           Utah                                          1+

        Wisconsin                                        1+

           West Virginia                                 1+

           Washington DC                                 1+


       Not lucky enough to live in a state where Pick6 DK is currently available? Don't worry- DraftKings is
       working on bringing its pioneering new fantasy variant to other parts of the US, so be sure to follow
       the brand's socials for updates on incoming expansions
       WHAT          SPORTS ARE COVERED            BY DK PICK6?
       When making your Pick Set selections, you'll have a choice of three pro-league sports markets to
       choose from, including:
       @     Draftkings NBA Pick6é

       @     DraftKings NFL Pick6




Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                         Page 4 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES | SOCIAL BETTING | BALLISLIFE BETS
              Case 3:25-cv-01143-GC-JTQ Document 1-5 Filed 02/10/25 Page 428 of 443 PageID:
       noose Trom, inciuaing:                                 1326
       @   Draftkings NBA Pick6é

       @   DraftKings NFL Pick6                                                                                      DRAFTKINGS PICKE    s BONUS
       @   Draftkings NHL Pick6
                                                                                                                          Play $5, Get $59 in
       This may not seem like a very flexible offering, but given the teams, contests, players, and matches on        Pick6 Credits                Instantly
       offer, you should find plenty of unique ways to come up with winning Pick Sets. Plus, you need to bear            Promo    cope
       in mind that the DraftKings Pick6 platform is still relatively new, so expect to see new sports markets                           wens

       WHAT ARE THE BEST STRATEGIES                       FOR PICK6 ON DRAFTKINGS?
       I've covered our recommended Draftkings pick strategy in full as part of this linked-to resource, so be                    Players from the US accepted
       sure to check out my top tips if you're looking to out-manoeuvre your opponents and take your pick-
       selection tactics up a gear.
       There are multiple strategies that players can adopt at Pick6 but, of course, none of these are a
       complete guarantee of success. But it almost goes without saying that if you're a basketball fan, then
       the DraftKings NBA Pické is the right choice for you, as regular research into player performance and
       team tactics is essential for assembling a winning squad for your Pické plays.
       ARE THERE ANY WELCOME                    BONUSES         ON OFFER        FOR JOINING PICK6 AT
       DRAFTKINGS?
       Yes, there's actually a very nice welcome bonus available. New customers that join DraftKings
       specificallyto play in Pické fantasy contests can earn up to $200 in Pick6 Credits if their first ever pick
       set doesn't win. There are, of course, a couple of T&Cs that you need to be aware of with regards to the
       Pick6 welcome offer, including:
       @   You must meet the $5 minimum threshold on a single Pick Set
       @   You must place your entry within promotional period for it to count

       @   A\x playthrough requirement applies to any winnings earned in conjunction with the bonus


       CAN    | REFER A FRIEND TO PICK6?
       Players who successfully use the Draftkings Pick6 refer a friend scheme to onboard an associate onto
       the Pick6 platform can receive up to $50 in free bet credit. Any players you introduce Pické to must
       never have held a DraftKings account before, and they must first make a deposit of over $25 before
       any bonus sums are transferred.
       WHAT ARE THE PROS AND CONS OF DK PICK6?
       Not yet convinced that Pick from DK is right for you? We've pulled together the game's essential
       pros and cons so you can decide if it's a good fit for you

                                                                 Pros & Cons
                                                                 © Awesome cash prize pools available
                                                                 © Strategy-led gameplay that requires tactical
                                                                   prowess
                                                                   Top sports betting promotions available
                                                                °




                                                                   Download the DK Pické app or play on your
                                                                e




                                                                    computer

                                                                 © Steep learning curve for some players

       OUR FINAL SAY ON THE PICK6 FANTASY SYSTEM                                       FROM
       DRAFTKINGS
       As one of the best US betting sites, it's no surprise to find that Draftkings is also responsible for what
       is arguably one of the most exciting evolutions in sports betting since the legalization of online
       sportsbooks. Whether you've previously participated in fantasy pick-and-play games or you are a total



Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                           Page 5 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES
                Case 3:25-cv-01143-GC-JTQ                            Document 1-5 Filed 02/10/25| SOCIAL            BETTING | BALLISLIFE BETS
                                                                                                                  Page  429 of 443 PageID:
                                                                                       1327
       As one of the best US betting sites, it's no surprise to find that Draftkings is also responsible for what
       is arguably one of the most exciting evolutions in sports betting since the legalization of online             oo
       sportsbooks. Whether you've previously participated in fantasy pick-and-play games or you are a total
                                                                                                                      DRAFTKINGS PICKS DFS BONUS
       beginner, | promise that a thrill-a-minute experience awaits here
       Of course, there are a couple of niggles here, including Pické's relatively limited availability across the       Play $5, Get $59 in
       US. But with DK promising new sports markets and territory expansions in the future, | hope these               Pick6 Credits Instantly
       slight bugbears won't prove a dealbreaker
                                            for you                                                                        PROMO cove
                                                                                                                                         wens
       In the meantime, if you are lucky enough to live in a state with access to DK Pick6, I'd urge you to give
       it a go. And with up to $200 in Pick6 Credits currently available thanks to the DraftKings welcome
       bonus, there's never been a better time to play.
                                                                                                                                    Players from the US accepted


                                 [ DFs Bonus J             3.8/5   kkk

              lhe       Si)        Play $5, Get $59 in Pick...                    aan         |Get wonus
                                  ‘Welcome Bonus |


       DRAFTKINGS                PICK6 FAQS

       @B      Is Picke LEGAL IN THE US?
       Pick6 from   DraftKings    is legal in 20 US states, so be sure to check this guide for a full list of legal
       territories and age restrictions.

       @ iif 's THERE A WELCOME BONUS WHEN JOINING DK PICK6?
       Yes, new players who have never had a DraftKings account before can earn up to $200 in Pické credits
      if their first ever pick set doesn't win,
       EB «+ WILL DRAFTKINGS ADD MORE SPORTS TO PICK6?
       Yes, DraftKings intends to add more sports to its new but in-demand Pick6 product in the future.
       Currently, you can choose players from Draftkings NFL Pick, or select your own NBA and NHL teams.




       USER REVIEWS FOR DRAFTKINGS                                  PICK6




       POST YOUR OWN                 REVIEW




       Your Rating: *




Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                             Page 6 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO | SWEEPS CASINO GUIDES
                    Case 3:25-cv-01143-GC-JTQ                     Document 1-5 Filed 02/10/25| SOCIAL
                                                                                                  PageBETTING | BALLISLIFE BETS
                                                                                                          430 of 443 PageID:
                                                                           1328

                                                                                                                         DRAFTKINGS PICK6 DFS BONUS
         Yb

                                                                                                                            Play $5, Get $59 in
                                                                                                                          Pick6 Credits Instantly



         :                                                                                                               a
                                                                                                                     ,             9 prayers trom the US accepted

              Sub




             BALLISLIFE.COM MOST VISITED                         OUR TEAM

                    Ballislife Videos
                    Ballislife News                                                                         ae
                    Ballislife Profiles
                    Ballislife Fab SO                                       Sara Jane Gamel          xod
                    Ballislife Podcasts                                     Writer | Bettor
                                                             @2@G@e@eo3¢0



                    Ballislife Betting News
                                                                            Sadonna Price © ¢
                                                                            Editor | Writer

                                                                            John Carlo A. Villaruel
                                                                            Sports Writer

                                                                            Kenny Ducey @ X O ¢
                                                                            Sports Reporter | Capper

                                                                            Ronnie Flores X
                                                                            Editor | Senior Writer

                                                                            David Astramskas
                                                                            (Redapples)                    x@eo,
                                                                            Editor | Senior Writer

                                                                            Joseph Scalise
                                                                            Editor | Writer


             MORE ARTICLES RELATED TO                                                                  Top Bonuses
                                                                      3ry
                                                                       a3
                                                                        A




             DRAFTKINGS PICK6
                                                                                 Underdog Fantasy
         *     Draftkings Pick6 Promo Code: Claim Excl.                          Underdog Fantasy Review


                                                                                 ParlayPlay
                                                                                 ParlayPlay Review


                                                                                 Dabble
                                                                                 Dabble Review




Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                              Page 7 of 8
  BETTING | BASKETBALL | BETTING GUIDES | SWEEPSTAKES CASINO                    | SWEEPS CASINO GUIDES | SOCIAL BETTING | BALLISLIFE BETS                                               Q
               Case 3:25-cv-01143-GC-JTQ                               Document 1-5     Filed 02/10/25 Page 431 of 443 PageID:
                                                                                 1329
                                                                                  Dabble                            4.5/5
                                                                                    Dabble Review




                                                                                  GnnerbocReiew                     45:                     Play $5, Get $59 in
                                                                                                                                       Pick6 Credits Instantly
                                                                                    DraftKings Fantasy              4.55,                                 Heres
                                                                                    DraftKings Fantasy   Review

                                                                                                                                                         Play now
                                                                                   Go to DFS Comparison
                                                                                                                                              =o     Players from the US accepted


          TOP DAILY FANTASY SPORTS GUIDES

            * DES Sites: Best
                            5 DFS    Apps
            + NBA DES: Top 5 NBA DFS Apps
            + NCAAB DFS: Our Top 5 DES Apps for
              NCAA




       ABOUT BALLISLIFE




                                                   MORE ABOUT US.                                 TRENDING ARTICLES                             LATEST ARTICLES




                                                                                                                            ns




                  This site is using Cloudflare and adheres to the Google Safe Browsing Program. We adapted Google's Privacy Guidelines to keep your data safe at all times.

                                                                                             ®,


Document title: Draftkings Pick6 Review | What States is Draftkings Legal? (Pick6)
Capture URL: https://ballislife.com/betting/reviews/draftkings-fantasy/pick6/
Capture timestamp (UTC): Mon, 03 Feb 2025 22:36:00 GMT                                                                                                                              Page 8 of 8
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 432 of 443 PageID:
                                     1330




                            Exhibit 72
                Case 3:25-cv-01143-GC-JTQ                          Document 1-5 Filed 02/10/25                            Page 433 of 443 PageID:
   wy          COM              CL      a                  CC           Cc CT  aC
                                                                            1331                                                  |   §O     English (US) »    ee


    Draftkings Help Center (US) > Fantasy Sports > Contest Rules & Scoring


      ©                                                                                                                               eRe
                                                                                                                                       Fantasy Sports Basics
     GameCenter - Overview (US)                                                                                                        Da a COS ac)
                                                                                                                                       een           ken oa
     Each contest's GameCenter provides all relevant information about the contest, from entry before the contest locks
     Fore RGR          Con                                                                                                             Cee eee)

        Important Information                                                                                                          Peo
                                                                                                                                         M te Mee ear Sot
        «+ Live contest scoring is strictly for entertainment purposes.                                                                Siac

        Pon Reece Reet Cn on ce-ene ReCee ied are metic etn Rem                                            Renae         Rul           eerste}
         Ree ese Oona nee ce           Ruka cece

     The Information In the GameCenter Is organized Into three sections: GameCenter Overview,
     Standings, and Player Information.


          GameCenter Overview
                 see gee             ne             emus

            COMIC
            Contest details
            Pelee R oN          aM toe             ROR IEC Un        te RUC Se CER         Rene           Wee Soat         gy
               payouts, entrant list, and the contest rules.

            Bch                 ORR uke Coe
            Cau         Rg Rcncos
            Sa
            Nero                   Rois
            Current status of the contest (Upcoming, Live, or Completed)

            BC Sel)

          Ue Won            Re nee                       tune neu Rec aui OMeeRUCa      Reerncs
          Cee en Semen etre                              cer ier ome nena sa en ate eae
          Pre RuC Reena ory


          Standings
          In this section, you'll find a snapshot of current standings (up to the top 500 entries) for contests in progress, or
          the recap of results for completed contests.

            Important Note: For contests that include more than 500 entries, each Team Name will be listed up to the 500th
            Pes Cm         ORT RUCRCCIN Cua RUC Mie ec ung eneur Rm                             eed

          ‘Standings include:
                                                                                                                         ---}              Perec td
          pac




Document title: GameCenter - Overview (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4412223517715-GameCenter-Overview-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:40:30 GMT                                                                                                         Page 1 of 3
           Important Note: For contests that include more than 500 entries, each Team Name will be listed up to the 500th
           Pes Case
                Cm        ORT RUCRCCIN Cua RUC Mie ec
                       3:25-cv-01143-GC-JTQ                    Documentung eneur1-5 RmFiled eed 02/10/25 Page 434 of 443 PageID:
                                                                                                1332
         ‘Standings include:

         OascliLe

            Sem CRU RIC     tom Cua CSUR Ora eau ke acu an nen ech)
               ee     Reon cect
            Pe Cee a RASCH ER MMC aaa RCI Rm Ro EON
            © Rankings will change as the contest progresses, and final standings will be available after all games in the
              Cone         En Re Reser Renin k
            Ce                elerelela

                 GameCenter rankings.

         + Team Name

            See              Ieee                               or eae Cece                  ce RUUn Grind
            o Names with parentheses after indicate multiple entries by the fantasy player. DraftKingsUsername (3) means
              the entry was the 3rd entry made by the fantasy player "DraftKingsUsername".

         « PMR (Player Minutes Remaining), PIR (Player Innings Remaining), PLR (Player Laps Remaining), or PHR (Player
           eee eT)
         + FPTS (Fantasy Points)




         Player (Athlete) Information
         RSC                        Ree                  Man Meteors                               Rnc SMe

         Select a Team Name from the Standings section to view the following information for a specific entry:

           POS (Position)
           ENC)

            Peele Sn Cot i                        ROR Reco                 MeN        Coe Us ce
            Been                    UConn              CUO         Tea
            See Con              eu Cara
            © WD indicates the athlete has withdrawn.

           yeas

            e l ate eee                   eee         Sem Reem                     eee            eM         ane nRer oe
                 oll Cale

            Beene            eee Su cece kano                                CRC          cic mn ae oe           Reece
                 = Note: The percentage (%) is for that contest, rather than the whole slate.

           eon)
           rie
           FPTS (Fantasy Points)
            oe are     Ue) MereDa Mare [orl CceoM UAT-MEL (1c   MeleMol   Um UTTAR UTMO oNCet-1 9100) Cele COME M LN   -TE-LMUT-T a1

            © The «& (ice) icon indicates the athlete did worse than the typical projection for a player at their salary.



                                                                                                                                       ---}   Perec td




Document title: GameCenter - Overview (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4412223517715-GameCenter-Overview-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:40:30 GMT                                                                                                   Page 2 of 3
                the entry was the 3rd entry made by the fantasy player "DraftKingsUsername".
                Case 3:25-cv-01143-GC-JTQ                                    Document 1-5                 Filed 02/10/25                Page 435 of 443 PageID:
           + PMR (Player Minutes Remaining), PIR (Player Innings Remaining), PLR 1333
                                                                                  (Player Laps Remaining), or PHR (Player
             eee ue)
           + FPTS (Fantasy Points)




           Player (Athlete) Information
           RSC                      Ree                  Man Meteors                               Rnc SMe

           Select a Team Name from the Standings section to view the following information for a specific entry:

             POS (Position)
             ENC)

             Peele Sn Cot i                       ROR Reco                 MeN        Coe Us ce
             Been                   UConn              CUO         Tea
             See Con            eu Cara
             © WD indicates the athlete has withdrawn.

             yeas

             e l ate eee              eee             Sem Reem                     eee            eM         ane nRer oe
                oll Cale

             Beene            eee Su cece kano                               CRC          cic mn ae oe           Reece
                = Note: The percentage (%) is for that contest, rather than the whole slate.

             eon)
             rie
             FPTS (Fantasy Points)
             oe are    Ue) MereDa Mare [orl CceoM UAT-MEL (1c   MeleMol   Um UTTAR UTMO oNCet-1 9100) Cele COME M LN   -TE-LMUT-T a1

             © The «& (ice) icon indicates the athlete did worse than the typical projection for a player at their salary.




      MTS ae late               a           Cd         La)




        REE              Rc ctaa td                                                                                                    Sees
      Lo                                                                                                                               Cia     Eee    ee   Vara   eee?
        Tens
        Peers                                                                                                                          POMC
        Creed                                                                                                                          Peony


                                                                                                                                       ---}          Perec td




Document title: GameCenter - Overview (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4412223517715-GameCenter-Overview-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:40:30 GMT                                                                                                                   Page 3 of 3
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 436 of 443 PageID:
                                     1334




                            Exhibit 73
                  Case 3:25-cv-01143-GC-JTQ                         Document 1-5 Filed 02/10/25                           Page 437 of 443 PageID:
    os            Pa           ST         a                  Ce         Cc CT   a
                                                                             1335                                                          |       §O      English (US) »        ee


     Draftkings Help Center (US) > Fantasy Sports > Contest Rules & Scoring

         €                                                                                                                                         TR        our)

                                                                                                                                                    Fantasy Sports Basics
     Can | see my contest standings compared to others in                                                                                           Da a COS ac)
     GameCenter? (US)                                                                                                                               Ceres oe Aen ad
                                                                                                                                                    Cee eee)
     The GameCenter’s Standings section will show the current rank for each entry in the contest, up to 500 entries. For
     Ce      Coe Rural        Mu RUCUE        aoe                 Cae         aR         RR     EU              EU Cm                     AUC Me        Coe aes as          ea Sates
     last place Team Name for each prize tier will be listed.
                                                                                                                                                    alec
          Important Information
                                                                                                                                                    et
             Ren eset Ree aCe Tere   ena tom NR eee Rec eae a Son Reece                                                 Re Sey
          Pe TuC Aer cn       RUC CCE Rene  en eee oeuns Cc    eck                                                         Renee
          arn


             Contests In Progress
             For contests in progress, the standings will be updated regularly, and you'll see changes in rank as points are
             accumulated in real time.



             Contests Marked As Completed
             For contests that have been marked as completed, the standings will show each entry's final rank and prize
             Prone

     LaRouche                       COR          AU     MCC         Cue e ESSENCE R Oe                    cht atest nn         Mlm (ot)
     TU          RUS      E-Mail              aOR ole Rl me CEN CLS

                                                        View the visual example below


                                                 Standings

                                                RANK-   TEAM NAME




                                                                                                                                                        How can we help?




Document title: Can I see my contest standings compared to others in GameCenter? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4412213289491-Can-I-see-my-contest-standings-compared-to-others-in-GameCenter-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:43:09 GMT                                                                                                                             Page 1 of 2
               Case 3:25-cv-01143-GC-JTQ                         Document 1-5 Filed 02/10/25                          Page 438 of 443 PageID:
                                                                          1336
         Contests Marked As Completed
         For contests that have been marked as completed, the standings will show each entry's final rank and prize
         Pees

     LaRouche                   COR          AU      MCC        Cue e ESSENCE R Oe                     cht atest nn      Mlm (ot)
     TU      RUS      E-Mail              aOR ole Rl me CEN CLS

                                                    View the visual example below


                                             Standings

                                            RANK-   TEAM NAME




                                            rad Eu eel

     « To see a full list of each entry, rank, lineup, FPTS, and more, please visit DraftKings on a desktop device and Export
       Lineups to CSV. Learn more about exporting contest results to CSV.




      MTS ae late           a        Cd       LT




             REE Rc ctaa td                                                                                           Sees
        cr                                                                                                           Cre CIEE         PCa   ee
        Texte
        Pees                                                                                                          em        ted
        Cee PSEL)                                                                                                     Peony


                                                                                                                     ---}             Perec td




Document title: Can I see my contest standings compared to others in GameCenter? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/4412213289491-Can-I-see-my-contest-standings-compared-to-others-in-GameCenter-US
Capture timestamp (UTC): Mon, 03 Feb 2025 22:43:09 GMT                                                                                           Page 2 of 2
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 439 of 443 PageID:
                                     1337




                            Exhibit 74
                Case 3:25-cv-01143-GC-JTQ                                Document 1-5 Filed 02/10/25                   Page 440 of 443 PageID:
    os          OOM                                eC                                td
                                                                                  1338                                    <0   0      English (US)      ~     oe


   Draftkings Help Center (US) > Pick6 >           Prizing and Payouts


     €                                                                                                                         eeu
                                                                                                                                   Getting Started

    How do | view my Pick6 results? (US)                                                                                           eon oeicuicry

                                                                                                                                         ha     ge
    View your results on the DraftKings Pick6 App                                                                                  SLY
    SRR RCMP       Li udale ale God                                                                                                Pia eee             Cee un acey

    2. At the bottom of your screen, tap My Picks.                                                                                 CMe        i

    RR leg      sre                                                                                                                een               CULES

    4. To view the results of your Pick Set, navigate to the Pick Set you want to view and tap the Pick Set.

    EMC         Re ae ee              Rael ga            oC              See            cen Rua            CS

    View your results on Desktop or Mobile Web
         Reon MDE Ttte ee eon
     BNE         RCR Ca    aa coc Le
     WSU SC mur Scie Wee eastern
     BOM RUC CRs                      aa      ee              RC   a      ee       CR     eI RUC a Reet meled
           aa

     Bee                  enn              ee aN       mae ec             Ske Ree         eeu Rar eect neonoe



     Was this article helpful?        di Yes             No




          ERNE Rca                                                                                              Sr
          it                                                                                                    Ore EC         eee              ed
             tei
          Paros                                                                                                 Coed
          Cem Ese                                                                                               Peery


                                                                                                                ---}           Pete ey etd




Document title: How do I view my Pick6 results? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/22657377531539-How-do-I-view-my-Pick6-results-US
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:03 GMT                                                                                                        Page 1 of 2
         €                                                                                                               Toure)
                    Case 3:25-cv-01143-GC-JTQ                        Document 1-5 Filed 02/10/25                 Page 441 of 443 PageID:
                                                                              1339                                       Semen)
    How do | view my Pick6 results? (US)                                                                                 eo eae}

                                                                                                                               ha    ge
    View your results on the DraftKings Pick6 App                                                                        SLY
    SRR RCMP           Li udale ale God                                                                                  How it Works - Contest and Entries

    2. At the bottom of your screen, tap My Picks.                                                                       CMe        i

    RR leg          sre                                                                                                  een              CULES

                    RUC CR           ae         ee      CCR          Reema     NCR            RU aac ae

    EM              Rel aes               Ree aN el ga eo            eae    een RUC Ce cece

    View your results on Desktop or Mobile Web
             Reon MDE Ttte ee eon
         BNE         RCR Ca    aa coc Le
         WSU SC mur Scie Wee eastern
         BOM RUC CRs                      aa    ee          RC   a    ee       CR     eI RUC a Reet meled
               aa

         Meee                 enn          Re ane eae CSO ee                    eee      Rar esc cers Se



         Was this article helpful?         di Yes      No




              ERNE Rca                                                                                        Sr
              it                                                                                              Ore EC    eee          ed
                 tei
              Paros                                                                                           Coed
              Cem Ese                                                                                         Peery


                                                                                                          ---}           Pete ey etd




Document title: How do I view my Pick6 results? (US) – DraftKings Help Center (US)
Capture URL: https://help.draftkings.com/hc/en-us/articles/22657377531539-How-do-I-view-my-Pick6-results-US
Capture timestamp (UTC): Tue, 28 Jan 2025 20:57:03 GMT                                                                                                Page 2 of 2
Case 3:25-cv-01143-GC-JTQ   Document 1-5 Filed 02/10/25   Page 442 of 443 PageID:
                                     1340




                            Exhibit 75
3-GC-JTQ   Document 1-5 Filed 02/10/25   Page
                    1341
